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                                                                `


                         Exhibit A


                    Redacted DIP Motion
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )    Chapter 11
                                                                        )
CARESTREAM HEALTH, INC., et al.,1                                       )    Case No. 22-10778 (___)
                                                                        )
                                     Debtors.                           )    (Joint Administration Requested)
                                                                        )

       DEBTORS’ MOTION SEEKING ENTRY OF INTERIM AND FINAL ORDERS
          (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION
      FINANCING AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS
    AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING
         ADEQUATE PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY,
    (V) SCHEDULING A FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:2

                                            Preliminary Statement

         1.       After several months of exploring options to address their capital structure, the

Debtors commenced these prepackaged chapter 11 cases with a clear path to exit from bankruptcy

and emerge as a stronger, better-capitalized business. Prior to the commencement of these chapter

11 cases, the Debtors entered into a restructuring support agreement (“RSA”) with holders of more




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
     Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
     Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
     Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
     (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
2
     A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
     the Debtors’ chapter 11 cases, is set forth in the Declaration of Scott H. Rosa, Chief Financial Officer of
     Carestream Health, Inc., in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”),
     filed contemporaneously herewith. Capitalized terms used but not defined in this motion have the meanings
     ascribed to them in the First Day Declaration or in the contemporaneously filed Joint Prepackaged Chapter 11
     Plan of Reorganization of Carestream Health, Inc. and Its Debtor Affiliates (as amended, supplemented, or
     otherwise modified from time to time, the “Plan”), as applicable.
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than 70% in principal amount of their First Lien Claims and more that 99% in principal amount of

their Second Lien Term Loan Claims (both as defined in the Plan), which contemplates a

comprehensive restructuring whereby certain restructuring transactions will be implemented

through an equity rights offering, entry into a new term loan facility and a new asset based

revolving facility, and a debt-for-equity exchange through a consensual prepackaged chapter 11

plan (the “Plan”). Importantly, the Plan will also deleverage the Debtors’ balance sheet by

approximately $470 million.

        2.         To that end, as part of the RSA, the Debtors negotiated the terms of the consensual

use of cash collateral (as defined in section 363(a) of the Bankruptcy Code) (“Cash Collateral”)

and an $80 million debtor-in-possession term loan credit facility (the “DIP Facility”) provided by

certain of their prepetition Second Lien Lenders (as defined in the Interim Order) to ensure the

Debtors have adequate liquidity during these chapter 11 cases. Access to the proposed DIP Facility

will send a clear signal to the market that the Debtors’ operations can and will continue on a

business-as-usual basis. Indeed, the DIP Facility and the RSA demonstrate the belief of the

Debtors’ existing lenders in the value of the Debtors’ business and send a strong signal to the

market that the Debtors will have the liquidity necessary to emerge a stronger, well-capitalized

company. If approved, the Debtors will use the liquidity provided by the DIP Facility and their

continued access to Cash Collateral to, among other things, pay critical obligations such as

employee wages and benefits, procure goods and services from vendors, fund the administration

of these chapter 11 cases, and/or satisfy other working capital needs. The relief requested herein

therefore is necessary for the continued operation of the Debtors’ business and the preservation of

their property, and thus is unquestionably in the best interests of the Debtors, their estates, and

their creditors.



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        3.       Significantly, the proposed $80 million DIP Facility is comprised entirely of new

money financing: that is, the Debtors are not seeking to “roll-up” the prepetition term loan under

the DIP Facility, nor do the Debtors seek to prime any creditors without their consent. As

described below and in the supporting declarations, the Debtors’ proposed DIP Facility is the

product of arm’s-length negotiations with their existing lenders. The Debtors are not aware of any

third party who is willing to provide postpetition financing to the Debtors on more favorable terms

under the circumstances: notably, the Debtors are unable to obtain financing junior to the

Prepetition Secured Credit Facilities (as defined herein), and the Prepetition Secured Parties (as

defined herein) will not consent to a priming third party financing. Notably, the DIP Lenders have

agreed to equitize a significant amount of the DIP Claims under the Plan and receive both cash

and New Common Stock in lieu of repayment in full in cash.

        4.       In short, the DIP Facility is a key component of the RSA and the transactions

contemplated thereby, and will provide the Debtors with the liquidity necessary to continue to

operate their business in the ordinary course and thus preserve and maintain the going-concern

value of the Debtors’ estates during their short stay in chapter 11.

                                               Relief Requested

        5.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Interim Order”), and a final order (the “Final Order,”3 and collectively with the

Interim Order, the “DIP Orders”): (a) authorizing the Debtors to incur the senior secured

superpriority debtor-in-possession DIP Facility; (b) authorizing the Debtors to use Cash Collateral;

(c) granting liens and providing superpriority administrative expense status to the DIP Facility;

(d) granting adequate protection, solely to the extent provided in the DIP Orders, to the Prepetition


3
    The Debtors will file a proposed form of the Final Order prior to the Final Hearing (as defined herein).


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Secured Parties; (e) modifying the automatic stay imposed by section 362 of the Bankruptcy Code

to the extent necessary to implement and effectuate the terms of the DIP Orders; (f) scheduling a

final hearing (the “Final Hearing”) to consider approval of this motion on a final basis; and

(g) granting related relief. The Prepetition Secured Parties are consenting to the use of Cash

Collateral under the terms and conditions of the Interim Order.

       6.      In support of this motion, the Debtors respectfully submit the declaration of Andrew

Turnbull (the “Turnbull Declaration”), a copy of which is attached hereto as Exhibit B, and the

First Day Declaration.

                                     Jurisdiction and Venue

       7.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

       8.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       9.      The statutory bases for the relief requested herein are sections 105, 361, 362, 363,

364, 503, 506, 507, and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532

(the “Bankruptcy Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Local Rules 2002-1(b), 4001-2, 9006-1, and 9013-1(m).



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                                           Background

       10.     The Debtors, together with their non-Debtor affiliates (collectively, “Carestream”

or the “Company”), are a leading provider of medical imaging and non-destructive testing products

with over 100 years of industry experience. The Company is a partner of choice to approximately

8,000 direct customers and approximately 900 dealers in more than 130 countries. Its products

are used by prominent health systems, hospitals, imaging centers, specialty practices and industrial

companies worldwide. Headquartered in Rochester, New York, Carestream employs a global

workforce of approximately 3,410 employees with approximately 180 contractors.

       11.     Carestream, like many businesses, faced significant headwinds in 2020, principally

as a result of changing product and customer trends and the global COVID-19 pandemic, which,

in light of the Debtors’ capital structure, placed substantial strain on the Debtors’ businesses. To

alleviate the strain, the Debtors executed a voluntary amend-and-extend transaction in early 2020

that extended the maturities of their first lien revolver and term loan and second lien term loan

debt. The amend-and-extend transaction provided the Debtors with time to meaningfully examine

various strategic alternatives, including sale transactions and debt-for-equity exchanges to

deleverage the Company.

       12.     Ultimately, the Debtors determined that a substantial deleveraging combined with

new capital investment was the best path forward for their business. To implement the foregoing,

the Debtors negotiated, and ultimately agreed, with a majority of their prepetition secured lenders

and their equity sponsor on the terms of a comprehensive financial restructuring. The terms of the

proposed restructuring are memorialized in the RSA that serves as the foundation of the Debtors’

prepackaged Plan. Under the RSA, the Debtors will eliminate approximately $470 million of

prepetition funded debt and raise up to $75 million of new equity capital, while also leaving general

unsecured claims unimpaired. As of August 23, 2022 (the “Petition Date”), the Debtors have fully

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solicited their Plan, which was accepted by all creditor classes entitled to vote, including lenders

collectively holding approximately 73% of the Debtors’ prepetition first lien revolver and term

loan debt and approximately 98% of the Debtors’ prepetition second lien term loan debt.

       13.     On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors have also filed a motion requesting joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in these chapter 11 cases and no official committees have been

appointed or designated.

                                   Interim Relief is Necessary

       14.     The Debtors will not be able to meet ordinary course obligations without access to

the DIP Facility and Cash Collateral during the interim period following the Petition Date, which

is needed to pay wages and benefits, taxes and fees, rent, and invoices for goods and services, and

other obligations that will come due during the interim period. Otherwise, the Debtors risk

disrupting their business materially and jeopardizing their existing relationships with employees,

government entities, contract counterparties, and business partners, among others.           These

constituents are important to the Debtors’ go-forward business and should not be harmed merely

because the Debtors cannot access cash on hand. Therefore, authority to enter into the DIP

Facility, access the DIP Loans, and use Cash Collateral during the interim period is necessary to

ensure that the Debtors do not harm their businesses while pursuing a value maximizing

restructuring transaction during these prepackaged chapter 11 cases.




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              Concise Statement Pursuant to Bankruptcy Rules 4001(b) and 4001(c)
                                    and Local Rule 4001-24

        15.      By this motion, the Debtors seek entry of the Interim Order and Final Order:

                 a.        authorizing the Debtors to obtain postpetition financing and other financial
                           accommodations in connection with the debtor in possession financing,
                           comprising, among other things, a superpriority senior secured multi-draw
                           term loan facility in an aggregate principal amount of up to $80,000,000
                           (the “DIP Facility”), consisting of (x) a $5,000,000 tranche of new money
                           terms loans (the “Tranche A DIP Loans”) and (y) a $75,000,000 tranche of
                           new money terms loans (the “Tranche B DIP Loans”); provided that (A) an
                           initial amount of up to $50,000,000 of the DIP Facility (the “Initial DIP
                           Amount”), which shall consist of $3,125,000 of Tranche A DIP Loans (the
                           “Tranche A Initial DIP Loans”) and $46,875,000 of Tranche B DIP Loans
                           (the “Tranche B Initial DIP Loans” and, together with the Tranche A Initial
                           DIP Loans, the “Initial DIP Loans”), shall be made available to the Debtors
                           immediately upon entry of this Interim Order and in accordance with the
                           terms set forth in the Senior Secured Superpriority Debtor in Possession
                           Credit Facility Term Sheet, dated as of August 21, 2022, attached to the
                           Interim Order as Exhibit A (the “DIP Term Sheet”) and (B) an additional
                           amount of up to $30,000,000 (the “Delayed Draw DIP Amount”), which
                           shall consist of $1,875,000 of Tranche A DIP Loans (the “Tranche A Final
                           DIP Loans”) and $28,125,000 of Tranche B DIP Loans (the “Tranche B
                           Final DIP Loans,” and, together with the Tranche A Final DIP Loans, the
                           “Delayed Draw DIP Loans,” and, together with the Initial DIP Loans,
                           the “DIP Loans”), shall be made available to the Debtors in one or more
                           draws, upon entry of, and subject to the terms of, the Final Order and, for
                           each of the Initial DIP Loans and Delayed Draw DIP Loans, subject to
                           satisfaction of the applicable conditions set forth in the DIP Term Sheet and
                           all other applicable terms and conditions of the DIP Loan Documents (as
                           defined below);

                 b.        authorizing the Debtors to (a) enter into the DIP Term Sheet by and among
                           the Borrower, the Guarantors, the relevant lenders (collectively, the “DIP
                           Lenders”),5 and JPMorgan Chase Bank, N.A., as administrative and



4
    The summary of the Interim Order and the terms and conditions for the DIP Facility and use of Cash Collateral
    set forth in this motion is qualified are its entirety by the Interim Order. In the event that there is any conflict
    between this motion and the Interim Order, the Interim Order will control in all respects. Capitalized terms used
    but not otherwise defined in this summary shall have the respective meanings ascribed to them in the
    Interim Order.
5
    The DIP Lenders include the lenders under the Prepetition Secured Credit Facilities that are each party to the DIP
    Commitment Letter, dated August 21, 2022 (the “DIP Commitment Letter”). A copy of the DIP Commitment
    Letter, with the DIP Term Sheet, is attached hereto as Exhibit C. The Debtors have filed the Debtors’ Motion
    for Entry of an Order Authorizing the Debtors to Redact Certain Portions of the Letters Related to the DIP

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                     collateral agent (in each such capacity, the “DIP Agent” and, together with
                     the DIP Lenders, the “DIP Secured Parties”) (as amended, restated,
                     amended and restated, supplemented or otherwise modified from time to
                     time in accordance with the terms thereof; together with this Interim Order,
                     the Final Order, and, and all agreements, documents, and instruments
                     delivered or executed in connection therewith, collectively the “DIP Loan
                     Documents”), (b) to perform their respective obligations thereunder and all
                     such other and further acts as may be necessary, appropriate, or desirable in
                     connection with the DIP Loan Documents, and (c) to enter into any
                     agreements with respect to the cash collateralization of any outstanding and
                     undrawn Letters of Credit issued under (and as defined in) the First Lien
                     Credit Agreement (as defined below) (any such agreement an “L/C Cash
                     Collateral Agreement” and the liens granted thereunder, the “L/C Cash
                     Collateral Liens”);

             c.      authorizing the Debtors to use the proceeds of the DIP Loans and the
                     Prepetition Collateral, including Cash Collateral, in accordance with the
                     terms hereof and the DIP Budget (after giving effect to Permitted
                     Variances), as further described herein, to pay for working capital needs,
                     and to provide working capital for other general corporate purposes, of the
                     Debtors in the ordinary course of business and for the costs and expenses of
                     administering the Cases, including for payment of any Adequate Protection
                     Obligations (all as defined below) and reasonable and documented
                     transaction costs, fees, and expenses incurred in connection with the
                     restructuring to be implemented through the Cases and to cash collateralize
                     any outstanding and undrawn Letters of Credit as provided in this Interim
                     Order and in the other DIP Loan Documents;

             d.      granting adequate protection to the extent of any Diminution in Value, with
                     respect to each of the Debtors, to the Prepetition Secured Parties under the
                     Prepetition Credit Documents on account of the Priming Liens and for the
                     use of their Cash Collateral and the Prepetition Collateral (all as defined
                     below);

             e.      authorizing on the terms set forth in the Interim Order, the Debtors to pay,
                     on a final and irrevocable basis, the principal, interest, fees, expenses, and
                     other amounts payable under the DIP Loan Documents as such become
                     earned, due and payable, including, without limitation, the DIP
                     Commitment Fee, the Exit Fee, the Undrawn DIP Fee, the Agency Fee (all
                     as defined below), audit fees, appraisal fees, valuation fees, administrative
                     and collateral agents’ fees and expenses, and prepetition and postpetition
                     reasonable fees and disbursements of each of the DIP Secured Parties’
                     attorneys, advisors, accountants, appraisers, bankers and other consultants,


Facility, contemporaneously herewith, requesting to file under seal certain terms of the DIP Commitment Letter
and the DIP Agent Fee Letter (as defined below) (the “Motion to Seal”).


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        all to the extent provided in, and in accordance with, the DIP Loan
        Documents;

  f.    granting valid, enforceable, non-avoidable, and fully perfected liens and
        security interests pursuant to sections 364(c)(2) and 364(c)(3) of the
        Bankruptcy Code and priming liens pursuant to section 364(d)(1) of the
        Bankruptcy Code on the DIP Collateral and all proceeds thereof, including,
        any (subject to entry of the Final Order) Avoidance Proceeds subject only
        to the Carve Out, the Permitted Liens (all as defined below), if any, and the
        L/C Cash Collateral Liens in each case on the terms and conditions set forth
        herein and in the DIP Loan Documents, to secure principal of, and accrued
        interest on, the DIP Loans, and all other fees, costs, expenses,
        indemnification obligations, reimbursement obligations, charges,
        premiums, if any, additional interest, any other Obligations (as defined in
        the DIP Loan Agreement) and all other obligations of whatever nature
        owing, whether or not contingent, whenever arising, accrued, accruing, due,
        owing or chargeable under the DIP Facility, including the DIP Commitment
        Fee, the Exit Fee, the Undrawn DIP Fee, the Agency Fee (collectively,
        the “DIP Obligations”);

  g.    granting superpriority administrative expense claims pursuant to section
        364(c)(1) of the Bankruptcy Code against each of the Debtors’ estates to the
        DIP Secured Parties, with respect to the DIP Obligations with priority over
        any and all administrative expenses of any kind or nature subject and
        subordinate only to the Carve Out on the terms and conditions set forth
        herein and in the DIP Loan Documents;

  h.    subject to and upon entry of a Final Order, the waiver of (x) the Debtors’
        and the estates’ ability to surcharge against the Prepetition Collateral
        pursuant to section 506(c) of the Bankruptcy Code, effective as of the
        Petition Date, (y) the applicability of the “equities of the case” exception
        under Bankruptcy Code section 552(b) with respect to the proceeds,
        products, offspring or profits of the Prepetition Collateral, and (z) the
        doctrine of “marshaling” and any other similar equitable doctrine with
        respect to any of the Prepetition Collateral;

  i.    authorizing the DIP Secured Parties to exercise remedies under the DIP
        Loan Documents on the terms described herein upon the occurrence and
        during the continuation of a DIP Termination Event (as defined below);

  j.    authorizing for the Issuing Lender (as defined in the First Lien Credit
        Agreement) to exercise any remedies under any L/C Cash Collateral
        Agreement in accordance therewith;

  k.    waiving any applicable stay (including under Bankruptcy Rule 6004) and
        providing for immediate effectiveness of the Interim Order;


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                  l.      scheduling a Final Hearing approximately 35 days after the Petition Date to
                          consider the relief requested herein and approving the form of notice with
                          respect to the Final Hearing; and

                  m.      granting related relief.

         16.      The below chart contains a summary of the material terms of the proposed DIP

Loans, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local Rule 4001-2(a)(i).6

                                         Summary of Material Terms7

    Borrower                  Carestream Health, Inc.
    Bankruptcy Rule
                              See DIP Term Sheet, p. 1
    4001(c)(1)(B)

    Holdings and              Carestream Health Holdings, Inc. (“Holdings”) and
    Guarantors
                              Carestream Health Acquisition, LLC, Carestream Health International Holdings,
    Bankruptcy Rule
                              Inc., Carestream Health International Management Company, Inc., Carestream
    4001(c)(1)(B)
                              Health Canada Holdings, Inc., Carestream Health World Holdings LLC, and
                              Lumisys Holding Co. (the “Guarantors”).
                              See DIP Term Sheet, p. 1 and Exhibit A-1 to the DIP Term Sheet

    DIP Lenders               Those lenders listed on Annex A to the DIP Term Sheet and any other Person that
                              becomes a Lender thereunder.
    Bankruptcy Rule
    4001(c)(1)(B)             See DIP Term Sheet, p. 1

    Term                      The earliest of (a) 75 calendar days after the Petition Date, subject to no more than
    Bankruptcy Rule           two extensions of 30 days each, (b) 45 calendar days after the Petition Date if the
    4001(b)(l)(B)(iii),       Final Order has not been entered by the Court on or before such date, (c) the date
    4001(c)(1)(B)             of consummation of any sale of all or substantially all of the assets of the Debtors
                              pursuant to section 363 of the Bankruptcy Code, (d) the termination of the RSA
    Del. Bankr. L.R.          by the Required Consenting First Lien Lenders, the Required DIP Lenders, or the
    4001-2(a)(i)              Company Parties (all as defined in the RSA), (e) the date of substantial
                              consummation (as defined in section 1101 of the Bankruptcy Code and which for
                              purposes hereof shall be no later than the “effective date” thereof) of a plan of
                              reorganization filed in these chapter 11 cases that is confirmed pursuant to an order
                              entered by the Court, (f) the date of entry of an order by the Court approving (A) a
                              motion seeking conversion or dismissal of any or all of these chapter 11 cases or
                              (B) a motion seeking the appointment or election of a trustee, a responsible officer
                              or examiner with enlarged powers relating to the operation of the Debtors’
                              business, (g) the date the Court orders the conversion of the bankruptcy case of
                              any of the Debtors to a liquidation pursuant to chapter 7 of the Bankruptcy Code,

6
    Local Rules 4001-2(a)(i)(N) and 4001-2(a)(i)(O) are not applicable to the Interim Order.
7
    Capitalized terms used in the following summary chart but not otherwise defined have the meanings ascribed to
    them in the DIP Loan Documents or the Interim Order, as applicable.


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                                   Summary of Material Terms7
                        and (h) the date of acceleration of all or any portion of the DIP Loans and the
                        termination of the DIP Commitments in respect thereof upon the occurrence of an
                        Event of Default (as defined in the DIP Term Sheet).
                        See DIP Term Sheet, pp. 15–16

Commitment              $80 million in the aggregate in the form of a term loan credit facility.
Bankruptcy Rule
                        See DIP Term Sheet, p. 2
4001(b)(1)(B)(ii),
4001(c)(1)(B)
Del. Bankr. L.R.
4001-2(a)(i)(A)

Provisions that         The Debtors are permitted to use Cash Collateral to make payments to non-Debtor
Provide for the         affiliates as set forth in the Approved DIP Budget (after giving effect to Permitted
Funding of              Variances (as defined below)) or with the written consent of the Required DIP
Non-Debtor Affiliates   Lenders (as defined in the DIP Term Sheet).
Del. Bankr. L.R.
                        See DIP Term Sheet, pp. 5–6
4001-2(a)(i)(D)
                        Conditions Precedent to the Initial DIP Loans on the Interim Closing Date.
Conditions of
                        Standard and customary conditions precedent to borrowing, the satisfaction of
Borrowing
                        which is a condition precedent to the DIP Lenders’ obligation to make Initial DIP
Bankruptcy Rule
                        Loans on the Interim Closing Date.
4001(c)(1)(B)
Del. Bankr. L.R.        Conditions Precedent to any Delayed Draw DIP Loans on or After the Final
4001-2(a)(i)(I)         Closing Date. Standard and customary conditions precedent to borrowing, the
                        satisfaction of which is a condition precedent to the DIP Lenders’ obligation to
                        make Delayed Draw DIP Loans on or after the Final Closing Date.
                        See DIP Term Sheet, pp. 19–26.

Interest Rates          One-month Adjusted Term SOFR Rate (as defined in the DIP Term Sheet) then in
Bankruptcy Rule         effect plus 9.00%.
4001(c)(1)(B)
                        See DIP Term Sheet, p. 14
Del. Bankr. L.R.
4001-2(a)(ii)

Use of DIP Financing    The Debtors shall use the proceeds of the DIP Facility and Cash Collateral in
Facility and Cash       accordance with the DIP Loan Documents, and the Approved DIP Budget (subject
Collateral              to Permitted Variances), for the following:
Bankruptcy Rule
4001(b)(l)(B)(ii)       •   working capital and general corporate purposes of the Debtors, including for
                            the payment of rent and other lease expenses and professional fees;
Del. Bankr. L.R.
4001-2(a)(ii)           •   bankruptcy-related costs and expenses, including Adequate Protection
                            Obligations (as defined in the Interim Order);
                        •   costs and expenses related to the DIP Facility; and
                        •   any other purposes specifically set forth in the Approved DIP Budget.
                        See DIP Term Sheet, pp. 5–6; Interim Order ¶¶ 2, 13




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                                   Summary of Material Terms7

Adequate Protection     The Debtors have agreed to provide the following forms of Adequate Protection
and Professional Fees   to the Prepetition Secured Parties, in each case subject to the Carve Out:
and Expenses
Bankruptcy Rule         First Lien Adequate Protection Liens. To the Prepetition First Lien Agent for the
4001(c)(1)(B)(ii)       benefit of the First Lien Lenders, solely to the extent of any Diminution in Value,
                        a perfected security interest in and lien on the DIP Collateral which shall be, with
 Del. Bankr. L.R.       respect to the DIP Collateral, junior in priority to the DIP Liens and the L/C Cash
4001-2(a)(i)(B),        Collateral Liens (as defined in the Interim Order), but senior to the Second Lien
4001-2(a)(i)(G),        Adequate Protection Liens.
4001-2(a)(i)(K)
                        Second Lien Adequate Protection Liens. To the Prepetition Second Lien Agent
                        for the benefit of the Second Lien Lenders, solely to the extent of any Diminution
                        in Value, a perfected security interest in and lien on the DIP Collateral which shall
                        be, with respect to the DIP Collateral, junior in priority to the DIP Liens, the L/C
                        Cash Collateral Liens (as defined in the Interim Order), the First Lien Adequate
                        Protection Liens, and the Prepetition First Liens.
                        Adequate Protection Claims. Superpriority administrative expense claims as
                        provided by section 507(b) of the Bankruptcy Code, junior to the claims of the
                        DIP Agent and the DIP Lenders; provided, that, the Adequate Protection Claims
                        in respect of the First Lien Obligations shall be senior to the Adequate Protection
                        Claims in respect of the Second Lien Term Loan Obligations.
                        Fees and Expenses. Payment in cash of all reasonable and documented out-of-
                        pocket fees and expenses of any of the Prepetition Secured Parties.
                        First Lien Adequate Protection Payments. Payment of all accrued but unpaid
                        interest under the First Lien Credit Agreement.
                        See Interim Order ¶¶ 2, 14

Repayment Features /    Voluntary Prepayments. No Limits on Voluntary Prepayments.
Provisions Limiting
                        Mandatory Repayments. The Borrower shall pay or prepay the DIP Loans and all
Repayment
                        other DIP Obligations (a) 100% of the net cash proceeds of any DIP Collateral in
Bankruptcy Rule
                        any sale or disposition of all or substantially all of Debtors’ assets pursuant to
4001(b)(1)(B)(ii)
                        section 363 of the Bankruptcy Code simultaneously with the consummation
Del. Bankr. L.R.        thereof, after funding the Carve Out, (b) 100% of the net cash proceeds of any
4001-2(a)(i)(I)         other sale or other disposition by the Borrower or any Guarantor of any DIP
                        Collateral in excess of $1,000,000, in a single transaction or series of related
                        transactions (except for asset sales in the ordinary course of business), (c) 100%
                        of the net cash proceeds of extraordinary receipts (including tax refunds,
                        indemnity payments and insurance proceeds not included as proceeds of asset
                        dispositions but excluding (x) receipts contemplated to be received by any of the
                        Debtors as set forth in the Approved DIP Budget and (y) insurance proceeds that
                        are reinvested by any Debtor in assets used to useful in the business of the Debtors
                        on or prior to the date that is 180 days after the receipt of such net cash proceeds)
                        by the Borrower or any Guarantor that constitute DIP Collateral (provided that
                        receipts received from subsidiaries of Holdings other than the Debtors pursuant to
                        the global treasury plan or in the ordinary course of business shall not be subject
                        to the requirements of this provision), and (d) 100% of the net cash proceeds
                        received from the incurrence or issuance of indebtedness by Holdings, the
                        Borrower or any subsidiary not expressly permitted to be incurred or issued
                        pursuant to clause (iii) of the section entitled “Negative Covenants” in the DIP
                        Term Sheet.


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                                 Summary of Material Terms7
                      See DIP Term Sheet, pp. 16–18




Budget                The use of proceeds of the DIP Facility and Cash Collateral is subject to the DIP
Bankruptcy Rule       Budget, attached to the Interim Order as Exhibit B.
4001(c)(1)(B)
                      See Interim Order, Exhibit B
Del. Bankr. L.R.
4001-2(a)(i)(E) and
4001-2(a)(iii)

Variance Covenant     The Approved Budget (subject to Permitted Variances) shall set forth, on a weekly
Bankruptcy Rule       basis, among other things, (i) weekly projected cash receipts, (ii) weekly projected
4001(c)(1)(B)         disbursements (including operating expenses in the ordinary course of business,
                      capital expenditures and bankruptcy related expenses) under the Cases, (iii) the
Del. Bankr. L.R.
                      weekly projected outstanding principal balance of the DIP Loans, and (iv) the
4001-2(a)(i)(E) and
                      weekly projected liquidity of the Debtors.
4001-2(a)(iii)
                      By no later than 5:00 PM (Eastern Time) on Thursday of the calendar week
                      following the week in which the Petition Date occurs (the “First Testing Date”),
                      and no later than 5:00 PM (Eastern Time) on each Thursday of each calendar week
                      thereafter (together with the First Testing Date, each a “Testing Date”), prior to
                      the Initial Variance Testing Date (as defined below), the Debtors shall deliver to
                      the DIP Secured Parties (and their advisors), a variance report (each, a “Weekly
                      Variance Report”) setting forth, in reasonable detail, “cumulative receipts” and
                      “disbursements” of the Debtors and any variances between the actual amounts and
                      those set forth in the then-in-effect Approved DIP Budget for the Monthly Testing
                      Period (as defined below).
                      By no later than 5:00 PM (Eastern Time) on the first Testing Date that occurs after
                      the four-week anniversary of the First Testing Date (the “Initial Variance Testing
                      Date”) and by not later than 5:00 PM (Eastern Time) on each Thursday thereafter
                      (each such date, the “Monthly Variance Testing Date” and each such subsequent
                      four-week period ending on the Sunday preceding each such Monthly Variance
                      Testing Date, the “Monthly Testing Period”), the Debtors shall provide to the DIP
                      Secured Parties a report reasonably detailing: (i) the aggregate receipts of the
                      Debtors and aggregate disbursements of the Debtors, in each case, during the
                      applicable Monthly Testing Period; and (ii) any variance (whether positive or
                      negative, expressed as a percentage) between (a) the aggregate receipts received
                      by the Debtors during such Monthly Testing Period against the aggregate receipts
                      for such Monthly Testing Period as set forth in the applicable Approved DIP
                      Budget and (b) the aggregate disbursements made by the Debtors during such
                      Monthly Testing Period against the aggregate disbursements for such Monthly
                      Testing Period as set forth in the applicable Approved DIP Budget (a “Monthly
                      Variance Report,” together with the Weekly Variance Report, the “Approved
                      Variance Reports”). The Debtors shall comply with the following (collectively,
                      the “Permitted Variances”)
                      See DIP Term Sheet, pp. 6–8; Interim Order ¶ 16




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Termination Events /     The DIP Term Sheet and Interim Order contain “Events of Default” and
Events of Default        “Termination Events” that are usual and customary including without limitation,
Bankruptcy Rules         a breach of any Milestone set forth in Schedule 1 of the RSA.
4001(b)(1)(B)(iii) and
4001(c)(1)(B)            See DIP Term Sheet, pp. 32–34; Interim Order ¶ 18

Del. Bankr. L.R.
4001-2(a)(i) and
4001-2(a)(i)(M), (S)
                         Upon receipt of an Enforcement Notice and during the Notice Period, the Debtors,
Remedies Notice
                         the Required DIP Lenders, and the DIP Agent consent to a hearing on an expedited
Period and Emergency
                         basis at which the Debtors, any official committee of unsecured creditors, or any
Hearing
                         other party may be heard with respect to the Enforcement Notice and whether a
Del. Bankr. L.R.
                         DIP Termination Event has occurred.
4001-2(a)(i)(S),
4001-2(a)(i)(T)          Prior to the exercise of any remedies upon a DIP Termination Event, counsel for
                         the applicable DIP Secured Party shall provide five (5) business days’ notice to
                         counsel to the Debtors, the U.S. Trustee, and counsel to any Committee, during
                         which time the Debtors, any official committee of unsecured creditors, or any
                         other party may seek an emergency hearing before the Court.
                         See Interim Order ¶ 19

Indemnification          The Debtors will, jointly and severally, indemnify the DIP Lenders and the DIP
Bankruptcy Rule          Agent, and their respective affiliates, successors and assigns and the partners,
4001(c)(1)(B)(ix)        officers, directors, employees, agents, advisors, counsel, controlling persons, and
                         members of each of the foregoing (each an “Indemnified Person”), and hold them
                         harmless from and against any and all losses, claims (including intraparty claims),
                         demands, damages, costs, expenses (including but not limited to reasonable and
                         documented legal fees and expenses), and liabilities of any kind (collectively,
                         “Liabilities”) arising out of or relating to (i) the execution or delivery of the DIP
                         Term Sheet, the DIP Loan Agreement (if any), and the other DIP Loan Documents,
                         transactions contemplated hereby and thereby, (ii) the performance by the parties
                         hereto of their respective obligations hereunder or thereunder or the
                         consummation of the Restructuring Transactions (as defined in the DIP Term
                         Sheet) or any other transactions contemplated hereby, (iii) any DIP Loan or any
                         actual or proposed use of the proceeds therefrom, (iv) any actual or alleged
                         presence or release of Materials of Environmental Concern (as defined in the DIP
                         Term Sheet) on or from any property owned or operated by the Debtors or any of
                         their subsidiaries, or (v) any actual or prospective claim, litigation, investigation,
                         action, suit, arbitration or administrative, judicial or regulatory action or
                         proceeding in any jurisdiction (each, a “Proceeding”) relating to any of the
                         foregoing, whether or not such Proceeding is brought by a Debtor or its equity
                         holders, affiliates, creditors or any other third party and whether based on contract,
                         tort or any other theory and regardless of whether any Indemnified Person is a
                         party thereto; provided that no such person will be indemnified for costs, expenses,
                         or liabilities to the extent such Liabilities or related expenses are determined by a
                         final, non-appealable judgment of a court of competent jurisdiction to have
                         resulted primarily from the bad faith, gross negligence, or willful misconduct of
                         such Indemnified Person. No Indemnified Person shall have any liability (whether
                         direct or indirect, in contract, tort or otherwise) to the Debtors or any shareholders
                         or creditors of the Debtors for or in connection with the transactions contemplated
                         hereby, except to the extent such liability is found in a final non-appealable
                         judgment by a court of competent jurisdiction to have resulted from such

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                          Indemnified Person’s actual fraud, gross negligence, or willful misconduct, and in
                          no event shall any Indemnified Person be liable on any theory of liability for any
                          special, indirect, consequential, or punitive damages.
                          See Interim Order ¶ 24(b)

Entities with Interests   The following secured parties have an interest in Cash Collateral:
in Cash Collateral
Bankruptcy Rule           •   DIP Secured Parties
4001(b)(1)(B)(i)          •   Prepetition Secured Parties
                          See Interim Order ¶¶ H, 13

Carve Out                 The Interim Order provides a “Carve Out” of certain statutory fees, allowed
Bankruptcy Rules          professional fees of the Debtors, and any official committee of unsecured creditors
4001(b)(1)(B)(iii),       appointed under section 1102 of the Bankruptcy Code appointed in the chapter 11
4001(c)(1)(B)             cases pursuant to section 1103 of the Bankruptcy Code, all as detailed in the
                          Interim Order.
Del. Bankr. L.R.
4001-2(a)(i)(F)           See Interim Order ¶ 8

Fees                      The Debtors agree to pay to the DIP Agent and the DIP Lenders any amounts due
Bankruptcy Rule           in accordance with the terms of the fee letters, in accordance with the applicable
4001(c)(1)(B)             terms thereof.
Del. Bankr. L.R.          See DIP Term Sheet, pp. 13–14; Interim Order ¶ 2(c)(iii)
4001-2(a)(i)(B)

Liens on Avoidance        Subject to and upon entry of the Final DIP Order, the DIP Liens shall attach to the
Actions                   proceeds of any causes of action under Bankruptcy Code sections 502(d), 544,
                          545, 547, 548, and 550 or any other avoidance actions under the Bankruptcy Code
Bankruptcy Rule
                          or applicable non-bankruptcy law.
4001(c)(1)(B)(xi)
                          See Interim Order ¶ 4
Del. Bankr. L.R.
4001-2(a)(i)(U)

Waiver/Modification       The Interim Order includes a customary waiver/modification of the automatic stay
of Automatic Stay         to permit the Debtors to grant the liens and security interests to the DIP Secured
                          Parties, make payments on account of the Adequate Protection Obligations, and
Bankruptcy Rule
                          perform other acts necessary in connection with the DIP Loan Documents,
4001(c)(1)(B)(iv)
                          including entering in to the L/C Cash Collateral Agreement.
Del. Bankr. L.R.
                          See Interim Order ¶¶ 2(b), 2(c)
4001-2(a)(i)(S)
Provisions Limiting
                          The DIP Superpriority Claims shall be entitled to the full protection of section
the Court’s Power
                          364(e) of the Bankruptcy Code if this Interim Order or any provision hereof is
and/or Discretion
                          vacated, reversed, or modified on appeal or otherwise.
Del. Bankr. L.R.
4001-2(a)(i)(C)           In the event this Interim Order or any provision hereof is vacated, reversed, or
                          modified on appeal or otherwise, any liens or claims granted to the Prepetition
                          Secured Parties hereunder arising prior to the effective date of any such vacatur,
                          reversal, or modification of this Interim Order shall be governed in all respects by
                          the original provisions of this Interim Order, including entitlement to all rights,
                          remedies, privileges, and benefits granted herein, and the Prepetition Secured
                          Parties shall be entitled to the protections afforded in Bankruptcy Code section


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                         364(e) with respect to all uses of the Prepetition Collateral (including the Cash
                         Collateral) and all Adequate Protection Obligations
                         See Interim Order ¶¶ 5, 22(b)

Stipulations to          After consultation with their attorneys and financial advisors, and without
Prepetition              prejudice to the rights of parties-in-interest, the Debtors, on their behalf and on
Liens and                behalf of their estates, admit, stipulate, acknowledge, and agree immediately upon
Claims                   entry of the Interim Order, to certain stipulations regarding the validity and extent
Bankruptcy Rule          of the Prepetition Secured Parties’ claims and liens.
4001(c)(1)(B)(iii)
                         See Interim Order ¶ G
Del. Bankr. L.R.
4001-2(a)(i)(B)

Liens and                The Interim Order provides for DIP Liens on the DIP Collateral, which may
Priorities               include unencumbered assets.
Bankruptcy Rule
                         The DIP Obligations, subject to the Carve Out and the L/C Cash Collateral Liens,
4001(c)(1)(B)(i), (ii)
                         at all times be secured by DIP Liens on the DIP Collateral, as follows:
Del. Bankr. L.R.
4001-2(a)(i)(G),         •   pursuant to section 364(c)(2) of the Bankruptcy Code, a valid, binding,
4001-2(a)(i)(P)              continuing, enforceable, fully-perfected first priority senior security interest
                             in and lien upon all DIP Collateral, that, on or as of the Petition Date is not
                             subject to Permitted Liens or any other valid, perfected and non-avoidable
                             liens (or perfected after the Petition Date to the extent permitted by
                             Bankruptcy Code section 546(b)), excluding Avoidance Actions but, subject
                             to entry of the Final Order, including the Avoidance Proceeds, subject only to
                             Permitted Liens, the L/C Cash Collateral Liens, and payment of the Carve
                             Out;
                         •   pursuant to section 364(d)(1) of the Bankruptcy Code, a valid, binding,
                             continuing, enforceable, fully perfected first priority priming security interest
                             and lien (the “Priming Liens”) on all DIP Collateral, subject only to the Carve
                             Out, Permitted Liens, L/C Cash Collateral Liens, or any other valid, perfected
                             and non-avoidable liens (or perfected after the Petition Date to the extent
                             permitted by Bankruptcy Code section 546(b)) (if any). The Priming Liens
                             shall prime in all respects the liens and security interests of the Prepetition
                             Secured Parties, with respect to the Prepetition Secured Credit Facilities
                             (including, without limitation, the Prepetition Liens and the Adequate
                             Protection Liens granted to the Prepetition Secured Parties) (the “Primed
                             Liens”). Notwithstanding anything herein to the contrary, the Priming Liens
                             (i) shall be subject and junior to the Carve Out in all respects and Permitted
                             Liens (if any) and L/C Cash Collateral Liens and (ii) shall be senior in all
                             respects to the Primed Liens; and
                         •   pursuant to section 364(c)(3) of the Bankruptcy Code, be secured by a valid,
                             binding, continuing, enforceable, fully perfected junior priority security
                             interest and lien on all DIP Collateral that is subject to valid, perfected, and
                             unavoidable liens in favor of third parties that were in existence immediately
                             prior to the Petition Date or perfected after the Petition Date to the extent
                             permitted by Bankruptcy Code section 546(b) (other than the Primed Liens,
                             L/C Cash Collateral Liens, or to any Permitted Liens), which liens shall be
                             junior and subordinate to (a) the Carve Out, (b) any such valid, perfected, and
                             non-avoidable liens in existence immediately prior to the Petition Date, and/or
                             (c) any such valid and non-avoidable liens in existence immediately prior to

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                          the Petition Date that are perfected subsequent to the Petition Date as
                          permitted by Bankruptcy Code section 546(b); provided that nothing in the
                          foregoing shall limit the rights of the DIP Secured Parties under the DIP Loan
                          Documents to the extent any such liens are not permitted thereunder.
                      DIP Superpriority Claims
                      •   Pursuant to, and to the extent provided by, section 364(c)(1) of the
                          Bankruptcy Code, all of the DIP Obligations shall constitute allowed
                          superpriority administrative expense claims against the Debtors (without the
                          need to file any proof of claim) with priority over any and all claims against
                          the Debtors, now existing or hereafter arising, of any kind whatsoever,
                          including, without limitation, all administrative expenses of the kind specified
                          in sections 503(b) and 507(b) of the Bankruptcy Code and any and all
                          administrative expenses or other claims (“Administrative Expense Claims”)
                          arising under sections 105, 326, 327, 328, 330, 331, 365, 503(b), 506(c),
                          507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy Code (including the
                          Adequate Protection Obligations), whether or not such expenses or claims
                          may become secured by a judgment lien or other non-consensual lien, levy,
                          or attachment, which allowed claims (the “DIP Superpriority Claims”) shall
                          for purposes of section 1129(a)(9)(A) of the Bankruptcy Code be considered
                          administrative expenses allowed under section 503(b) of the Bankruptcy
                          Code, and which DIP Superpriority Claims shall be payable from and have
                          recourse to all prepetition and postpetition property of the Debtors and all
                          proceeds thereof (excluding claims and causes of action under sections
                          502(d), 544, 545, 547, 548, and 550 of the Bankruptcy Code, or any other
                          avoidance actions under the Bankruptcy Code whether pursuant to federal law
                          or applicable state law (collectively, the “Avoidance Actions”), but including,
                          subject to entry of the Final Order, any proceeds or property recovered,
                          unencumbered or otherwise, from Avoidance Actions, whether by judgment,
                          settlement, or otherwise (collectively, the “Avoidance Proceeds”)) in
                          accordance with the other DIP Loan Documents, subject only to, and
                          subordinated in all respects to, payment of the Carve Out and to any
                          obligations under any L/C Cash Collateral Agreement. The DIP Superpriority
                          Claims shall be entitled to the full protection of section 364(e) of the
                          Bankruptcy Code if this Interim Order or any provision hereof is vacated,
                          reversed, or modified on appeal or otherwise.
                      See Interim Order ¶¶ 4, 5

Joint Liability       The Debtors are jointly and severally liable for the DIP Obligations and all other
Del. Bankr. L.R.      obligations hereunder.
4001-2(a)(i)(J)
                      See Interim Order ¶ 20

Milestones            It shall be an Event of Default for the Debtors to fail to remain in compliance with
Bankruptcy Rule       the Milestones set forth in the RSA.
4001(c)(1)(B)(vi)
                      See DIP Term Sheet, p. 32
Del. Bankr. L.R.
4001-2(a)(i)(H)

Challenge Period      “Challenge Period” means seventy-five (75) calendar days following the date of
Bankruptcy Rule       entry of this Interim Order, subject to further extension by (i) written agreement
4001(c)(1)(B)(viii)   of the Debtors and the Prepetition Secured Parties or (ii) an order of this Court
                      obtained on notice and after a hearing; provided that in the case of the Committee

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Del. Bankr. L.R.        (if any), so long as the RSA remains in full force and effect and provides for the
4001-2(a)(i)(Q)         payment of general unsecured claims in full in cash, the Challenge Period shall be
                        tolled until sixty (60) days after the earliest to occur of (1) termination of the RSA,
                        and (2) the Court’s entry of an order denying confirmation of the Plan (as defined
                        in the RSA) (the “Committee Challenge Period”) and the Committee Challenge
                        Period shall lapse upon the effective date of a chapter 11 plan that provides for the
                        payment of general unsecured claims in full in cash; provided further that in the
                        event that, prior to the expiration of the Challenge Period, (x) the Cases are
                        converted to cases under chapter 7 of the Bankruptcy Code or (y) a chapter 11
                        trustee is appointed in the Cases, then in each such case, the Challenge Period shall
                        be extended by the later of (A) the remaining time under the Challenge Period plus
                        fifteen (15) days or (B) such other time as ordered by the Court solely with respect
                        to any Trustee, commencing on the occurrence of either of the events described in
                        the foregoing clauses (x) and (y); and (ii) an order is entered by a court of
                        competent jurisdiction and becomes final and non-appealable in favor of the
                        plaintiff sustaining any such Challenge or claim in any such duly filed adversary
                        proceeding.
                        See Interim Order ¶ 26
                        The limitation on estate funds related to the Challenge Period is $50,000.
Limitation on Estate
                        See Interim Order ¶ 25
Funds Related to the
Challenge Period
Del. Bankr. L.R.
4001-2(a)(i)(L)
                        The Interim Order provides for approval of the DIP Facility.
Approval of the DIP
                        See Interim Order ¶ 2
Facility
Del. Bankr. L.R.
4001-2(a)(i)(R)

506(c) Waiver           The Interim Order waives the Debtors’ rights under section 506(c) of the
Bankruptcy Rule         Bankruptcy Code, subject to the entry of the Final Order.
4001(c)(1)(B)(x)
                        See Interim Order ¶ 9

Del. Bankr. L.R.
4001-2(a)(i)(V)

Section 552(b) Waiver   The Interim Order provides for a customary waiver/modification of applicability
Del. Bankr. L.R.        of nonbankruptcy law to the perfection or enforcement of liens, subject to entry of
4001-2(a)(i)(W)         the Final Order.
                        See Interim Order ¶ 11

Marshalling Provision   The Interim Order provides that in no event shall any of the DIP Secured Parties
Del.    Bankr.   L.R.   or any of the Prepetition Secured Parties be subject to the equitable doctrine of
4001-2(a)(i)(X)         “marshaling” or any other similar doctrine with respect to any of the DIP
                        Collateral or Prepetition Collateral, as applicable, subject to entry of the Final
                        Order.
                        See Interim Order ¶ 10



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     Explanation for Inclusion of Significant Provisions Pursuant to Local Rule 4001-2(a)(i)

I.        The Significant Provisions Are Appropriate and Justified Under the Circumstances
          of These Chapter 11 Cases.

          17.      Local Rule 4001-2(a)(i) requires that the Debtors explain the reason for including

certain significant provisions described in Local Rules 4001-2(a)(i)(N)–(X) (collectively,

the “Significant Provisions”).8 The Debtors believe that each of the Significant Provisions and the

Carve Out is justified and necessary in the context and circumstances of these chapter 11 cases.

          A.       The Scope of the Carve Out Is Appropriate (Del. Bankr. L.R. 4001-2(a)(i)(F)).

          18.      The DIP Liens, the DIP Superpriority Claims, and the proposed Adequate

Protection Obligations are subject to the Carve Out. Without the Carve Out, the Debtors and other

parties in interest may be deprived of certain rights and powers because the services for which

professionals may be paid in these chapter 11 cases would be restricted. See In re Ames Dep’t

Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (observing that courts insist on carve-outs

for professionals representing parties in interest because “[a]bsent such protection, the collective

rights and expectations of all parties-in-interest are sorely prejudiced”). The Carve Out does not

directly or indirectly deprive the Debtors’ estates or other parties in interest of possible rights and

powers. Additionally, the Carve Out protects against administrative insolvency during the course

of these chapter 11 cases by ensuring that assets remain for the payment of the Clerk of the Court

or U.S. Trustee fees and professional fees of the Debtors and any statutory committee.




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      Local Rules 4001-2(a)(i)(N) and 4001-2(a)(i)(O) are not applicable to the Interim Order. In addition, as further
      explained above, Local Rule 4001-2(a)(i)(P) does not apply and Local Rules 4001-2(a)(i)(U)–(X) are only
      applicable upon entry of the Final Order.


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       B.      The Findings of Validity, Perfection, or Amount of Prepetition Liens and
               Challenge Period Are Appropriate (Del. Bankr. L.R. 4001-2(a)(i)(Q)).

       19.     Local Rule 4001-2(a)(i)(Q) requires explicit disclosure of provisions that bind the

estate or other parties in interest with respect to the validity, perfection, or amount of the secured

creditor’s prepetition lien or the waiver of claims against the secured creditor without first giving

parties in interest at least seventy-five (75) days from the entry of the order to investigate such

matters. Here, the Interim Order complies with this requirement by providing any statutory

committee appointed in these cases and all parties in interest in each case, with requisite standing,

to file an adversary proceeding challenging the validity, extent, perfection, or priority of the

Prepetition Liens on the Prepetition Collateral, the validity, allowability, priority, or amount of the

Prepetition Secured Obligations, or the Stipulations by the earlier of (i) seventy-five (75) days after

the entry of the Interim Order and (ii) the date of entry of an order confirming a chapter 11 plan.

In addition, the Interim Order provides that, with respect to any committee appointed in these

cases, so long as the RSA remains in full force and effect and provides for the payment of general

unsecured claims in full in cash, the Challenge Period shall be tolled until sixty (60) days after the

earliest to occur of (i) termination of the RSA, and (ii) the Court’s entry of an order denying

confirmation of the Plan. This additional challenge period shall lapse upon the effective date of a

chapter 11 plan that provides for the payment of general unsecured claims in full in cash.

       C.      The Provisions Immediately Approving All Terms and Conditions of the DIP
               Term Sheet Are Appropriate (Del. Bankr. L.R. 4001-2(a)(i)(R)).

       20.     Local Rule 4001-2(a)(i)(R) requires explicit disclosure of provisions that

immediately approve all terms and conditions of the underlying loan agreement. Here, the Interim

Order provides that upon entry, the parties to the DIP Facility are authorized to enter into their

respective obligations and that, upon execution, the DIP Loan Documents shall constitute valid

and binding obligations of the Debtors. Moreover, to the extent the DIP Loan Documents conflict

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with the Interim Order, the Interim Order controls. See Interim Order ¶¶ 2, 40. This is necessary

and appropriate for the Debtors to access the DIP Loans and to provide all parties with the

assurances that the Debtors’ entry into the DIP Facility postpetition is valid. Without this

provision, the Debtors would be unable to access the DIP Loans or use Cash Collateral on an

interim basis.

        D.       The Provisions Modifying the Automatic Stay, Providing for a Remedies
                 Notice Period, and Providing for a Default Notice Hearing Are Appropriate
                 (Del. Bankr. L.R. 4001-2(a)(i)(S), (T)).

        21.      Local Rules 4001-2(a)(i)(S) and (T) require explicit disclosure of provisions that

modify the automatic stay upon a DIP Termination Event without a Notice Period and provisions

that seek to limit what parties in interest may raise at an emergency hearing during the Notice

Period. The Interim Order provides for a five-day Notice Period for all DIP Termination Events,

and thus such Remedies Notice Period is appropriate. See Interim Order ¶ 19. In addition, as

explained above, there is no limit as to what parties in interest may raise during an emergency

hearing scheduled during a Remedies Notice Period. See id. Thus, the Interim Order complies

with Local Rule 4001-2(a)(i)(T). In light of the foregoing, the Debtors submit that the Significant

Provisions are appropriate under the facts and circumstances of these chapter 11 cases.

Accordingly, the Significant Provisions in the Interim Order should be approved.

         The Debtors’ Prepetition Capital Structure and Need to Use Cash Collateral

        22.      As of the Petition Date, the Debtors have approximately $1,032.9 million9 in

aggregate outstanding funded debt obligations. Each of the Debtors in these chapter 11 cases are

obligors under the First Lien Credit Agreement and the Second Lien Credit Agreement (each as

defined below).


9
    This amount does not include any amounts rising out of Hedge Claims (as defined in the Plan).


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      Funded Debt                                        Approximate Outstanding Principal Amount
      First Lien Term Loan Facility                                   $507.7 million
      First Lien Revolving Loan Facility                             $77.0 million10
      Second Lien Term Loan Facility                                  $448.2 million

      Total Funded Debt Obligations                                     $1,032.9 million

         A.       First Lien Term Loan Facility

         23.      Carestream Health Holdings, Inc. (“Carestream Holdings”), as holdings,

Carestream Health, Inc. (“Carestream Health”), as borrower,11 the several lenders party thereto

(the lenders under the First Lien Credit Agreement (as defined below), collectively, the “First Lien

Lenders”), and Credit Suisse AG, Cayman Islands Branch (“Credit Suisse Cayman”), as

Administrative Agent, are each party to that certain Amended and Restated Credit Agreement

(First Lien), dated as of June 7, 2013 (as the same may be amended, amended and restated,

supplemented, or otherwise modified from time to time, the “First Lien Credit Agreement,” the

term loan facility thereunder, the “First Lien Term Loan Facility,” and the revolving loan facility

thereunder, the “First Lien Revolving Loan Facility”).12

         24.      The First Lien Term Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors (as defined in the First Day Declaration) and is secured on a

first priority basis (pari passu with the First Lien Revolving Loan Facility) by substantially all of

the Debtors’ assets.




10
     This amount does not include any amounts rising out of Hedge Claims.
11
     On December 31, 2017, Onex Carestream Finance LP (“Onex Finance”), the Term Loan Borrower under the
     original First Lien Credit Agreement, assigned its obligations as Term Loan Borrower to Carestream Health.
12
     The First Lien Credit Agreement has been subsequently amended or supplemented on June 9, 2017, June 22,
     2017, December 27, 2018, April 11, 2019, January 29, 2020, April 13, 2020, May 8, 2020, and October 14, 2020.


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         25.     The First Lien Term Loan Facility matures on May 8, 2023, and accrues interest at a

rate of LIBOR plus 6.75% per annum. As of the Petition Date, approximately $507.7 million in

aggregate principal amount remains outstanding under the First Lien Term Loan Facility.

         B.      First Lien Revolving Loan Facility

         26.     The First Lien Revolving Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors and is secured on a first-priority basis (pari passu with the

First Lien Term Loan Facility) by substantially all of the Debtors’ assets.

         27.     The First Lien Revolving Loan Facility matures on May 8, 2023, and accrues interest

at a rate of LIBOR plus 6.75% per annum (subject to adjustments pursuant to the First Lien Credit

Agreement). As of the Petition Date, approximately $77.0 million13 in aggregate principal amount

remains outstanding under the First Lien Revolving Loan Facility.

         C.      Second Lien Term Loan Facility

         28.     Carestream Holdings, as holdings, Carestream Health, as borrower,14 the several

lenders party thereto (the “Second Lien Term Lenders”), and Credit Suisse Cayman, as

Administrative Agent, are each party to that certain Second Lien Credit Agreement, dated as of

June 7, 2013 (as the same may be amended, amended and restated, supplemented, or otherwise

modified from time to time, the “Second Lien Credit Agreement” and the term loan facility

thereunder, the “Second Lien Term Loan Facility”).15




13
     This amount does not include any amounts rising out of Hedge Claims.
14
     On December 31, 2017, Onex Finance, the Term Loan Borrower under the original Second Lien Credit
     Agreement, assigned its obligations as Term Loan Borrower to Carestream Health.
15
     The Second Lien Credit Agreement has been subsequently amended or supplemented on June 9, 2017,
     December 27, 2018, April 11, 2019, January 29, 2020, April 13, 2020, May 8, 2020, October 14, 2020, and
     December 30, 2020.


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        29.     The Second Lien Term Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors and is secured on a second-priority basis to the First Lien Term

Loan Facility and First Lien Revolving Loan Facility by substantially all of the Debtors’ assets.

        30.     The Second Lien Term Loan Facility matures on August 8, 2023, and accrues interest

at a rate of LIBOR plus 4.50% per annum payable in cash and 8% per annum payable in kind (subject

to adjustments pursuant to the Second Lien Credit Agreement).                As of the Petition Date,

approximately $448.2 million in aggregate principal amount remains outstanding under the

Second Lien Term Loan Facility.

        D.      Equity Interests

        31.     Onex Corporation and its affiliates hold the majority of the equity interests of

Debtor Carestream Health Holdings, Inc., the ultimate parent of the Debtors. The remaining shares

of Carestream Health Holdings, Inc. are primarily held by current and former management of the

Debtors.

                                            The DIP Facility

I.      The Debtors’ Need for Access to Financing and Use of Cash Collateral.

        32.     The Debtors require access to additional liquidity to ensure that they are able to

continue operating their business during these chapter 11 cases and preserve the value of their

estates for the benefit of all parties in interest.

        33.     As part of the Debtors’ preparations for these chapter 11 cases, the Debtors and

their advisors analyzed how much postpetition financing would be required to operate the Debtors’

business and fund the administrative costs of this chapter 11 process. As part of this analysis, the

Debtors and their advisors developed a 13-week cash flow forecast, which takes into account

anticipated cash receipts and disbursements during the projected period and considers a number of

factors, including, but not limited to, the effect of a chapter 11 filing on the operations of the

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business, the fees, and interest expense associated with the DIP Facility and consensual use of

Cash Collateral, restructuring costs (including professional fees), required operational payments,

and the potential acceleration of demands on available liquidity through working capital

contraction. See Turnbull Decl. ¶ 9.

       34.     Based on this analysis, the Debtors determined that they would require incremental

liquidity to comfortably operate postpetition and satisfy all administrative costs and expenses.

See Turnbull Decl. ¶ 10. The Debtors believe that their ability to continue funding ongoing

operations during these chapter 11 cases is essential to the preservation of the Debtors’ assets and

their ability to maximize the value of those assets.

       35.     The Debtors also believe that the DIP Facility and access to Cash Collateral will

provide a strong, clear message to their customers, vendors, employees, and contract

counterparties that operations are appropriately funded and that the bankruptcy filing will not

impact the Debtors’ businesses operationally. Specifically, access to liquidity will communicate

that the Debtors are able to continue meeting the needs of their customers, provide compensation

to their employees, and are continuing to manage their businesses as close to the ordinary course

as possible. Furthermore, access to the proposed DIP Facility and Cash Collateral will provide the

Debtors with sufficient funds to pay wages to their employees, administer these chapter 11 cases,

and thereby enable the Debtors to continue their efforts to preserve and maximize the value of their

estates during these prepackaged chapter 11 cases. See Turnbull Decl. ¶ 10.

       A.      Alternative Sources of Financing Are Not Available on Better Terms.

       36.     Leading up to the Petition Date, the Debtors, the Prepetition Secured Parties, and

the DIP Lenders engaged in good faith, arm’s-length negotiations over the terms of the DIP

Facility. Given the Debtors’ capital structure and under the current circumstances, the only viable,

actionable source of debtor-in-possession financing was with the Prepetition Secured Parties and

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DIP Lenders. Furthermore, the Prepetition Secured Parties and the DIP Lenders made it known

that they would not consent to a priming loan from a third-party. See Turnbull Decl. ¶ 12.

       37.     Further, with any third-party proposal, the Debtors would incur the execution risk

associated with a new lender transaction, including timing and due diligence constraints,

necessarily involving the payment of additional professional fees. In contrast, the proposed

consensual DIP Facility and access to Cash Collateral offered by the DIP Lenders allows the

Debtors to avoid such risks at the outset of these chapter 11 cases. See Turnbull Decl. ¶ 13.

       38.     To ensure that there was no other available financing on better terms under the

circumstances, Houlihan Lokey reached out to six other parties to assess any party’s willingness

to provide financing. Of those six parties, none of them expressed an interest in providing

financing to the Debtors other than on a consensual priming basis, let alone financing on better

terms. See Turnbull Decl. ¶ 14.

       39.     Importantly, the DIP Facility is an integral part of the Debtors’ RSA and the

transactions contemplated thereunder, and all of the proposed DIP Lenders also signed the RSA.

Further, the DIP Facility is critical to the Debtors’ ability to fund the administrative costs of these

chapter 11 cases and provides the Debtors with sufficient liquidity to operate their business. As

noted above, the Prepetition Secured Parties indicated that they would not consent to a “priming”

DIP financing provided by a third party, and therefore the DIP Facility avoids the need for a

value-destructive “priming” or valuation dispute at the outset of these chapter 11 cases. In tandem

with the RSA, the DIP Facility provides a path to emergence that is important to reassure customers

and vendors, protect operations, and maximize value for creditors. See Turnbull Decl. ¶ 15.

Finally, and perhaps most importantly, the DIP Lenders have agreed to equitize a significant




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amount of the DIP Claims under the Plan and receive both cash and New Common Stock in lieu

of repayment in full in cash. Id.

       40.     In the lead up to the Petition Date, the Debtors, along with Houlihan Lokey and

their other advisors, negotiated the terms and provisions of the DIP Facility on behalf of the

Debtors. During that time, the parties exchanged multiple term sheets and mark-ups. Over the

course of these negotiations, the size and terms of the DIP Facility improved to the benefit of the

Debtors. See Turnbull Decl. ¶ 16.

       41.     The DIP Facility is critical to the Debtors’ ability to fund the administrative costs

of these chapter 11 cases and provides the Debtors with sufficient liquidity to operate their business

without creating a value-destructive “priming” or valuation dispute at the outset of these chapter

11 cases. In tandem with the RSA, the DIP Facility provides a path to emergence that is important

to reassure customers and vendors, protect operations, and maximize value for creditors.

                                          Basis for Relief

I.     The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
       DIP Loan Documents.

       A.      Entry into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
               Business Judgment.

       42.     The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and continue

using Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured

or superpriority financing under certain circumstances discussed in detail below. Courts grant a

debtor considerable deference in acting in accordance with its business judgment in obtaining

postpetition secured credit, so long as the agreement to obtain such credit does not run afoul of the

provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re Trans World Airlines,

Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and receivables

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facility because such facility “reflect[ed] sound and prudent business judgment”); In re L.A.

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the

business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc., 115

B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion under

section 364 is to be utilized on grounds that permit reasonable business judgment to be exercised

so long as the financing agreement does not contain terms that leverage the bankruptcy process

and powers or its purpose is not so much to benefit the estate as it is to benefit a party in interest.”).

        43.     Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also

In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of the debtor’s authority under

the [Bankruptcy] Code”).

        44.     Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003)

(while many of the terms favored the DIP lenders, “taken in context, and considering the relative

circumstances of the parties,” the court found them to be reasonable); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen McLean Oil

Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into

“hard bargains” to acquire funds for its reorganization). The Court may also appropriately take

into consideration non-economic benefits to the Debtors offered by a proposed postpetition



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facility. For example, in In re ION Media Networks, Inc., the bankruptcy court for the Southern

District of New York held that:

               Although all parties, including the Debtors and the Committee, are
               naturally motivated to obtain financing on the best possible terms, a
               business decision to obtain credit from a particular lender is almost
               never based purely on economic terms. Relevant features of the
               financing must be evaluated, including non economic elements
               such as the timing and certainty of closing, the impact on creditor
               constituencies and the likelihood of a successful reorganization.
               This is particularly true in a bankruptcy setting where cooperation
               and establishing alliances with creditor groups can be a vital part of
               building support for a restructuring that ultimately may lead to a
               confirmable reorganization plan. That which helps foster consensus
               may be preferable to a notionally better transaction that carries the
               risk of promoting unwanted conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

       45.     The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arm’s-length process and careful evaluation of

available alternatives. Specifically, the Debtors and their advisors determined that the Debtors

would require postpetition financing to support their operational and chapter 11 activities. The

DIP Facility will allow the Debtors to: (a) fund certain costs, fees, and expenses related to these

chapter 11 cases; (b) provide Adequate Protection Claims (as defined in the Interim Order);

(c) fund the fees, interest, payments, and expenses associated with the DIP Facility, including fees,

costs, and expenses incurred by the DIP Agent and/or the DIP Lenders; and (d) fund the working

capital needs, capital improvements, and expenditures related to these chapter 11 cases. The

Debtors negotiated the DIP Facility and other DIP Loan Documents with the Prepetition Secured

Parties in good faith, at arm’s length, and with the assistance of their respective advisors, and the

Debtors believe that they have obtained the best financing available under the circumstances.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Loan Documents, as it is

a reasonable exercise of the Debtors’ business judgment.

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        B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims.

        46.     The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth in the DIP Loan Documents pursuant to section 364(c) of

the Bankruptcy Code. Specifically, the Debtors propose to provide to the DIP Lenders with a:

(a) first priority security interest in and liens on the DIP Collateral (as defined in the Interim Order)

that was not, on the Petition Date, subject to valid, enforceable, non-avoidable, and perfected

security interests and liens; (b) junior security interest in and liens on DIP Collateral of each DIP

Lender to the extent such DIP Collateral was, as of the Petition Date, subject to valid, binding,

perfected, and non-avoidable senior liens in favor of third parties that were in existence

immediately prior to the Petition Date, or to valid and non-avoidable permitted senior liens in favor

of third parties that were in existence immediately prior to the Petition Date that were perfected

subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code; and

(c) priming security interest and lien on the DIP Collateral of each DIP Lender to the extent such

DIP Collateral is subject to prepetition liens that secure the Prepetition Secured Credit Facilities

of the Prepetition Secured Parties.

        47.     The above-described liens on encumbered and unencumbered assets are common

features of postpetition financing facilities, and as set forth in greater detail in the Turnbull

Declaration, were a necessary feature here to provide security for the proposed DIP Facility.

Indeed, postpetition financing facilities approved in this Circuit and elsewhere routinely are

secured by the proceeds of a debtor’s unencumbered assets such as leaseholds that are subject to

leases that prohibit the impositions of liens thereon. See, e.g., In re Akorn, Inc., No. 20-11177

(KBO) (Bankr. D. Del. May 22, 2020) (approving DIP liens on collateral including any leasehold

interests or the proceeds thereof as permitted by applicable law); (In re PES Holdings, LLC,

No. 19-11626 (KG) (Bankr. D. Del. July 23, 2019) (same); In re Blackhawk Mining LLC, No. 19-

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11595 (LSS) (Bankr. D. Del. July 22, 2019) (same); In re Z Gallerie, LLC, No. 19-10488 (LSS)

(Bankr. D. Del. Apr. 9, 2019) (same); In re ATD Corporation, No. 18-12221 (KJC) (Bankr. D.

Del. Oct. 26, 2018) (same).

       48.     The statutory requirement for obtaining postpetition credit under section 364(c) of

the Bankruptcy Code is a finding, made after notice and hearing, that a debtor is “unable to obtain

unsecured credit allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C.

§ 364(c). See In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit

under section 364(c) of the Bankruptcy Code is authorized, after notice and hearing, upon showing

that unsecured credit cannot be obtained). Courts have articulated a three-part test to determine

whether a debtor is entitled to financing under section 364(c) of the Bankruptcy Code.

Specifically, courts look to whether:

       a.      the debtor is unable to obtain unsecured credit under section 364(b) of the
               Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

       b.      the credit transaction is necessary to preserve the assets of the estate; and

       c.      the terms of the transaction are fair, reasonable, and adequate, given the
               circumstances of the debtor-borrower and proposed lenders.

See In re Los Angeles Dodgers LLC, 457 B.R. 308 (Bankr. D. Del. 2011); See In re Ames Dep’t

Stores, 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990); see also In re St. Mary Hosp., 86 B.R. 393,

401–02 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       49.     As described above and as set forth in the Turnbull Declaration, during the Debtors’

prepetition marketing process, no third-party lender indicated it would be willing to provide

postpetition financing on an unsecured, pari passu, or junior-lien basis to the Prepetition Secured

Parties. See Turnbull Decl. ¶ 14. Further, with any third-party proposal, the Debtors would incur

the execution risk associated with a new lender transaction, including timing and due diligence

constraints, necessarily involving the payment of additional professional fees. Id. ¶ 13. The DIP

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Facility is therefore the best DIP financing available to the Debtors under the circumstances to

provide liquidity during these chapter 11 cases. See id. ¶ 23.

        50.     Absent the DIP Facility, which will provide assurances that the Debtors will have

sufficient liquidity to administer these chapter 11 cases, the value of the Debtors’ estates would be

significantly impaired to the detriment of all stakeholders. Without postpetition financing, the

Debtors lack sufficient funds to operate their enterprise, continue paying their debts as they come

due, and cover the projected costs of these prepackaged chapter 11 cases.                     Under the

circumstances, the Debtors believe that the terms of the DIP Facility, as set forth in the DIP Loan

Documents, are reasonable, as more fully set forth above and in the Turnbull Declaration. For all

these reasons, the Debtors submit that they have met the standard for obtaining postpetition

financing.

        51.     In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) of the

Bankruptcy Code provides that a court “may authorize the obtaining of credit or the incurring of

debt (a) with priority over any or all administrative expenses of the kind specified in section

503(b) or 507(b) of [the Bankruptcy Code]; (b) secured by a lien on property of the estate that is

not otherwise subject to a lien; or (c) secured by a junior lien on property of the estate that is subject

to a lien.” 11 U.S.C. § 364(c). As described above, the Debtors are unable to obtain unsecured

credit. Therefore, approving a superpriority claim in favor of the DIP Lenders is reasonable and

appropriate.

        52.     Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after

notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is



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adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). The Debtors may

incur “priming” liens under the DIP Facility to the extent such DIP Collateral is subject to

prepetition liens that secure the Prepetition Secured Credit Facilities of the Prepetition Secured

Parties. See Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y

tacitly consenting to the superpriority lien, those [undersecured] creditors relieved the debtor of

having to demonstrate that they were adequately protected.”). Accordingly, the Debtors may incur

“priming” liens under the DIP Facility if either (a) their Prepetition Secured Parties have consented

or (b) the Prepetition Secured Parties’ interests in collateral are adequately protected.

       53.     Here, a substantial majority of the Prepetition Secured Parties have affirmatively

consented to the DIP Facility and actively participated in facilitating the proposed DIP Facility.

Moreover, as set forth more fully in the Interim Order, the Debtors propose to provide a variety of

adequate protection to protect the interests of the Prepetition Secured Parties. Therefore, the relief

requested pursuant to section 364(d)(1) of the Bankruptcy Code is appropriate.

       C.      No Comparable Alternative to the DIP Facility Is Reasonably Available on
               More Favorable Overall Terms.

       54.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v.

Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Snowshoe Co., 789 F.2d


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1085, 1088 (4th Cir. 1986) (demonstrating that credit was unavailable absent the senior lien by

establishment of unsuccessful contact with other financial institutions in the geographic area); In

re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two

national banks refused to grant unsecured loans was sufficient to support conclusion that

section 364 requirement was met); In re Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show

that it made reasonable efforts to seek other sources of financing under section 364(a) and (b)).

          55.       As noted above, the Debtors do not believe that more favorable alternative

debtor-in-possession financing is reasonably available given the realities imposed by the Debtors’

capital structure and the Debtors’ solicitation of alternative financing proposals. Additionally, the

Debtors’ overall restructuring is closely tied to the transactions described in the RSA. Thus, the

Debtors have determined that the DIP Facility provides the most favorable terms, is an integral

piece of the transactions contemplated by the RSA, and is provided on reasonable terms under the

circumstances. Simply put, the DIP Facility provides the Debtors with the liquidity they need at

the lowest cost available while simultaneously placing the Debtors on an optimal path for

successfully implementing these prepackaged chapter 11 cases on an expeditious basis. Therefore,

the Debtors submit that the requirement of section 364 of the Bankruptcy Code that alternative

credit on more favorable terms be unavailable to the Debtors is satisfied.

II.       The Debtors Should Be Authorized to Use the Cash Collateral.

          56.       Section 363 of the Bankruptcy Code governs the Debtors’ use of property of their

estates, including Cash Collateral.16 Pursuant to section 363(c)(2) of the Bankruptcy Code, a



16
      The Bankruptcy Code defines “cash collateral” as:

      Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash equivalents whenever
      acquired in which the estate and an entity other than the estate have an interest and includes the proceeds, products,
      offspring rents, or profits of property and the fees, charges, accounts or other payments for the use or occupancy
      of rooms and other public facilities in hotels, motels, or other lodging properties subject to a security interest as

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debtor may use cash collateral as long as “(A) each entity that has an interest in such cash collateral

consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2). Here, the DIP Lenders

and the Prepetition Secured Parties consent or are deemed to consent to the Debtors’ use of the

Cash Collateral, subject to the terms and limitations set forth in the Interim Order.

       57.      Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

in property when a debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code

provides for adequate protection of interests in property due to the imposition of the automatic

stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361 of

the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

(3d Cir. 1994) (explaining that the “determination of whether there is adequate protection is made

on a case by case basis”); In re Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6

(Bankr. D. Del. Dec. 7, 2012) (same); In re N.J. Affordable Homes Corp., No. 05-60442 (DHS),

2006 WL 2128624, at *14 (Bankr. D.N.J. June 29, 2006) (“the circumstances of the case will

dictate the necessary relief to be given”); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992

WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992) (“what interest is entitled to adequate protection

and what constitutes adequate protection must be decided on a case-by-case basis”); see also In re

Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy

¶ 361.01[1] at 361–66 (15th ed. 1993) (explaining that adequate protection can take many forms


   provided in section 552(b) of this title, whether existing before or after the commencement of a case under this
   title.

   11 U.S.C. § 363(a).


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and “must be determined based upon equitable considerations arising from the particular facts of

each proceeding”)).

       A.      Adequate Protection Provided to the Prepetition Secured Parties.

       58.     As described more fully below and as set forth in the Interim Order, the Debtors

propose to provide the Prepetition Secured Parties with certain forms of adequate protection to

protect against the postpetition diminution in value of the Cash Collateral resulting from the use,

sale, or lease of the Cash Collateral by the Debtors, priming of their security interests and liens in

the DIP Collateral, and the imposition of the automatic stay (collectively, the “Adequate Protection

Obligations”) and Adequate Protection Payments (as defined in the Interim Order):

               a.      allowed, superpriority administrative expense claims under section 507(b)
                       of the Bankruptcy Code (subject to the Carve Out and the priorities set out
                       in the Interim Order);

               b.      valid and perfected security interests in and liens on the DIP Collateral
                       (subject to the liens priorities set forth in the Interim Order);

               c.      the reasonable and documented out-of-pocket fees and professional fees and
                       expenses of the Prepetition Secured Parties; and

               d.      payment of all accrued but unpaid interest under the First Lien Credit
                       Agreement.

       59.     The Debtors submit that the proposed Adequate Protection Obligations are

sufficient to protect the Prepetition Secured Parties from any potential diminution in value to the

Cash Collateral. In light of the foregoing, the Debtors further submit, and the Prepetition Secured

Parties agree, that the proposed Adequate Protection Obligations to be provided for the benefit of

the Prepetition Secured Parties are appropriate. Thus, the Debtors’ provision of the Adequate

Protection Obligations is not only necessary to protect against any diminution in value but is fair

and appropriate under the circumstances of these chapter 11 cases to ensure the Debtors are able




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to continue using the Cash Collateral, subject to the terms and limitations set forth in the Interim

Order, for the benefit of all parties in interest and their estates.

III.       The Debtors Should Be Authorized to Pay the Fees Required by the DIP Lenders
           Under the DIP Loan Documents.

           60.      Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain fees to the DIP Agent and the DIP Lenders. In particular, as noted above,

the Debtors have agreed to pay:

                    a.       a commitment fee of 2.0% of the aggregate principal amount of the DIP
                             Commitments;

                    b.       an exit fee equal to 4.0% of the aggregate funded principal amount of the
                             DIP Loans;

                    c.       an undrawn DIP fee of 1.0% per annum on the unused portion of the DIP
                             Commitments; and

                    d.       an agency fee set forth in the letter agreement between the DIP Agent and
                             the Borrower (the “DIP Agent Fee Letter”).17

           61.      Courts in this district and others have approved similar aggregates in fees in large

chapter 11 cases. See In re Akorn, Inc., No. 20-11177 (KBO) (Bankr. D. Del. May 22, 2022)

(approving a commitment fee of approximately 3.0 percent of the DIP loans, a backstop fee of

approximately 2.0 percent of the DIP loans, and a fronting premium of approximately 0.50% of

the DIP loans); In re ATD Corp., No. 18-12221 (KJC) (Bankr. D. Del. Oct. 26, 2018) (approving

a cash fee approximately 2.0 percent of the overall DIP facility); In re PES Holdings LLC, No. 18-

10122 (KG) (Bankr. D. Del. Jan. 22, 2018) (same); In re Toys “R” US, Inc., No. 17-34665 (KLP)

(Bankr. E.D.Va. Sept. 19, 2017) (approving aggregate fees that were just less than 3.0 percent of

the overall DIP facility).



17
       A copy of the redacted DIP Agent Fee Letter is attached hereto as Exhibit D. The Debtors are requesting to file
       under seal certain terms of the DIP Agent Fee Letter as further set forth in the Motion to Seal.


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       62.     It is understood and agreed by all parties that these fees are an integral component

of the overall terms of the DIP Facility and were required by the DIP Lenders as consideration for

the extension of postpetition financing. See Turnbull Decl. ¶¶ 17–18. Accordingly, the Court

should authorize the Debtors to pay the fees provided under the DIP Loan Documents in

connection with entering into those agreements.

IV.    The DIP Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e).

       63.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

       64.     As explained herein, the Turnbull Declaration, and the First Day Declaration, the

DIP Loan Documents are the result of: (a) the Debtors’ reasonable and informed determination

that the DIP Lenders provided the best postpetition financing alternative available under the

circumstances; and (b) extended arm’s length, good-faith negotiations between the Debtors and

the DIP Lenders. The Debtors submit that the terms and conditions of the DIP Loan Documents

are reasonable under the circumstances, and the proceeds of the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

provided to any party to the DIP Loan Documents other than as described herein. Accordingly,

the Court should find that the DIP Lenders are “good faith” lenders within the meaning of


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section 364(e) of the Bankruptcy Code and are entitled to all of the protections afforded by that

section.

V.     Failure to Obtain Immediate Interim Access to Cash Collateral and Incur the DIP
       Facility Would Cause Immediate and Irreparable Harm.

       65.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code or to use Cash Collateral pursuant to

section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after the service

of such motion. Upon request, however, the Court may conduct a preliminary, expedited hearing

on the motion and authorize the obtaining of credit and use of cash collateral to the extent necessary

to avoid immediate and irreparable harm to a debtor’s estate.

       66.     For the reasons noted above, the Debtors have an immediate postpetition need to

use Cash Collateral and access the liquidity provided by the DIP Facility to continue operations,

preserve and maximize the value of their estates, and administer these prepetition chapter 11 cases.

The Debtors require immediate access to liquidity to satisfy the day-to-day financing needs of their

business operations. This access will permit the orderly continuation of the operation of their

business, maintain business relationships with their vendors and suppliers, pay wages and benefits,

and satisfy other essential working capital and operational needs, all of which are required to

preserve and maintain the Debtors’ going concern value for the benefit of all parties in interest.

       67.     The Debtors believe that substantially all of their available cash constitutes the

Prepetition Secured Parties’ Cash Collateral. The Debtors will therefore be unable to proceed with

their proposed restructuring and sale process, operate their business in the near term, or otherwise

fund these chapter 11 cases without access to Cash Collateral, and will suffer immediate and

irreparable harm to the detriment of all creditors and other parties in interest, including the

Prepetition Secured Parties. In short, the Debtors’ ability to finance their operations and the


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availability of sufficient working capital and liquidity to the Debtors through the use of Cash

Collateral is vital to preserve and maximize the value of the Debtors’ estates.

       68.        The Debtors, therefore, seek immediate authority to use the Cash Collateral and

incur the DIP Facility, as set forth in this Motion and in the Interim Order, to prevent immediate

and irreparable harm to their estates pending the Final Hearing pursuant to Bankruptcy Rule

4001(b). Accordingly, the Debtors respectfully submit that they have satisfied the requirements

of Bankruptcy Rule 4001 to support an expedited preliminary hearing and immediate Cash

Collateral availability on an interim basis.

VI.    The Automatic Stay Should Be Modified on a Limited Basis.

       69.     The proposed Interim Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code will be modified to allow the DIP Lenders to file any financing

statements, security agreements, notices of liens, and other similar instruments and documents in

order to validate and perfect the liens and security interests granted to them under the Interim

Order. The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant liens to the DIP Lenders and to incur all liabilities and

obligations set forth in the Interim Order. Finally, the proposed Interim Order provides that,

following the occurrence of an Event of Default (as defined in the DIP Term Sheet) or a DIP

Termination Event and an appropriate opportunity for the Debtors to obtain appropriate relief from

the Court, the automatic stay shall be vacated and modified to the extent necessary to permit the

DIP Agent to exercise all rights and remedies in accordance with the DIP Loan Documents, or

applicable law.

       70.     In addition, with respect to the Prepetition Secured Parties, the Interim Order

permits the Debtors to (a) grant Adequate Protection Liens and Adequate Protection Claims,

(b) perform such acts as the Prepetition Agents may request in its reasonable discretion to assure

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the perfection and priority of the liens granted herein, (c) incur all liabilities and obligations to the

Prepetition Secured Parties under the Interim Order, and (d) subject to the Carve Out, make, and

the Prepetition Secured Parties to retain and apply, payments made in accordance with the terms

of the Interim Order. The Interim Order further provides that, upon the expiration of the Notice

Period (as defined in the Interim Order), the automatic stay will be automatically terminated (a) to

permit the DIP Agent, on behalf of itself and for the benefit of each of the DIP Lenders, to exercise

all its rights and remedies set forth in the Interim Order, the DIP Loan Documents, and as otherwise

available at law without further order or application or motion to the Court to foreclose upon and

sell all or a portion of the DIP Collateral in order to collect any amounts payable to the DIP Secured

Parties and (b) to permit the Prepetition Secured Parties to exercise any rights and remedies to

satisfy the Prepetition Secured Obligations, the Adequate Protection Claims, and any other

Adequate Protection Obligations, subject to the limitations set forth in the Interim Order.

        71.     Stay modifications of this kind are ordinary and standard features of debtor in

possession financing arrangements and, in the Debtors’ business judgment, are reasonable and fair

under the circumstances of these chapter 11 cases. See, e.g., In re Akorn, Inc., No. 20-11177

(KBO) (Bankr. D. Del. May 22, 2020) (modifying automatic stay as necessary to effectuate the

terms of the order); In re Blackhawk Mining LLC, No. 19-11595 (LSS) (Bankr. D. Del. July 22,

2019) (same); In re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019) (same);

ATD Corporation, No. 18-12221 (KJC) (Bankr. D. Del. Oct. 26, 2018) (same); In re In re

Charming Charlie, LLC, No. 17-12906 (CSS) (Bankr. D. Del. Dec. 12, 2017) (same).

                                     Request for Final Hearing

        72.     Pursuant to Bankruptcy Rule 4001(b)(2) and Local Rule 4001-2(c), the Debtors

request that the Court set a date for the Final Hearing that is as soon as practicable, and fix the time

and date prior to the Final Hearing for parties to file objections to this motion.

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                  The Requirements of Bankruptcy Rule 6003 Are Satisfied

       73.     Bankruptcy Rule 6003 empowers a court to grant certain relief within the first

21 days after the petition date only “to the extent that relief is necessary to avoid immediate and

irreparable harm.” For the reasons discussed above, the Debtors believe an immediate and orderly

transition into chapter 11 is critical to the viability of their operations, and the failure to receive

the requested relief during the first 21 days of these chapter 11 cases would severely disrupt the

Debtors’ operations at this important juncture. The requested relief is necessary for the Debtors

to operate their businesses in the ordinary course, preserve the ongoing value of their operations,

and maximize the value of their estates for the benefit of all stakeholders. The Debtors have

demonstrated that the requested relief is “necessary to avoid immediate and irreparable harm,” as

contemplated by Bankruptcy Rule 6003, and the Court should grant the requested relief.

                                       Reservation of Rights

       74.     Nothing contained in this motion or any order granting the relief requested in this

motion, and no action taken pursuant to the relief requested or granted (including any payment

made in accordance with any such order), is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication, admission or finding that any particular claim is an

administrative expense claim, other priority claim or otherwise of a type specified or defined in

this motion or any order granting the relief requested by this motion; (e) a request or authorization

to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) other than with respect to the liens in favor of the Prepetition Agents, an

admission as to the validity, priority, enforceability or perfection of any lien on, security interest

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in, or other encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of any

claims, causes of action or other rights of the Debtors or any other party in interest against any

person or entity under the Bankruptcy Code or any other applicable law. If the Court grants the

relief sought herein, any payment made pursuant to the Court’s order is not intended and should

not be construed as an admission as to the validity of any particular claim or a waiver of the

Debtors’ rights to subsequently dispute such claim.

                                               Notice

       75.       The Debtors will provide notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of Delaware; (b) the holders of the

thirty largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the

DIP Agent; (d) counsel to the First Lien Agent and the Second Lien Agent; (e) counsel to the

Crossover Group; (f) the office of the attorney general for each of the states in which the Debtors

operate; (g) the United States Attorney’s Office for the District of Delaware; (h) the Internal

Revenue Service; (i) all parties who are known, after reasonable inquiry, to have asserted a lien,

encumbrance, or claim in the Prepetition Collateral; (j) the Debtors’ landlords; and (k) any party

that has requested notice pursuant to Bankruptcy Rule 2002. As this motion is seeking “first day”

relief, within two business days of the hearing on this motion, the Debtors will serve copies of this

motion and any order entered in respect to this motion as required by Local Rule 9013-1(m). The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.

                                         No Prior Request

       76.       No prior request for the relief sought in this motion has been made to this or any

other court.



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          WHEREFORE, the Debtors respectfully request entry of the Interim Order, substantially

  in the form attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting

  such other relief as is just and proper.

Dated: August 23, 2022                  /s/ Laura Davis Jones
Wilmington, Delaware                    Laura Davis Jones (DE Bar No. 2436)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        Edward Corma (DE Bar No. 6718)
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                                        -and-

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                                        -and-

                                        Nicole L. Greenblatt, P.C. (pro hac vice pending)
                                        Rachael M. Bentley (pro hac vice pending)
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                                        Email:         rachael.bentley@kirkland.com

                                        Proposed Co-Counsel for the Debtors and Debtors in Possession
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                          Exhibit A

                    Proposed Interim Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-10778 (___)
                                                                       )
                                    Debtors.                           )    (Joint Administration Requested)
                                                                       )    Re: Docket No. [●]

             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO
           (A) OBTAIN POSTPETITION FINANCING AND (B) UTILIZE
        CASH COLLATERAL, (II) GRANTING LIENS AND SUPERPRIORITY
        ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING ADEQUATE
    PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY, (V) SCHEDULING A
           FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(each, a “Debtor” and collectively, the “Debtors”) in these chapter 11 cases (the “Cases”) and

pursuant to sections 105, 361, 362, 363(c)(2), 364(c)(1), 364(c)(3), 364(d)(1), 364(e), 503, 506(c)

and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),

Rules 2002, 4001, 6004 and 9014 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy

Rules”), and Rules 2002-1(b), 4001-2, 9006-1, and 9013 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), seeking entry of this interim order (this “Interim Order”):

         (i)     authorizing the Debtors to obtain postpetition financing and other financial
                 accommodations in connection with the debtor in possession financing,
                 comprising, among other things, a superpriority senior secured multi-draw term
                 loan facility in an aggregate principal amount of up to $80,000,000 (the “DIP

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
2
    Capitalized terms used but not defined in this Interim Order have the meanings ascribed to them in the Motion.
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                  Facility”), consisting of (x) a $5,000,000 tranche of new money terms loans
                  (the “Tranche A DIP Loans”) and (y) a $75,000,000 tranche of new money terms
                  loans (the “Tranche B DIP Loans”); provided that (A) an initial amount of up to
                  $50,000,000 of the DIP Facility (the “Initial DIP Amount”), which shall consist of
                  $3,125,000 of Tranche A DIP Loans (the “Tranche A Initial DIP Loans”) and
                  $46,875,000 of Tranche B DIP Loans (the “Tranche B Initial DIP Loans” and,
                  together with the Tranche A Initial DIP Loans, the “Initial DIP Loans”), shall be
                  made available to the Debtors immediately upon entry of this Interim Order and in
                  accordance with the terms set forth in the Senior Secured Superpriority Debtor in
                  Possession Credit Facility Term Sheet, dated as of August 21, 2022, attached hereto
                  as Exhibit A (the “DIP Term Sheet”) and (B) an additional amount of up to
                  $30,000,000 (the “Delayed Draw DIP Amount”), which shall consist of $1,875,000
                  of Tranche A DIP Loans (the “Tranche A Final DIP Loans”) and $28,125,000 of
                  Tranche B DIP Loans (the “Tranche B Final DIP Loans,” and, together with the
                  Tranche A Final DIP Loans, the “Delayed Draw DIP Loans,” and, together with
                  the Initial DIP Loans, the “DIP Loans”), shall be made available to the Debtors in
                  one or more draws, upon entry of, and subject to the terms of, the Final Order and,
                  for each of the Initial DIP Loans and Delayed Draw DIP Loans, subject to
                  satisfaction of the applicable conditions set forth in the DIP Term Sheet and all
                  other applicable terms and conditions of the DIP Loan Documents (as defined
                  below);

        (ii)      authorizing the Debtors to (a) enter into the DIP Term Sheet by and among the
                  Borrower, the Guarantors, the relevant lenders (collectively, the “DIP Lenders”),3
                  and JPMorgan Chase Bank, N.A., as administrative and collateral agent (in each
                  such capacity, the “DIP Agent” and, together with the DIP Lenders, the “DIP
                  Secured Parties”) (as amended, restated, amended and restated, supplemented or
                  otherwise modified from time to time in accordance with the terms thereof; together
                  with this Interim Order, the Final Order, and, and all agreements, documents, and
                  instruments delivered or executed in connection therewith, collectively the “DIP
                  Loan Documents”), (b) to perform their respective obligations thereunder and all
                  such other and further acts as may be necessary, appropriate, or desirable in
                  connection with the DIP Loan Documents, and (c) to enter into any agreements
                  with respect to the cash collateralization of any outstanding and undrawn Letters of
                  Credit issued under (and as defined in) the First Lien Credit Agreement (as defined
                  below) (any such agreement an “L/C Cash Collateral Agreement” and the liens
                  granted thereunder, the “L/C Cash Collateral Liens”);

        (iii)     authorizing the Debtors to use the proceeds of the DIP Loans and the Prepetition
                  Collateral, including Cash Collateral, in accordance with the terms hereof and the
                  DIP Budget (after giving effect to Permitted Variances), as further described herein,
                  to pay for working capital needs, and to provide working capital for other general
                  corporate purposes, of the Debtors in the ordinary course of business and for the
                  costs and expenses of administering the Cases, including for payment of any

3
    The DIP Lenders include the lenders under the Prepetition Secured Credit Facilities that are each party to the DIP
    Commitment Letter, dated August 21, 2022 (the “DIP Commitment Letter”), attached hereto as Exhibit A.


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          Adequate Protection Obligations (all as defined below) and reasonable and
          documented transaction costs, fees, and expenses incurred in connection with the
          restructuring to be implemented through the Cases and to cash collateralize any
          outstanding and undrawn Letters of Credit as provided in this Interim Order and in
          the other DIP Loan Documents;

(iv)      granting adequate protection to the extent of any Diminution in Value, with respect
          to each of the Debtors, to the Prepetition Secured Parties under the Prepetition
          Credit Documents on account of the Priming Liens and for the use of their Cash
          Collateral and the Prepetition Collateral (all as defined below);

(v)       authorizing, on the terms set forth herein, the Debtors to pay, on a final and
          irrevocable basis, the principal, interest, fees, expenses, and other amounts payable
          under the DIP Loan Documents as such become earned, due and payable, including,
          without limitation, the DIP Commitment Fee, the Exit Fee, the Undrawn DIP Fee,
          the Agency Fee (all as defined below), audit fees, appraisal fees, valuation fees,
          administrative and collateral agents’ fees and expenses, and prepetition and
          postpetition reasonable fees and disbursements of each of the DIP Secured Parties’
          attorneys, advisors, accountants, appraisers, bankers and other consultants, all to
          the extent provided in, and in accordance with, the DIP Loan Documents;

(vi)      granting valid, enforceable, non-avoidable, and fully perfected liens and security
          interests pursuant to sections 364(c)(2) and 364(c)(3) of the Bankruptcy Code and
          priming liens pursuant to section 364(d)(1) of the Bankruptcy Code on the DIP
          Collateral and all proceeds thereof, including, any (subject to entry of the Final
          Order) Avoidance Proceeds subject only to the Carve Out, the Permitted Liens (all
          as defined below), if any, and the L/C Cash Collateral Liens in each case on the
          terms and conditions set forth herein and in the DIP Loan Documents, to secure
          principal of, and accrued interest on, the DIP Loans, and all other fees, costs,
          expenses, indemnification obligations, reimbursement obligations, charges,
          premiums, if any, additional interest, any other Obligations (as defined in the DIP
          Loan Agreement) and all other obligations of whatever nature owing, whether or
          not contingent, whenever arising, accrued, accruing, due, owing or chargeable
          under the DIP Facility, including the DIP Commitment Fee, the Exit Fee, the
          Undrawn DIP Fee, the Agency Fee (collectively, the “DIP Obligations”);

(vii)     granting superpriority administrative expense claims pursuant to section 364(c)(1)
          of the Bankruptcy Code against each of the Debtors’ estates to the DIP Secured
          Parties, with respect to the DIP Obligations with priority over any and all
          administrative expenses of any kind or nature subject and subordinate only to the
          Carve Out on the terms and conditions set forth herein and in the DIP Loan
          Documents;

(viii)    subject to and upon entry of a Final Order, the waiver of (x) the Debtors’ and the
          estates’ ability to surcharge against the Prepetition Collateral pursuant to section
          506(c) of the Bankruptcy Code, effective as of the Petition Date, (y) the
          applicability of the “equities of the case” exception under Bankruptcy Code section


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                  552(b) with respect to the proceeds, products, offspring or profits of the Prepetition
                  Collateral, and (z) the doctrine of “marshaling” and any other similar equitable
                  doctrine with respect to any of the Prepetition Collateral;

        (ix)      authorizing the DIP Secured Parties to exercise remedies under the DIP Loan
                  Documents on the terms described herein upon the occurrence and during the
                  continuation of a DIP Termination Event (as defined below);

        (x)       authorizing for the Issuing Lender (as defined in the First Lien Credit Agreement)
                  to exercise any remedies under any L/C Cash Collateral Agreement in accordance
                  therewith;

        (xi)      waiving any applicable stay (including under Bankruptcy Rule 6004) and providing
                  for immediate effectiveness of this Interim Order; and

        (xii)     scheduling a final hearing (the “Final Hearing”) to consider the relief requested in
                  the Motion and entry of a final order (the “Final Order”) and approving the form of
                  notice with respect to the Final Hearing.

        This Court having considered the relief requested in the Motion, the DIP Declaration,4 the

First Day Declaration and the arguments of counsel made at the Hearing; and notice of the Motion

and the Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b), (c), and

(d), and 9014 and all applicable Local Rules; the Hearing to consider the relief requested in the

Motion having been held and concluded; all objections and reservations of rights, if any, to the

relief requested in the Motion having been withdrawn, resolved, or overruled on the merits by this

Court; it appearing that approval of the interim relief requested in the Motion is fair and reasonable

and in the best interests of the Debtors and their estates, and is necessary to avoid immediate and

irreparable harm to the Debtors and their estates pending the Final Hearing; it appearing that the

Debtors’ entry into the DIP Loan Documents is a sound and prudent exercise of the Debtors’




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    The “DIP Declaration” means the Declaration of Andrew Turnbull in Support of the Debtors’ Motion Seeking
    Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and
    (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Granting
    Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting
    Related Relief, filed contemporaneously with the Motion.


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business judgment; and after due deliberation and consideration, and good and sufficient cause

appearing therefor:

        BASED UPON THE RECORD ESTABLISHED AT THE HEARING, THE COURT

MAKES        THE       FOLLOWING             PRELIMINARY              FINDINGS          OF      FACT       AND

CONCLUSIONS OF LAW:5

        A.       Disposition. The relief requested in the Motion is granted on an interim basis in

accordance with the terms of this Interim Order. Any objections to the Motion with respect to the

entry of this Interim Order that have not been withdrawn, waived, or settled, and all reservations

of rights included therein, are hereby denied and overruled on the merits. This Interim Order shall

become effectively immediately upon its entry and any applicable stay (including under

Bankruptcy Rule 6004) is waived to permit such effectiveness.

        B.       Petition Date. On August 23, 2022 (the “Petition Date”), the Debtors filed their

voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the District of Delaware (this “Court”).

        C.       Debtors in Possession. The Debtors are operating their businesses and managing

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made in these Cases and

no official committees have been appointed or designated.

        D.       Jurisdiction and Venue. This Court has jurisdiction over the Cases, the Motion,

and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of



5
    The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
    the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such.


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Delaware, dated February 29, 2012. This Court’s consideration of the Motion constitutes a core

proceeding pursuant to 28 U.S.C. § 157(b)(2). This Court may enter a final order consistent with

Article III of the United States Constitution. Venue for the Cases and the proceedings on the

Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The bases for the relief

sought in the Motion and granted in this Interim Order are sections 105, 361, 362, 363, 364, 503,

506, 507 and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and

Local Rules 2002-1(b), 4001-2, 9006-1, and 9013-1.

       E.      Notice. Upon the record presented to this Court at the Hearing, and under the

exigent circumstances set forth therein, notice of the Motion and the relief requested thereby and

granted in this Interim Order has been provided in accordance with Bankruptcy Rules 4001(b) and

4001(c)(1) and Local Rule 9013-1(m), which notice was appropriate under the circumstances and

sufficient for the Motion. No other or further notice of the Motion or entry of this Interim Order

is required. The interim relief granted herein is necessary to avoid immediate and irreparable harm

to the Debtors and their estates pending a Final Hearing.

       F.      Final Hearing. At the Final Hearing, the Debtors will seek approval of the Final

Order, which shall be subject to the terms and conditions of the DIP Loan Documents. Notice of

the Final Hearing and Final Order will be provided in accordance with this Interim Order.

       G.      Prepetition Secured Debt. Without prejudice to the rights of any party, but subject

to the limitations thereon contained in Paragraphs 26 and 27 of this Interim Order, the Debtors

represent, admit, stipulate, and agree as follows:

             (i)       First Lien Credit Agreement.

               (a)     Revolving and Term Loan Credit Facilities.        Pursuant to that certain

Amended and Restated Credit Agreement (First Lien), dated as of June 7, 2013 (as amended,




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restated, amended and restated, supplemented, or otherwise modified from time to time, the “First

Lien Credit Agreement,” and together with all other related documents, guarantees, and

agreements, including, without limitation, security agreements, mortgages, pledge agreements,

assignments, financing statements, and other agreements, documents, instruments or certificates

executed in connection with the First Lien Credit Agreement, including the Intercreditor

Agreement (as defined below), the “First Lien Credit Documents”), by and among Debtor

Carestream Health, Inc., as borrower (the “Borrower”), the Debtor Carestream Health Holdings,

Inc., as Holdings, the subsidiary guarantors thereunder, Credit Suisse AG, Cayman Islands Branch,

as administrative agent (the “First Lien Agent”), and the lenders party thereto (the “First Lien

Lenders” and together with the First Lien Agent, the “First Lien Secured Parties”), which provided

(x) a term loan facility pursuant to which First Lien Lenders (in such capacity, the “First Lien Term

Loan Lenders”) made loans to the Borrower (such loans, the “First Lien Term Loans”) and (y) a

revolving credit facility (the “First Lien Revolving Facility” and, together with the First Lien Term

Loans, the “First Lien Secured Credit Facilities”) pursuant to which certain First Lien Lenders (in

such capacity, the “Revolving Lenders”) made loans (such loans, the “Revolving Facility Loans”)

to, and participated in Letters of Credit issued for the benefit of, the Borrower. Each of the First

Lien Credit Documents is valid, binding, and enforceable in accordance with its terms.

               (b)     Revolving Facility Loans Obligations. As of the Petition Date, the Debtors,

without defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable

to the Revolving Lenders in respect of (i) the Revolving Facility Loans in the aggregate principal

amount outstanding of approximately $77,000,000 (which amount excludes the face value of

Letters of Credit and the amount of the Hedge Claims (as defined in the Plan)), (ii) approximately

$541,593 on account of accrued and unpaid interest thereon as of the Petition Date, and (iii) the




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aggregate face amount of $5,317,486 on account of undrawn Letters of Credit issued under the

First Lien Credit Agreement, in each case, pursuant to, and in accordance with the terms of, the

First Lien Documents (together with all accrued and unpaid commitment and participation fees

thereon as of the Petition Date, the “Revolving Loan Obligations Amount”), plus any amounts,

including termination payments, now or hereafter due under Specified Swap Agreements (as

defined in the First Lien Credit Agreement), including the ISDA Master Agreement, dated as of

September 29, 2011, between JP Morgan Chase Bank, N.A. and Carestream Health, Inc., including

any schedules and appendix thereto, plus (in each case, to the extent constituting allowable claims

under the Bankruptcy Code) all other fees, costs, expenses, indemnification obligations,

reimbursement obligations, charges, premiums, if any, additional interest, any other Obligations

(as defined in the First Lien Credit Agreement) in respect of the First Lien Revolving Facility and

all other obligations of whatever nature owing, whether or not contingent, whenever arising,

accrued, accruing, due, owing or chargeable under the First Lien Credit Agreement (collectively,

including the Revolving Loan Obligations Amount, the “Revolving Loan Obligations”).

               (c)     First Lien Term Loans Obligations. As of the Petition Date, the Debtors,

without defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable

to the First Lien Term Loan Lenders and the First Lien Agent in respect of the First Lien Term

Loans in the aggregate amount of approximately $514,955,000, which consists of

(x) approximately $507,719,700 in principal amount of term loans advanced under the First Lien

Credit Agreement, plus (y) approximately $7,235,300 on account of accrued and unpaid interest

thereon as of the Petition Date ((x) and (y) together, the “First Lien Term Loan Obligations

Amount”), plus (in each case, to the extent constituting allowable claims under the Bankruptcy

Code) all other fees, costs, expenses, indemnification obligations, reimbursement obligations,




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charges, premiums, if any, additional interest, any other Obligations (as defined in the First Lien

Credit Agreement) in respect of the First Lien Term Loans and all other obligations of whatever

nature owing, whether or not contingent, whenever arising, accrued, accruing, due, owing or

chargeable under the First Lien Credit Agreement (collectively, including the First Lien Term

Loan Obligations Amount, the “First Lien Term Loan Obligations”). The First Lien Term Loan

Obligations constitute legal, valid, binding, and non-avoidable obligations against each of the

Debtors and are not subject to any avoidance, recharacterization, effect, counterclaim, defense,

offset, recoupment, subordination, other claim, cause of action, or other challenge of any kind

under the Bankruptcy Code, under applicable non-bankruptcy law, or otherwise.

                (d)     Prepetition First Liens. The liens and security interests granted to the First

Lien Secured Parties pursuant to and in connection with the First Lien Credit Documents

(the “Prepetition First Liens”) are: (i) valid, binding, perfected, enforceable, first-priority (subject

to Permitted Liens (as defined in the First Lien Credit Agreement) permitted to have priority under

the First Lien Credit Agreement) liens and security interests in the Collateral (as defined in the

First Lien Credit Agreement, the “Prepetition Collateral”); and (ii) not subject to avoidance,

recharacterization, subordination, recovery, attack, effect, counterclaim, defense, or claim under

the Bankruptcy Code or applicable non-bankruptcy law.

                (e)     No payments or transfers made to or for the benefit of (or obligations

incurred to or for the benefit of) the First Lien Secured Parties by or on behalf of any of the Debtors

prior to the Petition Date under or in connection with any of the First Lien Credit Documents is

subject to avoidance, recharacterization, effect, counterclaim, defense, offset, subordination, other

claim, cause of action, or other challenge of any kind or nature under the Bankruptcy Code, under

applicable non-bankruptcy law or otherwise.




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           (ii)       Second Lien Credit Agreement.

              (a)     Pursuant to that certain Second Lien Credit Agreement, dated as of

June 7, 2013 (as amended, restated, amended and restated, supplemented, or otherwise modified

from time to time, the “Second Lien Credit Agreement,” and together with all other related

documents, guarantees, and agreements, including, without limitation, security agreements,

mortgages, pledge agreements, assignments, financing statements, and other agreements,

documents, instruments or certificates executed in connection with the Second Lien Credit

Agreement, the “Second Lien Credit Documents” and, together with the First Lien Credit

Documents, the “Prepetition Credit Documents”), by and among the Borrower, as borrower,

Debtor Carestream Health Holdings, Inc., as Holdings, the subsidiary guarantors thereunder,

Credit Suisse AG, Cayman Islands Branch, as administrative agent (the “Second Lien Term Loan

Agent” and, together with the First Lien Agent, the “Prepetition Agents”), and the lenders party

thereto (the “Second Lien Lenders” and together with the Second Lien Term Loan Agent, the

“Second Lien Secured Parties” and, together with the First Lien Secured Parties, the “Prepetition

Secured Parties”), which provided a term loan facility pursuant to which the Second Lien Lenders

made loans to the Borrower (the “Second Lien Term Loan” and, together with the First Lien

Secured Credit Facilities, the “Prepetition Secured Credit Facilities”). Each of the Second Lien

Credit Documents is valid, binding, and enforceable in accordance with its terms.

              (b)     Second Lien Term Loan Obligations. As of the Petition Date, the aggregate

outstanding principal amount owed by the Borrower and the guarantors under the Second Lien

Credit Documents was approximately $448,235,000 (together with any interest, premiums (if any)

fees, expenses (including, without limitation, the reasonable and documented fees, disbursements

and other charges of counsel to the Second Lien Secured Parties), costs, and other charges or




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amounts paid, incurred, or accrued prior to the Petition Date in accordance with the Second Lien

Credit Documents, and further including all Obligations (as defined in the Second Lien Credit

Agreement), and all interest, fees, premiums (if any) costs, expenses, and other charges allowable

under Bankruptcy Code section 506(b), the “Second Lien Term Loan Obligations” and,

collectively with the First Lien Obligations, the “Prepetition Secured Obligations”).

               (c)     Prepetition Second Liens. The liens and security interests granted to the

Second Lien Secured Parties pursuant to and in connection with the Second Lien Credit

Documents (the “Prepetition Second Liens” and together with the Prepetition First Liens, the

“Prepetition Liens”) are: (i) valid, binding, perfected, enforceable, second-priority (subject to

Permitted Liens (as defined in the Second Lien Credit Agreement) permitted to have priority under

the Second Lien Credit Agreement) liens and security interests in the Prepetition Collateral; and

(ii) not subject to avoidance, recharacterization, subordination, recovery, attack, effect,

counterclaim, defense, or claim under the Bankruptcy Code or applicable non-bankruptcy law.

           (iii)       Prepetition Liens. As of the Petition Date: (a) the Prepetition Liens were

valid, binding, enforceable, non-avoidable, and properly perfected and were granted to, or for the

benefit of, the Prepetition Secured Parties for fair consideration and reasonably equivalent value;

(b) the Prepetition Liens were senior in priority over any and all other liens on the Prepetition

Collateral, subject only to certain senior liens senior by operation of law or as permitted by the

Prepetition Credit Documents (solely to the extent any such permitted liens were valid, properly

perfected, non-avoidable, and senior in priority to the Prepetition Liens as of the Petition Date or

were in existence immediately prior to the Petition Date that were perfected subsequent to the

Petition Date as permitted by section 546(b) of the Bankruptcy Code) (such liens, “Permitted

Liens”); (c) no offsets, recoupments, challenges, objections, defenses, claims, or counterclaims of




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any kind or nature to any of the Prepetition Liens or Prepetition Secured Obligations exist, and no

portion of the Prepetition Liens or Prepetition Secured Obligations is subject to any challenge or

defense, including avoidance, disallowance, disgorgement, recharacterization, or subordination

(equitable or otherwise) pursuant to the Bankruptcy Code or applicable nonbankruptcy law; (d) the

Debtors and their estates have no claims, objections, challenges, causes of action, and/or choses in

action, including avoidance claims under chapter 5 of the Bankruptcy Code or applicable state law

equivalents or actions for recovery or disgorgement, against any of the Prepetition Secured Parties

or any of their respective affiliates, agents, attorneys, advisors, professionals, officers, directors,

and employees arising out of, based upon, or related to the Prepetition Secured Credit Facilities;

and (e) the Prepetition Secured Obligations constitute legal, valid, binding, and non-avoidable

obligations of the Debtors.

            (iv)       Intercreditor.     That certain Intercreditor Agreement, dated as of

June 7, 2013 (as amended from time to time), among the First Lien Agent, the Second Lien Term

Loan Agent and each other Representative (as defined therein) from time to time party thereto

(the “Intercreditor Agreement”) is binding and enforceable in accordance with its terms.

            (v)        Cash Collateral. Substantially all of the Debtors’ cash, including cash and

other amounts on deposit or maintained in any account or accounts by the Debtors, existing as of

the Petition Date, and any amounts generated by the collection of accounts receivable or other

disposition of the Prepetition Collateral, existing as of the Petition Date, and the proceeds of any

of the foregoing, wherever located is the Prepetition Secured Parties’ cash collateral within the

meaning of section 363(a) of the Bankruptcy Code (the “Cash Collateral”).

            (vi)       No Control. None of the Prepetition Secured Parties control the Debtors or

their properties or operations, have authority to determine the manner in which any Debtors’




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operations are conducted, or are control persons or insiders of the Debtors by virtue of any of the

actions taken with respect to, in connection with, related to or arising from this Interim Order, the

DIP Facility, the DIP Loan Documents, the Prepetition Secured Credit Facilities, or the Prepetition

Credit Documents.

            (vii)      Credit Bidding. No Debtor or Debtor’s affiliate shall object to any DIP

Secured Party’s or Prepetition Secured Party’s right to credit bid up to the full amount of its DIP

Obligations and/or Prepetition Secured Obligations, in each case including, without limitation, any

accrued interest and expenses, in any sale, as applicable, whether such sale is effectuated through

Bankruptcy Code section 363, in a chapter 11 or chapter 7 proceeding, under Bankruptcy Code

section 1129, by a chapter 7 or chapter 11 trustee, or otherwise, subject to applicable law.

       H.       Findings Regarding the DIP Facility and Use of Cash Collateral.

              (i)      Good and sufficient cause has been shown for the entry of this Interim Order

and for authorizing the Debtors to obtain financing pursuant to the DIP Facility and to use the Cash

Collateral of the Prepetition Secured Parties (solely to the extent consistent with the Approved DIP

Budget (as defined below) (after giving effect to permitted variances as set forth in this Interim

Order and the DIP Loan Documents)) and to authorize the provision of adequate protection.

             (ii)      As set forth in the DIP Declaration, and the First Day Declaration, the

Debtors have an ongoing and immediate need to continue the use of Cash Collateral, and the need

to obtain credit pursuant to the DIP Facility, among other things:          (a) permit the orderly

continuation of their respective businesses; (b) maintain business relationships with their vendors,

suppliers, customers, and other parties; (c) make investments, capital expenditures, and pay

ongoing costs of operations; (d) make adequate protection payments; and (e) pay the costs of

administration of the Cases and satisfy other working capital and general corporate purposes of




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the Debtors. The Debtors require immediate access to sufficient working capital and liquidity

through the incurrence of the new indebtedness for borrowed money to avoid irreparable harm by,

among other things, preserving and maintaining the going concern value of the Debtors’

businesses. The Debtors will not have sufficient sources of working capital and financing to

operate their businesses or maintain their properties in the ordinary course of business throughout

the Cases without the DIP Facility and authorized use of Cash Collateral.

           (iii)       As set forth in the DIP Declaration and the First Day Declaration, the

Debtors are unable to obtain financing and other financial accommodations on more favorable

terms from sources other than from the DIP Lenders under the DIP Loan Documents and are unable

to obtain satisfactory unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code

as an administrative expense. The Debtors are also unable to obtain secured credit allowable under

sections 364(c)(1), 364(c)(2), and 364(c)(3) of the Bankruptcy Code for the purposes set forth in

the DIP Loan Documents and the consensual use of Cash Collateral on more favorable terms

without the Debtors granting to the DIP Agent, for the benefit of itself and the DIP Lenders, subject

to the Carve Out as provided for herein and the Permitted Liens (if any), the DIP Liens (as defined

below), the L/C Cash Collateral Liens, and the DIP Superpriority Claims (as defined below),

incurring the Adequate Protection Obligations, in each case subject to the Carve Out and incurring

the DIP Commitment Fee, the Exit Fee, the Undrawn DIP Fee, the Agency Fee, and all other fees

and expenses provided in the DIP Loan Documents, in each case subject to the Carve Out, under

the terms and conditions set forth in this Interim Order and the DIP Loan Documents.

           (iv)        Based on the Motion, the First Day Declaration, and the DIP Declaration,

and the record presented to the Court at the Hearing, the terms of the DIP Facility and the terms

of the adequate protection granted to the Prepetition Secured Parties as provided in this Interim




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Order are fair and reasonable under the circumstances, reflect the Debtors’ exercise of prudent

business judgment consistent with their fiduciary duties, and provide the Debtors reasonably

equivalent value and fair consideration.

            (v)        The DIP Facility and the use of Prepetition Collateral, including Cash

Collateral, have been negotiated in good faith and at arm’s-length among the Debtors, the DIP

Secured Parties, and the Prepetition Secured Parties, and all of the Debtors’ obligations and

indebtedness arising under, in respect of, or in connection with, the DIP Facility and the DIP Loan

Documents, including, without limitation, all loans made to and guarantees issued by the Debtors

pursuant to the DIP Loan Documents, and any DIP Obligations shall be deemed to have been

extended by the DIP Secured Parties and their respective affiliates in good faith, as that term is

used in section 364(e) of the Bankruptcy Code and in express reliance upon the protections offered

by section 364(e) of the Bankruptcy Code, and the DIP Secured Parties (and their successors and

assigns) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the

event that this Interim Order or any provision hereof is vacated, reversed, or modified, on appeal

or otherwise.

           (vi)        The Prepetition Secured Parties have acted in good faith regarding the DIP

Facility and the Debtors’ continued use of Prepetition Collateral (including Cash Collateral), to

fund the administration of the Debtors’ estates and the continued operation of their businesses,

(including the incurrence and payment of any Adequate Protection Obligations and the granting

of Adequate Protection Liens (defined below)), in accordance with the terms hereof, and the

Adequate Protection Claims (defined below), security interests and liens, and other rights, benefits

and protections granted to the Prepetition Secured Parties (and their successors and assigns)

pursuant to this Interim Order and the DIP Loan Documents shall be deemed to have been agreed




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to by the Prepetition Secured Parties and their affiliates in good faith, as that term is used in

section 364(e) of the Bankruptcy Code and in express reliance upon the protections offered by

section 364(e) of the Bankruptcy Code, and the Prepetition Secured Parties (and their successors

and assigns) shall be entitled to the full protection of Bankruptcy Code section 364(e) in the event

that this Interim Order or any provision hereof is vacated, reversed, or modified, on appeal or

otherwise.

             (vii)      The Prepetition Agents (at the direction of the applicable lenders as set forth

in the Prepetition Credit Agreements), on behalf and for the benefit of each of the Prepetition

Secured Parties, has consented to, conditioned on the entry of this Interim Order, the Debtors’

incurrence of the DIP Facility and proposed use of Cash Collateral on the terms and conditions set

forth in this Interim Order, and the terms of the adequate protection provided for in this Interim

Order, including that the Adequate Protection Liens and Adequate Protection Claims are subject

and subordinate to the Carve Out and the L/C Cash Collateral Liens.

       I.        Permitted Liens; Continuation of Prepetition Liens. Nothing herein shall constitute

a finding or ruling by this Court that any alleged Permitted Lien is valid, senior, enforceable, prior,

perfected, or non-avoidable. Moreover, nothing herein shall prejudice any rights of any party in

interest, including, but not limited to, any of the Debtors, the DIP Secured Parties, or the

Prepetition Secured Parties to challenge the validity, priority, enforceability, seniority,

avoidability, perfection, or extent of any alleged Permitted Lien or security interest.

       J.        Sections 506(c) and 552(b) of the Bankruptcy Code and Marshaling. Subject to

entry of a Final Order, the Debtors have agreed as a condition to obtaining financing under the

DIP Facility that as a material inducement to the DIP Secured Parties to agree to provide the DIP

Facility, and in exchange for (a) the DIP Secured Parties’ willingness to provide the DIP Facility




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to the extent set forth herein, (b) the DIP Secured Parties’ agreement to subordinate their liens and

superpriority claims to the Carve Out, and (c) the consensual use of Cash Collateral consistent

with the Approved DIP Budget and the terms of this Interim Order, and subject to entry of the

Final Order, each of the DIP Secured Parties and the Prepetition Secured Parties have negotiated

for, and (x) the Debtors intend to seek (1) a waiver of any equities of the case exceptions or claims

under section 552(b) of the Bankruptcy Code and a waiver of unjust enrichment and similar

equitable relief as set forth below, and (2) a waiver of the provisions of section 506(c) of the

Bankruptcy Code subject to the terms hereof and (y) shall not be subject to the equitable doctrine

of marshaling or any similar doctrine with respect to the DIP Collateral or the Prepetition Collateral

(as applicable).

       K.      Immediate Entry. Good and sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2). Consummation of the DIP

Facility and the use of Cash Collateral, in accordance with this Interim Order and the DIP Loan

Documents, is in the best interests of the Debtors’ estates and consistent with the Debtors’ exercise

of their fiduciary duties. Based upon the foregoing findings and conclusions, the Motion and the

record before this Court with respect to the Motion, and after due consideration and good and

sufficient cause appearing thereof:

       IT IS HEREBY ORDERED THAT:

       1.      Motion Granted. The interim relief sought in the Motion is granted to the extent

set forth herein, the financing described herein is authorized and approved, and the use of Cash

Collateral and provision of adequate protection on an interim basis is authorized, in each case

subject to the terms and conditions set forth in this Interim Order and the other DIP Loan

Documents. Any and all objections to this Interim Order, to the extent not withdrawn, waived,




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settled, or otherwise resolved, and all reservations of rights included therein, are hereby denied

and overruled on the merits. This Interim Order shall become effective immediately upon its entry.

          2.       Authorization of the DIP Facility and the DIP Loan Documents.

                   (a)     The Debtors are hereby expressly authorized and empowered to enter into,

and execute and deliver, the DIP Loan Documents, and such additional documents, instruments,

certificates and agreements as may be required or reasonably requested by the DIP Secured Parties

to implement the terms or effectuate the purposes of this Interim Order and the DIP Loan

Documents. To the extent not entered into as of the date hereof, the Debtors and the DIP Secured

Parties shall negotiate the DIP Loan Documents in good faith and in all respects such DIP Loan

Documents shall be consistent with the terms of the DIP Term Sheet and otherwise acceptable to

the DIP Agent and the Required DIP Lenders (as defined in the DIP Term Sheet) consistent with

the consent rights under the RSA.6 The Debtors are also authorized and empowered to enter into

and deliver any L/C Cash Collateral Agreements and such additional documents, instruments,

certificates and agreements as may be required or requested by the Issuing Lender to implement

the terms or effectuate the purposes of this Interim Order and any L/C Cash Collateral Agreement,

in each case, in accordance with this Interim Order. Upon execution and delivery thereof, each

L/C Cash Collateral Agreement shall constitute valid and binding obligations of the Debtors

enforceable in accordance with their terms. The automatic stay pursuant to section 362 of the

Bankruptcy Code shall be automatically modified, to the extent necessary, with respect to the L/C

Issuer so that it may exercise the rights and remedies set forth in any L/C Cash Collateral

Agreement in accordance therewith for the benefit of the First Lien Secured Parties, without further

notice or order of the Court. Upon entry of this Interim Order and until execution and delivery of



6
    The “RSA” means the Restructuring Support Agreement, dated August 21, 2022.


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the DIP Loan Documents required or requested by the DIP Secured Parties, the Debtors and the

DIP Secured Parties shall be bound by (x) the terms and conditions and other provisions set forth

in the DIP Term Sheet, with the same force and effect as if duly executed and delivered to the DIP

Agent by the Debtors, and (y) this Interim Order, and this Interim Order and the DIP Term Sheet

shall govern and control the DIP Facility. Upon execution and delivery of the DIP Loan

Documents, (a) the DIP Term Sheet shall be superseded by any debtor in possession loan

agreement (if any) (the “DIP Loan Agreement”) and such other DIP Loan Documents, and (b) this

Interim Order, the DIP Loan Agreement, and such other DIP Loan Documents shall govern and

control the DIP Facility. The parties to the DIP Facility are hereby authorized to execute and enter

into their respective obligations under the DIP Loan Documents, subject to the terms and

conditions set forth therein and this Interim Order. Upon execution and delivery thereof, the DIP

Loan Documents shall constitute valid and binding obligations of the Debtors enforceable in

accordance with their terms. To the extent there exists any conflict among the terms and conditions

of the Motion, the DIP Loan Documents, and this Interim Order, the terms and conditions of this

Interim Order shall govern and control. To the extent there is a conflict between the terms and

conditions of the Motion and the DIP Loan Documents, the terms and conditions of the DIP Loan

Documents shall govern.

               (b)     Upon entry of this Interim Order, the Borrower is hereby immediately

authorized, subject to the terms and conditions of the DIP Loan Documents, to borrow, and the

Guarantors, on a joint and several basis, are hereby authorized to guaranty, borrowings up to an

aggregate principal amount of $50 million (plus interest, fees, indemnities, and other expenses and

other amounts provided for in the DIP Loan Documents) in DIP Loans, and upon entry of the Final

Order, up to an aggregate principal amount of $80 million (plus interest, fees, indemnities, and




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other expenses and other amounts provided for in the DIP Loan Documents) in DIP Loans, in each

case subject to any limitations on availability or borrowing under the DIP Loan Documents, which

shall be used for all purposes permitted under the DIP Loan Documents, including, without

limitation, to provide working and investment capital for the Debtors and to pay interest, fees, and

expenses and make adequate protection and other payments in accordance with this Interim Order

and the other DIP Loan Documents, as set forth in the DIP Loan Documents, all subject to and in

accordance with this Interim Order.

               (c)     In furtherance of the foregoing and without further approval of this Court,

each Debtor is hereby authorized, and the automatic stay imposed by section 362 of the Bankruptcy

Code is hereby lifted to the extent necessary to perform all acts and to perform all acts, to make,

execute, and deliver all instruments, certificates, agreements and documents (including, without

limitation, the DIP Loan Agreement (if any), the execution or recordation of pledge and security

agreements, financing statements, and other similar documents) and to pay all reasonable and

actual fees and expenses in connection with or that may be reasonably required, appropriate or

desirable for the Debtors’ performance of their obligations under or related to the DIP Facility,

including, without limitation:

            (i)        the execution and delivery of, and performance under, each of the DIP Loan

Documents, including, without limitation, the DIP Term Sheet, the DIP Loan Agreement (if

applicable) and any collateral documents contemplated thereby;

            (ii)       the execution and delivery of, and performance under, one or more

amendments, waivers, consents or other modifications to and under the DIP Loan Documents (in

each case in accordance with the terms of the DIP Loan Documents and in such form as the

Debtors, the DIP Agent, and the Required DIP Lenders may agree), it being understood that no




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further approval of this Court shall be required for any non-material authorizations, amendments,

waivers, consents or other non-material modifications to and under the DIP Loan Documents or

the DIP Obligations, as well as any fees and other expenses (including attorneys’, accountants’,

appraisers’, and financial advisors’ fees), amounts, charges, costs, indemnities, and other

obligations paid in connection therewith;

           (iii)      the non-refundable and irrevocable payment to the DIP Agent and the DIP

Lenders, as the case may be, of all reasonable and documented fees and expenses (which fees and

expenses, in each case, were and were deemed to have been approved upon entry of this Interim

Order, whether or not the fees and expenses arose before or after the Petition Date, shall not be

subject to any contest, attack, rejection, recoupment, reduction, defense, counterclaim, offset,

subordination, recharacterization, avoidance or other claim, cause of action or other challenge of

any nature under the Bankruptcy Code, applicable non-bankruptcy law or otherwise), and any

amounts due (or that may become due) in respect of the indemnification and expense

reimbursement obligations, in each case referred to in the DIP Loan Agreement or DIP Loan

Documents, including (a) all reasonable and documented costs and expenses as may be due from

time to time, including, without limitation, the reasonable and documented fees and expenses of

counsel and other professionals retained as provided for in the DIP Loan Documents and this

Interim Order (whether incurred before or after the Petition Date), including, for the avoidance of

doubt, Akin Gump Strauss Hauer & Feld, LLP (as counsel to the DIP Lenders), GLC & Co.

Advisors, LLC (as financial advisor to the DIP Lenders), Simpson Thacher & Bartlett LLP (as

counsel to the DIP Agent), and Troutman Pepper Hamilton Sanders LLP (as Delaware counsel to

the DIP Lenders) to the DIP Secured Parties, which such fees and expenses shall not be subject to

the approval of the Court, nor shall any recipient of any such payment be required to file with




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respect thereto any interim or final fee application with the Court provided that any fees and

expenses of a professional shall be subject to the provisions of Paragraphs 14 and 24 of this Interim

Order, (b) a commitment fee of 2.00% of the total aggregate commitments in respect of the DIP

Facility payable in kind, earned upon execution of the DIP Commitment Letter and payable upon

entry of this Interim Order pursuant to the terms of the DIP Term Sheet (the “DIP Commitment

Fee”), (c) a fee of 4.00% of the funded amount of the DIP Loans, payable in cash, earned upon

entry of this Interim Order and payable in accordance with the DIP Term Sheet and the DIP Loan

Documents (the “Exit Fee”), (d) an unused commitment fee of 1.00% per annum on the unused

portion of the DIP Commitments (as defined in the DIP Term Sheet), payable in accordance with

the DIP Term Sheet and the DIP Loan Documents (the “Undrawn DIP Fee”), and (e) an agency

fee set forth in the letter agreement between the DIP Agent and the Borrower (the “Agency Fee”);

            (iv)       make the payments on account of the Adequate Protection Obligations

provided for in this Interim Order; and

            (v)        the performance of all other acts necessary, appropriate, or desirable under

or in connection with the DIP Loan Documents.

       3.      DIP Obligations. Upon entry of this Interim Order, the Borrower is hereby

authorized to borrow, and the Guarantors are hereby authorized to guaranty, borrowings up to an

aggregate principal amount of $50 million in Initial DIP Loans, subject to and in accordance with

this Interim Order. Upon entry of this Interim Order, the DIP Loan Documents shall constitute

legal, valid, binding and non-avoidable obligations of the Debtors, enforceable in accordance with

the terms of this Interim Order and the other DIP Loan Documents, against each Debtor, or in any

case under chapter 7 of the Bankruptcy Code upon the conversion of any of the Cases or any other

chapter of the Bankruptcy Code, or in any other proceedings superseding or related to any of the




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foregoing (collectively, the “Successor Cases”). Except as permitted by this Interim Order, no

obligation, payment, transfer, or grant of security hereunder or under the DIP Loan Documents to

the DIP Agent and/or the DIP Lenders or the Issuing Lender shall be stayed, restrained, voidable,

avoidable, or recoverable under the Bankruptcy Code or under applicable law (including, without

limitation, under sections 502(d), 544, and 547 to 550 of the Bankruptcy Code or under any

applicable state Uniform Voidable Transactions Act, Uniform Fraudulent Transfer Act, Uniform

Fraudulent Conveyance Act, or similar statute or common law), or subject to any defense,

avoidance, reduction, setoff, recoupment, offset, recharacterization, subordination (whether

equitable, contractual, or otherwise), disallowance, impairment, claim, counterclaim, cross-claim,

or challenge, whether under the Bankruptcy Code or any other applicable law or regulation by any

person or entity for any reason.

       4.      DIP Liens. Subject to the Carve Out and the L/C Cash Collateral Liens in all

respects, subject to the below, effective and perfected immediately upon entry of this Interim

Order, the DIP Obligations shall be secured by valid, binding, continuing enforceable, fully-

perfected, non-avoidable, automatically and properly perfected liens on, and security interests in

(such liens and security interests, the “DIP Liens”), all assets of the Borrower and each Guarantor

(and, in the case of each Debtor, its bankruptcy estate) of any nature whatsoever and wherever

located, whether first arising prior to or following the Petition Date, now owned or hereafter

acquired, including all accounts, chattel paper, commercial tort claims, deposit accounts,

documents, equipment, general intangibles, goods (including fixtures), instruments, inventory,

investment property, money, cash, cash equivalents, and all deposit accounts, securities accounts,

commodities accounts and lockboxes together with all money, cash, securities and other

investment property on deposit from time to time therein, letters of credit, letter-of-credit rights




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and other supporting obligations, real property, books and records, and to the extent not otherwise

included, all substitutions, replacements, accessions, products and other proceeds and products

(whether tangible or intangible and including, without limitation, insurance proceeds, licenses,

royalties, income, payments, claims, damages and proceeds of suit) of any and all of the foregoing

and all collateral security and guarantees given by any person with respect to any of the foregoing,

and subject to entry of the Final DIP Order, the proceeds of avoidance actions under chapter 5 of

the Bankruptcy Code (all such property, the “DIP Collateral”) as follows:

               (a)     Pursuant to section 364(c)(2) of the Bankruptcy Code, a valid, binding,

continuing, enforceable, fully-perfected first priority senior security interest in and lien upon all

DIP Collateral, that, on or as of the Petition Date is not subject to Permitted Liens or any other

valid, perfected and non-avoidable liens (or perfected after the Petition Date to the extent permitted

by Bankruptcy Code section 546(b)), excluding Avoidance Actions (as defined below) but, subject

to entry of the Final Order, including the Avoidance Proceeds (as defined below), subject only to

Permitted Liens, the L/C Cash Collateral Liens, and payment of the Carve Out;

               (b)     Pursuant to section 364(d)(1) of the Bankruptcy Code, a valid, binding,

continuing, enforceable, fully perfected first priority priming security interest and lien

(the “Priming Liens”) on all DIP Collateral, subject only to the Carve Out, Permitted Liens,

L/C Cash Collateral Liens, or any other valid, perfected and non-avoidable liens (or perfected after

the Petition Date to the extent permitted by Bankruptcy Code section 546(b)) (if any). The Priming

Liens shall prime in all respects the liens and security interests of the Prepetition Secured Parties,

with respect to the Prepetition Secured Credit Facilities (including, without limitation, the

Prepetition Liens and the Adequate Protection Liens granted to the Prepetition Secured Parties)

(the “Primed Liens”). Notwithstanding anything herein to the contrary, the Priming Liens (i) shall




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be subject and junior to the Carve Out in all respects and Permitted Liens (if any) and L/C Cash

Collateral Liens and (ii) shall be senior in all respects to the Primed Liens; and

               (c)      Pursuant to section 364(c)(3) of the Bankruptcy Code, be secured by a valid,

binding, continuing, enforceable, fully perfected junior priority security interest and lien on all

DIP Collateral that is subject to valid, perfected, and unavoidable liens in favor of third parties that

were in existence immediately prior to the Petition Date or perfected after the Petition Date to the

extent permitted by Bankruptcy Code section 546(b) (other than the Primed Liens, L/C Cash

Collateral Liens, or to any Permitted Liens), which liens shall be junior and subordinate to (a) the

Carve Out, (b) any such valid, perfected, and non-avoidable liens in existence immediately prior

to the Petition Date, and/or (c) any such valid and non-avoidable liens in existence immediately

prior to the Petition Date that are perfected subsequent to the Petition Date as permitted by

Bankruptcy Code section 546(b); provided that nothing in the foregoing shall limit the rights of

the DIP Secured Parties under the DIP Loan Documents to the extent any such liens are not

permitted thereunder.

       5.      DIP Superpriority Claims.          Pursuant to, and to the extent provided by,

section 364(c)(1) of the Bankruptcy Code, all of the DIP Obligations shall constitute allowed

superpriority administrative expense claims against the Debtors (without the need to file any proof

of claim) with priority over any and all claims against the Debtors, now existing or hereafter

arising, of any kind whatsoever, including, without limitation, all administrative expenses of the

kind specified in sections 503(b) and 507(b) of the Bankruptcy Code and any and all administrative

expenses or other claims (“Administrative Expense Claims”) arising under sections 105, 326, 327,

328, 330, 331, 365, 503(b), 506(c), 507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy Code

(including the Adequate Protection Obligations), whether or not such expenses or claims may




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become secured by a judgment lien or other non-consensual lien, levy, or attachment, which

allowed claims (the “DIP Superpriority Claims”) shall for purposes of section 1129(a)(9)(A) of

the Bankruptcy Code be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code, and which DIP Superpriority Claims shall be payable from and have recourse

to all prepetition and postpetition property of the Debtors and all proceeds thereof (excluding

claims and causes of action under sections 502(d), 544, 545, 547, 548, and 550 of the Bankruptcy

Code, or any other avoidance actions under the Bankruptcy Code whether pursuant to federal law

or applicable state law (collectively, the “Avoidance Actions”), but including, subject to entry of

the Final Order, any proceeds or property recovered, unencumbered or otherwise, from Avoidance

Actions, whether by judgment, settlement, or otherwise (collectively, the “Avoidance Proceeds”))

in accordance with the other DIP Loan Documents, subject only to, and subordinated in all respects

to, payment of the Carve Out and to any obligations under any L/C Cash Collateral Agreement.

The DIP Superpriority Claims shall be entitled to the full protection of section 364(e) of the

Bankruptcy Code if this Interim Order or any provision hereof is vacated, reversed, or modified

on appeal or otherwise.

       6.      Cash Management Obligations. The Debtors are authorized to continue utilizing

the products and services of Bank of America, N.A. (together with its affiliates, a “Cash

Management Bank”) and incur obligations in connection with various cash management products

and services (including, without limitation, treasury, depository, credit card, debit card, stored

value cards, purchasing or procurement cards and cash management services or automated

clearinghouse transfer of funds or any overdraft or similar services) provided to the Debtors and/or

any of their affiliates (for which the Debtors are otherwise liable) on a postpetition basis consistent

with historical practices (the “Postpetition Cash Management Obligations”) on the terms set forth




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in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to

(A) Continue to Operate their Cash Management System, (B) Honor Certain Prepetition

Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform

Intercompany Transactions and (II) Granting Related Relief, filed contemporaneously herewith.

Notwithstanding anything else in this Interim Order, any Postpetition Cash Management

Obligations shall be secured by the DIP Collateral on a pari passu basis with the DIP Liens

(the “Cash Management Liens”).

       7.      Reporting Requirements/Access to Records. The Debtors shall provide advisors to

the DIP Lenders with all reporting and other information required to be provided to the DIP Agent

under the DIP Loan Documents. During the pendency of these Cases, the Debtors shall permit

representatives and independent contractors of the DIP Agent and each DIP Lender to visit and

inspect any of its properties, to examine its corporate, financial and operating records, and make

copies thereof or abstracts therefrom, and to discuss its affairs, finances and accounts with its

directors, officers, and independent public accountants (so long as the Debtors have the reasonable

opportunity to participate in such meeting), all at the reasonable expense of the Borrower (provided

that the Borrower shall only be obligated to reimburse such expenses for two visits during the

pendency of these Cases, provided further, that no more than one visit shall take place during any

60-day period) and at such reasonable times during normal business hours and as often as may be

reasonably desired, upon reasonable advance notice to the Borrower; provided that any and all

information for which confidentiality is owed to third parties, information subject to attorney client

or similar privilege, or information where such disclosure would not be permitted by any

applicable requirements of law shall be excluded from this paragraph 7.




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       8.      Carve Out.

               (a)     Carve Out. As used in this Interim Order, the “Carve Out” means the sum

of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate (without regard to the notices set forth in (iii) below), (ii) all reasonable fees and expenses up

to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code, which shall not be

subject to the Approved DIP Budget (without regard to the notice set forth in (iii) below), (iii) to

the extent allowed at any time, whether by interim order, procedural order, or otherwise, all unpaid

fees and expenses (including any restructuring, sale, success, or other transaction fee of any

investment bankers) (the “Allowed Professional Fees”) incurred by persons or firms retained by

the Debtors pursuant to sections 327, 328, or 363 (the “Debtor Professionals”) and any official

committee of unsecured creditors pursuant to section 328 or 1103 of the Bankruptcy Code

(the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

Persons”) at any time before or on the first business day following delivery by the DIP Agent of a

Carve Out Trigger Notice, whether allowed by this Court prior to or after delivery of a Carve Out

Trigger Notice, and (iv) Allowed Professional Fees of Professional Persons in an aggregate amount

not to exceed $2,500,000 incurred after the first business day following the delivery by the

DIP Agent of the Carve Out Trigger Notice, to the extent allowed at any time, whether by interim

order, procedural order, or otherwise (the amounts set forth in this clause (iv) being the “Post-

Carve Out Trigger Notice Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall

mean a written notice delivered by email (or other electronic means) by the DIP Agent to the

Debtors, their lead restructuring counsel, the U.S. Trustee, and counsel to any official committee

of unsecured creditors (the “Committee”) (if any), which notice may be delivered following the




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occurrence and during the continuation of a DIP Termination Event and acceleration of the DIP

Obligations stating that the Post-Carve Out Trigger Notice Cap has been invoked.

               (b)    Carve Out Reserves. On the day on which a Carve Out Trigger Notice is

given by the DIP Agent to the Debtors with a copy to counsel for the Committee (if any)

(the “Termination Declaration Date”), the Carve Out Trigger Notice shall (i) be deemed a draw

request and notice of borrowing by the Debtors for the DIP Loans under the DIP Facility (on a pro

rata basis based on the then outstanding DIP Obligations), in an amount equal to the then unpaid

amounts of the Allowed Professional Fees (any such amounts actually advanced shall constitute

DIP Loans) and (ii) also constitute a demand to the Debtors to utilize all cash on hand as of such

date and any available cash thereafter held by any Debtor to fund a reserve in an amount equal to

the then unpaid amounts of the Allowed Professional Fees (whether or not such Allowed

Professional Fees have been allowed by this Court prior to the Termination Declaration Date). The

Debtors shall deposit and hold such amounts in a segregated account at the DIP Agent in trust to

pay such then unpaid Allowed Professional Fees (the “Pre-Carve Out Trigger Notice Reserve”)

prior to any and all other claims. On the Termination Declaration Date, the Carve Out Trigger

Notice shall also (i) be deemed a request by the Debtors for DIP Loans under the DIP Facility (on

a pro rata basis based on the then outstanding DIP Obligations), in an an amount equal to the Post-

Carve Out Trigger Notice Cap (any such amounts actually advance shall constitute DIP Loans)

and (ii) constitute a demand to the Debtors to utilize all cash on hand as of such date and any

available cash thereafter held by any Debtor, after funding the Pre-Carve Out Trigger Notice

Reserve, to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap to the

extent not already funded (including upon entry of the Interim Order as set forth above). The

Debtors shall deposit and hold such amounts in a segregated account at the DIP Agent in trust to




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pay such Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice Cap

(the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

Reserve, the “Carve Out Reserves”) prior to any and all other claims. On the first business date

after the DIP Agent gives any such notice to such DIP Lenders, notwithstanding anything in the

DIP Loan Documents to the contrary, including with respect to the existence of an Event of Default

(as defined in the DIP Term Sheet) or DIP Termination Event, the failure of the Debtors to satisfy

any or all of the conditions precedent for the DIP Loans under the DIP Facility, any termination

of the DIP Obligations following a DIP Termination Event, or the occurrence of the Maturity Date,

each DIP Lender with an outstanding DIP Commitment (on a pro rata basis based on the then

outstanding DIP Commitments) shall make available to the DIP Agent such DIP Lender’s pro rata

share with respect to such borrowing in accordance with the DIP Facility. All funds in the Pre-

Carve Out Trigger Notice Reserve shall be used first to pay the obligations set forth in clauses

(i) through (iii) of the definition of Carve Out set forth above (the “Pre-Carve Out Amounts”), but

not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and then,

to the extent the Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the

DIP Agent for the benefit of the DIP Lenders, unless the DIP Obligations have been indefeasibly

paid in full, in cash, and all DIP Obligations have been terminated, in which case any such excess

shall be paid to the Prepetition Secured Parties in accordance with their rights and priorities as of

the Petition Date. All funds in the Post-Carve Out Trigger Notice Reserve shall be used first to

pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above (the “Post-

Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice Reserve has not

been reduced to zero, to pay the DIP Agent for the benefit of the DIP Lenders, unless the DIP

Obligations have been indefeasibly paid in full, in cash, and all DIP Obligations have been




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terminated, in which case any such excess shall be paid to the Prepetition Secured Parties in

accordance with their rights and priorities as of the Petition Date. Notwithstanding anything to the

contrary in the DIP Loan Documents, or this Interim Order, if either of the Carve Out Reserves is

not funded in full in the amounts set forth in this paragraph 8, then, any excess funds in one of the

Carve Out Reserves following the payment of the Pre-Carve Out Amounts and Post-Carve Out

Amounts, respectively, shall be used to fund the other Carve Out Reserve, up to the applicable

amount set forth in this paragraph 8, prior to making any payments to the DIP Agent or the

Prepetition Secured Parties, as applicable. Notwithstanding anything to the contrary in the DIP

Loan Documents or this Interim Order, following delivery of a Carve Out Trigger Notice, the DIP

Agent, and the Prepetition Agents shall not sweep or foreclose on cash (including cash received as

a result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves

have been fully funded, but shall have a security interest in any residual interest in the Carve Out

Reserves, with any excess paid to the DIP Agent for application in accordance with the DIP Loan

Documents.     Further, notwithstanding anything to the contrary in this Interim Order,

(i) disbursements by the Debtors from the Carve Out Reserves shall not constitute DIP Loans or

increase or reduce the DIP Obligations, (ii) the failure of the Carve Out Reserves to satisfy in full

the Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii) in no way

shall the Approved DIP Budget, DIP Budget, Carve Out, Post-Carve Out Trigger Notice Cap,

Carve Out Reserves, or any of the foregoing be construed as a cap or limitation on the amount of

the Allowed Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary in this Interim Order, the DIP Facility, or in any

Prepetition Secured Credit Facilities, the Carve Out shall be senior to all liens and claims securing

the DIP Facility, the Adequate Protection Liens, and the Adequate Protection Claims, and any and




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all other forms of adequate protection, liens, or claims securing the DIP Obligations or the

Prepetition Secured Obligations.

               (c)     Payment of Allowed Professional Fees Prior to the Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees (regardless of the date such Allowed Professional

Fees are allowed by this Court) shall not reduce the Carve Out.

               (d)     No Direct Obligation to Pay Allowed Professional Fees. None of the DIP

Secured Parties or the Prepetition Secured Parties shall be responsible for the payment or

reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Cases or any Successor Cases. Subject to the Carve Out, nothing in this Interim Order or

otherwise shall be construed to obligate the DIP Secured Parties or the Prepetition Secured Parties,

in any way, to pay compensation to, or to reimburse expenses of, any Professional Person or to

guarantee that the Debtors have sufficient funds to pay such compensation or reimbursement.

               (e)     Payment of Carve Out On or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the DIP

Obligations secured by the DIP Collateral and shall be otherwise entitled to the protections granted

under this Interim Order, the DIP Loan Documents, the Bankruptcy Code, and applicable law.

       9.      Limitation on Charging Expenses against Collateral. Subject to entry of the Final

Order and effective as of the Petition Date, in light of the agreement of the DIP Secured Parties

and the Prepetition Secured Parties to allow (i) the Debtors to use Cash Collateral as provided for

herein, (ii) the Carve Out, and (iii) for the subordination of the Primed Liens to the DIP Liens, no




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expenses of administration of the Cases or any future proceeding that may result therefrom,

including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be

charged against or recovered from the Prepetition Collateral or the DIP Collateral (except to the

extent of the Carve Out) pursuant to section 506(c) of the Bankruptcy Code or any similar principle

of law, without the prior written consent of the DIP Agent, the Required DIP Lenders, and the

Prepetition Agents, as applicable, and no such consent shall be implied from any other action,

inaction, or acquiescence.

       10.     No Marshaling/Application of Proceeds. Subject to entry of the Final Order and

effective as of the Petition Date, the DIP Agent and the Prepetition Agents shall be entitled to

apply the payments or proceeds of the DIP Collateral and the Prepetition Collateral in accordance

with the provisions of the Final Order, the DIP Loan Documents, and the Prepetition Credit

Documents, as applicable, and in no event shall any of the DIP Secured Parties or any of the

Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or any other similar

doctrine with respect to any of the DIP Collateral or Prepetition Collateral, as applicable.

       11.     Equities of the Case. Subject to entry of the Final Order and effective as of the

Petition Date, in light of, among other things, the agreement of the DIP Secured Parties and the

Prepetition Secured Parties to allow the Debtors to use Cash Collateral on the terms set forth herein

(i) the DIP Secured Parties and the Prepetition Secured Parties shall be entitled to the rights and

benefits of section 552(b) of the Bankruptcy Code, if any, and (ii) the “equities of the case”

exception under section 552(b) of the Bankruptcy Code shall not apply to such parties with respect

to the proceeds, products, offspring or profits of any of the Prepetition Collateral or the DIP

Collateral, as applicable.




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       12.     Payments Free and Clear. Subject to the Carve Out, any and all payments or

proceeds remitted to the DIP Agent on behalf of the DIP Lenders or the Issuing Lender pursuant

to the provisions of this Interim Order and any other DIP Loan Document or any subsequent order

of this Court shall be irrevocable, received free and clear of any claim, charge, assessment, or other

liability, including, without limitation, any claim or charge arising out of or based on, directly or

indirectly, sections 506(c) or 552(b) of the Bankruptcy Code, whether asserted or assessed by,

through, or on behalf of the Debtors (and, solely in the case of waivers of rights under sections

506(c) and 552(b) of the Bankruptcy Code, subject to the entry of the Final Order).

       13.     Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral of the Prepetition Secured Parties solely in accordance with this Interim Order and the

DIP Loan Documents, to the extent set forth in the Approved DIP Budget, including, without

limitation, to make payments on account of the Adequate Protection Obligations and other

obligations provided for in this Interim Order and the DIP Loan Documents, including, for the

avoidance of doubt, (a) for working capital and general corporate purposes of the Debtors,

including for the payment of rent and other lease expenses and professional fees, in the ordinary

course of business, (b) for the costs and expenses of administering the Cases, including for

payment of any Adequate Protection Obligations, including all outstanding and unpaid fees and

expenses of the Prepetition Secured Parties, and their professionals in accordance with the terms

of this Interim Order, (c) the costs and expenses related to the DIP Facility, and (d) any other

purposes specifically set forth in the Approved DIP Budget. The Debtors may also, in accordance

with this Interim Order, use and/or apply Cash Collateral, proceeds of the Prepetition First Lien

Collateral and the DIP Collateral, including proceeds realized form a sale or disposition thereof,




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or from payment thereon, and DIP Loans to cash collateralize outstanding and undrawn Letters of

Credit.

          14.     Adequate Protection for the Prepetition Secured Parties. Subject only to the Carve

Out and the terms of this Interim Order, pursuant to sections 361, 363(e), and 364 of the

Bankruptcy Code, and in consideration of the stipulations and consents set forth herein, as

adequate protection of their interests in the Prepetition Collateral (including Cash Collateral),

solely for and equal in amount to the aggregate postpetition diminution in value of such interests

(such diminution, a “Diminution in Value”), resulting from, among other things, the imposition of

the Priming Liens on the Prepetition Collateral, the Carve Out, the Debtors’ sale, lease or use of

the Prepetition Collateral (including Cash Collateral), and/or any other reason for which adequate

protection may be granted under the Bankruptcy Code, the Prepetition Agents, for the benefit of

itself and the other Prepetition Secured Parties, are hereby granted the following (collectively,

the “Adequate Protection Obligations”):

                  (a)    First Lien Adequate Protection Liens. As security for and solely to the

extent of any Diminution in Value, the Prepetition First Lien Agent for the benefit of the First Lien

Lenders, is hereby granted additional and replacement valid, binding, enforceable, non-avoidable,

effective and automatically perfected postpetition security interests in, and liens on (the “First Lien

Adequate Protection Liens”), without the necessity of the execution by the Debtors (or recordation

or other filing) of security agreements, control agreements, pledge agreements, financing

statements, mortgages or other similar documents, the DIP Collateral, excluding Avoidance

Actions, but, subject to entry of the Final Order, including the Avoidance Proceeds). The First

Lien Adequate Protection Liens shall be subject and junior to the DIP Liens (and any liens to which

the DIP Liens are junior), the Carve Out, and the L/C Cash Collateral Liens and otherwise be




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senior to all other security interests in, liens on, or claims against any of the Prepetition Collateral,

including the Prepetition Liens and any lien or security interest that is avoided and preserved for

the benefit of the Debtors and their estates under section 551 of the Bankruptcy Code.

                (b)     Second Lien Adequate Protection Liens. As security for and solely to the

extent of any Diminution in Value, the Prepetition Second Lien Agent for the benefit of the Second

Lien Lenders, is hereby granted additional and replacement valid, binding, enforceable, non-

avoidable, effective and automatically perfected postpetition security interests in, and liens on,

(the “Second Lien Adequate Protection Liens” and, together with the First Lien Adequate

Protection Liens, the “Adequate Protection Liens”), without the necessity of the execution by the

Debtors (or recordation or other filing) of security agreements, control agreements, pledge

agreements, financing statements, mortgages or other similar documents, the DIP Collateral,

excluding Avoidance Actions, but, subject to entry of the Final Order, including the Avoidance

Proceeds. The Second Lien Adequate Protection Liens shall be subject and junior to the DIP Liens

(including any liens to which the DIP Liens are junior), the Carve Out, the L/C Cash Collateral

Liens, the First Lien Adequate Protection Liens, and the Prepetition First Liens and otherwise be

senior to all other security interests in, liens on, or claims against any of the Prepetition Collateral

and any lien or security interest that is avoided and preserved for the benefit of the Debtors and

their estates under section 551 of the Bankruptcy Code.

                (c)     Adequate Protection Claims. As further adequate protection, and to the

extent provided by sections 503(b) and 507(b) of the Bankruptcy Code, an allowed administrative

expense claim in the Cases of each of the Debtors ahead of and senior to any and all other

Administrative Expense Claims in such Cases to the extent of any postpetition Diminution in

Value, except the Carve Out and the DIP Superpriority Claims (the “Adequate Protection




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Claims”). The Adequate Protection Claims shall be payable from and have recourse to all

prepetition and postpetition property of the Debtors and all proceeds thereof (excluding Avoidance

Actions, but, subject to entry of the Final Order, including the Avoidance Proceeds); provided,

that, the Adequate Protection Claims in respect of the First Lien Obligations shall be senior to the

Adequate Protection Claims in respect of the Second Lien Term Loan Obligations. Subject to the

Carve Out, the DIP Superpriority Claims, and any obligations under any L/C Cash Collateral

Agreement in all respects, the Adequate Protection Claims will not be junior or pari passu to any

claims and shall have priority over all Administrative Expense Claims against each of the Debtors,

now existing or hereafter arising, of any kind or nature whatsoever, including, without limitation,

administrative expense claims of the kinds specified in or ordered pursuant to sections 105, 326,

328, 330, 331, 365, 503(a), 506(c), 507(a), 507(b), 546(d), 726, 1113 and 1114 of the Bankruptcy

Code. The Prepetition Secured Parties shall not receive or retain any payments, property, or other

amounts in respect of the Adequate Protection Claims under section 507(b) of the Bankruptcy

Code granted hereunder unless and until the DIP Obligations have been indefeasibly paid in full,

in cash, or satisfied in a manner otherwise agreed to by the Required DIP Lenders, in each case as

provided in the DIP Loan Documents.

               (d)     Fees and Expenses.      As further adequate protection, the Debtors are

authorized and directed to pay, in accordance with Paragraphs 2 and 24 of this Interim Order, the

reasonable and documented fees and expenses (the “Adequate Protection Fees”), whether incurred

before or after the Petition Date, of the Prepetition Secured Parties, including, without limitation,

the reasonable and documented fees and expenses of (1) Akin Gump Strauss Hauer & Feld LLP

and Troutman Pepper Hamilton Sanders LLP, as legal counsel and GLC & Co. Advisors, LLC, as

financial advisor, and (2) one primary counsel and one local counsel to Credit Suisse AG, Cayman




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Islands Branch, solely in its capacity as First Lien Agent and Second Lien Agent. Professionals

for the Prepetition Secured Parties shall not be required to file applications or motions with the

Court for compensation and reimbursement of fees and expenses; provided, however that any time

such professionals seek payment of fees and expenses from the Debtors, each professional shall

provide summary copies of its fee and expense statements or invoices (which shall not be required

to contain time entries and which may be redacted or modified to the extent necessary to delete

any information subject to the attorney-client privilege, any information constituting attorney work

product, or any other confidential information, and the provision of such invoices shall not

constitute any waiver of the attorney client privilege or of any benefits of the attorney work product

doctrine) to counsel to the Debtors, the U.S. Trustee, and counsel to any Committee (if any)

(collectively, the “Fee Notice Parties”). If no objection to payment of the requested Adequate

Protection Fees and expenses is made, in writing, by any of the Fee Notice Parties within seven (7)

calendar days after delivery of such invoices (the “Fee Objection Period”), then such invoice shall

be promptly paid, without further order of, or application to, this Court or notice to any other party,

and, in any case, within five (5) calendar days following the expiration of the Fee Objection Period

and shall not be subject to any further review, challenge, or disgorgement. If within the Fee

Objection Period, a Fee Notice Party sends to the affected professional a written objection to such

invoice, then only the disputed portion of such Adequate Protection Fees shall not be paid as set

forth above until the objection is resolved by the applicable parties in good faith or by order of this

Court. Subject to the terms hereof, the Debtors are authorized, without further notice or hearing,

to pay all reasonable and documented fees, costs, and out-of-pocket expenses of the Prepetition

Secured Parties to the extent otherwise payable in accordance with the terms of the Prepetition

Credit Documents and this Interim Order; provided, however that parties shall not have to comply




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with the fee review provisions set forth above with respect to any fees or expenses incurred prior

to the entry of this Interim Order.

               (e)     First Lien Adequate Protection Payments. As further adequate protection,

the First Lien Agent on behalf of the First Lien Lenders, shall receive cash payments in an amount

equal to accrued and unpaid interest (excluding default interest) and commitment and participation

fees, whether accruing prior to, on, or after the Petition Date as set forth in the First Lien Credit

Agreement; provided that any amounts previously due but not yet paid as of the Petition Date shall

be paid within one (1) Business Day of the funding of the Initial DIP Loans.

       15.     Perfection of DIP Liens and Adequate Protection Liens.

               (a)     The DIP Agent and the Prepetition Agents are hereby authorized, but not

required, to file or record financing statements, intellectual property filings, mortgages, depository

account control agreements, notices of lien, or similar instruments in any jurisdiction to validate

and perfect the liens and security interests granted hereunder. Whether or not the DIP Agent or

the Prepetition Agents shall, in their sole discretion, choose to file such financing statements,

intellectual property filings, mortgages, notices of lien, or similar instruments, such liens and

security interests shall be deemed valid, automatically perfected, allowed, enforceable, non-

avoidable, effective by operation of law and not subject to challenge, dispute or subordination

(subject to the priorities set forth in this Interim Order) as of the time and on the date of entry of

this Interim Order. Upon the request of the DIP Agent or the Prepetition Agents, as applicable,

each of the Prepetition Secured Parties and the Debtors, without any further consent of any party,

is authorized to take, execute, deliver, and file such instruments (in the case of the Prepetition

Secured Parties, without representation or warranty of any kind) to enable the DIP Agent and the

Prepetition Agents to further validate, perfect, preserve and enforce the DIP Liens and the




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applicable Adequate Protection Liens, respectively. All such documents will be deemed to have

been recorded and filed as of the date of this Interim Order.

               (b)     A certified copy of this Interim Order may, in the discretion of the DIP

Agent or the Prepetition Agents, as applicable, be filed with or recorded in filing or recording

offices in addition to or in lieu of such financing statements, mortgages, notices of lien or similar

instruments, and all filing offices are hereby authorized to accept such certified copy of this Interim

Order for filing and recording; provided, however, that notwithstanding the date of any such filing,

the date of such perfection shall be the date of this Interim Order.

               (c)     Subject to entry of a Final Order, any provision of any lease or other license,

contract or other agreement that requires (i) the consent or approval of one or more landlords or

other parties or (ii) the payment of any fees or obligations, in order for any Debtor to pledge, grant,

sell, assign, or otherwise transfer any such leasehold interest, or the proceeds thereof, or other

collateral related thereto in connection with the granting of the DIP Liens and the Adequate

Protection Liens, is hereby deemed to be inconsistent with the applicable provisions of the

Bankruptcy Code. Thereupon, any such provision shall have no force and effect with respect to

the granting of the DIP Liens and the Adequate Protection Liens on such leasehold interest or the

proceeds of any assignment, and/or sale thereof by any Debtor in accordance with the terms of the

DIP Loan Agreement or this Interim Order.

       16.     DIP Budget.

               (a)     Attached to this Interim Order as Exhibit B is a 13-week cash forecast

approved by the DIP Agent and the Required DIP Lenders, which reflects on a line-item basis, the

Debtors’ (i) weekly projected cash receipts, (ii) weekly projected disbursements (including

operating expenses in the ordinary course of business, capital expenditures and bankruptcy related




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expenses) under the Cases, (iii) the weekly projected outstanding principal balance of the DIP

Loans, and (iv) the weekly projected liquidity of the Debtors (the “Approved DIP Budget”).

Starting on the Thursday of the fourth full calendar week after the Petition Date, and continuing

on the Thursday of every fourth week thereafter, the Debtors shall provide the DIP Agent with an

updated budget (collectively with the Approved DIP Budget, the “DIP Budget”) covering the

4-week period (each, a “Budget Period”) commencing on the date such DIP Budget is delivered.

The updated DIP Budget will replace the previously delivered Approved DIP Budget only if such

updated DIP Budget is acceptable to the Required DIP Lenders in form and substance in their sole

discretion.

                (b)    Budget Reporting. The Debtors shall at all times comply with the DIP

Budget, subject to the Permitted Variances (defined below). By no later than 5:00 PM (Eastern

Time) on Thursday of the calendar week following the week in which the Petition Date occurs

(the “First Testing Date”), and no later than 5:00 PM (Eastern Time) on each Thursday of each

calendar week thereafter (together with the First Testing Date, each a “Testing Date”), prior to the

Initial Variance Testing Date (as defined below), the Debtors shall deliver to the DIP Secured

Parties (and their advisors), a variance report (each, a “Weekly Variance Report”) setting forth, in

reasonable detail, “cumulative receipts” and “disbursements” of the Debtors and any variances

between the actual amounts and those set forth in the then-in-effect Approved DIP Budget for the

Monthly Testing Period (as defined below). The term “Testing Period” means, with respect to the

Weekly Variance Report required to be delivered, the prior four-week period (except that no such

variance reporting shall be required for the periods prior to the Petition Date).

                (c)    Budget Testing. By no later than 5:00 PM (Eastern Time) on the first

Testing Date that occurs after the four-week anniversary of the First Testing Date (the “Initial




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Variance Testing Date”) and by not later than 5:00 PM (Eastern Time) on each Thursday thereafter

(each such date, the “Monthly Variance Testing Date” and each such subsequent four-week period

ending on the Sunday preceding each such Monthly Variance Testing Date, the “Monthly Testing

Period”), the Debtors shall provide to the DIP Secured Parties a report reasonably detailing: (i) the

aggregate receipts of the Debtors and aggregate disbursements of the Debtors, in each case, during

the applicable Monthly Testing Period; and (ii) any variance (whether positive or negative,

expressed as a percentage) between (a) the aggregate receipts received by the Debtors during such

Monthly Testing Period against the aggregate receipts for such Monthly Testing Period as set forth

in the applicable Approved DIP Budget and (b) the aggregate disbursements made by the Debtors

during such Monthly Testing Period against the aggregate disbursements for such Monthly Testing

Period as set forth in the applicable Approved DIP Budget (a “Monthly Variance Report,” together

with the Weekly Variance Report, the “Approved Variance Reports”). The Debtors shall comply

with the following (collectively, the “Permitted Variances”):

             (i)       As of the Initial Variance Testing Date, for the period commencing on the

Petition Date and ending on the four-week anniversary of the Petition Date, the Debtors shall not

allow: (i) the aggregate receipts of the Debtors to be less than 80% (on a cumulative basis taking

into account the variance for any prior Monthly Testing Period) of the estimated receipts for such

items in the then-in-effect Approved DIP Budget and (ii) the aggregate operating disbursements

(excluding professional fees (including professional fees and expenses incurred by the Debtors,

the DIP Agent and/or the DIP Lenders)) to exceed 115% (on a cumulative basis taking into account

the variance for any prior Monthly Testing Period) of the estimated operating disbursements for

such items in the then-in-effect Approved DIP Budget.




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             (ii)       As of any subsequent Monthly Variance Testing Date, for the Monthly

Testing Period ending on the Sunday preceding such Monthly Variance Testing Date, the Debtors

shall not allow: (i) the aggregate receipts of the Debtors to be less than 85% (on a cumulative basis

taking into account the variance for any prior Monthly Testing Period) of the estimated receipts

for such items in the then-in-effect Approved DIP Budget and (ii) the aggregate operating

disbursements (excluding professional fees (including professional fees and expenses incurred by

the Debtors, DIP Agent and/or the DIP Lenders)) to exceed 110% (on a cumulative basis taking

into account the variance for any prior Monthly Testing Period) of the estimated operating

disbursements for such items in the then-in-effect Approved DIP Budget (after giving effect to any

Permitted Variances).

       17.      Section 507(b) Reservation. Subject to the Carve Out, nothing herein shall impair

or modify the application of Bankruptcy Code section 507(b) in the event that the adequate

protection provided to the Prepetition Secured Parties is insufficient to compensate for any

Diminution in Value of their interests in the Prepetition Collateral during the Cases. Nothing

contained herein shall be deemed a finding by the Court, or an acknowledgment by any of the

Prepetition Secured Parties against any Diminution in Value of their respective interests in the

Prepetition Collateral (including the Cash Collateral).

       18.      DIP Termination Event. Subject to any applicable grace period, this Interim Order,

and Paragraph 17, the DIP Obligations shall accelerate and become due and payable in full and

the DIP Commitments (as defined in the DIP Term Sheet) shall terminate, in each case, without

further notice or action by the Court following the earliest to occur of any of the following, unless

waived in writing by the DIP Agent and the Required DIP Lenders (each a “DIP Termination

Event”): (i) the occurrence of any Event of Default (as defined in the DIP Term Sheet or the DIP




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Loan Documents), which Events of Default are explicitly incorporated by reference into this

Interim Order; (ii) the Debtors’ failure to comply with any material provision of this Interim Order

(provided that such failure is not the result of any action or inaction of the DIP Secured Parties);

(iii) the occurrence of the Maturity Date (as defined in the DIP Term Sheet or the DIP Loan

Documents); (iv) the entry of an order authorizing the use of Cash Collateral of the DIP Lenders

on a non-consensual basis or financing under Bankruptcy Code section 364 that is pari passu or

senior to the DIP Loans or the Prepetition Secured Credit Facilities or the filing by the Debtors of

a motion seeking such authority; (v) dismissal or conversion of the Cases; (vi) any suit, indictment,

or similar action by the Department of Justice or a regulatory agency (or entry of any order granting

relief from the automatic stay related to the foregoing) against or with respect to any Debtor, the

business, operations or assets of any Debtor or any current or former employee of any Debtor, that

the DIP Agent determines (in its sole discretion) may be adverse in any material respect to the

value of the business, operations, or assets of any Debtor, which is not dismissed or resolved within

thirty (30) days; provided, that the filing of a proof of claim in the Cases shall not constitute a DIP

Termination Event; (vii) termination of the Interim Order or the Final Order, as applicable (except

in the case of the Interim Order, as a result of the entry of the Final Order); (viii) the filing of a

plan or disclosure statement other than a plan or disclosure statement that is consistent with the

RSA or that is otherwise approved by the Required DIP Lenders, which does not provide for the

payment in full, in cash of the DIP Loans; and (ix) termination of the RSA by the Company Parties,

the Required DIP lenders, or the Required First Lien Consenting Lenders (each as defined in the

RSA).

        19.     Remedies Upon a DIP Termination Event. The Debtors shall as soon as reasonably

practicable provide notice to counsel to the DIP Agent, the DIP Lenders, and the Prepetition




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Agents of the occurrence of any DIP Termination Event. Upon the occurrence and during the

continuation of a DIP Termination Event (regardless of whether the Debtors have given the notice

described in the previous sentence) and following the giving of not less than five (5) business days’

advance written notice by counsel for the applicable DIP Secured Party, which may be by email

(the “Enforcement Notice”), to counsel to the Debtors, the U.S. Trustee, and counsel to any

Committee (the “Notice Period”), subject to the obligations with respect to the Carve Out, (i) the

DIP Agent, acting at the direction of the Required DIP Lenders, may exercise any rights and

remedies against the DIP Collateral available to it under this Interim Order, the DIP Loan

Documents, and applicable non-bankruptcy law, and the DIP Secured Parties may exercise such

other rights available to them under the DIP Loan Documents or this Interim Order, as applicable,

(ii) the Prepetition Secured Parties may exercise any rights and remedies to satisfy the Prepetition

Secured Obligations, the Adequate Protection Claims and any other Adequate Protection

Obligations, subject to the DIP Obligations, the DIP Superpriority Claims, the Permitted Liens (if

any) and, in each case, the Carve Out, and (iii) the commitment of each DIP Lender to make DIP

Loans will be terminated to the extent any such commitment remains under the DIP Facility. The

automatic stay pursuant to section 362 of the Bankruptcy Code shall be automatically modified

with respect to the DIP Secured Parties and the Prepetition Secured Parties at the end of the Notice

Period, without further notice or order of the Court, unless (a) the DIP Agent, acting at the direction

of the Required DIP Lenders, the First Lien Agent, acting at the direction of the Required Lenders

(as defined in the First Lien Credit Agreement), and the Second Lien Term Loan Agent, acting at

the direction of the Required Lenders (as defined in the Second Lien Credit Agreement) elect

otherwise in a written notice to the Debtors, which may be by email, and/or (b) the Court has

determined that a DIP Termination Event has not occurred and/or is not continuing or the Court




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orders otherwise. Upon termination of the automatic stay, the DIP Secured Parties and the

Prepetition Secured Parties, as applicable, shall be permitted to exercise all rights and remedies set

forth herein, in the DIP Loan Documents and the Prepetition Credit Documents, as applicable, and

as otherwise available at law against the DIP Collateral and/or Prepetition Collateral, without any

further order of or application or motion to the Court, and without restriction or restraint imposed

by any stay under sections 362 or 105 of the Bankruptcy Code, or otherwise, against (x) the

enforcement of the liens and security interests in the DIP Collateral or the Prepetition Collateral,

or (y) the pursuit of any other rights and remedies granted to the DIP Secured Parties or the

Prepetition Secured Parties pursuant to the DIP Loan Documents, the Prepetition Credit

Documents, or this Interim Order, as applicable; provided that during the Notice Period the

Debtors may use the proceeds of the DIP Facility (to the extent drawn prior to the occurrence of a

DIP Termination Event) or Cash Collateral only to (i) fund operations in the ordinary course of

business, subject to the Approved DIP Budget and (ii) to fund the Carve Out Reserves; provided,

further that during the Notice Period the Debtors, the Required DIP Lenders, and the DIP Agent

consent to a hearing on an expedited basis at which the Debtors, any official committee of

unsecured creditors, or any other party may be heard with respect to the Enforcement Notice and

whether a DIP Termination Event has occurred.

       20.     Joint and Several.     The Debtors are jointly and severally liable for the DIP

Obligations and all other obligations hereunder.

       21.     No Waiver for Failure to Seek Relief. The failure or delay of any of the DIP

Secured Parties or any of the Prepetition Secured Parties to exercise rights and remedies under this

Interim Order, the DIP Loan Documents, the Prepetition Credit Agreements, or applicable law, as




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the case may be, shall not constitute a waiver of their respective rights hereunder, thereunder, or

otherwise.

       22.     Preservation of Rights Granted Under this Interim Order.

               (a)     Subject to the Carve Out, other than as set forth in this Interim Order, neither

the DIP Liens nor the Adequate Protection Liens shall be made subject to or pari passu with any

lien or security interest granted in any of the Cases or arising after the Petition Date, and neither

the DIP Liens nor the Adequate Protection Liens shall be subject or junior to any lien or security

interest that is avoided and preserved for the benefit of the Debtors’ estates under Bankruptcy Code

section 551.

               (b)     In the event this Interim Order or any provision hereof is vacated, reversed,

or modified on appeal or otherwise, any liens or claims granted to the Prepetition Secured Parties

hereunder arising prior to the effective date of any such vacatur, reversal, or modification of this

Interim Order shall be governed in all respects by the original provisions of this Interim Order,

including entitlement to all rights, remedies, privileges, and benefits granted herein, and the

Prepetition Secured Parties shall be entitled to the protections afforded in Bankruptcy Code

section 364(e) with respect to all uses of the Prepetition Collateral (including the Cash Collateral)

and all Adequate Protection Obligations.

               (c)     Subject to the Carve Out, unless and until all DIP Obligations, Prepetition

Secured Obligations, and Adequate Protection Obligations are indefeasibly paid in full, in cash,

and all commitments under the DIP Facility are terminated, the Debtors irrevocably waive the right

to seek and shall not seek or consent to, directly or indirectly: (i) except as permitted under the

DIP Loan Documents or with the prior written consent of the DIP Agent and the Required DIP

Lenders and the Prepetition Agents, to the extent applicable, (x) any modification, stay, vacatur,




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or amendment of this Interim Order, (y) a priority claim for any administrative expense, secured

claim or unsecured claim against any of the Debtors (now existing or hereafter arising of any kind

or nature whatsoever, including, without limitation, any administrative expense of the kind

specified in Bankruptcy Code sections 503(b), 507(a), or 507(b)) in any of the Cases, pari passu

with or senior to the DIP Superpriority Claims, the Adequate Protection Claims, or the Prepetition

Secured Obligations (or the liens and security interests secured such claims and obligations), or

(z) any other order allowing use of the DIP Collateral; (ii) except as permitted under the DIP Loan

Documents (including the Carve Out), any lien on any of the DIP Collateral or the Prepetition

Collateral with priority equal or superior to the DIP Liens, the Adequate Protection Liens, the L/C

Cash Collateral Liens, or the Prepetition Liens, as the case may be; (iii) the use of Cash Collateral

for any purpose other than as permitted in the DIP Loan Documents and this Interim Order; (iv) an

order converting or dismissing any of the Cases; (v) an order appointing a chapter 11 trustee in

any of the Cases; or (vi) an order appointing an examiner with expanded powers in any of the

Cases.

               (d)     Notwithstanding any order dismissing the Cases under Bankruptcy Code

section 1112 or otherwise entered at any time, (x) the DIP Liens, the DIP Superpriority Claims,

the Adequate Protection Liens, the L/C Cash Collateral Liens, the Adequate Protection Claims and

the other administrative claims granted or authorized pursuant to this Interim Order, shall continue

in full force and effect and shall maintain their priorities as provided in this Interim Order until all

DIP Obligations and Adequate Protection Obligations are indefeasibly paid in full, in cash (and

such DIP Liens, DIP Superpriority Claims, Adequate Protection Liens, L/C Cash Collateral Liens,

Adequate Protection Claims, and the other administrative claims granted or authorized pursuant to

this Interim Order, shall notwithstanding such dismissal, remain binding on all parties in interest),




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and (y) to the fullest extent permitted by law this Court shall retain jurisdiction, notwithstanding

such dismissal, for the purposes of enforcing the claims, liens, and security interests referred to in

clause (x) above.

               (e)     Except as expressly provided in this Interim Order or in the DIP Loan

Documents, the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the

L/C Cash Collateral Liens, the Adequate Protection Claims and all other rights and remedies of

the DIP Secured Parties and the Prepetition Secured Parties granted or authorized by the provisions

of this Interim Order and the DIP Loan Documents shall survive, shall maintain their priority as

provided in this Interim Order, and shall not be modified, impaired or discharged by (i) the entry

of an order converting any of the Cases to a case under chapter 7, dismissing any of the Cases,

terminating the joint administration of the Cases or by any other act or omission, (ii) the entry of

an order approving the sale of any Prepetition Collateral or DIP Collateral pursuant to Bankruptcy

Code section 363(b), or (iii) the entry of an order confirming a plan of reorganization in any of the

Cases and, pursuant to Bankruptcy Code section 1141(d)(4), the Debtors have waived any

discharge as to any remaining DIP Obligations or Adequate Protection Obligations. The terms

and provisions of this Interim Order and the DIP Loan Documents shall continue in the Cases, in

any Successor Cases if the Cases cease to be jointly administered, or in any superseding chapter 7

cases under the Bankruptcy Code. The DIP Liens, the DIP Superpriority Claims, the Adequate

Protection Liens, the Adequate Protection Claims, and all other rights and remedies of the DIP

Secured Parties and the Prepetition Secured Parties granted by the provisions of this Interim Order

shall continue in full force and effect until the DIP Obligations and the Adequate Protection

Obligations are indefeasibly paid in full, in cash (or, with respect to the DIP Obligations, otherwise

satisfied in a manner agreed to by the Required DIP Lenders and the DIP Agent). Notwithstanding




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anything to the contrary in this Interim Order or the DIP Loan Documents, nothing in this Interim

Order or the DIP Loan Documents shall affect any right of any DIP Lender to object to any sale

of the Debtors’ assets or chapter 11 plan that does not pay the DIP Obligations and DIP

Superpriority Claims in full, and all such rights are expressly preserved.

       23.     Good Faith Under Bankruptcy Code Section 364(e); No Modification or Stay of

this Interim Order. The DIP Secured Parties and the Prepetition Secured Parties have acted in

good faith in connection with this Interim Order and are entitled to rely upon the protections

granted herein and by Bankruptcy Code section 364(e). Based on the findings set forth in this

Interim Order and the record made during the Interim Hearing, and in accordance with Bankruptcy

Code section 364(e), in the event any or all of the provisions of this Interim Order are hereafter

modified, amended or vacated by a subsequent order of this Court or any other court, the DIP

Secured Parties and the Prepetition Secured Parties are entitled to the protections provided in

Bankruptcy Code section 364(e). Any such modification, amendment or vacate shall not affect

the validity and enforceability of any advances previously made or made hereunder, or lien, claim

or priority authorized or created hereby.

       24.     Expenses and Indemnification.

               (a)     The Debtors are authorized and directed to pay, without further Court order,

the reasonable and documented prepetition and postpetition fees, costs, and expenses incurred by

the DIP Agent, the DIP Lenders, and the Crossover Group (as defined in the RSA) relating to the

DIP Facility (including (i) any amendments, modifications or waivers in respect thereof, (ii) the

administration thereof and (iii) in connection with the enforcement or protection of rights in

connection with the DIP Facility or the documentation in respect thereof) and the Cases (including,

without limitation, prepetition and postpetition fees and disbursements of counsel and advisors,




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including, but not limited to, the fees, costs and expenses of Akin Gump Strauss Hauer & Feld,

LLP, GLC & Co. Advisors, LLC, Simpson Thacher & Bartlett LLP and Troutman Pepper

Hamilton Sanders LLP (as Delaware counsel) (collectively, the “DIP Professionals”))

(collectively, the “DIP Professional Fees”). The DIP Professionals shall not be required to file

motions or applications with respect to the DIP Professional Fees, provided, however that any time

such professionals seek payment of fees and expenses from the Debtors, each professional shall

provide summary copies of its fee and expense statements or invoices (which shall not be required

to contain time entries and which may be redacted or modified to the extent necessary to delete

any information subject to the attorney-client privilege, any information constituting attorney work

product, or any other confidential information, and the provision of such invoices shall not

constitute any waiver of the attorney client privilege or of any benefits of the attorney work product

doctrine) to the Fee Notice Parties. If no objection to payment of the requested DIP Professional

Fees and expenses is made, in writing, by any of the Fee Notice Parties within the Fee Objection

Period, then such invoice shall be promptly paid, without further order of, or application to, the

Court or notice to any other party, and, in any case, within five (5) calendar days following the

expiration of the Fee Objection Period and shall not be subject to any further review, challenge, or

disgorgement. For the avoidance of doubt, the provisions of such invoices shall not constitute a

waiver of attorney-client privilege or any benefits of the attorney work product doctrine. If within

the Fee Objection Period, a Fee Notice Party sends to the affected professional and files with the

Court a written objection to such invoice, then only the disputed portion of such DIP Professional

Fees shall not be paid until the objection is resolved by the applicable parties in good faith or by

order of the Court, and any undisputed portion shall be paid within five (5) calendar days following

the expiration of the Fee Objection Period.




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               (b)     In addition, the Debtors will, jointly and severally, indemnify the DIP

Lenders and the DIP Agent, and their respective affiliates, successors and assigns and the partners,

officers, directors, employees, agents, advisors, counsel, controlling persons, and members of each

of the foregoing (each an “Indemnified Person”), and hold them harmless from and against any

and all losses, claims (including intraparty claims), demands, damages, costs, expenses (including

but not limited to reasonable and documented legal fees and expenses), and liabilities of any kind

(collectively, “Liabilities”) arising out of or relating to (i) the execution or delivery of the DIP

Term Sheet, the DIP Loan Agreement (if any), and the other DIP Loan Documents, transactions

contemplated hereby and thereby, (ii) the performance by the parties hereto of their respective

obligations hereunder or thereunder or the consummation of the Restructuring Transactions (as

defined in the DIP Term Sheet) or any other transactions contemplated hereby, (iii) any DIP Loan

or any actual or proposed use of the proceeds therefrom, (iv) any actual or alleged presence or

release of Materials of Environmental Concern (as defined in the DIP Term Sheet) on or from any

property owned or operated by the Debtors or any of their subsidiaries, or (v) any actual or

prospective claim, litigation, investigation, action, suit, arbitration or administrative, judicial or

regulatory action or proceeding in any jurisdiction (each, a “Proceeding”) relating to any of the

foregoing, whether or not such Proceeding is brought by a Debtor or its equity holders, affiliates,

creditors or any other third party and whether based on contract, tort or any other theory and

regardless of whether any Indemnified Person is a party thereto; provided that no such person will

be indemnified for costs, expenses, or liabilities to the extent such Liabilities or related expenses

are determined by a final, non-appealable judgment of a court of competent jurisdiction to have

resulted primarily from the bad faith, gross negligence, or willful misconduct of such Indemnified

Person. No Indemnified Person shall have any liability (whether direct or indirect, in contract, tort




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or otherwise) to the Debtors or any shareholders or creditors of the Debtors for or in connection

with the transactions contemplated hereby, except to the extent such liability is found in a final

non-appealable judgment by a court of competent jurisdiction to have resulted from such

Indemnified Person’s actual fraud, gross negligence, or willful misconduct, and in no event shall

any Indemnified Person be liable on any theory of liability for any special, indirect, consequential,

or punitive damages.

       25.     Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral.

Except as provided herein, none of the DIP Facility, the DIP Collateral, the Prepetition Collateral

or the proceeds thereof, including Cash Collateral (including cash held in respect of the L/C Cash

Collateral Liens), or the Carve Out may be used: (i) to investigate, initiate, prosecute, join, or

finance the initiation or prosecution of any claim, counterclaim, action, suit, arbitration,

proceeding, application, motion, objection, defense, or other litigation of any type (a) against any

of the DIP Secured Parties or the Prepetition Secured Parties (each in their capacities as such)

under the DIP Loan Documents, this Interim Order or the Prepetition Term Loan and Security

Agreement, including, without limitation, for the payment of any services rendered by the

professionals retained by the Debtors or any Committee in connection with the assertion of or

joinder in any claim, counterclaim, action, proceeding, application, motion, objection, defense, or

other contested matter, the purpose of which is to seek, or the result of which would be to obtain,

any order, judgment, determination, declaration, or similar relief that would impair the ability of

any of the DIP Secured Parties or the Prepetition Secured Parties to recover on the DIP Collateral

or the Prepetition Collateral, or seeking affirmative relief against any of the DIP Secured Parties

or the Prepetition Secured Parties related to the DIP Obligations, or the Prepetition Secured

Obligations, (b) seeking to invalidate, set aside, avoid or subordinate, in whole or in part, the DIP




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Obligations, or the DIP Agent’s and the DIP Lenders’ liens or security interests in the DIP

Collateral, the L/C Cash Collateral Liens, or the Prepetition Secured Obligations or the Prepetition

Liens in the Prepetition Collateral, or (c) for monetary, injunctive, or other affirmative relief

against the DIP Secured Parties or the Prepetition Secured Parties (each in their capacities as such),

or their respective liens on or security interests in the DIP Collateral or the Prepetition Collateral,

that would impair the ability of any of the DIP Secured Parties or the Prepetition Secured Parties

to assert or enforce any lien, claim, right or security interest or to realize or recover on the DIP

Obligations or the Prepetition Secured Obligations to the extent permitted or provided hereunder;

(ii) for objecting to or challenging in any way the legality, validity, extent, priority, perfection or

enforceability of the claims, liens, or interests (including the Prepetition Liens) held by or on behalf

of each of the Prepetition Secured Parties related to the Prepetition Secured Obligations or by or

on behalf of the DIP Secured Parties related to the DIP Obligations; (iii) for asserting, commencing

or prosecuting any claims or causes of action whatsoever, including, without limitation, any

Avoidance Actions related to the DIP Obligations, the DIP Liens, the Prepetition Secured

Obligations, or the Prepetition Liens; or (iv) for prosecuting an objection to, contesting in any

manner or raising any defenses to, the validity, extent, amount, perfection, priority or

enforceability of: (x) any of the DIP Liens or any other rights or interests of the DIP Secured

Parties related to the DIP Obligations or the DIP Liens, (y) any of the L/C Cash Collateral Liens

or any rights or interests of the parties to the L/C Cash Collateral Agreement, or (z) any of the

Prepetition Liens or any other rights or interests of any of the Prepetition Secured Parties related

to the Prepetition Secured Obligations or the Prepetition Liens; provided that no more than $50,000

of the proceeds of the DIP Facility, the DIP Collateral, or the Prepetition Collateral, including the

Cash Collateral, in the aggregate, may be used by any Committee to investigate the foregoing




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matters within the Challenge Period. Nothing contained in this paragraph 25 shall prohibit the

Debtors from responding or objecting to or complying with discovery requests of any Committee,

in whatever form, made in connection with such investigation or the payment from the DIP

Collateral (including Cash Collateral) of professional fees related thereto or from contesting or

challenging whether a DIP Termination Event has in fact occurred.

       26.     Effect of Stipulations on Third Parties.

               (a)     Subject to the rights and limitations set forth in this paragraph 26, the

Debtors’ acknowledgments, stipulations, admissions, waivers and releases set forth in this Interim

Order shall be binding on the Debtors, their respective representatives, successor and assigns. The

acknowledgments, stipulations, admissions, waivers and releases contained in this Interim Order

shall also be binding upon the Debtors’ estates and all other parties in interest, including any

Committee, or any chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors

(a “Trustee”), unless (i) such party with requisite standing granted by an order of this Court (or

such other court of competent jurisdiction), has duly filed an adversary proceeding challenging the

validity, perfection, priority, extent, or enforceability of the Prepetition Liens, or the Prepetition

Secured Obligations, or otherwise asserting or prosecuting any Avoidance Actions or any other

claims, counterclaims or causes of action, objections, contests, or defenses (each such proceeding

or contested matter, a “Challenge”) against the Prepetition Secured Parties in connection with any

matter related to the Prepetition Collateral, the Prepetition Liens, or the Prepetition Secured

Obligations by no later than seventy-five (75) calendar days following the date of entry of this

Interim Order, subject to further extension by (i) written agreement of the Debtors and the

Prepetition Secured Parties or (ii) an order of this Court obtained on notice and after a hearing,

such time, the “Challenge Period”); provided that in the case of the Committee (if any), so long as




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the RSA remains in full force and effect and provides for the payment of general unsecured claims

in full in cash, the Challenge Period shall be tolled until sixty (60) days after the earliest to occur

of (1) termination of the RSA, and (2) the Court’s entry of an order denying confirmation of the

Plan (as defined in the RSA) (the “Committee Challenge Period”) and the Committee Challenge

Period shall lapse upon the effective date of a chapter 11 plan that provides for the payment of

general unsecured claims in full in cash; provided further that in the event that, prior to the

expiration of the Challenge Period, (x) the Cases are converted to cases under chapter 7 of the

Bankruptcy Code or (y) a chapter 11 trustee is appointed in the Cases, then in each such case, the

Challenge Period shall be extended by the later of (A) the remaining time under the Challenge

Period plus fifteen (15) days or (B) such other time as ordered by the Court solely with respect to

any Trustee, commencing on the occurrence of either of the events described in the foregoing

clauses (x) and (y); and (ii) an order is entered by a court of competent jurisdiction and becomes

final and non-appealable in favor of the plaintiff sustaining any such Challenge or claim in any

such duly filed adversary proceeding. If no such adversary proceeding is timely filed prior to the

expiration of the Challenge Period, without further order of this Court: (x) the Prepetition Secured

Obligations shall constitute allowed claims, not subject to any Challenge (whether characterized

as a counterclaim, setoff, subordination, recharacterization, defense, avoidance, contest, attack,

objection, recoupment, reclassification, reduction, disallowance, recovery, disgorgement,

attachment, “claim” (as defined by Bankruptcy Code section 101(5)), impairment, subordination

(whether equitable, contractual or otherwise), or other challenge of any kind pursuant to the

Bankruptcy Code or applicable non-bankruptcy law), for all purposes in the Cases and any

subsequent chapter 7 cases, if any; (y) the Prepetition Liens shall be deemed to have been, as of

the Petition Date, legal, valid, binding, perfected and of the priority specified in Paragraph G, not




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subject to setoff, subordination, defense, avoidance, impairment, disallowance, recharacterization,

reduction, recoupment, or recovery; and (z) the Prepetition Secured Obligations, the Prepetition

Liens on the Prepetition Collateral, and the Prepetition Secured Parties (in their capacities as such)

shall not be subject to any other or further challenge and any party in interest shall be forever

enjoined and barred from seeking to exercise the rights of the Debtors’ estates or taking any such

action, including any successor thereto (including any estate representative or a Trustee, whether

such Trustee is appointed or elected prior to or following the expiration of the Challenge Period).

If any such adversary proceeding is timely filed as provided above prior to the expiration of the

Challenge Period, (i) the stipulations and admissions contained in this Interim Order shall

nonetheless remain binding and preclusive on any Committee and any other party in the Cases,

including any Trustee, except as to any stipulations or admissions that are specifically and

expressly challenged in such adversary proceeding and (ii) any Challenge not brought in such

adversary proceeding shall be forever barred; provided that, if and to the extent any challenges to

a particular stipulation or admission are withdrawn, denied or overruled by a final non-appealable

order, such stipulation also shall be binding on the Debtors’ estates and all parties in interest.

               (b)     Subject to Paragraph 26(a), nothing in this Interim Order vests or confers

on any person (as defined in the Bankruptcy Code), including any Committee, standing or

authority to pursue any cause of action belonging to the Debtors or their estates, including, without

limitation, any challenge with respect to the Prepetition Credit Documents or the Prepetition

Secured Obligations.

       27.     Release. Subject to the rights and limitations set forth in Paragraph 26 of this

Interim Order, effective upon entry of the Final Order, each of the Debtors and the Debtors’ estates,

on its own behalf and on behalf of its past, present, and future predecessors, successors, heirs,




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subsidiaries, and assigns, hereby absolutely, unconditionally, and irrevocably releases and forever

discharges and acquits the DIP Secured Parties, the Prepetition Secured Parties, and each of their

respective affiliates and each of their respective former or current officers, partners, directors,

managers, owners, members, principals, employees, agents, related funds, investors, financing

sources,   financial   advisors,   attorneys,   accountants,   investment     bankers,   consultants,

representatives and other professionals and the respective successors and assigns thereof, solely in

their capacities as such (collectively, the “Released Parties”), from any and all obligations and

liabilities to the Debtors (and their successors and assigns) and from any and all claims,

counterclaims, demands, defenses, offsets, debts, accounts, contracts, liabilities, actions, and

causes of action arising prior to the Petition Date of any kind, nature or description, whether

matured or unmatured, known or unknown, asserted or unasserted, foreseen or unforeseen, accrued

or unaccrued, suspected or unsuspected, liquidated or unliquidated, pending or threatened, arising

in law or equity, upon contract tort or under any state or federal law or otherwise, arising out of or

related to the DIP Facility, the DIP Obligations, the DIP Liens, the DIP Loan Documents, the

Prepetition Secured Facilities, the Prepetition Secured Obligations, the Prepetition Liens, the

obligations owing and the financial obligations made thereunder, the negotiation thereof and of

the deal reflected thereby and the obligations and financial obligations made thereunder, in each

case that the Debtors at any time had, now have or may have, or that their successors or assigns

hereafter can or may have against any of the Released Parties for or by reason of any act, omission,

matter, cause, or thing whatsoever arising at any time on or prior to the date of this Interim Order;

provided that nothing in this paragraph shall in any way limit or release the obligations of the DIP

Agent and the DIP Lenders under the DIP Loan Documents.




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       28.     Insurance. At all times the Debtors shall maintain casualty and loss insurance

coverage for the Prepetition Collateral and the DIP Collateral on substantially the same basis as

maintained prior to the Petition Date. Upon entry of this Interim Order, the DIP Agent is, and will

be deemed to be, without any further action or notice, named as an additional insured and lender’s

loss payee on each insurance policy maintained by the Debtors which in any way relates to the

DIP Collateral.

       29.     Credit Bidding. Subject to section 363(k) of the Bankruptcy Code, (i) the DIP

Agent, or any assignee or designee of the DIP Agent, acting at the direction of the Required DIP

Lenders and on behalf of the DIP Lenders, shall have the right to credit bid up to the full amount

of any DIP Obligations in any sale of any of the Debtors’ assets, including pursuant to

(a) Bankruptcy Code section 363, (b) a plan of reorganization or a plan of liquidation under

Bankruptcy Code section 1129, or (c) a sale or disposition by a chapter 7 trustee for any Debtor

under Bankruptcy Code section 725 and (ii) the First Lien Agent (on behalf of the First Lien

Lenders) shall have the right to credit bid (x) up to the full amount of the First Lien Term Loan

Obligations and the Revolving Loan Obligations and (y) the First Lien Adequate Protection

Obligations in the sale of any of the Debtors’ assets, including, but not limited to, pursuant to

(a) Bankruptcy Code section 363, (b) a plan of reorganization or a plan of liquidation under

Bankruptcy Code section 1129, or (c) a sale or disposition by a chapter 7 trustee for any Debtor

under Bankruptcy Code section 725. The DIP Agent, at the direction of the Required DIP Lenders

and on behalf of the DIP Lenders, and the First Lien Agent on behalf of the First Lien Lenders,

shall have the absolute right to assign, sell, or otherwise dispose of its right to credit bid in

connection with any credit bid by or on behalf of the DIP Secured Parties or First Lien Secured




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Parties, as applicable, to any acquisition entity or joint venture formed in connection with such

bid.

       30.     No Obligation to Extend Credit. The DIP Secured Parties shall have no obligation

to make any loan or advance under the relevant DIP Loan Documents unless all of the conditions

precedent under the DIP Loan Documents and this Interim Order have been satisfied in full or

waived by the Required DIP Lenders and in accordance with the terms of the relevant DIP Loan

Documents.

       31.     No Duty to Monitor Collateral. None of the DIP Secured Parties or the Prepetition

Secured Parties shall have any obligation or responsibility to monitor any of the Debtors’ use of

DIP Collateral, Prepetition Collateral, or Cash Collateral, and each of the DIP Secured Parties and

the Prepetition Secured Parties may rely upon each of the Debtors’ representations that the use of

the proceeds of the DIP Facility and the use of Cash Collateral is in accordance with the

requirements of this Interim Order and the DIP Loan Documents.

       32.     No Waiver by Failure to Seek Relief. The failure of the DIP Secured Parties or the

Prepetition Secured Parties to seek relief or otherwise exercise their rights and remedies under this

Interim Order, the DIP Loan Documents, the Prepetition Term Loan and Security Agreement or

applicable law, as the case may be, shall not constitute a waiver of any of the rights hereunder,

thereunder, or otherwise.

       33.     Reservation of Rights Under the Intercreditor Agreement. Except as expressly

provided in this Interim Order, nothing in this Interim Order shall amend, modify or waive the

terms or provisions of the Intercreditor Agreement and all parties’ rights and remedies under the

Intercreditor Agreement are preserved.




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       34.     Binding Effect; Successors and Assigns. The DIP Loan Documents and the

provisions of this Interim Order, including all findings herein, shall be binding upon all parties in

interest in the Cases, including, without limitation, the DIP Secured Parties, the Prepetition

Secured Parties, and any Committee appointed in these Cases, and the Debtors and their respective

successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or

elected for the estate of any of the Debtors, an examiner appointed pursuant to Bankruptcy Code

section 1104, or any other fiduciary appointed as a legal representative of any of the Debtors or

with respect to the property of the estate of any of the Debtors) and shall inure to the benefit of the

DIP Secured Parties and the Prepetition Secured Parties; provided that, except to the extent

expressly set forth in this Interim Order, the Prepetition Secured Parties shall have no obligation

to permit the use of Cash Collateral or to extend any financing to any chapter 7 trustee or similar

responsible person appointed for the estates of the Debtors.

       35.     Limitation of Liability. Solely in determining to make any loan under the DIP Loan

Documents, permitting the use of Cash Collateral, or exercising any rights or remedies as and

when permitted pursuant to this Interim Order, the DIP Loan Documents, the Prepetition Term

Loan and Security Agreement, the DIP Secured Parties and the Prepetition Secured Parties shall

not be deemed to be in control of the operations of the Debtors or to be acting as a “responsible

person” or “owner or operator” with respect to the operation or management of the Debtors or their

respective business, nor shall they owe any fiduciary duty to any of the Debtors, their creditors or

estates, or constitute or be deemed to constitute a joint venture or partnership with any of the

Debtors. Furthermore, nothing in this Interim Order, the DIP Loan Documents, or the Prepetition

Credit Documents shall in any way be construed or interpreted to impose or allow the imposition

upon the DIP Secured Parties or the Prepetition Secured Parties of any liability for any claims




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arising from the prepetition or postpetition activities of any of the Debtors and their respective

affiliates (as defined in Bankruptcy Code section 101(2)).

       36.     Master Proofs of Claim. Notwithstanding anything to the contrary in the Motion

or this Interim Order, the Prepetition Agents are authorized, but not directed or required, to file

one master proof of claim on behalf of themselves and the applicable Prepetition Secured Parties,

as applicable, on account of any and all of the respective claims arising under the applicable

Prepetition Credit Documents, as applicable, and hereunder (the “Master Proof of Claim”). For

administrative convenience, any Master Proof of Claim authorized herein may be filed in the case

of Debtor Carestream Health, Inc. with respect to all amounts asserted in such Master Proof of

Claim, and such Master Proof of Claim shall be deemed to be filed and asserted by the applicable

entity or entities against every Debtor asserted to be liable for the applicable claim. For the

avoidance of doubt, the provisions set forth in this paragraph and any Master Proof of Claim filed

pursuant to the terms hereof are intended solely for the purpose of administrative convenience and

shall not affect the substantive rights of any party in interest or their respective successors in

interest, including, without limitation, the numerosity requirements set forth in Bankruptcy Code

section 1126. The Prepetition Agents shall not be required to attach any instruments, agreements,

or other documents evidencing the obligations owing by each of the Debtors to the Prepetition

Secured Parties, as applicable, which instruments, agreements, or other documents will be

provided to the Debtors upon written request to counsel to the applicable Prepetition Agent.

       37.     Agency Provisions. The DIP Agent and each DIP Lender are bound by the

provisions set forth in Exhibit E to the DIP Term Sheet.




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         38.     Necessary Action. The Debtors are authorized to take any and all such actions and

to make, execute and deliver any and all instruments as may be reasonably necessary to implement

the terms and conditions of this Interim Order and the transactions contemplated hereby.

         39.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable immediately

upon execution hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(g), 6006(d), 7062,

or 9024 or any other Bankruptcy Rule, this Interim Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of execution or effectiveness of this Interim

Order.

         40.     Interim Order Governs. In the event of any inconsistency between the provisions

of the DIP Loan Documents and this Interim Order, the provisions of this Interim Order shall

govern.

         41.     Final Hearing. The Final Hearing on the Motion shall be held on September [●],

2022, at [●], prevailing Eastern Time; provided that the Final Hearing may be adjourned or

otherwise postponed upon the Debtors filing a notice of such adjournment with the consent of the

DIP Agent (acting at the direction of the Required DIP Lenders). The Debtors shall promptly

serve copies of this Interim Order (which shall constitute adequate notice of the Final Hearing and

in compliance with Local Rule 9013-1(m)) to the parties having been given notice of the Interim

Hearing, and to any other party that has filed a request for notices with this Court. Any objections

or responses to entry of the Final Order shall be filed on or before [●], prevailing Eastern Time,

on September [●], 2022 and shall be served on (a) Kirkland & Ellis LLP, as counsel to the Debtors,

(b) the U.S. Trustee for the District of Delaware, (c) the holders of the thirty largest unsecured

claims against the Debtors (on a consolidated basis), (d) counsel to the DIP Agent, (e) counsel to




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the First Lien Agent and the Second Lien Agent, (f) counsel to the Crossover Group, (g) the office

of the attorney general for each of the states in which the Debtors operate, (h) the United States

Attorney’s Office for the District of Delaware, (i) the Internal Revenue Service, (j) all parties who

are known, after reasonable inquiry, to have asserted a lien, encumbrance, or claim in the

Prepetition Collateral, (k) the Debtors’ landlords, and (l) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In the event no objections to entry of the Final Order on the

Motion are timely received, this Court may enter such Final Order without need for the Final

Hearing.

       42.     Retention of Jurisdiction. This Court retains jurisdiction with respect to all matters

arising from or related to the DIP Loan Documents and the implementation of this Interim Order

and to enforce the same.




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                          Exhibit A

         DIP Commitment Letter and DIP Term Sheet

                    (Intentionally Omitted)
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                         Exhibit B

                        DIP Budget
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Carestream Health, Inc                           13WK              13WK            13WK             13WK             13WK              13WK               13WK              13WK              13WK              13WK             13WK              13WK             13WK
     Weekly Cash Forecast             0110
     ($ in '000)

                                                    Week 1           Week 2          Week 3           Week 4           Week 5            Week 6             Week 7            Week 8            Week 9           Week 10          Week 11            Week 12          Week 13          Week 1
                                                    Forecast         Forecast        Forecast         Forecast         Forecast          Forecast           Forecast          Forecast          Forecast         Forecast         Forecast           Forecast         Forecast         Week 13
                                                  21-Aug-22         28-Aug-22       4-Sep-22         11-Sep-22        18-Sep-22         25-Sep-22          2-Oct-22          9-Oct-22          16-Oct-22         23-Oct-22        30-Oct-22          6-Nov-22        13-Nov-22        13WK Total
                                                  27-Aug-22          3-Sep-22       10-Sep-22        17-Sep-22        24-Sep-22          1-Oct-22          8-Oct-22          15-Oct-22         22-Oct-22         29-Oct-22        5-Nov-22          12-Nov-22        19-Nov-22

     Receipts
1         Customer receipts                               5,417           7,409            6,321            6,321             6,323              9,523             6,969            7,069              6,919            9,159             6,552            6,852             6,852         91,686
2         Other receipts                                      -               -                -                -                 -                  -                 -                -                  -                -                 -                -                 -              -
     Total Receipts                                       5,417           7,409            6,321            6,321             6,323              9,523             6,969            7,069              6,919            9,159             6,552            6,852             6,852        91,686

     Operating Disbursements
3         Payroll & Benefits                              (765)         (6,965)            (984)         (6,939)               (963)            (6,913)           (1,000)        (6,904)                (995)        (6,903)             (1,000)        (9,401)             (1,000)      (50,734)
4         3rd Party Trade Vendors                      (17,608)        (16,894)          (7,058)         (4,867)             (4,319)            (4,315)           (4,257)        (4,251)              (4,803)        (4,278)             (5,051)        (5,052)             (5,052)      (87,803)
5         Net Silver Settlements                          (707)         (4,342)          (2,171)         (1,303)               (434)              (434)           (3,969)        (1,984)              (1,191)          (794)             (3,277)        (1,638)               (983)      (23,226)
6         Taxes & Duties                                  (331)           (340)            (352)           (352)               (352)              (348)             (326)          (326)                (326)          (326)               (290)          (290)               (275)       (4,233)
7         Other Operating Disbursements                       -            (30)                -               -                   -               (30)                 -              -                    -              -                (30)              -                   -          (90)
     Total Operating Disbursements                    (19,411)        (28,570)         (10,566)        (13,461)             (6,069)           (12,040)           (9,552)       (13,465)              (7,314)       (12,300)             (9,648)       (16,381)             (7,311)     (166,086)

     Net Operating Cash Flow                          (13,994)        (21,161)            (4,244)          (7,140)              255            (2,517)           (2,583)           (6,396)            (396)            (3,141)          (3,095)           (9,528)           (458)        (74,400)

   Non-Operating Cash Flows
8       Debt Service - Pre-Petition (1)                        -           (678)                -                -                -            (13,107)                 -                 -                 -                -            (638)                 -                 -       (14,423)
9       Debt Service - DIP                                  (75)             (8)                -                -            (500)                   -              (23)                 -                 -            (718)                -                 -                 -        (1,323)
10      Debt Service - Post-Emergence                          -               -                -                -                -                   -                 -                 -                 -                -                -                 -                 -              -
11      Professional Fees                                      -               -                -                -                -            (11,359)                 -                 -                 -                -                -                 -                 -       (11,359)
12      Other Non-Operating Cash Flows                   (5,175)               -                -                -                -                   -                 -                 -                 -                -                -                 -                 -        (5,175)
   Total Non-operating Cash Flows                       (5,250)           (685)                 -                -           (500)            (24,466)              (23)                  -                 -           (718)            (638)                  -                 -      (32,280)

13         Net Intercompany                            (12,200)            7,250            3,320            3,320            3,320             10,040             3,320           (6,680)             3,320            10,040            3,320             3,320            3,320         35,010
     Net Cash Flow                                    (31,444)        (14,596)             (924)           (3,820)            3,075           (16,944)               715       (13,076)                2,924            6,181            (414)            (6,208)            2,862       (71,670)

     Beginning Bank Cash Balance                         12,769          31,324            16,728           15,804           11,984             15,059            28,115          28,830              15,754            18,678           24,859            24,445           18,237         12,769
14        Net Cash Flow                                (31,444)        (14,596)             (924)          (3,820)            3,075           (16,944)               715        (13,076)               2,924             6,181            (414)           (6,208)            2,862       (71,670)
15        Debt Proceeds/Repayment                        50,000               -                 -                -                -             30,000                 -               -                   -                 -                -                 -                -         80,000
     Ending Bank Cash Balance                           31,324          16,728            15,804           11,984           15,059             28,115            28,830          15,754              18,678            24,859           24,445            18,237           21,098         21,098

16      (1) Assumed adequate protection payments (non-default interest and fees) for revolver and 1st lien term loan lenders.
        Note: Budget does not contemplate the effectuation, or impact, of a transaction. Excludes exit costs such as success fees / transaction fees and potential cure costs.
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                         Exhibit B

                    Turnbull Declaration
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )    Chapter 11
                                                                        )
CARESTREAM HEALTH, INC., et al.,1                                       )    Case No. 22-10778 (___)
                                                                        )
                                     Debtors.                           )    (Joint Administration Requested)
                                                                        )

               DECLARATION OF ANDREW TURNBULL IN SUPPORT
        OF THE DEBTORS’ MOTION SEEKING ENTRY OF INTERIM AND FINAL
       ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION
    FINANCING AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS AND
        SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING
          ADEQUATE PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY,
     (V) SCHEDULING A FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

         I, Andrew Turnbull, make this Declaration pursuant to 28 U.S.C. § 1746:

         1.       I am a Managing Director of Houlihan Lokey Capital, Inc. (“Houlihan Lokey”), the

proposed investment banker to the above captioned debtors and debtors in possession (collectively,

the “Debtors”).

         2.       I submit this declaration (this “Declaration”) in support of the Debtors’ Motion

Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition

Financing and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative

Expense Claims, (III) Granting Adequate Protection, (IV) Modifying the Automatic Stay,

(V) Scheduling a Final Hearing, and (VI) Granting Related Relief (the “DIP Motion”). In

particular, I submit this Declaration in support of my view that the proposed debtor-in-possession


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
     Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
     Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
     Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
     (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
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financing facility (the “DIP Facility”) is (a) the product of an arm’s-length, good-faith negotiation

process, (b) the best available postpetition financing option for the Debtors, and (c) contains

reasonable terms and conditions under the circumstances.

        3.         The statements in this Declaration are, except where specifically noted, based on

(a) my personal knowledge, (b) information regarding the Debtors’ operations and finances that I

obtained from the Debtors’ advisors or employees, (c) the Debtors’ books, records, and relevant

documents, (d) information provided to me by employees of Houlihan Lokey working under my

supervision, and/or (e) my opinions, experience, and knowledge as a restructuring professional.

Specifically, I have overseen the Houlihan Lokey team, which, since July 2021, has been one of

the principal advisors to the Debtors. In that capacity, I have been directly involved in the matters

leading up to the Debtors’ chapter 11 filings and postpetition financing efforts. I am over the age

of 18 years and authorized to submit this Declaration on behalf of the Debtors. If I were called

upon to testify, I could and would competently testify to the facts set forth herein.

                                   Background and Qualifications

        4.         Houlihan Lokey, together with the other subsidiaries of its direct parent company,

Houlihan Lokey, Inc., is an internationally recognized investment banking and financial advisory

firm, with 35 offices worldwide and more than 1,600 professionals. Houlihan Lokey’s Financial

Restructuring Group, which has more than 200 professionals, is one of the leading advisors and

investment bankers to debtors, unsecured and secured creditors, acquirers, and other parties-in-

interest involved with financially troubled companies both in and outside of bankruptcy. Houlihan

Lokey has been, and is, involved in some of the largest restructuring cases in the United States,

including representing debtors and official committees in numerous chapter 11 cases in this and

other districts.



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        5.       Since joining Houlihan Lokey in 2004, I have specialized in assisting companies,

lenders, creditors, and investors in distressed situations. My experience includes conducting

acquisitions and divestitures of financially troubled assets, raising various forms of capital and

negotiations relating to the restructuring of private and public securities, both in chapter 11 and in

out-of-court situations.

        6.       Prior to joining Houlihan Lokey, I was a Director at PricewaterhouseCoopers

Securities. I hold a Bachelor of Science in Biology and an Honours Business Administration

degree, both from the University of Western Ontario.

        7.       The Debtors retained Houlihan Lokey on September 16, 2020 to serve as their

investment banker in relation to a sale process of the entire company, including the Debtors and

the company’s non-Debtor operations. The Debtors expanded the role of Houlihan Lokey on

July 2, 2021, to incorporate the firm’s Financial Restructuring Group.                    The Debtors chose

Houlihan Lokey for these roles because of our expertise in the healthcare sector, as well as on

issues relating to financially distressed companies and its extensive experience acting as an advisor

in both in and out-of-court restructurings of companies of all sizes across a wide array of industries.

Houlihan Lokey and its professionals have considerable experience advising debtors in chapter 11

cases and have been employed as an estate compensated professional in various capacities in

numerous chapter 11 cases within this district and others. I am familiar with the Debtors’ business

and financial affairs, and I offer this Declaration in support of the DIP Motion.2

                 The Debtors’ Need for the DIP Facility and Access to Cash Collateral

        8.       Since its retention by the Debtors, Houlihan Lokey has provided investment

banking advisory services to the Debtors in connection with their evaluation of various strategic


2
    Capitalized terms used but not otherwise defined shall have the meaning ascribed to them in the DIP Motion.

                                                        3
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alternatives, including a sale process and recapitalization transaction. Ultimately, this process,

which is described further below, culminated in the execution of the RSA with certain of the

Debtors’ prepetition secured lenders and equity sponsor pursuant to which the Debtors will, among

other things, consummate a prepackaged chapter 11 plan that will (a) reduce pre-petition funded

debt of approximately $470 million, (b) receive an equity capital infusion of $75 million, and

(c) pay all trade, vendor, and employee obligations in full in the ordinary course of business.

       9.      As part of the Debtors’ preparations for these chapter 11 cases, the Debtors and

their advisors analyzed how much postpetition financing would be required to operate the Debtors’

business and fund the administrative costs of this chapter 11 process. As part of this analysis, the

Debtors and their advisors developed a 13-week cash flow forecast, which takes into account

anticipated cash receipts and disbursements during the projected period and considers a number of

factors, including, but not limited to, the effect of a chapter 11 filing on the operations of the

business, the fees, and interest expense associated with the DIP Facility and consensual use of

Cash Collateral, restructuring costs (including professional fees), required operational payments,

and the potential acceleration of demands on available liquidity through working capital

contraction.

       10.     Based on this analysis, the Debtors determined that they would require incremental

liquidity to comfortably operate postpetition and satisfy all administrative costs and expenses. The

Debtors also believe that the DIP Facility and access to Cash Collateral will provide a strong, clear

message to their customers, vendors, employees, and contract counterparties that operations are

appropriately funded and that the bankruptcy filing will not impact the Debtors’ businesses

operationally. Specifically, access to liquidity will communicate that the Debtors are able to

continue meeting the needs of their customers, provide compensation to their employees, and are



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continuing to manage their businesses as close to the ordinary course as possible. Furthermore,

access to the proposed DIP Facility and Cash Collateral will provide the Debtors with sufficient

funds to pay wages to their employees, administer these chapter 11 cases, and thereby enable the

Debtors to continue their efforts to preserve and maximize the value of their estates during these

prepackaged chapter 11 cases.

                     The Debtors’ Efforts to Obtain Postpetition Financing

       11.     The Debtors, with Houlihan Lokey’s assistance, solicited a new money postpetition

financing facility backstopped by certain prepetition secured lenders (the “DIP Lenders”), the

primary parties with which the Debtors were negotiating the global restructuring transaction

contemplated by the RSA. Over the course of multiple weeks, the Debtors and their advisors

engaged in various conversations and extensive negotiations with the DIP Lenders to achieve the

best possible terms for the DIP Facility and consensual use of Cash Collateral. Following these

arm’s-length negotiations, the Debtors were able to secure the proposed $80 million DIP Facility.

The negotiations resulted in certain concessions being made by the DIP Lenders, including not

rolling up any prepetition debt, additional flexibility on the Debtors’ financial reporting and

financial performance covenants, and their agreement to fund on a term sheet-only basis.

Significantly, the DIP Facility was the Debtors’ only viable source of postpetition funding and I

believe that no other, better alternative is reasonably attainable.

I.     The Prepetition Marketing Processes

       12.     Leading up to the Petition Date, the Debtors, the Prepetition Secured Parties, and

the DIP Lenders engaged in arm’s-length negotiations over the terms of the DIP Facility. Given

the Debtors’ capital structure and under the current circumstances, I believe that the only viable,

actionable source of debtor-in-possession financing was with the Prepetition Secured Parties and

DIP Lenders. Based upon my experience and review of the Debtors’ capital structure and financial

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records, any potential lenders, if any were to make a financing proposal at all, would require

priming of the existing secured parties. Furthermore, the Prepetition Secured Parties and the DIP

Lenders made it known that they would not consent to a priming loan from a third-party. In my

experience, any such attempt, even if actionable by the Debtors, would likely result in expensive

and distracting litigation at the outset of these chapter 11 cases that the Debtors do not have the

requisite financing to support.

       13.     Further, with any third-party proposal, the Debtors would incur the execution risk

associated with a new lender transaction, including timing and due diligence constraints,

necessarily involving the payment of additional professional fees. In contrast, the proposed

consensual DIP Facility and access to Cash Collateral offered by the DIP Lenders allows the

Debtors to avoid such risks at the outset of these chapter 11 cases.

       14.     To ensure that there was no other available financing on better terms under the

circumstances, my colleagues and I reached out to six other parties to assess their willingness to

provide financing. Of those six parties, none expressed an interest in providing financing to the

Debtors other than on a consensual priming basis.

II.    The DIP Facility Proposal.

       15.     Importantly, the DIP Facility is an integral part of the Debtors’ RSA and the

transactions contemplated thereunder, and all of the proposed DIP Lenders also signed the RSA.

Further, the DIP Facility is critical to the Debtors’ ability to fund the administrative costs of these

chapter 11 cases and provides the Debtors with sufficient liquidity to operate their business. As

noted above, the Prepetition Secured Parties indicated that they would not consent to a “priming”

DIP financing provided by a third party, and therefore the DIP Facility avoids the need for a

value-destructive “priming” or valuation dispute at the outset of these chapter 11 cases. Finally,

and perhaps most importantly, the DIP Lenders have agreed to equitize a significant amount of the

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DIP Claims under the Plan and receive both cash and New Common Stock in lieu of repayment in

full in cash. In tandem with the RSA, the DIP Facility provides a path to emergence that is

important to reassure customers and vendors, protect operations, and maximize value for creditors.

   The DIP Facility Was Negotiated in Good Faith and At Arm’s Length and the Fees in
             Connection with the DIP Facility are Reasonable and Market

       16.     In the lead up to the Petition Date, my team and I, along with the Debtors’ other

advisors, negotiated the terms and provisions of the DIP Facility on behalf of the Debtors. During

that time, the parties exchanged multiple term sheets and mark-ups. Over the course of these

negotiations, the size and terms of the DIP Facility improved to the benefit of the Debtors.

       17.     The fees and rates to be paid under the proposed DIP Facility were the subject of

arm’s-length and good faith negotiation between the Debtors and the DIP Lenders, are an integral

component of the overall terms of the proposed DIP Facility, and were required by the DIP Lenders

as consideration for the extension of postpetition financing. These fees are summarized below.

  Interest Rate        Adjusted Term SOFR Rate for the one-month Interest Period (as defined in
                       Annex C to the DIP Term Sheet) then in effect plus 9.00%, payable monthly

  Commitment Fee       2.00% of the aggregate amount of the DIP Commitments

  Exit Fee             4.00% on the funded amount of the DIP Loans

  Undrawn DIP Fee      1.00% per annum on the unused portion of the DIP Commitments

  Agency Fee           As set forth in Exhibit D to the DIP Motion

       18.     Under the current circumstances, given the lack of any other alternatives, and based

on my knowledge of other financings in the market, I believe that the fees, rates, and other

economics provided for in the DIP Facility are reasonable under the circumstances.

The DIP Facility Is the Best Postpetition Financing Arrangement Available to the Debtors

       19.     Based on my experience with debtor-in-possession financing transactions, as well

as my involvement in the negotiation of the DIP Facility and the facts of this case, the DIP Facility

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is the best financing option available to the Debtors under the circumstances. The proposed DIP

Facility maximizes the value of the enterprise by allowing the Debtors to: (a) fund certain costs,

fees, and expenses related to these chapter 11 cases; (b) provide Adequate Protection Claims (as

defined in the Interim Order); (c) fund the fees, interest, payments, and expenses associated with

the DIP Facility, including fees, costs, and expenses incurred by the DIP Agent and/or the DIP

Lenders; and (d) fund the working capital needs, capital improvements, and expenditures related

to these chapter 11 cases. In short, the proposed DIP Facility will allow the Debtors to maximize

value by continuing operations with minimal disruption.

       20.     The DIP Lenders agreed to provide the DIP Facility to the Debtors on terms that I

consider to be reasonable under the circumstances. The DIP Lenders expressly conditioned their

proposals on, among other things, priming first-priority liens on assets encumbered by the Debtors’

Prepetition Secured Credit Facilities and customary forms of adequate protection. The DIP

Lenders also expressly conditioned their proposals on postpetition liens on the Debtors’ prepetition

unencumbered assets as part of the collateral package securing the DIP Loans. Additionally,

although the DIP Loans prime the Prepetition Secured Parties’ liens, such priming is being done

on a consensual basis. With respect to the DIP Loans, certain of the Prepetition Secured Parties

that signed the RSA—holding more than 70% of the outstanding First Lien Claims and 99% of the

outstanding Second Lien Term Loan Claims (both as defined in the Plan)—have consented to the

priming.

       21.     In addition to providing the Debtors with incremental liquidity, the DIP Facility

will provide the Debtors with access to the use of Cash Collateral on a consensual basis and will

allow the Debtors to fund their business in the ordinary course, which will ensure continued,

uninterrupted operations, preserving the value of the estate for the benefit of all stakeholders.



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       22.     Finally, and perhaps most importantly, the DIP Facility provides the Debtors with

a path towards a successful and expeditious confirmation. The proposed DIP Facility, together

with the RSA, provide the clearest path to an expeditious and adequately funded prepackaged

chapter 11 case, which would best preserve the value of the Debtors’ business and operations.

       23.     In sum, it is my professional opinion that the terms of the DIP Facility are

reasonable under the circumstances, and were the product of good faith, arm’s-length negotiations

and that the DIP Facility will benefit all stakeholders in these chapter 11 cases. For all of the

reasons included in this Declaration, I submit it would be appropriate for the Court to approve the

DIP Facility and the use of cash collateral as contemplated by the DIP Motion.



                           [Remainder of page intentionally left blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge.

August 23, 2022
Chicago, Illinois
                                               By:
                                               /s/ Andrew Turnbull
                                               Andrew Turnbull
                                               Houlihan Lokey Capital, Inc.
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                          Exhibit C

                    DIP Commitment Letter
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                                                                                Execution Version




                                                                                  August 21, 2022



Carestream Health Holdings, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson


         $80,000,000 Superpriority Senior Secured Debtor in Possession Credit Facility
                                     Commitment Letter

Ladies and Gentlemen:

        Carestream Health Holdings, Inc., a Delaware corporation (“you” or “Carestream”) and
certain of its direct and indirect domestic subsidiaries (collectively, the “Debtors” and each a
“Debtor”) have requested that the parties listed on Annex I hereto (“us”, “we” or the “Commitment
Parties”) agree to provide, under section 364 of title 11 of the United States Code, 11 U.S.C. §§
101 et seq. (as amended, the “Bankruptcy Code”), a multiple draw superpriority senior secured
debtor in possession term loan facility (the “DIP Credit Facility”) in an aggregate principal amount
of $80,000,000 (the “DIP Commitment”), comprising (x) a $5,000,000 tranche of terms loans
(“Tranche A Loans”) and (y) a $75,000,000 tranche of term loans (“Tranche B Loans”), of which
(i) $50,000,000 shall be available to be funded on the Interim Closing Date (as defined in the DIP
Term Sheet (as defined below)) subject to entry of the Interim DIP Order (as defined in the
Restructuring Support Agreement (as defined below)), consisting of $3,125,000 of Tranche A
Loans and $46,875,000 of Tranche B Loans and (ii) $30,000,000 shall be available to be funded
in the form of delayed-draw term loans on the Final Closing Date (as defined in the DIP Term
Sheet) subject to entry of the Final DIP Order (as defined in the Restructuring Support Agreement),
consisting of $1,875,000 of Tranche A Loans and $28,125,000 of Tranche B Loans. The
availability of the DIP Credit Facility will be conditioned on and subject solely to the conditions
set forth in Section 5 below. Capitalized terms used but not defined herein are used with the
meanings assigned to them in (i) that certain Restructuring Support Agreement, dated as of the
date hereof (including the term sheets attached thereto and any other attachments thereto, as
amended, restated, amended and restated, supplemented or otherwise modified from time to time
pursuant to the terms thereof, the “Restructuring Support Agreement”), by and among the
Company Parties party thereto and the Consenting Stakeholders (as defined in the Restructuring
Support Agreement) from time to time party thereto or (ii) the term sheet (the “DIP Term Sheet”)
attached hereto as Exhibit A (together with this letter, collectively, this “Commitment Letter”), as
applicable.

       1.      Commitment

        In connection with the foregoing, the Commitment Parties are pleased to advise you of
their commitments to provide the DIP Credit Facility, on a several and not joint basis, in the
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respective amounts set forth adjacent to each such DIP Lender’s name on Annex I hereto (the “DIP
Commitments”) upon the terms and subject to solely the conditions set forth in this Commitment
Letter and the DIP Term Sheet.

        The rights and obligations of each of the Commitment Parties under this Commitment
Letter shall be several and not joint, and no failure of any Commitment Parties to comply with any
of its obligations hereunder shall prejudice the rights, or reduce the obligations, of any other DIP
Lender; provided that no DIP Lender shall be required to fund the commitment of another DIP
Lender in the event such other DIP Lender fails to do so (the “Breaching Party”), but may at its
option do so, in whole or in part, in which case such performing DIP Lender shall be entitled to all
or a proportionate share, as the case may be, of the DIP Credit Facility and related fees that would
otherwise be issued to the Breaching Party.

       2.      Titles and Roles

        It is agreed that JPMorgan Chase Bank, N.A. (“JPMorgan”) will act as the administrative
agent (in such capacity, the “DIP Agent”) in respect of the DIP Credit Facility. It is understood
and agreed that this Commitment Letter shall not constitute either an express or implied
commitment or offer by the DIP Agent or any of its affiliates to provide any portion of the DIP
Facility or to otherwise provide any financing.

       3.      Information

        You hereby represent that (a) all written factual information, other than (i) the Projections
(as defined below) and (ii) information of a general economic or industry specific nature (such
written information other than as described in the immediately preceding clauses (i) and (ii), the
“Information”), that has been or will be made available to us by you or on behalf of you or any of
your representatives in connection herewith is or will be, when taken as a whole, complete and
correct in all material respects and does not or will not, when furnished and when taken as a whole,
contain any untrue statement of a material fact or omit to state a material fact necessary in order
to make the statements contained therein not materially misleading in light of the circumstances
under which such statements are made (after giving effect to all supplements and updates thereto)
and (b) the financial projections and other forward-looking information (the “Projections”) that
have been or will be made available to us by you or on behalf of you or any of your representatives
in connection herewith have been or will be prepared in good faith based upon assumptions that
are reasonable at the time made and at the time the related Projections are made available to us; it
being understood that (x) the Projections are merely a prediction as to future events and are not to
be viewed as facts, (y) the Projections are subject to significant uncertainties and contingencies,
many of which are beyond your control, and (z) no assurance can be given that any particular
Projection will be realized and that actual results during the period or periods covered by any the
Projections may differ significantly from the projected results and such differences may be
material. You agree that if, at any time prior to the execution of the DIP Credit Facility, you
become aware that any of the representations in the preceding sentence would be incorrect if the
Information and Projections were being furnished, and such representations were being made, at
such time, then you will promptly supplement the Information and the Projections so that such
representations will be correct under those circumstances; provided that any such supplemental



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Information and Projections shall be treated as confidential in accordance with this Commitment
Letter.

        In providing this Commitment Letter and arranging the DIP Credit Facility, the
Commitment Parties are relying on the accuracy of the Information furnished to them by or on
behalf of you by your representatives without independent verification thereof.

       4.      Fees

        As consideration for the commitments and agreements of the Commitment Parties
hereunder, Carestream and the other Debtors jointly and severally agree to pay or cause to be paid
to each DIP Lender its allocable share of the nonrefundable fees described in the DIP Term Sheet
(the “Fees”) at the times, on the terms and subject to the conditions set forth both in this
Commitment Letter, the Restructuring Support Agreement and the DIP Term Sheet.

       The Debtors acknowledge and agree that the Fees shall be fully earned, nonrefundable, and
non-avoidable upon the occurrence of such events or such applicable dates as described with
respect thereto in the DIP Term Sheet and shall be paid by the Debtors, free and clear of any
withholding or deduction for any applicable taxes, on the applicable dates as set forth in the DIP
Term Sheet; provided that a DIP Lender’s Fees will be refunded to Carestream in their entirety by
such DIP Lender to the extent such DIP Lender later breaches its funding obligations pursuant to,
and subject to, the conditions set forth in this Commitment Letter. The Fees are being earned as
consideration for each DIP Lender’s DIP Commitment hereunder and not with respect to any other
services being provided.

       5.      Conditions

        Each DIP Lender’s commitments and agreements hereunder are subject only to the
conditions set forth under the sections of the DIP Term Sheet entitled (i) “Conditions Precedent to
the Interim DIP Loans on the Interim Closing Date” and (ii) “Conditions Precedent to the Final
DIP Loan on or after the Final Closing Date.”

       Each DIP Lender acknowledges that the obligations of the Borrower and the other Debtors
hereunder are subject to the approval of the Bankruptcy Court.

       6.      Indemnification and Expenses

         You agree to indemnify, hold harmless and defend the Commitment Parties (including in
connection with their capacity as lenders under the DIP Credit Facility), the DIP Agent and their
respective affiliates and their respective directors, officers, employees, attorneys, advisors,
consultants, agents and other representatives (each, an “Indemnified Person”) from and against
any and all losses, claims, damages, expenses and liabilities, joint or several, to which any such
Indemnified Person may become subject arising out of or in connection with this Commitment
Letter, the DIP Credit Facility, the use of the proceeds thereof or any claim, litigation, investigation
or proceeding (a “Proceeding”) relating to any of the foregoing, regardless of whether any
Indemnified Person is a party thereto, whether or not such Proceedings are brought by you, your
equity holders, affiliates, creditors or any other person, and to reimburse each Indemnified Person
upon demand for any reasonable legal or other out-of-pocket expenses incurred in connection with


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investigating or defending any of the foregoing, but subject to the limitations in the next sentence,
provided that the foregoing indemnity will not, as to any Indemnified Person, apply to losses,
claims, damages, liabilities or related expenses to the extent they are found by a final, non-
appealable judgment of a court of competent jurisdiction to arise from the willful misconduct, bad
faith or gross negligence of, or a material breach of this Commitment Letter by, such Indemnified
Person or its control affiliates, directors, officers or employees (collectively, the “Related Parties”).
In addition, (a) all reasonable and documented out-of-pocket expenses (including, without
limitation, reasonable and documented fees, disbursements and other charges of outside counsel
and financial advisors) of the DIP Agent and the Commitment Parties whether accrued on, prior
to or after the Interim Closing Date, in connection with the Chapter 11 Cases, the DIP Credit
Facility and the transactions contemplated thereby shall be paid by the Borrower and the other
Debtors from time to time, whether or not the Interim Closing Date occurs and (b) all reasonable
and documented out-of-pocket expenses (including, without limitation, fees, disbursements and
other charges of outside counsel and financial advisors) of the Commitment Parties and the DIP
Agent for enforcement costs and documentary taxes associated with the DIP Credit Facility and
the transactions contemplated thereby will be paid by the Borrower and the other Debtors.

       It is further agreed that each DIP Lender shall only have liability to you (as opposed to any
other person) and that each DIP Lender shall be liable solely in respect of its own commitment to
the DIP Credit Facility on a several, and not joint, basis with any other DIP Lender. None of the
Indemnified Persons or the Borrower or other Debtors or their respective directors, officers,
employees, advisors, and agents shall be liable for any indirect, special, punitive or consequential
damages in connection with this Commitment Letter, the DIP Credit Facility or the transactions
contemplated hereby or thereby, provided that nothing contained in this sentence shall limit your
indemnity obligations to the extent set forth in this Section 6.

        7.      Sharing of Information, Absence of Fiduciary Relationship, Affiliate Activities

        You acknowledge that each DIP Lender (or an affiliate) may from time to time effect
transactions, for its own or its affiliates’ account or the account of customers, and hold positions
in loans, securities or options on loans or securities of, or claims against, you, your affiliates and
of other companies that may be the subject of the transactions contemplated by this Commitment
Letter. You also acknowledge that the Commitment Parties and their respective affiliates have no
obligation to use in connection with the transactions contemplated hereby, or to furnish to you,
confidential information obtained from other companies or persons.

        You further acknowledge and agree that (a) no fiduciary, advisory or agency relationship
between you and the Commitment Parties is intended to be or has been created in respect of any
of the transactions contemplated by this Commitment Letter, irrespective of whether the
Commitment Parties have advised or are advising you on other matters, (b) the Commitment
Parties, on the one hand, and you, on the other hand, have an arm’s length business relationship
that does not directly or indirectly give rise to, nor do you rely on, any fiduciary duty to you or
your affiliates on the part of the Commitment Parties, and you waive, to the fullest extent permitted
by law, any claims you may have against any DIP Lender for breach of duty or alleged breach of
any fiduciary duty on the part of the Commitment Parties and agree that no DIP Lender will have
any liability (whether direct or indirect) to you in respect of such a fiduciary duty claim or to any
person asserting a fiduciary duty claim on your behalf, including equity holders, employees or


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creditors, in each case, in respect of any of the transactions contemplated by this Commitment
Letter, (c) you are capable of evaluating and understanding, and you understand and accept, the
terms, risks and conditions of the transactions contemplated by this Commitment Letter, and you
are responsible for making your own independent judgment with respect to the transactions
contemplated by this Commitment Letter and the process leading thereto, (d) you have been
advised that the Commitment Parties and their respective affiliates are engaged in a broad range
of transactions that may involve interests that differ from your and your affiliates’ interests and
that the Commitment Parties and their respective affiliates have no obligation to disclose such
interests and transactions to you and your affiliates, (e) you have consulted your own legal,
accounting, regulatory and tax advisors to the extent you have deemed appropriate, (f) each DIP
Lender has been, is, and will be acting solely as a principal and, except as otherwise expressly
agreed in writing by it and the relevant parties, has not been, is not, and will not be acting as an
advisor, agent or fiduciary for you, or any of your affiliates and (g) none of the Commitment
Parties or their affiliates has any obligation or duty (including any implied duty) to you or your
affiliates with respect to the transactions contemplated hereby except those obligations expressly
set forth herein or in any other express writing executed and delivered by such DIP Lender and
you or any such affiliate.

        You acknowledge for United States securities law purposes that any DIP Lender may
establish an information blocking device or “Information Barrier” between, on the one hand, its
directors, officers, employees, agents, affiliates (as such term is used in Rule 12b-2 under the
Exchange Act) and, on the other hand, its affiliates and its and their attorneys, accountants,
financial or other advisors, members, equity holders, partners, directors and employees who,
pursuant to such Information Barrier policy, are permitted to receive confidential information or
otherwise participate in discussions concerning the transactions contemplated hereby, and those of
such DIP Lender’s, and its affiliates’, other employees. You acknowledge the potential existence
of any DIP Lender’s Information Barrier but do not warrant or guarantee any DIP Lender’s
compliance with United States securities law or that the Information Barrier will operate in
accordance with its intended purpose.

        Additionally, you acknowledge and agree that none of the Commitment Parties are
advising you as to any legal, tax, investment, accounting or regulatory matters in any jurisdiction.
You shall consult with your own advisors concerning such matters and shall be responsible for
making your own independent investigation and appraisal of the transactions contemplated by this
Commitment Letter, and the Commitment Parties shall not have any responsibility or liability to
you with respect thereto. Any review by the Commitment Parties of the transactions contemplated
by this Commitment Letter or other matters relating thereto will be performed solely for the benefit
of the Commitment Parties and shall not be on behalf of you or any of your affiliates.

        You acknowledge that each DIP Lender may be (or may be affiliated with) a full service
financial firm and as such from time to time may, and its affiliates may, (a) effect transactions for
its own or its affiliates’ account or the account of customers, and hold long positions in debt or
equity securities, loans or other securities and financial instruments of companies that may be the
subject of the Transactions or with which you or your subsidiaries may have commercial or other
relationships or (b) provide debt financing, equity capital, investment banking, financial advisory
services, securities trading, hedging, financing and brokerage activities and financial planning and
benefits counseling to other companies or similar services in respect of which you or your


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subsidiaries may have conflicting interests. Carestream and the other Debtors hereby waive and
release, to the fullest extent permitted by law, any claims each of them has or will or may have
hereunder with respect to any conflict of interest arising from such transactions, activities,
investments or holdings, or arising from the failure of any DIP Lender or any of its respective
affiliates or customers to bring such transactions, activities, investments or holdings to their
attention.

        8.      Confidentiality

         This Commitment Letter is delivered to you on the understanding that neither this
Commitment Letter nor any of its terms or substance shall be disclosed by you, directly or
indirectly, to any other person except (a) to you and your affiliates and your and their respective
officers, directors, employees, members, partners, stockholders, attorneys, accountants,
independent auditors, professionals, experts, agents and advisors (collectively, “Representatives”),
in each case on a confidential and need-to-know basis, (b) pursuant to the order of any court or
administrative agency or in any legal, judicial or administrative proceeding, or otherwise as
required by applicable law or regulation or compulsory legal process (in which case, such DIP
Lender agrees to inform you promptly thereof prior to such disclosure to the extent timely
practicable and not prohibited by law, rule, regulation or other legal process), (c) upon the request
or demand of any regulatory authority having jurisdiction over such DIP Lender or any of its
affiliates, (d) upon notice to the Commitment Parties, in connection with any public filing
requirement you are legally obligated to satisfy, in form and substance acceptable to the
Commitment Parties (such approval not to be unreasonably withheld, conditioned or delayed), (e)
in a Bankruptcy Court filing in order to implement the transactions contemplated hereunder, (f) to
the United States Trustee, the official committee of unsecured creditors or any other statutory
committee formed in the Chapter 11 Cases (each, a “Committee”) and each of their legal counsel,
independent auditors, professionals and other experts or agents who are informed of the
confidential nature of such information and agree to be bound by confidentiality and use
restrictions substantially similar to those set forth in this Section 8 and (g) the parties and potential
parties to the Restructuring Support Agreement (h) to the extent any such information becomes
publicly available other than by reason of disclosure by you, your affiliates or its or your
representatives in breach of this Commitment Letter and (i) to potential participants, assignees or
potential counterparties to any swap, credit insurance or derivative transaction relating to
Carestream or any of its subsidiaries or any of their respective obligations, in each case, who agree
to be bound by confidentiality and use restrictions.

        Each of the Commitment Parties shall use all nonpublic information provided to them by
you or on behalf of you by any of your representatives hereunder solely in connection with DIP
Credit Facility or the Restructuring Transactions and shall treat confidentially all such information;
provided that nothing herein shall prevent any DIP Lender from disclosing any such information
(i) pursuant to the order of any court or administrative agency or in any legal, judicial or
administrative proceeding, or otherwise as required by applicable law, regulation or compulsory
legal process (in which case such DIP Lender agrees to inform you promptly thereof prior to such
disclosure to the extent timely practicable and not prohibited by law, rule, regulation or other legal
process), (ii) upon the request or demand of any regulatory authority having jurisdiction over such
DIP Lender or any of its affiliates, (iii) to the extent that such information becomes publicly
available other than by reason of disclosure by such DIP Lender, its affiliates or their


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Representatives in breach of this Commitment Letter, (iv) to any DIP Lender’s affiliates, and its
and such affiliates’ respective Representatives who need to know such information in connection
with the transactions contemplated by the Commitment Letter and are informed of the confidential
nature of such information and instructed to keep such information of this type confidential, (v)
for purposes of establishing a “due diligence” defense, (vi) to the extent that such information is
or was received by such DIP Lender from a third party that is not to such DIP Lender’s knowledge
subject to confidentiality obligations owed to you, (vii) to the extent that such information is
independently developed by such DIP Lender or (viii) to potential participants, assignees or
potential counterparties to any swap, credit insurance or derivative transaction relating to
Carestream or any of its subsidiaries or any of their respective obligations, in each case, who agree
to be bound by confidentiality and use restrictions substantially similar to those set forth in this
Section 8. The provisions of this paragraph shall automatically terminate and be superseded by
the confidentiality provisions to the extent covered in the definitive documentation for the DIP
Credit Facility upon the initial funding thereunder and the provisions of this Section 8 shall in any
event automatically terminate one year following the date of this Commitment Letter.
Notwithstanding any other provision herein, this Commitment Letter does not limit the disclosure
of any tax strategies.

       9.      Miscellaneous

         This Commitment Letter shall not be assignable by you without the prior written consent
of each DIP Lender (and any purported assignment without such consent shall be null and void),
is intended to be solely for the benefit of the parties hereto, the DIP Agent and the Indemnified
Persons and is not intended to and does not confer any benefits upon, or create any rights in favor
of, any person other than the parties hereto, the DIP Agent and the Indemnified Persons to the
extent expressly set forth herein. Any DIP Lender may assign its DIP Commitment (in whole or
in part) to (i) any other DIP Lender, (ii) its affiliates and affiliated investment funds, (iii) any
investment funds, accounts, vehicles, or other entities that are managed, advised or sub-advised by
such DIP Lender, its affiliates or the same person as such DIP Lender or its affiliates, (iv) any
other person that has become a party to the Restructuring Support Agreement pursuant to the terms
thereof and (v) any other person you agree to in writing in your sole discretion. It is understood
and agreed that Annex I hereto shall be revised upon each assignment of the DIP Commitments
pursuant to the terms hereof, such revised Annex I shall supersede any previous Annex I attached
hereto and copies thereof shall be provided (i) upon the effectiveness of such assignment, to
Carestream and (ii) upon conclusion of the DIP Commitment re-allocation, to all Commitment
Parties. Further, the Commitment Parties reserve the right to employ the services of their
respective affiliates in providing services contemplated hereby, and to satisfy their obligations
hereunder through, or assign their rights and obligations hereunder to, one or more of their
respective affiliates, separate funds and/or accounts within their control or investment funds under
their or their respective affiliates’ management and/or advisement (collectively, “DIP Lender
Affiliates”); and to allocate, in whole or in part, to their respective affiliates certain fees payable
to the Commitment Parties in such manner as the Commitment Parties and their respective
affiliates may agree in their sole discretion; provided that such DIP Lender will be liable for the
actions or inactions of any such person whose services are so employed and, no delegation or
assignment to a DIP Lender Affiliate shall relieve such DIP Lender from its obligations hereunder
to the extent that any DIP Lender Affiliate fails to satisfy the DIP Commitments hereunder at the
time required.


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        This Commitment Letter may not be amended or waived except by an instrument in writing
signed by you and each DIP Lender, except to amend Annex I as otherwise described herein. This
Commitment Letter may be executed in any number of counterparts, each of which shall be an
original, and all of which, when taken together, shall constitute one agreement. Delivery of an
executed signature page of this Commitment Letter by facsimile or electronic transmission (e.g.,
“pdf” or “tif”) shall be effective as delivery of a manually executed counterpart hereof. This
Commitment Letter (and the Restructuring Support Agreement and the agreements referenced in
this Commitment Letter) set forth the entire understanding of the parties with respect to the DIP
Credit Facility, and replace and supersede all prior agreements and understandings (written or oral)
related to the subject matter hereof. This Commitment Letter shall be governed by, and construed
and interpreted in accordance with, the laws of the State of New York and the Bankruptcy Code,
to the extent applicable.

        You and we hereby irrevocably and unconditionally submit to the exclusive jurisdiction of
the United States District Court for the Southern District of New York (or if such court does not
have jurisdiction, any state court or Federal court located in the Borough of Manhattan), any
appellate court from any thereof, and each of the parties hereto hereby irrevocably and
unconditionally agrees that all claims in respect of the Chapter 11 Cases may be heard and
determined in the Bankruptcy Court and any other Federal court having jurisdiction over the
Chapter 11 Cases from time to time, over any suit, action or proceeding arising out of or relating
to the transactions contemplated hereby, this Commitment Letter or the performance of services
hereunder or thereunder. Notwithstanding the foregoing consent to jurisdiction in United States
District Court for the Southern District of New York, upon the commencement of the Chapter 11
Cases, each of the Parties agrees that, if the Chapter 11 Cases are pending, the Bankruptcy Court
shall have exclusive jurisdiction over all matters arising out of or relating to the transactions
contemplated hereby, this Commitment Letter or the performance of services hereunder or
thereunder. You and we agree that service of any process, summons, notice or document by
registered mail addressed to you or us shall be effective service of process for any suit, action or
proceeding brought in any such court. You and we hereby irrevocably and unconditionally waive
any objection to the laying of venue of any such suit, action or proceeding brought in any such
court and any claim that any such suit, action or proceeding has been brought in any inconvenient
forum. You and we hereby irrevocably agree to waive trial by jury in any suit, action, proceeding,
claim or counterclaim brought by or on behalf of any party related to or arising out of this
Commitment Letter or the performance of services hereunder or thereunder.

        Each of the Commitment Parties hereby notifies you that, pursuant to the requirements of
the USA PATRIOT Act, Title III of Pub. L. 107-56 (signed into law on October 26, 2001) (the
“PATRIOT Act”), it is required to obtain, verify and record information that identifies Carestream
and the Debtors, which information includes names, addresses, tax identification numbers and
other information that will allow such DIP Lender (and any other lender under the DIP Credit
Facility) to identify Carestream and the other Debtors in accordance with the PATRIOT Act. This
notice is given in accordance with the requirements of the PATRIOT Act and is effective for the
Commitment Parties and any other lender under the DIP Credit Facility.

       The indemnification, expense reimbursement, jurisdiction, confidentiality, governing law,
sharing of information, no agency or fiduciary duty, waiver of jury trial, service of process and
venue provisions contained herein shall remain in full force and effect regardless of whether the


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DIP Facility Documents shall be executed and delivered and notwithstanding the termination of
this Commitment Letter or the DIP Commitments; provided that your obligations under this
Commitment Letter (other than your obligations with respect to confidentiality) shall automatically
terminate and be superseded by the provisions of the DIP Facility Documents upon the initial
funding thereunder, and you shall automatically be released from all liability in connection
therewith at such time, in each case to the extent any of the DIP Facility Documents has
comparable provisions with comparable coverage.

       You and we hereto agree that this Commitment Letter is a binding and enforceable
agreement with respect to the subject matter herein; it being acknowledged and agreed that the
funding of the DIP Credit Facility is subject solely to the conditions specified in Section 5 herein.
Each of the Commitment Parties and you will use their commercially reasonable efforts to
promptly prepare, negotiate and finalize the DIP Facility Documents as contemplated by the DIP
Term Sheet.

       If the foregoing correctly sets forth our agreement, please indicate your acceptance of the
terms of this Commitment Letter by returning to us executed counterparts of this Commitment
Letter no later than 11:59 p.m. New York City time, on August 21, 2022. This offer will
automatically expire if we have not received such executed counterparts in accordance with the
preceding sentence. In addition, the commitment and agreements of the Commitment Parties
hereunder shall expire (the date of such expiration, the “Termination Date”) automatically upon
the occurrence of any of the following unless waived by the Required DIP Lenders (by email or
otherwise): (i) if you have not commenced the Chapter 11 Cases and filed a motion seeking entry
of the Interim DIP Order and the Final DIP Order by the applicable date set forth in the
Restructuring Support Agreement (as such date may be extended under the terms of the
Restructuring Support Agreement), (ii) if the Bankruptcy Court has not entered the Interim DIP
Order within three (3) calendar days after the Petition Date, or (iii) upon the termination of the
Restructuring Support Agreement in accordance with its terms, unless, in each case, prior to such
time, the Final Closing Date shall have occurred and Carestream shall have paid to the
Commitment Parties the fees that are specified in this Commitment Letter to be due on or prior to
the Final Closing Date.

                         [Remainder of this page intentionally left blank]




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                         ANNEX I

                    DIP COMMITMENTS

                        See attached.
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                                                                                                        ANNEX I

                                 DIP LENDERS AND DIP COMMITMENTS1

                              Tranche A       Tranche B         Tranche A         Tranche B
                              Initial DIP     Initial DIP       Final DIP         Final DIP          Total DIP
        DIP Lender
                                 Loan            Loan             Loan              Loan            Commitment
                             Commitment      Commitment        Commitment        Commitment
    First Eagle
    Investments

    LCM Asset
    Management LLC

    Apollo Capital
    Management, L.P.


    Blackstone Credit


    Brigade Capital
    Management, LP

    CION Investment
    Corporation


    Federated Hermes


    Marathon Asset
    Management

    MJX Asset
    Management

    Nuveen Asset
    Management, LLC


    Vector Capital

                     Total   $3,125,000.00   $46,875,000.00    $1,875,000.00     $28,125,000.00    $80,000,000.00




1
 All amounts subject to adjustment as set forth in the DIP Term Sheet. Individual fund level details were previously
provided to the DIP Agent.
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                        EXHIBIT A

                     DIP TERM SHEET
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                                                                                    EXHIBIT A


                              CARESTREAM HEALTH, INC.

                                Senior Secured Superpriority
                       Debtor in Possession Credit Facility Term Sheet

        This Senior Secured Superpriority Debtor in Possession Credit Facility Term Sheet
(including all schedules, annexes and exhibits hereto, as may be amended, amended and restated,
supplemented or otherwise modified from time to time, this “DIP Term Sheet” or this
“Agreement”) describes the terms and conditions of the senior secured superpriority debtor in
possession term loan facility (the “DIP Credit Facility”) provided by the DIP Lenders (as defined
below) to Carestream Health, Inc., a Delaware corporation (the “Borrower”), in connection with
cases (collectively, the “Chapter 11 Cases”) filed or to be filed by Carestream Health Holdings,
Inc., a Delaware corporation (“Carestream”), the Borrower and the other Guarantors (as defined
below) (collectively, the “Debtors”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) pursuant to chapter 11 of title 11 of the United States Code
(as amended, the “Bankruptcy Code”) no later than August 23, 2022 (the “Petition Date”). The
DIP Credit Facility is being provided by the DIP Lenders in reliance upon the promulgation and
consummation of the Restructuring Transactions (as defined below).

       Capitalized terms used but not defined herein have the meanings assigned to them in the
Restructuring Support Agreement, dated as of August 21, 2022 (including all amendments,
modifications, exhibits, and supplements thereto, the “RSA”) by and among the Company Parties
and the Consenting Parties (each, as defined therein) or the restructuring term sheet attached as
Exhibit B to the RSA (the “Restructuring Term Sheet”) or the Interim DIP Order (as defined
below).

 BORROWER:                       Carestream Health, Inc., a Delaware corporation, in its capacity
                                 as a debtor and debtor in possession under chapter 11 of the
                                 Bankruptcy Code.

 GUARANTORS:                     Carestream Health Holdings, Inc., a Delaware corporation
                                 (“Holdings”), and each material domestic subsidiary of the
                                 Borrower set forth on Exhibit A-1 hereto, each of which shall
                                 be a Debtor in the Chapter 11 Cases (collectively, the
                                 “Guarantors” and each, individually, a “Guarantor”). The
                                 guaranty provisions set forth in Exhibit A-2 attached hereto are
                                 hereby incorporated herein by reference.

 DIP LENDERS:                    The entities set forth on Annex A hereto (consisting of both
                                 Tranche A DIP Lenders and Tranche B DIP Lenders (each as
                                 defined below), collectively, the “DIP Lenders” and
                                 individually, each a “DIP Lender”).

 DIP AGENT:                      JPMorgan Chase Bank, N.A. shall be the sole administrative
                                 agent and collateral agent for the DIP Lenders (in such
                                 capacities, the “DIP Agent”). The DIP Agent and each DIP
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                           Lender hereby agree to the agency provisions set forth in
                           Exhibit E hereto, which are incorporated herein by reference.

DIP CREDIT FACILITY:       The DIP Lenders agree, severally and not jointly, to make
                           senior secured superpriority debtor in possession loans
                           comprising (x) a $5,000,000 tranche of terms loans (the
                           “Tranche A DIP Loans”) and (y) a $75,000,000 tranche of
                           terms loans (the “Tranche B DIP Loans”) to the Borrower in
                           a total aggregate principal amount (exclusive of capitalized
                           DIP Fees (as defined below)) not to exceed at any time
                           outstanding aggregate principal commitments of $80,000,000
                           (the “DIP Commitment”) on the terms and conditions herein;
                           provided that no DIP Lender shall be obligated to make DIP
                           Loans in an amount in excess of the portion of the DIP
                           Commitment set forth next to such DIP Lender’s name in the
                           table set forth on Annex A hereto (and which DIP Commitment
                           shall be subject to reductions as set forth below).

AVAILABILITY PERIOD        The DIP Credit Facility shall be available from the Interim
& DRAW SCHEDULE:           Closing Date (as defined below) to the earlier of (i) the
                           Maturity Date (as defined below) and (ii) the date of the
                           termination of the DIP Credit Facility pursuant to the terms
                           hereof or the DIP Orders (as defined below) (the “Availability
                           Period”). The Borrower may request draws under the DIP
                           Credit Facility in accordance with the following schedule by
                           delivering a notice of borrowing to the DIP Agent in
                           substantially the form of Exhibit B attached hereto (the “Notice
                           of Borrowing”), duly executed by an authorized officer of the
                           Borrower (the “Draw Schedule”):

                           (i)      Initial DIP Loans: On or after the Interim Closing Date
                                    and prior to the Final Closing Date (as defined below),
                                    the Borrower may request loans in one or more
                                    borrowings in an aggregate principal amount not to
                                    exceed $50,000,000 (the “Initial DIP Amount”),
                                    consisting of (A) $3,125,000 of Tranche A DIP Loans
                                    (the “Tranche A Initial DIP Loans”) to be provided by
                                    certain Prepetition Secured Parties (as defined below)
                                    (the “Tranche A DIP Lenders”) and (B) $46,875,000
                                    of Tranche B DIP Loans (the “Tranche B Initial DIP
                                    Loans” and, together with the Tranche A Initial DIP
                                    Loans, the “Initial DIP Loans”) to be provided by
                                    certain Prepetition Secured Parties (the “Tranche B
                                    DIP Lenders”), strictly in accordance with the
                                    Approved DIP Budget (as defined below) (after giving
                                    effect to the Permitted Variances (as defined below)),
                                    subject to the satisfaction or any waiver by the
                                            2
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                           Required DIP Lenders (as defined below) of the
                           conditions precedent described under the Section below
                           entitled “Conditions Precedent to the Initial DIP Loans
                           on the Interim Closing Date” and otherwise in
                           accordance with the provisions of this DIP Term Sheet
                           and the “Use of Proceeds” hereof and the terms of the
                           Interim DIP Order (as defined below); and

                    (ii)   Delayed Draw DIP Loans: On or after the Final
                           Closing Date, the Borrower may request loans in one or
                           more borrowings of Tranche B DIP Loans in an
                           aggregate principal amount not to exceed $30,000,000
                           (the “Delayed Draw DIP Amount”), consisting of (A)
                           $1,875,000 of Tranche A DIP Loans (the “Tranche A
                           Final DIP Loans”) to be provided by the Tranche A
                           DIP Lenders and (B) $28,125,000 of Tranche B DIP
                           Loans (the “Tranche B Final DIP Loans” and,
                           together with the Tranche A Final DIP Loans, the
                           “Delayed Draw DIP Loans” and, together with the
                           Initial DIP Loans, the “DIP Loans”), to be provided by
                           the Tranche B DIP Lenders, strictly in accordance with
                           the Approved DIP Budget (after giving effect to the
                           Permitted Variances), subject to the satisfaction or any
                           waiver by the Required DIP Lenders of the conditions
                           precedent described under the Section below entitled
                           “Conditions Precedent to any Delayed Draw DIP Loan
                           on or After the Final Closing Date” and in accordance
                           with the provisions of this DIP Term Sheet and the “Use
                           of Proceeds” hereof and the terms of the Final DIP
                           Order (as defined below). Any incurrence of Delayed
                           Draw DIP Loans on or after the Final Closing Date will
                           be in minimum amounts of the lesser of (i) $15 million
                           and (ii) the remaining undrawn amount of the Delayed
                           Draw DIP Amount, and subject only to the following
                           conditions, measured at the time of the incurrence of
                           such Delayed Draw DIP Loans.

                    Upon the Debtors’ filing of the Chapter 11 Cases in the
                    Bankruptcy Court, Akin Gump Strauss Hauer & Feld LLP shall
                    notify the DIP Lenders of the anticipated date of the first day
                    hearing (the “First Day Hearing Date”).

                    The DIP Lenders shall fund each Initial DIP Loan by wire
                    transfer of immediately available funds no later than 9:00 a.m.,
                    New York City time, on the First Day Hearing Date to the



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                          account of the DIP Agent most recently designated by it for
                          such purpose by notice to the DIP Lenders.

                          The DIP Lenders shall fund each Delayed Draw DIP Loan by
                          wire transfer of immediately available funds no later than 4:00
                          p.m., New York City time, one (1) Business Day prior to the
                          requested funding date for such Delayed Draw DIP Loan to the
                          account of the DIP Agent most recently designated by it for
                          such purpose by notice to the DIP Lenders.

                          As soon as reasonably practicable after the funding of the
                          Initial DIP Loans, the proceeds of all DIP Loans not otherwise
                          applied directly to the payment of amounts permitted to be paid
                          under the Approved DIP Budget (after giving effect to the
                          Permitted Variances) shall be funded into a deposit account of
                          the Borrower that shall be subject to the DIP Liens (as defined
                          below) in favor of the DIP Agent, which shall be granted and
                          perfected pursuant to the DIP Orders.

CLOSING DATES:            “Interim Closing Date” means the date on which the
                          “Conditions Precedent to the Initial DIP Loans on the Interim
                          Closing Date” as set forth below (including, without limitation,
                          entry of the Interim DIP Order) shall have been satisfied or
                          waived by the Required DIP Lenders in accordance with this
                          DIP Term Sheet.

                          “Final Closing Date” means the date on which the
                          “Conditions Precedent to any Delayed Draw DIP Loan On or
                          After the Final Closing Date” as set forth below (including,
                          without limitation, entry of the Final DIP Order) shall have
                          been satisfied or waived by the Required DIP Lenders in
                          accordance with this DIP Term Sheet.

                          As used herein, “Business Day” shall mean, any day (other
                          than a Saturday or a Sunday) on which banks are open for
                          business in New York City; provided that, in addition to the
                          foregoing, a Business Day shall be in relation to DIP Loans
                          referencing the Adjusted Term SOFR Rate (as defined in
                          Annex C) and any interest rate settings, fundings,
                          disbursements, settlements or payments of any such Loans
                          referencing the Adjusted Term SOFR Rate or any other
                          dealings of such Loans referencing the Adjusted Term SOFR
                          Rate, any such day that is only a U.S. Government Securities
                          Business Day (as defined below).

                          As used herein, “U.S. Government Securities Business Day”
                          means any day except for (i) a Saturday, (ii) a Sunday or (iii) a

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                          day on which the Securities Industry and Financial Markets
                          Association recommends that the fixed income departments of
                          its members be closed for the entire day for purposes of trading
                          in United States government securities.

DIP LOAN                  At the option of the Required DIP Lenders, in their sole
DOCUMENTATION; DIP        discretion, the Debtors shall execute definitive financing
TERM SHEET                documentation with respect to the DIP Credit Facility,
CONTROLS:                 including, without limitation, guarantees and security
                          documents, in each case, reasonably satisfactory in form and
                          substance to each of the DIP Agent, the Required DIP Lenders
                          and the Debtors (the “DIP Facility Documents”), which such
                          DIP Facility Documents shall contain the terms and conditions
                          set forth in this DIP Term Sheet and such other terms as the
                          Borrower, the DIP Agent and the Required DIP Lenders shall
                          agree, it being understood that such DIP Facility Documents
                          shall be substantially based on the Prepetition First Lien Credit
                          Agreement and the Loan Documents (as defined in the
                          Prepetition First Lien Credit Agreement). The provisions of
                          the DIP Facility Documents shall, upon execution, supersede
                          the provisions of this DIP Term Sheet; provided that if the DIP
                          Lenders determine not to require the Debtors to execute
                          additional DIP Facility Documents, the provisions of this DIP
                          Term Sheet, the Interim DIP Order and the Final DIP Order
                          shall govern the DIP Credit Facility. The provisions of the DIP
                          Facility Documents shall be consistent with this DIP Term
                          Sheet, the Interim DIP Order and, once entered, a final order
                          with respect to the Chapter 11 Cases and the DIP Credit
                          Facility, in form and substance reasonably satisfactory to the
                          DIP Agent, the Required DIP Lenders and the Debtors,
                          granting final approval of the DIP Credit Facility and DIP
                          Facility Documents, the “Final DIP Order” and, together with
                          the Interim DIP Order, the “DIP Orders”).

CASH COLLATERAL:          Subject to entry of the Interim DIP Order, the Prepetition
                          Secured Parties (as defined herein) and the DIP Lenders hereby
                          consent to the use of their “cash collateral” as defined in section
                          363(a) of the Bankruptcy Code (the “Cash Collateral”) on the
                          terms and conditions set forth in the DIP Orders and the DIP
                          Facility Documents.

USE OF PROCEEDS:          Subject to Bankruptcy Court approval, the Debtors shall use
                          the proceeds of the DIP Credit Facility and Cash Collateral
                          strictly in accordance with this DIP Term Sheet, the DIP
                          Facility Documents (if any) and the Approved DIP Budget
                          (after giving effect to the Permitted Variances), for (a) working
                          capital and general corporate purposes of the Debtors,
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                          including for the payment of rent and other lease expenses and
                          professional fees, (b) bankruptcy-related costs and expenses,
                          (c) costs and expenses related to the DIP Credit Facility, and
                          (d) any other purposes specifically set forth in the Approved
                          DIP Budget. Notwithstanding anything herein, the Approved
                          DIP Budget shall not in any regard limit or test the payment of
                          any professional fees.

                          No Cash Collateral or proceeds of the DIP Credit Facility may
                          be used by the Debtors to investigate, challenge, object to or
                          contest the validity, security, perfection, priority, extent or
                          enforceability of any amount due under, or the liens or claims
                          granted under or in connection with, the DIP Credit Facility or
                          any Prepetition Credit Agreement (as defined below); provided
                          that the official committee of unsecured creditors
                          (the “Creditors’ Committee”), if any, may use up to $50,000
                          to investigate (but not otherwise commence any challenge or
                          object to or otherwise prosecute) any such claims or causes of
                          action.

                          Without the prior written approval of the Required DIP
                          Lenders, no Cash Collateral or proceeds of the DIP Credit
                          Facility may be distributed by the Debtors to, or used by the
                          Debtors for the benefit of, any non-Debtor affiliates or
                          subsidiaries of the Debtors, except as set forth in the Approved
                          DIP Budget (after giving effect to Permitted Variances).

APPROVED DIP BUDGET;      By no later than the Petition Date, the Debtors shall prepare
APPROVED CASH FLOW        and deliver to the DIP Agent and the DIP Lenders a weekly
PROJECTION;               cash flow forecast for the 13-week period commencing on the
VARIANCE REPORTS:         Petition Date, and such weekly cash flow forecast shall be
                          approved by the Required DIP Lenders in their sole discretion
                          and shall set forth, among other things, the projected cash
                          receipts and cash disbursements of the Debtors for the period
                          covered thereby (the “Approved DIP Budget”).

                          By no later than 5:00 PM (Eastern Time) on Thursday of the
                          calendar week following the week in which the Petition Date
                          occurs (the “First Testing Date”), and no later than 5:00 PM
                          (Eastern Time) on each Thursday of each calendar week
                          thereafter (together with the First Testing Date, each a “Testing
                          Date”), prior to the Initial Variance Testing Date (as defined
                          below), the Debtors shall deliver to the DIP Agent and the DIP
                          Lenders (and their advisors), a variance report (each, a
                          “Weekly Variance Report”) setting forth, in reasonable detail,
                          “cumulative receipts” and “disbursements” of the Debtors and
                          any variances between the actual amounts and those set forth
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                    in the then-in-effect Approved DIP Budget for the Monthly
                    Testing Period (as defined below).

                    By no later than 5:00 PM (Eastern Time) on the first Testing
                    Date that occurs after the four (4)-week anniversary of the First
                    Testing Date (the “Initial Variance Testing Date”) and by not
                    later than 5:00 PM (Eastern Time) on each Thursday thereafter
                    (each such date, a “Monthly Variance Testing Date” and each
                    such subsequent four-week period ending on the Sunday
                    preceding each such Monthly Variance Testing Date, the
                    “Monthly Testing Period”), the Debtors shall provide to the
                    DIP Agent and the DIP Lenders, a report reasonably detailing
                    (i) the aggregate receipts of the Debtors and aggregate
                    disbursements of the Debtors, in each case, during the
                    applicable Monthly Testing Period; and (ii) any variance
                    (whether positive or negative, expressed as a percentage)
                    between (a) the aggregate receipts received by the Debtors
                    during such Monthly Testing Period against the aggregate
                    receipts for such Monthly Testing Period as set forth in the
                    applicable Approved DIP Budget and (b) the aggregate
                    disbursements made by the Debtors during such Monthly
                    Testing Period against the aggregate disbursements for such
                    Monthly Testing Period as set forth in the applicable Approved
                    DIP Budget (a “Monthly Variance Report” and, together with
                    the Weekly Variance Report, the “Approved Variance
                    Reports”).

                    The Debtors shall comply with the following (collectively, the
                    “Permitted Variances”):

                    As of the Initial Variance Testing Date, for the period
                    commencing on the Petition Date and ending on the week after
                    the four-week anniversary of the Petition Date, the Debtors
                    shall not allow: (i) the aggregate receipts of the Debtors to be
                    less than 80% (on a cumulative basis taking into account the
                    variance for any prior Monthly Testing Period) of the estimated
                    receipts for such items in the then-in-effect Approved DIP
                    Budget and (ii) the aggregate operating disbursements
                    (excluding professional fees (including professional fees and
                    expenses incurred by the Debtors, the DIP Agent and/or the
                    DIP Lenders)) to exceed 115% (on a cumulative basis taking
                    into account the variance for any prior Monthly Testing Period)
                    of the estimated operating disbursements provided in the then-
                    in-effect Approved DIP Budget.

                    As of any subsequent Monthly Variance Testing Date, for the
                    Monthly Testing Period ending on the Sunday preceding such
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                    Monthly Variance Testing Date, the Debtors shall not allow:
                    (i) the aggregate receipts of the Debtors to be less than 85% (on
                    a cumulative basis taking into account the variance for any
                    prior Monthly Testing Period) of the estimated receipts for such
                    items in the then-in-effect Approved DIP Budget and (ii) the
                    aggregate operating disbursements (excluding professional
                    fees (including professional fees and expenses incurred by the
                    Debtors, the DIP Agent and/or the DIP Lenders)) to exceed
                    110% (on a cumulative basis taking into account the variance
                    for any prior Monthly Testing Period) of the estimated
                    operating disbursements provided in the then-in-effect
                    Approved DIP Budget (after giving effect to any Permitted
                    Variances).

                    Additional variances, if any, from the Approved DIP Budget,
                    and any proposed changes to the Approved DIP Budget, shall
                    be subject to the written approval of the Required DIP Lenders.
                    For the avoidance of doubt, any reference to “written consent”
                    or “written approval” hereunder shall include consent or
                    approval granted by email (including as communicated by
                    counsel in writing to the DIP Lenders).

                    Commencing at 5:00 P.M. (Eastern Time) on the Thursday of
                    the fourth full calendar week after the Petition Date, and
                    continuing at 5:00 P.M. (Eastern Time) on the Thursday of
                    every fourth week thereafter, the weekly budget shall be
                    updated, and if such updated budget is in form and substance
                    satisfactory to the Required DIP Lenders in their sole
                    discretion, it shall become the “Approved DIP Budget” for
                    purposes of this DIP Term Sheet and the DIP Orders. Any
                    amendments, supplements or modifications to the Approved
                    DIP Budget or an Approved Variance Report shall be subject
                    to the prior written approval of the Required DIP Lenders prior
                    to the implementation thereof. If the Required DIP Lenders
                    have not objected, in writing, to a proposed updated budget, or
                    an amendment, supplement or modification to the Approved
                    DIP Budget or an Approved Variance Report, within five (5)
                    Business Days after the DIP Agent’s receipt thereof, such
                    proposed updated budget, amendment, supplement or
                    modification shall be deemed acceptable to and approved by
                    the Required DIP Lenders. Until any such updated budget,
                    amendment, supplement or modification has been approved (or
                    deemed approved as provided above) by the Required DIP
                    Lenders, the Debtors shall be subject to and be governed by the
                    terms of the Approved DIP Budget then in effect.


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CASH MANAGEMENT           One or more of the Debtors are obligated to Bank of America,
OBLIGATIONS:              N.A. (together with its affiliates, the “Cash Management
                          Bank”) in connection with various cash management products
                          and services (including, without limitation, treasury,
                          depository, credit card, debit card, stored value cards,
                          purchasing or procurement cards and cash management
                          services or automated clearinghouse transfer of funds or any
                          overdraft or similar services) provided to the Debtors and/or
                          any of their affiliates (for which the Debtors are otherwise
                          liable) to the extent constituting “Cash Management
                          Obligations” (as defined in the Prepetition First Lien Credit
                          Agreement) as of the Petition Date (collectively, the “Cash
                          Management Obligations”).           The Cash Management
                          Obligations are secured by the Prepetition First Lien Collateral
                          (as defined below) under the Prepetition First Lien Credit
                          Agreement.

                          The Debtors are seeking to continue to utilize similar products
                          and services of the Cash Management Bank on a post-petition
                          basis and have sought, pursuant to the Debtors’
                          cash management motion, authority to do so. Because the
                          Cash Management Bank is unwilling to provide such products
                          and services post-petition on a junior lien basis to any other
                          indebtedness for borrowed money, the Debtors seek approval,
                          and the DIP Lenders and DIP Agent have agreed, that any
                          postpetition Cash Management Obligations (the “Postpetition
                          Cash Management Obligations”) shall be secured by the DIP
                          Collateral on a pari passu basis with the DIP Liens (the “Cash
                          Management Liens”).

FIRST PRIORITY            All DIP Loans and other liabilities and obligations owed to the
SECURITY INTEREST:        DIP Lenders and the DIP Agent under or in connection with
                          this DIP Term Sheet, the DIP Facility Documents and/or the
                          DIP Orders (collectively, the “DIP Obligations”), in all cases
                          subject to (a) the Carve Out (as defined in the Interim DIP
                          Order) and (b) the Prepetition Permitted Liens (as defined
                          below), shall be:

                          (i)      pursuant to section 364(c)(1) of the Bankruptcy Code,
                                   entitled to superpriority administrative expense claim
                                   status in the Chapter 11 Cases of the Debtors with
                                   priority over any and all administrative expenses,
                                   whether heretofore or hereafter incurred, of the kind
                                   specified in sections 503(b) or 507(a) of the Bankruptcy
                                   Code;



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                          (ii)    pursuant to section 364(c)(2) secured by a fully
                                  perfected first-priority lien on the DIP Collateral (as
                                  defined below), to the extent that such DIP Collateral is
                                  not subject to the Prepetition Permitted Liens;

                          (iii)   pursuant to section 364(c)(3), secured by a fully
                                  perfected junior lien on DIP Collateral, to the extent
                                  such DIP Collateral is subject to a Prepetition Permitted
                                  Lien; and

                          (iv)    pursuant to section 364(d)(1), secured by a fully
                                  perfected first-priority priming lien on DIP Collateral,
                                  provided that such lien shall be subordinate to the
                                  Prepetition Permitted Liens (including the Prepetition
                                  Obligations) (collectively, the liens described in clauses
                                  (ii), (iii) and (iv), the “DIP Liens”).

                          The DIP Liens shall not be pari passu with, or subordinated to,
                          any other liens or security interests (whether currently existing
                          or hereafter created), subject in each case only to the Carve Out
                          (as defined in the Interim DIP Order), and Prepetition
                          Permitted Liens.

                          As used herein, “Prepetition Permitted Liens” shall mean
                          certain liens senior by operation of law and otherwise
                          permitted by the Prepetition Credit Agreements (solely to the
                          extent any such permitted liens were valid, properly perfected,
                          non-avoidable and senior in priority to the liens securing the
                          Prepetition First Lien Term Loan Claims as of the Petition
                          Date, or valid, non-avoidable, senior priority liens in existence
                          as of the Petition Date that are perfected after the Petition Date
                          as permitted by section 546(b) of the Bankruptcy Code).

PREPETITION FIRST         The Debtors have outstanding (i) term loans in an aggregate
LIEN FACILITY             estimated principal amount outstanding of approximately
                          $507,719,000 plus applicable interest, premiums (if any),
                          costs, fees, expenses and other obligations (“Prepetition First
                          Lien Term Loan Claims”) and (ii) revolving loans in an
                          aggregate principal amount outstanding of approximately
                          $77,000,000 plus applicable interest, premiums (if any), costs,
                          fees, expenses and other obligations, and $482,098 in Hedge
                          Claims (as defined below) owed to JPMorgan Chase Bank,
                          N.A. (or one of its affiliates) (collectively, the “Prepetition
                          First Lien Revolving Facility Claims” and together with the
                          Prepetition First Lien Term Loan Claims, the “Prepetition
                          First Lien Claims”), in each case, under that certain Amended
                          and Restated Credit Agreement (First Lien), dated as of June 7,

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                          2013 (as amended, restated, amended and restated,
                          supplemented, or otherwise modified from time to time prior
                          to the date hereof, the “Prepetition First Lien Credit
                          Agreement” and together with all related security agreements,
                          collateral agreements, pledge agreements, control agreements,
                          guarantees and other documents, by and among Borrower,
                          Holdings, the financial institutions party thereto from time to
                          time as lenders (the “Prepetition First Lien Lenders”), and
                          Credit Suisse AG. Cayman Islands Branch, as administrative
                          agent and collateral agent (in such capacities, the “Prepetition
                          First Lien Term Loan Agent” and together with the
                          Prepetition First Lien Lenders, the “Prepetition First Lien
                          Term Loan Secured Parties” and the Prepetition First Lien
                          Term Loan Secured Parties together with holders of the
                          Prepetition First Lien Revolving Facility Claims, the
                          “Prepetition First Lien Secured Parties”).

                          The Prepetition First Lien Claims (as well as various Cash
                          Management Obligations outstanding as of the Petition Date)
                          are secured by a first priority lien on the Collateral (as defined
                          in the Prepetition First Lien Credit Agreement, the
                          “Prepetition First Lien Collateral”), other than the assets of,
                          and the equity in, Carestream.

                          As used herein, “Hedge Claims” shall mean the obligations of
                          one or more Debtors to JPMorgan Chase Bank, N.A. (or one if
                          its affiliates) under the ISDA Master Agreement, dated as of
                          September 29, 2011, between JPMorgan Chase Bank, N.A. and
                          Carestream Health Inc., including any schedules and appendix
                          thereto, including any amounts, now or hereafter due
                          (including termination payments).

PREPETITION EXISTING      The Debtors owe $448,235,000 plus accrued interest,
SECOND LIEN FACILITY      premiums (if any), costs, fees, expenses and other obligations
                          (“Prepetition Second Lien Claims” and together with the
                          Prepetition First Lien Claims, the “Prepetition Obligations”)
                          under that certain Amended and Restated Second Lien Credit
                          Agreement, dated as of June 7, 2013 (as amended, restated,
                          amended and restated, supplemented, or otherwise modified
                          from time to time prior to the date hereof, the “Prepetition
                          Second Lien Term Loan Credit Agreement” and together
                          with the Prepetition First Lien Credit Agreement, the
                          “Prepetition Credit Agreements”) and together with all
                          related security agreements, collateral agreements, pledge
                          agreements, control agreements, guarantees and other
                          documents, by and among Carestream Health, Inc., as
                          borrower, Holdings, the financial institutions party thereto
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                          from time to time as lenders (the “Prepetition Second Lien
                          Lenders” and together with the Prepetition First Lien Lenders,
                          the “Prepetition Lenders”), and Credit Suisse AG, Cayman
                          Islands Branch, as administrative agent and collateral agent (in
                          such capacities, the “Prepetition Second Lien Term Loan
                          Agent” and together with the Prepetition Second Lien Lenders,
                          the “Prepetition Second Lien Term Loan Secured Parties”
                          and together with the Prepetition First Lien Secured Parties, the
                          “Prepetition Secured Parties”).

                          The Prepetition Second Lien Claims are secured by a second
                          priority lien on the Collateral (as defined in the Prepetition
                          Second Lien Credit Agreement) (the “Prepetition Second
                          Lien Collateral” and together with the Prepetition First Lien
                          Collateral, the “Prepetition Collateral”), other than the assets
                          of, and the equity in, Carestream.

ADEQUATE                  As set forth and provided in the Interim DIP Order.
PROTECTION FOR
PREPETITION SECURED
PARTIES:

DIP COLLATERAL:           “DIP Collateral” means, collectively, all assets of the
                          Borrower and each Guarantor (and, in the case of each Debtor,
                          its bankruptcy estate) of any nature whatsoever and wherever
                          located, whether first arising prior to or following the Petition
                          Date, now owned or hereafter acquired, including all accounts,
                          chattel paper, commercial tort claims, deposit accounts,
                          documents, equipment, general intangibles, goods (including
                          fixtures), instruments, inventory, investment property, money,
                          cash, cash equivalents, and all deposit accounts, securities
                          accounts, commodities accounts and lockboxes together with
                          all money, cash, securities and other investment property on
                          deposit from time to time therein, letters of credit, letter-of-
                          credit rights and other supporting obligations, real property,
                          books and records, and to the extent not otherwise included, all
                          substitutions, replacements, accessions, products and other
                          proceeds and products (whether tangible or intangible and
                          including, without limitation, insurance proceeds, licenses,
                          royalties, income, payments, claims, damages and proceeds of
                          suit) of any and all of the foregoing and all collateral security
                          and guarantees given by any person with respect to any of the
                          foregoing, and subject to entry of the Final DIP Order, the
                          proceeds of avoidance actions under chapter 5 of the
                          Bankruptcy Code. All of the DIP Liens described herein with
                          respect to the DIP Collateral shall be effective and perfected by
                          the Interim DIP Order and the Final DIP Order and without the
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                           necessity of the execution of mortgages, security agreements,
                           pledge agreements, financing statements or other agreements,
                           other than in respect of assets in which such perfection, in the
                           good faith judgment of the Debtors with the consent of the
                           Required DIP Lenders, could reasonably be expected to result
                           in material adverse tax consequences to the Debtors at the time
                           of such perfection or in the future. Notwithstanding the
                           foregoing, the Debtors shall take all action that may be
                           reasonably necessary or desirable, or that the DIP Lenders or
                           the DIP Agent may reasonably request, to at all times maintain
                           the validity, perfection, enforceability and priority of the
                           security interest and liens of the DIP Agent in the DIP
                           Collateral, or to enable the DIP Agent to protect, exercise or
                           enforce its rights hereunder, under the DIP Orders and in the
                           DIP Collateral.

DIP FEES:                  The Debtors shall pay the following fees:

                           (a) to the DIP Lenders, on a pro rata basis in accordance with
                           their DIP Commitments and DIP Loans:

                              (i) 2.00% of the aggregate amount of the DIP
                                  Commitments (the “DIP Commitment Fee”), payable
                                  in kind on the new-money portion of the DIP Credit
                                  Facility, earned upon execution of the DIP
                                  Commitment Letter and payable upon entry of the
                                  Interim DIP Order;

                              (ii) 4.00% on the funded amount of the DIP Loans
                                   (the “Exit Fee”), payable in cash, earned upon entry of
                                   the Interim DIP Order and payable upon the earlier of
                                   (i) the Plan Effective Date and (ii) any other payoff,
                                   refinancing or termination of the DIP Credit Facility;

                              (iii) 1.00% per annum (the “Undrawn DIP Fee”) on the
                                   unused portion of the DIP Commitments, payable
                                   monthly on the first Business Day of each calendar
                                   month in cash on the average unused amount of the
                                   Initial DIP Amount or the Delayed Draw DIP Amount,
                                   as the case may be, between entry of the Interim DIP
                                   Order or the Final DIP Order, as the case may be, and
                                   the date the Initial DIP Amount or the Delayed Draw
                                   DIP Amount, as the case may be, has been fully funded;
                                   and

                           (b) to the DIP Agent, an agency fee as set forth in the letter
                           agreement between the DIP Agent and the Borrower

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                          (the “Agency Fee” and together with the DIP Commitment
                          Fee, the Exit Fee and the Undrawn DIP Fee, the “DIP Fees”),
                          payable in accordance with the terms of such letter agreement.

INTEREST RATE:            Interest will be payable on the unpaid principal amount of all
                          funded DIP Loans (and, in the case of the funded Initial DIP
                          Loans, commencing on the date that is one (1) Business Day
                          prior of the First Day Hearing Date) and all accrued and unpaid
                          interest thereon at a rate per annum equal to the Adjusted Term
                          SOFR Rate for the one-month Interest Period (as defined in
                          Annex C) then in effect plus 9.00%.

                          For the avoidance of doubt, the initial one-month Interest
                          Period for any DIP Loan shall commence on the date of
                          funding thereof, and each new one-month Interest Period shall
                          commence at the end of the immediately preceding Interest
                          Period.

                          Interest with respect to any DIP Loan shall be paid in cash on
                          (i) the last day of each Interest Period applicable to such DIP
                          Loan and (ii) on the Maturity Date.

                          All interest and fees under this DIP Term Sheet shall be
                          calculated on the basis of a 360-day year for the actual number
                          of days elapsed. All accrued interest which for any reason has
                          not theretofore been paid shall be paid in full on the date on
                          which the final principal amount of the DIP Loans is paid.

DEFAULT RATE:             Upon the written election of the Required DIP Lenders
                          following the occurrence and during the continuance of an
                          Event of Default (after giving effect to any applicable grace
                          periods), principal, interest and all other amounts due in respect
                          of the DIP Obligations shall bear interest at a rate equal to
                          2.00% per annum in excess of the interest rate set forth under
                          “Interest Rate” above.

RESTRUCTURING             The Debtors shall implement the Restructuring Transactions
TRANSACTIONS:             through the Chapter 11 Cases as described in the RSA.

                          Pursuant to the Plan:

                          (a) On account of its DIP Obligations with respect to the
                          Tranche A DIP Loans, each Tranche A DIP Lender shall be
                          repaid in full in cash on or prior to the occurrence of the Plan
                          Effective Date (as defined in the RSA).



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                          (b) On account of its DIP Obligations with respect to the
                          Tranche B DIP Loans, each Tranche B DIP Lender shall:
                          (i) receive its pro rata share of the Rights Offering Cash (as
                          defined in the Restructuring Term Sheet) (if any)) and (ii) any
                          portion of its DIP Obligations that are not paid in cash from the
                          Rights Offering Cash will be paid in New Common Stock (as
                          defined in the Restructuring Term Sheet) at the Rights Offering
                          price per share (the “DIP Rollover”), subject to (A) the
                          occurrence of the Plan Effective Date and (B) the satisfaction
                          or waiver by the Required DIP Lenders of the conditions
                          precedent described under the Section below entitled
                          “Conditions Precedent to any Delayed Draw DIP Loan On or
                          After the Final Closing Date” on or prior to such Plan Effective
                          Date. In connection with agreeing to the DIP Rollover, each
                          Tranche B DIP Lender shall receive its pro rata share of a fee
                          equal to 10% of the New Common Stock, subject to dilution
                          for the Management Incentive Plan (as defined in the
                          Restructuring Term Sheet).
                          In connection with the DIP Rollover, any New Common Stock
                          shall be delivered directly by the Borrower to the applicable
                          DIP Lenders, and no New Common Stock shall be delivered to
                          the DIP Agent for distribution to the DIP Lenders.
                          On the Plan Effective Date, all fees and expenses payable under
                          the DIP Credit Facility (to the extent not previously paid
                          pursuant to the DIP Orders or to the extent required to be paid-
                          in-kind) (including the Exit Fee) shall be paid in full in cash.

MATURITY DATE:            The DIP Loans (together with all other DIP Obligations) shall
                          mature and be due and payable on the earliest to occur of the
                          following (such date, the “Maturity Date”):

                          (i) 75 calendar days after the Petition Date, subject to no more
                              than two extensions (each, a “Maturity Extension”) of 30
                              days each, if (x) such Maturity Extension is approved in
                              writing by the Required DIP Lenders or (y) on the date that
                              is the then-current Maturity Date:

                                 a. no Event of Default shall have occurred and be
                                    continuing;

                                 b. the Debtors shall have provided the DIP Agent
                                    and/or the DIP Lenders an “extension budget” for
                                    the corresponding 30-day period covered by such
                                    Maturity Extension which has been approved by the
                                    Required DIP Lenders and which demonstrates that
                                    the Debtors can maintain a minimum liquidity of no

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                                     less than $2,000,000 of unrestricted cash in deposit
                                     accounts subject to the liens of the DIP Agent,
                                     excluding any new-money DIP Credit Facility
                                     amounts to be funded for that extension period;

                          (ii) forty-five (45) calendar days after the Petition Date if the
                               Final DIP Order has not been entered by the Bankruptcy
                               Court on or before such date;

                          (iii) the date of consummation of any sale of all or substantially
                                all of the assets of the Debtors pursuant to section 363 of
                                the Bankruptcy Code;

                          (iv) the termination of the RSA by the Required Consenting
                               First Lien Lenders, the Required DIP Lenders or the
                               Company Parties;

                          (v) the date of substantial consummation (as defined in section
                              1101 of the Bankruptcy Code and which for purposes
                              hereof shall be no later than the “effective date” thereof)
                              of a plan of reorganization filed in the Chapter 11 Cases
                              that is confirmed pursuant to an order entered by the
                              Bankruptcy Court;

                          (vi) the date of entry of an order by the Bankruptcy Court
                               approving (A) a motion seeking conversion or dismissal of
                               any or all of the Chapter 11 Cases or (B) a motion seeking
                               the appointment or election of a trustee, a responsible
                               officer or examiner with enlarged powers relating to the
                               operation of the Debtors’ business;

                          (vii) the date the Bankruptcy Court orders the conversion of the
                                bankruptcy case of any of the Debtors to a liquidation
                                pursuant to chapter 7 of the Bankruptcy Code; and

                          (viii) the date of acceleration of all or any portion of the DIP
                          Loans and the termination of the DIP Commitments in respect
                          thereof upon the occurrence of an Event of Default (as defined
                          below).

OPTIONAL                  The Debtors may prepay the DIP Loans in whole or in part
PREPAYMENTS:              without premium or penalty (but with the Exit Fee) at any time
                          upon delivery of written notice to the DIP Agent no later than
                          11:00 a.m., New York City time, three (3) Business Days prior
                          to the date of such prepayment (or such later time as the
                          Required DIP Lenders may agree to acting reasonably). All
                          optional prepayments shall be applied to the DIP Loans in

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                          accordance with the application of payment provisions set forth
                          in the “Mandatory Prepayments” section below and include the
                          Exit Fee for such prepaid DIP Loans. Any amounts so prepaid
                          may not be reborrowed.

MANDATORY                 The Debtors shall immediately pay or prepay the DIP Loans
PREPAYMENTS;              and all other DIP Obligations (including the Exit Fee) (together
APPLICATION OF            with a cash reserve established by the DIP Agent to cover
PREPAYMENTS:              asserted contingent and indemnity obligations) until such
                          obligations are paid in full as follows:

                          (i) 100% of the net cash proceeds of any DIP Collateral in any
                              sale or disposition of all or substantially all of Debtors’
                              assets pursuant to section 363 of the Bankruptcy Code
                              simultaneously with the consummation thereof, after
                              funding the Carve Out (as defined in the Interim DIP
                              Order);

                          (ii) 100% of the net cash proceeds of any other sale or other
                               disposition by the Borrower or any Guarantor of any DIP
                               Collateral in excess of $1,000,000, in a single transaction
                               or series of related transactions (except for asset sales in
                               the ordinary course of business);

                          (iii) 100% of the net cash proceeds of extraordinary receipts
                                (including tax refunds, indemnity payments and insurance
                                proceeds not included as proceeds of asset dispositions but
                                excluding (x) receipts contemplated to be received by any
                                of the Debtors as set forth in the Approved DIP Budget and
                                (y) insurance proceeds that are reinvested by any Debtor
                                in assets used to useful in the business of the Debtors on
                                or prior to the date that is 180 days after the receipt of such
                                net cash proceeds) by the Borrower or any Guarantor that
                                constitute DIP Collateral (provided that receipts received
                                from subsidiaries of Holdings other than the Debtors
                                pursuant to the global treasury plan or in the ordinary
                                course of business shall not be subject to the requirements
                                of this provision); and

                          (iv) 100% of the net cash proceeds received from the
                               incurrence or issuance of indebtedness by Holdings, the
                               Borrower or any subsidiary not expressly permitted to be
                               incurred or issued pursuant to clause (iii) of the section
                               entitled “Negative Covenants” below.

                          Any amounts so paid or prepaid may not be reborrowed. No
                          reinvestment of the proceeds of any extraordinary receipts,

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                    asset sales or other proceeds described above shall be permitted
                    without the prior written consent of the Required DIP Lenders.

                    Voluntary and mandatory payments or prepayments and
                    proceeds of DIP Collateral received by the Borrower or any
                    Guarantor outside the ordinary course of business will be
                    applied in the following order of priority (unless otherwise
                    determined by the Required DIP Lenders), after giving effect
                    to the Carve Out (as defined in the Interim DIP Order), and any
                    other payments required pursuant to the DIP Orders:

                    (1) first, to pay all documented out-of-pocket expenses of the
                        DIP Lenders and the DIP Agent (including, without
                        limitation, fees and expenses of counsel and external
                        advisors);

                    (2) second, to pay the Exit Fee to DIP Lenders in connection
                        with the funded portion of the DIP Loans;

                    (3) third, to pay an amount equal to all accrued and unpaid
                        interest owing to the DIP Lenders;

                    (4) fourth, to repay any principal amounts outstanding in
                        respect of the DIP Loans (including any interest or other
                        amounts that have been paid in kind and added to the
                        principal balance thereof);

                    (5) fifth, to pay all other amounts owing to the DIP Lenders
                        and the DIP Agent; and

                    (6) last, the balance, if any, after all of the DIP Obligations
                        have been paid in full, to the Borrower subject in all
                        respects to the rights, liens and claims of each of the
                        Prepetition First Lien Term Loan Agent and Prepetition
                        Second Lien Term Loan Agent for the benefit of the
                        respective Prepetition Lenders.

                    For the avoidance of doubt, payments that are required to be
                    made to the DIP Lenders as specified above shall be
                    apportioned to each DIP Lender ratably based upon such DIP
                    Lender’s ratable share of the sum of the applicable DIP Loans
                    outstanding at such time.

                    Section 2.17 (Pro Rata Treatment and Payments) of the
                    Prepetition First Lien Credit Agreement is hereby incorporated
                    by reference herein mutatis mutandis.


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    CONDITIONS                            The obligations of the DIP Lenders to make any Initial DIP
    PRECEDENT TO THE                      Loan on the Interim Closing Date will be subject to
    INITIAL DIP LOANS ON                  satisfaction, or written waiver, by the Required Tranche A DIP
    THE INTERIM CLOSING                   Lenders (as applicable) and the Required DIP Lenders, of each
    DATE:1                                of the following conditions precedent in connection with the
                                          related draw request:

                                           (i) Debtors shall have timely delivered to the DIP Agent the
                                               Approved DIP Budget or any update thereto then required
                                               to be delivered in accordance with this DIP Term Sheet;

                                           (ii) Debtors shall have delivered to the DIP Agent (x) a Notice
                                                of Borrowing in connection with such draw request no
                                                later than 11:00 am New York City time on the Petition
                                                Date and (y) a certification that the Interim DIP Order has
                                                been entered by the Bankruptcy Court (which may be
                                                satisfied by providing the DIP Agent with a copy of the
                                                signed Interim DIP Order);

                                           (iii) the Borrower shall have delivered to the DIP Agent a
                                                closing certificate duly executed, substantially in the form
                                                attached hereto as Exhibit C, by the chief executive officer,
                                                president or chief financial officer of the Borrower,
                                                delivered to the DIP Agent, appropriately completed, by
                                                which such officer shall certify to the DIP Agent and the
                                                DIP Lenders that the conditions precedent to the Initial
                                                DIP Loan set forth in clauses (viii) and (ix) hereof to be
                                                made on the Interim Closing Date have been satisfied;

                                           (iv) the interim order (in form and substance acceptable to the
                                                Required DIP Lenders) approving the DIP Credit Facility
                                                and DIP Facility Documents (the “Interim DIP Order”)
                                                shall have been entered by the Bankruptcy Court (after a
                                                hearing on notice to all parties having or asserting a lien
                                                on all or any portion of the DIP Collateral) and shall not
                                                have been reversed, modified, amended, stayed or vacated,
                                                or in the case of any modification or amendment, in any
                                                manner without the consent of the Required DIP Lenders,
                                                the Required Tranche A DIP Lenders, and the Debtors
                                                shall be in compliance in all respects with the Interim DIP
                                                Order;




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    All Conditions Precedent subject to revision to conform to terms of final RSA.

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                    (v) all of the “first day” motions, orders and related pleadings
                        shall have been delivered in advance to counsel to the DIP
                        Agent and counsel to the DIP Lenders;

                    (vi) the Required DIP Lenders shall be reasonably satisfied
                         that the liens and security interests of the DIP Agent in the
                         DIP Collateral have been perfected by the Interim DIP
                         Order and without the necessity of the execution of
                         mortgages, security agreements, pledge agreements,
                         financing statements or other agreements and shall
                         constitute first-priority liens (subject only to the Carve-
                         Out (as defined in the Interim DIP Order)) and the
                         Prepetition Permitted Liens;

                    (vii) Debtors shall have insurance (including, without
                        limitation, commercial general liability and property
                        insurance) with respect to the DIP Collateral (which shall
                        be deemed satisfied if such insurance as required by the
                        Prepetition First Lien Credit Agreement remains in place);

                    (viii) no default or Event of Default under the DIP Credit
                        Facility or the under the Interim DIP Order shall have
                        occurred and be continuing on the Interim Closing Date or
                        shall exist after giving effect to the Initial DIP Loan to be
                        made on the Interim Closing Date;

                    (ix) all representations and warranties of the Debtors
                         hereunder shall be true and correct in all material respects
                         on the Interim Closing Date (except those qualified by
                         materiality or Material Adverse Change (as defined
                         below), which shall be true and correct in all respects) and
                         except to the extent that such representations and
                         warranties expressly relate to any earlier date, in which
                         case such representations and warranties shall have been
                         true and correct in all material respects, as applicable, as
                         of such earlier date;

                    (x) the Borrower has implemented and it and its direct and
                        indirect subsidiaries and Holdings will maintain in effect
                        policies and procedures designed to ensure compliance by
                        the Borrower and its Subsidiaries, and their respective
                        directors, managers, officers, employees, and agents with
                        Anti-Corruption Laws, Anti-Money Laundering Laws,
                        Trade Control Laws and Sanctions (each as defined on
                        Annex B, attached hereto);



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                    (xi) subject to Bankruptcy Court approval, (a) each Debtor
                         shall have the corporate power and authority to make,
                         deliver and perform its obligations under this DIP Term
                         Sheet and the Interim DIP Order, and (b) no consent or
                         authorization of, or filing with, any person (including,
                         without limitation, any governmental authority) shall be
                         required in connection with the execution, delivery or
                         performance by each Debtor, or for the validity or
                         enforceability in accordance with its terms against such
                         Debtor, of this DIP Term Sheet and the Interim DIP Order
                         except for consents, authorizations and filings which shall
                         have been obtained or made and are in full force and effect
                         and except for such consents, authorizations and filings,
                         the failure to obtain or perform, could not reasonably be
                         expected to cause a Material Adverse Change (as defined
                         below);

                    (xii) receipt by the DIP Agent for distribution to each DIP
                        Lender, of a certificate, in form and substance reasonably
                        satisfactory to the Required DIP Lenders, executed by the
                        secretary, chief executive officer, president, chief financial
                        officer, treasurer or controller of each Debtor on behalf of
                        each such Debtor, certifying that attached to such
                        certificate are true, correct and complete copies of (a) (x)
                        the certificate of incorporation, certificate of limited
                        partnership or articles of organization, as applicable, of
                        such Debtor and (y) the by-laws, partnership agreement or
                        an operating, limited liability company agreement, as
                        applicable, of such Debtor, in each case, then in full force
                        and effect, (b) the resolutions then in full force and effect
                        adopted by the board of directors (or comparable
                        governing body) of such Debtor authorizing and ratifying
                        the execution, delivery and performance by such Debtor
                        of this DIP Term Sheet and the transactions contemplated
                        hereby, (c) a certificate of good standing, dated as of a
                        recent date, from the secretary of state of the state under
                        whose laws such Debtor was incorporated or formed and
                        (d) an incumbency certificate evidencing the identity,
                        authority and capacity of the chief executive officer,
                        president, chief financial officer, treasurer or controller
                        thereof authorized to execute the DIP Commitment Letter
                        and any other related document to which such Debtor is a
                        party or is to be a party and specimen signatures thereof;

                    (xiii) to the extent invoiced by at least two (2) Business Days
                        prior to the Interim Closing Date, substantially
                        concurrently with the Interim Closing Date, all fees and
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                        out-of-pocket expenses of the DIP Agent and each DIP
                        Lender relating to the DIP Credit Facility (including,
                        without limitation, reasonable fees and expenses of their
                        counsel and external advisors) shall have been paid in full
                        (or will be paid in connection with such Initial DIP Loan
                        draw) in accordance with the terms of the Interim DIP
                        Order. Modifications of the Interim DIP Order, other than
                        as directed by the Bankruptcy Court, shall require the prior
                        written (email being sufficient) consent of the Required
                        DIP Lenders and the Required Tranche A DIP Lenders;

                    (xiv) the RSA shall be in full force and effect and the Debtors
                        are in compliance in all respects with the schedule of
                        Milestones set forth in Schedule 1 of the RSA;

                    (xv) the DIP Agent shall have received, at least five (5)
                       Business Days prior to the Interim Closing Date (or such
                       shorter period as the DIP Agent may agree) all
                       documentation and other information required by
                       regulatory authorities under applicable “know your
                       customer” and anti-money laundering rules and
                       regulations, including, without limitation, the USA Patriot
                       Act (Title III of Pub. L. 107 56 signed into law October
                       26, 2001), as subsequently amended and reauthorized), in
                       each case, requested at least ten (10) Business Days prior
                       to the Interim Closing Date; and

                    (xvi) to the extent requested, at least ten (10) Business Days
                        prior to the Closing Date, the DIP Agent and each
                        requesting Interim DIP Lender shall have received, at least
                        three (3) days prior to the Interim Closing Date (or such
                        shorter period as the DIP Agent may agree) in connection
                        with the requirements of 31 C.F.R. § 1010.230, a
                        customary certification regarding beneficial ownership or
                        control of the Borrower in a form reasonably satisfactory
                        to the DIP Agent and each requesting DIP Lender.

                    For the purposes of this DIP Term Sheet, “Material Adverse
                    Change” shall mean: since the Petition Date, a material
                    adverse change in, (i) the business, operations, properties,
                    prospects, liabilities or financial condition of the Debtors,
                    taken as a whole, other than any material adverse changes
                    leading up to, or customarily resulting from, the filing of the
                    Chapter 11 Cases, (ii) the ability of any Debtor to perform its
                    obligations under this DIP Term Sheet or any other DIP Facility
                    Document to which it is a party, (iii) the validity or
                    enforceability against any Debtor of this DIP Term Sheet or any
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                          other DIP Facility Document to which it is a party or (iv) the
                          rights and remedies of the DIP Agent or any DIP Lender
                          hereunder or thereunder.

                          It is understood and agreed that, to the extent any condition
                          described under this Section is satisfied after 4:00 p.m., New
                          York Time, on any such date, the DIP Agent shall release the
                          Initial DIP Loans received from the DIP Lenders to the
                          Borrower on the next succeeding Business Day.

CONDITIONS                The obligations of the DIP Lenders to make any Delayed Draw
PRECEDENT TO ANY          DIP Loan on or after the Final Closing Date shall be subject to
DELAYED DRAW DIP          satisfaction, or written waiver, by the DIP Agent and each DIP
LOAN ON OR AFTER          Lender of each of the following conditions precedent in
THE FINAL CLOSING         connection with the related draw request:
DATE:
                          (i)     Debtors shall have timely delivered to the DIP Agent the
                                  Approved DIP Budget or any update thereto required to
                                  be delivered in accordance with this DIP Term Sheet;

                          (ii) Debtors shall have delivered to the DIP Agent a Notice of
                               Borrowing in connection with such draw request no later
                               than 11:00 am New York City time four (4) Business
                               Days prior to the requested funding date for such Delayed
                               Draw DIP Loan (or such later time as the Required DIP
                               Lenders may agree to);

                          (iii) the Borrower shall have delivered to the DIP Agent a
                                closing certificate, duly executed by the chief executive
                                officer, president or chief financial officer of the
                                Borrower, delivered to the DIP Agent, appropriately
                                completed, by which such officer shall certify to the DIP
                                Agent and the DIP Lenders the conditions precedent to
                                the Delayed Draw DIP Loan set forth in clauses (vi) and
                                (vii) hereof to be made on the Final Closing Date have
                                been satisfied;

                          (iv) the Final DIP Order (in form and substance acceptable to
                               the Required DIP Lenders) shall have been entered by the
                               Bankruptcy Court (after a hearing on notice to all parties
                               having or asserting a lien on all or any portion of the DIP
                               Collateral) and shall not have been reversed, modified,
                               amended, stayed or vacated, or in the case of any
                               modification or amendment, in any manner without the
                               consent of the Required DIP Lenders and the Required



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                         Tranche A DIP Lenders, and the Debtors shall be in
                         compliance in all respects with the Final DIP Order;

                    (v) the Required DIP Lenders shall be reasonably satisfied
                        that the liens and security interests of the DIP Agent in
                        the DIP Collateral have been perfected by the Final DIP
                        Order and without the necessity of the execution of
                        mortgages, security agreements, pledge agreements,
                        financing statements or other agreements and shall
                        constitute first-priority liens (subject only to Prepetition
                        Permitted Liens);

                    (vi) no default or Event of Default under the DIP Credit
                         Facility or the under the Final DIP Order shall have
                         occurred and be continuing on the Final Closing Date or
                         shall exist after giving effect to the Delayed Draw DIP
                         Loan to be made on the Final Closing Date;

                    (vii) all representations and warranties of the Debtors
                          hereunder shall be true and correct in all material respects
                          as of the Final Closing Date (except those qualified by
                          materiality or Material Adverse Change (as defined
                          above), which shall be true and correct in all respects);

                    (viii) the Borrower has implemented and it and its direct and
                           indirect subsidiaries and Holdings will maintain in effect
                           policies and procedures designed to ensure compliance
                           by the Borrower and its Subsidiaries, and their respective
                           directors, managers, officers, employees, and agents with
                           Anti-Corruption Laws, Anti-Money Laundering Laws,
                           Trade Control Laws and Sanctions (each as defined on
                           Annex B, attached hereto);

                    (ix) subject to Bankruptcy Court approval, (a) each Debtor
                         shall have the corporate power and authority to make,
                         deliver and perform its obligations under this DIP Term
                         Sheet and the Final DIP Order, and (b) no consent or
                         authorization of, or filing with, any person (including,
                         without limitation, any governmental authority) shall be
                         required in connection with the execution, delivery or
                         performance by each Debtor, or for the validity or
                         enforceability in accordance with its terms against such
                         Debtor, of this DIP Term Sheet and the Final DIP Order
                         except for consents, authorizations and filings which shall
                         have been obtained or made and are in full force and
                         effect and except for such consents, authorizations and
                         filings, the failure to obtain or perform, could not

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                         reasonably be expected to cause a Material Adverse
                         Change (as defined above);

                    (x) to the extent invoiced at least two (2) Business Days prior
                        to the Final Closing Date, substantially concurrently with
                        the Final Closing Date, and prior to or substantially
                        concurrently with the making of any subsequent Delayed
                        Draw DIP Loans after the Final Closing Date, all fees and
                        out-of-pocket expenses of the DIP Agent and each DIP
                        Lender relating to the DIP Credit Facility (including,
                        without limitation, reasonable fees and expenses of their
                        counsel and external advisors) shall have been paid in full
                        (or will be paid in connection with such Delayed Draw
                        DIP Loan draw) in accordance with the terms of the Final
                        DIP Order;

                    (xi) DIP Agent shall have received additional insured and loss
                         payee endorsements, as applicable, with respect to the
                         Debtors’ commercial general liability and property
                         insurance policies, in form and substance reasonably
                         acceptable to the Required DIP Lenders, unless waived
                         by the Required DIP Lenders;

                    (xii) to the extent requested pursuant to the terms of this DIP
                          Term Sheet, receipt by the DIP Agent and the DIP
                          Lenders of duly executed and delivered copies of the DIP
                          Facility Documents (including, without limitation a
                          debtor in possession credit agreement), in each case on
                          the terms set forth in this DIP Term Sheet or otherwise on
                          terms reasonably acceptable to the Required DIP
                          Lenders; and

                    (xiii) the RSA is in full force and effect and the Debtors are in
                           compliance in all respects with the schedule of
                           Milestones set forth in Schedule 1 of the RSA.

                    Modifications of the Final DIP Order shall require the prior
                    written consent of the Required DIP Lenders, the Required
                    Tranche A DIP Lenders, and the Debtors.

                    Further, the obligations of the DIP Lenders to consummate the
                    DIP Rollover and to be paid in the form of New Common Stock
                    for any portion of the DIP Obligations that are not paid in cash
                    from the Rights Offering Cash shall be subject to satisfaction,
                    or written waiver, by the DIP Agent and each DIP Lender of



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                          each of the conditions precedent in clauses (iii), (vi), (vii), and
                          (viii) above on such Plan Effective Date.

REPRESENTATIONS AND       See attached Annex B.
WARRANTIES:

AFFIRMATIVE               So long as any obligations remain outstanding under this DIP
COVENANTS:                Term Sheet or the DIP Orders, each Debtor shall:

                          (i) timely deliver, or cause to be timely delivered, to the DIP
                              Agent, for distribution to each DIP Lender, the Approved
                              DIP Budget and the Approved Variance Reports, all in
                              accordance with the provisions set forth in the section
                              above entitled “Approved DIP Budget; Approved Cash
                              Flow Projection; Variance Reports” and otherwise in the
                              DIP Orders;

                          (ii) maintain proper books of record and account, in which
                               entries that are full, true and correct in all material respects
                               and are in conformity with GAAP consistently applied
                               shall be made of all material financial transactions and
                               matters involving the assets and business of such person;

                          (iii) cooperate, consult with, and provide to the DIP Agent, for
                                distribution to each DIP Lender, all such information as
                                required under this DIP Term Sheet or the DIP Orders or
                                as reasonably requested by the DIP Agent or such DIP
                                Lender, and permit representatives and independent
                                contractors of the DIP Agent and each DIP Lender to visit
                                and inspect any of its properties, to examine its corporate,
                                financial and operating records, and make copies thereof
                                or abstracts therefrom, and to discuss its affairs, finances
                                and accounts with its directors, officers, and independent
                                public accountants (so long as the Debtors have the
                                reasonable opportunity to participate in such meeting), all
                                at the reasonable expense of the Borrower (provided that
                                the Borrower shall only be obligated to reimburse such
                                expenses for two visits during the pending of the Chapter
                                11 cases; provided, further, that no more than one visit
                                shall take place during any 60-day period) and at such
                                reasonable times during normal business hours and as
                                often as may be reasonably desired, upon reasonable
                                advance notice to the Borrower; provided that any and all
                                information for which confidentiality is owed to third
                                parties, information subject to attorney client or similar
                                privilege, or information where such disclosure would not
                                be permitted by any applicable requirements of law shall

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                        be excluded from          this   “Affirmative   Covenants”
                        subparagraph (iii);

                    (iv) comply with the Approved DIP Budget (after giving effect
                         to the Permitted Variances) and with provisions of this DIP
                         Term Sheet and the Interim DIP Order and/or the Final DIP
                         Order (as applicable);

                    (v) comply in all respects with the RSA, including the
                        schedule of Milestones set forth in Schedule 1 of the RSA
                        (as then in effect after giving effect to any waivers or
                        amendments thereto made in accordance with the
                        requirements of the RSA);

                    (vi) take, or cause to be taken, all reasonably appropriate
                         action, to do or cause to be done all things necessary,
                         proper or advisable under applicable law, and to execute
                         and deliver such documents and other papers, as may be
                         required or reasonably requested by the DIP Agent or the
                         Required DIP Lenders to carry out the provisions of this
                         DIP Term Sheet, the other DIP Facility Documents and the
                         DIP Orders;

                    (vii) except to the extent contemplated by the Approved DIP
                          Budget or otherwise consented to by the Required DIP
                          Lenders in writing, continue, and cause to be continued,
                          the business of the Debtors, maintain, and cause to be
                          maintained, the Debtors’ existence and material
                          relationships, rights and privileges, and comply with all
                          material contractual obligations of the Debtors;

                (viii) take, or cause to be taken, all appropriate action to remain
                       the sole owner of the DIP Collateral, free of liens other
                       than the Prepetition Permitted Liens, liens permitted to be
                       incurred or exist pursuant to clause (i) of the “Negative
                       Covenant” section hereof, liens granted or incurred after
                       the Petition Date in the ordinary course of business or
                       other liens granted or imposed pursuant to an order of the
                       Bankruptcy Court that is in form and substance reasonably
                       acceptable to the Required DIP Lenders (collectively,
                       “Permitted Liens”);

                    (ix) take, or cause to be taken, all appropriate action to comply
                         with all material applicable laws applicable to the Debtors
                         or the DIP Collateral unless failure to comply could not



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                        reasonably be expected to result in a Material Adverse
                        Change;

                    (x) subject to the Approved DIP Budget, pay when due all
                        taxes prior to the date on which penalties attach, except
                        where such tax is being contested in good faith and
                        adequate reserves have been established in accordance
                        with GAAP or to the extent payment and/or enforcement
                        thereof is stayed as a result of the Chapter 11 Cases;

                    (xi) provide copies of all material pleadings, motions,
                         applications, judicial information, financial information
                         and other documents intended to be filed by or on behalf
                         of any Debtor with the Bankruptcy Court in the Chapter
                         11 Cases to counsel to the DIP Agent and the DIP Lenders
                         at least two (2) days in advance of such filing or as
                         promptly as practicable; provided, however, that the
                         following are not material: ministerial notices and similar
                         ministerial documents; retention applications; fee
                         applications; fee statements; any similar pleadings or
                         motions relating to the retention or fees of any
                         professional; or statements of financial affairs and
                         schedules of assets and liabilities;

                    (xii) promptly provide such additional information concerning
                          the Debtors, or the DIP Collateral as the DIP Agent or any
                          DIP Lender may reasonably request; provided that any and
                          all information for which confidentiality is owed to third
                          parties, information subject to attorney client or similar
                          privilege, or information where such disclosure would not
                          be permitted by any applicable requirements of law shall
                          be excluded from this “Affirmative Covenants”
                          subparagraph (xii);

                    (xiii) maintain its cash management system in a manner
                         reasonably acceptable to the Required DIP Lenders (which
                         shall be deemed satisfied if the cash management system
                         is substantially the same as the cash management system
                         in existence on the Petition Date, with such modifications
                         as permitted under the cash management order, as
                         entered);

                    (xiv) deposit all distributions, dividends and other payments
                         (other than payments of intercompany trade payables in
                         the ordinary course of business) made by or on account of
                         non-Debtor subsidiaries of the Debtors in a segregated
                         account established by the Debtors (or in another account

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                                   after receiving the prior written consent of the DIP Agent
                                   (acting at the direction of the Required DIP Lenders in
                                   their sole discretion)) at or prior to the time of receipt
                                   thereof, and maintain all such funds in such account unless
                                   otherwise approved in writing by the DIP Agent (acting at
                                   the direction of the Required DIP Lenders in their sole
                                   discretion) unless such distributions, dividends and other
                                   payments are remitted directly to the DIP Agent for
                                   application to the DIP Loans; and

                            (xv) cause the Debtors’ senior management and legal and
                                 financial advisors to be available to conduct a telephonic
                                 conference at least once every other calendar week at
                                 reasonable times during normal business hours and upon
                                 reasonable prior notice, if reasonably requested by the
                                 Required DIP Lenders, to discuss the Approved DIP
                                 Budget, the Approved Variance Report, the Chapter 11
                                 Cases, and the financial condition, performance and
                                 business affairs of the Debtors.

NEGATIVE COVENANTS: So long as any obligations remain outstanding under the DIP
                    Credit Facility or the DIP Orders, unless otherwise provided in
                    the Approved DIP Budget, no Debtor shall, without the
                    express, prior written consent of the Required DIP Lenders, do,
                    cause to be done, or agree to do or cause to be done, any of the
                    following:

                            (i)     other than liens securing indebtedness required or
                                    permitted by this DIP Term Sheet, including the Cash
                                    Management Liens, and the DIP Orders, create, incur,
                                    assume or suffer to exist any lien upon any of its property,
                                    assets, income or profits, whether now owned or hereafter
                                    acquired, except (a) the Carve Out (as defined in the
                                    Interim DIP Order), (b) liens permitted by the Prepetition
                                    Credit Agreements which, other than the Prepetition
                                    Permitted Liens, or other liens that are permitted to be
                                    senior to the DIP Liens by the Required DIP Lenders
                                    acting reasonably, are junior to the liens securing the DIP
                                    Credit Facility, (c) the “Replacement Liens” set forth
                                    and as defined in the DIP Orders, (d) other liens securing
                                    obligations in an aggregate principal amount at any time
                                    outstanding not to exceed $100,000;

                            (ii) other than the Restructuring Transactions, convey, sell,
                                 lease, assign, transfer or otherwise dispose of (including
                                 through a transaction of merger or consolidation) any of
                                 its property, business or assets, whether now owned or
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                         hereafter acquired, other than (a) asset sales approved by
                         an order of the Bankruptcy Court that is in form and
                         substance reasonably acceptable to the Required DIP
                         Lenders, (b) dispositions described in clause (ii) under
                         “Mandatory Prepayments” above, (c) any disposition
                         which would indefeasibly satisfy the DIP Obligations in
                         full in cash, (d) asset sales in the ordinary course of
                         business, (e) dispositions of obsolete, worn out, used or
                         surplus property in the ordinary course of business and
                         dispositions of property no longer used or useful in the
                         conduct of the business of the Debtor and (f) dispositions
                         of property not otherwise permitted so long as the
                         aggregate fair market value of all assets so disposed shall
                         not exceed $250,000;

                    (iii) create, incur assume or permit to exist any indebtedness
                          outside of the ordinary course of business, other than
                          (a) the DIP Obligations and (b) indebtedness permitted
                          pursuant to Section 7.2 of the Prepetition First Lien Credit
                          Agreement (other than postpetition indebtedness
                          pursuant to Sections 7.2(d), (e), (f), (g), (q), (r), (s), (x),
                          (z) and (aa), of the Prepetition First Lien Credit
                          Agreement);

                    (iv) amend, modify or compromise any material term or
                         material amount owed under a real property lease or
                         material contract without the prior written consent of the
                         Required DIP Lenders;

                    (v) incur or make any expenditure, Restricted Payment (as
                        defined below), investment, loan or other payment
                        without the prior written consent of the Required DIP
                        Lenders, other than in accordance with the Approved DIP
                        Budget, after giving effect to the Permitted Variances;

                    (vi) create or acquire any ownership interest in any
                         subsidiaries (whether direct or indirect) other than those
                         existing on the Petition Date;

                    (vii) create or permit to exist any other superpriority claim
                          which is pari passu with or senior to the claims of the DIP
                          Lenders under the DIP Credit Facility or the Prepetition
                          First Lien Claims or Prepetition Second Lien Claims,
                          except for the Carve Out (as defined in the Interim DIP
                          Order) and except as set forth in this DIP Term Sheet and
                          the DIP Orders;


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                    (viii) modify or alter (a) in any material manner the nature and
                           type of its business or the manner in which such business
                           is conducted or (b) its organizational documents, except
                           as required by the Bankruptcy Code or plan of
                           reorganization materially consistent with the RSA or in a
                           manner that is not materially adverse to the interests of
                           the DIP Lenders (in their capacities as such) without the
                           prior written consent of the Required DIP Lenders;

                    (ix) file or propose any plan of reorganization that is
                         materially inconsistent with the RSA;

                    (x) pay pre-petition indebtedness, except (a) payments
                        contemplated by this DIP Term Sheet and the DIP Orders,
                        (b) payments authorized by an order of the Bankruptcy
                        Court and (c) adequate protection payments as set forth
                        in the Interim DIP Order;

                    (xi) engage in any activities that would result in any of the
                         Debtors becoming an “investment company” as defined
                         in, or subject to regulation under, the Investment
                         Company Act of 1940; or

                    (xii) transfer any cash or cash equivalents that constitute DIP
                          Collateral to a subsidiary of Holdings that is not a
                          Guarantor without the prior written approval of the
                          Required DIP Lenders (other than payments of
                          intercompany trade payables in the ordinary course of
                          business consistent with the Approved DIP Budget).

                    As used in this DIP Term Sheet, “Restricted Payment” means,
                    with respect to any person, (a) the declaration or payment of
                    any dividend (whether in cash, securities or other property or
                    assets) or distribution of cash or other property or assets in
                    respect of equity interests of such person; (b) any payment
                    (whether in cash, securities or other property or assets) on
                    account of the purchase, redemption, defeasance, sinking fund
                    or other retirement of the equity interests of such person or any
                    other payment or distribution (whether in cash, securities or
                    other property or assets) made in respect thereof, either directly
                    or indirectly; (c) any payment or prepayment of principal or
                    premium, if any, or interest, fees or other charges on or with
                    respect to, or any redemption, purchase, retirement,
                    defeasance, sinking fund or similar payment or any claim for
                    rescission with respect to, any indebtedness (other than
                    adequate protection payments in respect of the pre-petition
                    indebtedness as expressly provided for herein, in the Interim

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                          DIP Order or in the Approved DIP Budget); and (d) any
                          payment made to redeem, purchase, repurchase or retire, or to
                          obtain the surrender of, any outstanding warrants, options or
                          other rights to acquire equity interests of such person now or
                          hereafter outstanding, in each case of (a) through (d), other than
                          any payment to any Debtor (other than Holdings).

EVENTS OF DEFAULT:        Each of following shall constitute an “Event of Default”:

                          (i)    the entry of an Interim DIP Order or Final DIP Order in
                          form or substance that is not acceptable to the Required DIP
                          Lenders in their sole discretion;

                          (ii)   failure by any Debtor to be in compliance in all material
                          respects with provisions of this DIP Term Sheet (subject to
                          applicable grace periods as set forth in the DIP Orders,
                          including a two (2) Business Day grace period for delivery of
                          the Approved DIP Budget, cash flow forecasts and Approved
                          Variance Reports), any other DIP Facility Document or any
                          DIP Order;

                          (iii) any request made by any Debtor for, or the reversal,
                          modification, amendment, stay, reconsideration or vacatur of
                          any DIP Order, as entered by the Bankruptcy Court, without
                          the prior written consent of the Required DIP Lenders and the
                          Required Tranche A DIP Lenders;

                          (iv)   termination of the RSA by any Company Party, the
                          Required Consenting First Lien Lenders or the Required DIP
                          Lenders;

                          (v)failure of any Milestone set forth in Schedule 1 of the RSA
                          to be satisfied by the specified deadline therefor (in each case,
                          as then in effect after giving effect to any waivers or
                          amendments thereto made in accordance with the requirements
                          of the RSA);

                          (vi)    failure of any representation or warranty to be true and
                          correct in all material respects (or, to the extent qualified by
                          materiality or Material Adverse Change, in all respects) when
                          made;

                          (vii) the filing of any application by any Debtor for the
                          approval of (or an order is entered by the Bankruptcy Court
                          approving) any claim arising under section 507(b) of the
                          Bankruptcy Code or any other provision of the Bankruptcy
                          Code or any security, mortgage, collateral interest or other lien

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                    in any of the Chapter 11 Cases which is pari passu with or
                    senior to the DIP Obligations, DIP Liens, Adequate Protection
                    Claims (as defined in the Interim DIP Order), Adequate
                    Protection Liens (as defined in the Interim DIP Order),
                    Prepetition First Lien Claims or Prepetition Obligations,
                    excluding the Carve Out (as defined in the Interim DIP Order),
                    the Prepetition Permitted Liens, liens arising under the DIP
                    Orders or pursuant to any other financing agreement made with
                    the prior written consent of the Required DIP Lenders;

                    (viii) any Debtor (or any direct or indirect non-Debtor affiliate
                    or subsidiary of a Debtor) commences (or supports) any action
                    (other than an action permitted by the DIP Orders) against the
                    DIP Agent or any DIP Lender or any of their agents or
                    employees, to subordinate or avoid any liens granted
                    hereunder, under any other DIP Facility Document or under
                    any DIP Order in favor of the DIP Lenders or DIP Agent;

                    (ix) any Debtor (or any direct or indirect non-Debtor affiliate
                    or subsidiary of a Debtor) commences (or supports) any action
                    (other than an action permitted by the DIP Orders) against the
                    Prepetition Agents or any Prepetition Lender or any of their
                    agents or employees, to subordinate or avoid any liens granted
                    under the Prepetition Credit Agreements or under any other
                    Loan Documents;

                    (x)     (a) any Debtor files a pleading in any court seeking or
                    supporting an order to revoke, reverse, stay, vacate, amend,
                    supplement or otherwise modify this DIP Term Sheet, any
                    other DIP Facility Document or any DIP Order, or the disallow
                    any DIP Obligations, in whole or in part, or (b) any material
                    provision of this DIP Term Sheet, any other DIP Facility
                    Document or any DIP Order, or any other order of the
                    Bankruptcy Court approving the Debtors’ use of Cash
                    Collateral (as defined in the DIP Orders), shall for any reason
                    cease to be valid and binding (without the prior written consent
                    of the Required DIP Lenders);

                    (xi)    without the prior written consent of the Required DIP
                    Lenders, the filing with the Bankruptcy Court of a motion
                    seeking approval of a sale of all or substantially all assets of
                    the Debtor under section 363 of the Bankruptcy Code that, in
                    either case, does not provide for indefeasible payment in full in
                    cash to the DIP Agent and the DIP Lenders of all DIP
                    Obligations and does not provide for the indefeasible payment
                    in full in cash to the Prepetition First Lien Agent and the
                    Prepetition First Lien Lenders upon closing of such sale or the
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                            effective date of a plan pursuant to which such sale is made,
                            unless otherwise agreed to by the Required DIP Lenders and
                            Required First Lien Lenders;

                            (xii) the appointment in any of the Chapter 11 Cases of a
                            trustee, receiver, examiner, or responsible officer with enlarged
                            powers relating to the operation of the business of any Debtor
                            (powers beyond those set forth in sections 1106(a)(3) and
                            (a)(4) of the Bankruptcy Code) (without the prior written
                            consent of the Required DIP Lenders);

                            (xiii) the granting of relief from the automatic stay by the
                            Bankruptcy Court to any other creditor or party in interest in
                            the Chapter 11 Cases with respect to any portion of the DIP
                            Collateral with an aggregate value of at least $100,000 without
                            the prior written consent of the Required DIP Lenders;

                            (xiv) termination of the Interim DIP Order or the Final DIP
                            Order, as applicable, other than as a result of repayment of the
                            DIP Loans;

                            (xv) the conversion of any Chapter 11 Case into a case
                            pursuant to chapter 7 of the Bankruptcy Code;

                            (xvi) the termination of any of the Debtors’ exclusive right to
                            propose a plan of reorganization under chapter 11 of the
                            Bankruptcy Code without the prior written consent of the
                            Required DIP Lenders;

                            (xvii) a dismissal of any of the Chapter 11 Cases;

                            (xviii) the filing of any chapter 11 plan or related disclosure
                            statement that is inconsistent with the RSA;

                            (xix) the filing of any motion seeking approval of a sale of
                            any DIP Collateral without the consent of the Required DIP
                            Lenders (other than any sale permitted under “Negative
                            Covenants”); or

                            (xx) failure to pay principal, interest or other DIP
                            Obligations or Adequate Protection Obligations in full when
                            due, including without limitation, on the Maturity Date.

REMEDIES UPON EVENT As set forth in the DIP Orders.
OF DEFAULT:




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OTHER BANKRUPTCY         All reasonable and documented prepetition and post-petition
MATTERS:                 professional fees, costs and expenses of the DIP Agent and the
                         DIP Lenders relating to the DIP Credit Facility (including,
                         without limitation, (i) the preparation of documentation
                         (including, any amendments, modifications or waivers) in
                         respect thereof, (ii) the administration thereof and (iii) in
                         connection with the enforcement or protection of rights in
                         connection with the DIP Credit Facility or the documentation
                         in respect thereof) and the Chapter 11 Cases (including,
                         without limitation, prepetition and post-petition fees and
                         disbursements of counsel and advisors, including, but not
                         limited to, the fees, costs and expenses of Akin Gump Strauss
                         Hauer & Feld, LLP, GLC & Co. Advisors, LLC, Simpson
                         Thacher & Bartlett LLP and Troutman Pepper Hamilton
                         Sanders LLP (as Delaware counsel), subject to the DIP Orders,
                         shall be payable by the Borrower no later than five (5) days
                         following written demand without the requirement to file
                         retention or fee applications with the Bankruptcy Court. A
                         copy of each summary invoice therefor shall be provided by
                         the DIP Agent and the DIP Lenders to the Office of the U.S.
                         Trustee, counsel to the Prepetition Secured Parties and counsel
                         for any statutory committee appointed in the Chapter 11 Cases.

                         The Borrower shall indemnify the DIP Agent and each DIP
                         Lender in accordance with the indemnity provisions set forth
                         in Annex D hereto.

                         The Final DIP Orders shall contain releases and exculpations
                         for the DIP Agent and each DIP Lender (in any capacity) and
                         the Prepetition Secured Parties, in form and substance
                         satisfactory to such party, respectively, including, without
                         limitation, releases from any avoidance actions.

                         Subject to the entry of the Interim DIP Order, pursuant to
                         section 363(k) of the Bankruptcy Code, the DIP Agent (at the
                         direction of the Required DIP Lenders) shall have the
                         unconditional right to credit bid (“Credit Bid”) the outstanding
                         DIP Obligations (and any other applicable obligations) in
                         connection with any non-ordinary course sale of the Debtors’
                         assets pursuant to section 363 of the Bankruptcy Code, any
                         plan or otherwise.

                         Subject to the entry of the Interim DIP Order, section 363(k) of
                         the Bankruptcy Code and that certain Intercreditor Agreement,
                         dated as of June 7, 2013 by and between Credit Suisse AG,
                         Cayman Islands Branch in its capacity as first lien
                         administrative agent thereunder and Credit Suisse AG,
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                          Cayman Islands Branch, in its capacity as second lien
                          administrative agent thereunder (as may be amended, restated,
                          supplemented or modified from time to time, the
                          “Intercreditor Agreement”), the Prepetition First Lien Term
                          Loan Agent, at the direction of the Required Lenders (as
                          defined in the Prepetition First Lien Credit Agreement) shall
                          have the unconditional right to Credit Bid the Prepetition First
                          Lien Term Loan Claims in connection with any non-ordinary
                          course sale of the Debtors’ assets pursuant to section 363 of the
                          Bankruptcy Code, any plan or otherwise.

                          Subject to the entry of the Interim DIP Order, section 363(k) of
                          the Bankruptcy Code and the Intercreditor Agreement, the
                          Prepetition Second Lien Term Loan Agent, at the direction of
                          the Required Lenders (as defined under the Prepetition Second
                          Lien Term Loan Credit Agreement), shall have the
                          unconditional right to Credit Bid the Prepetition Second Lien
                          Claims in connection with a non-ordinary course sale of the
                          Debtors’ assets pursuant to section 363 of the Bankruptcy
                          Code, any plan or otherwise.

DIP ORDERS GOVERN:        To the extent of any conflict or inconsistency between this DIP
                          Term Sheet and any DIP Order, such DIP Order shall govern.

AMENDMENT AND             No provision of this DIP Term Sheet, any other DIP Facility
WAIVER:                   Document or any DIP Order may be amended other than by an
                          instrument in writing signed by (i) three (3) or more
                          unaffiliated DIP Lenders holding, in the aggregate, in excess of
                          50% in principal amount of the outstanding Tranche B DIP
                          Obligations held by the Tranche B DIP Lenders
                          (the “Required DIP Lenders”) and (ii) the Debtors.

                          “Required Tranche A DIP Lenders” means, as of the relevant
                          date, three (3) or more unaffiliated DIP Lenders holding, in the
                          aggregate, in excess of 50% in principal amount of the
                          outstanding Tranche A DIP Obligations held by the Tranche A
                          DIP Lenders.

                          Notwithstanding the foregoing, any amendment, consent,
                          waiver, supplement or modification to this DIP Term Sheet,
                          any other DIP Facility Documents or any DIP Order that has
                          the effect of (i) increasing the DIP Commitments of any DIP
                          Lender, (ii) decreasing the amount of or postponing the
                          payment of any scheduled principal, interest or fees payable to
                          any DIP Lender (other than as a result of any extension of the
                          Maturity Date, in accordance with the terms of any such
                          extension, or waiver of default interest by the DIP Lenders in

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                          accordance herewith), (iii) altering the pro rata nature of
                          disbursements by or payments to DIP Lenders or the
                          application of prepayments in this DIP Term Sheet, (iv)
                          amending or modifying the definition of “Required DIP
                          Lenders” or “Required Tranche A DIP Lenders” or any
                          provision of this section “AMENDMENT AND WAIVER”,
                          (v) releasing all or substantially all of the Guarantors of the DIP
                          Obligations, or (vi) releasing all or substantially all of the DIP
                          Collateral other than in connection with a disposition approved
                          by an order of the Bankruptcy Court with the prior written
                          consent of the Required DIP Lenders, in each case, shall
                          require the written consent of each DIP Lender directly and
                          adversely affected thereby; provided that any amendment,
                          consent, waiver, supplement or modification to this DIP Term
                          Sheet, any other DIP Facility Documents or any DIP Order that
                          adversely impacts the treatment of the Tranche A DIP
                          Obligations or the Tranche B DIP Obligations shall require the
                          written consent of each Tranche A DIP Lender and Tranche B
                          DIP Lender, respectively; provided, further, that no
                          amendment shall amend, modify or otherwise affect the rights
                          or duties of the DIP Agent without the prior written consent of
                          the DIP Agent.

ASSIGNMENTS:              The DIP Lenders may assign all or any part of the DIP Loans
                          or the DIP Commitments from time to time with the consent of
                          the Borrower; provided that no consent of the Borrower shall
                          be required (i) so long as an Event of Default has occurred and
                          is continuing after giving effect to any applicable grace period
                          or (ii) for any assignment to a DIP Lender, an affiliate of a DIP
                          Lender, an Approved Fund (as defined in the Prepetition First
                          Lien Credit Agreement), or any other person that has become a
                          party to the RSA pursuant to the terms thereof. The parties to
                          each assignment shall execute and deliver to the DIP Agent an
                          assignment agreement in substantially the form of Exhibit D
                          attached hereto (an “Assignment Agreement”). Subject to
                          receipt and recording thereof by the DIP Agent, from and after
                          the date specified in the applicable Assignment Agreement, the
                          assignee thereunder shall be a party hereto and, to the extent of
                          the interest assigned by such Assignment Agreement, have the
                          rights and obligations of a DIP Lender hereunder, and the
                          assigning DIP Lender thereunder shall, to the extent of the
                          interest assigned under such Assignment Agreement, be
                          released from its obligations hereunder. The DIP Agent shall
                          receive a processing and recordation fee of $3,500 in
                          connection with each assignment, except with respect to any
                          assignment to a DIP Lender, an affiliate of a DIP Lender, an

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                          Approved Fund (as defined in the Prepetition First Lien Credit
                          Agreement), or any other person that has become a party to the
                          RSA pursuant to the terms thereof. The minimum assignment
                          amount shall be $250,000 (or if less than $250,000, the total
                          amount held by such assigning Lender).

                          No assignment of the DIP Loans or the DIP Commitments shall
                          be permitted unless the applicable assignee executes and agrees
                          to be bound by the RSA and the transactions contemplated
                          therein or otherwise consents/commits to the Restructuring
                          Transactions.

GOVERNING LAW AND         The laws of the State of New York (except as governed by the
JURISDICTION:             Bankruptcy Code) shall govern this DIP Term Sheet. The
                          Debtors submit to the exclusive jurisdiction of the Bankruptcy
                          Court and waive any right to trial by jury.

COUNTERPARTS AND          This DIP Term Sheet may be executed in any number of
ELECTRONIC                counterparts and by different parties hereto on separate
TRANSMISSION:             counterparts, each of which when so executed and delivered,
                          shall be deemed an original, and all of which, when taken
                          together, shall constitute one and the same instrument. The
                          words “execution,” “signed,” “signature,” “delivery,” and
                          words of like import in or relating to this DIP Term Sheet shall
                          be deemed to include Electronic Signatures (as defined below),
                          deliveries or the keeping of records in any electronic form
                          (including deliveries by telecopy, emailed pdf. or any other
                          electronic means that reproduces an image of an actual
                          executed signature page), each of which shall be of the same
                          legal effect, validity or enforceability as a manually executed
                          signature, physical delivery thereof or the use of a paper-based
                          recordkeeping system, as the case may be.

                          As used herein, “Electronic Signature” shall mean an
                          electronic sound, symbol, or process attached to, or associated
                          with, a contract or other record and adopted by a Person with
                          the intent to sign, authenticate or accept such contract or
                          record.

PATRIOT ACT:              The DIP Lenders hereby notify the Debtors that pursuant to the
                          requirement of the USA PATRIOT Act (Title III of Pub. L.
                          107-57 (signed into law October 26, 2001)) (the “Act”), they
                          are required to obtain, verify and record information that
                          identifies the Borrower, which information includes the name
                          and address of the Borrower and other information that will



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                          allow the DIP Lenders to identify the Borrower in accordance
                          with the Act.

NOTICES
                          (a) Except in the case of notices and other communications
                          expressly permitted to be given by telephone (and subject to
                          clause (b) below), all notices and other communications
                          provided for herein shall be in writing and shall be delivered
                          by hand or overnight courier service, mailed by certified or
                          registered mail or sent by telecopy, as follows:
                          if to the Borrower or any Guarantor, to

                          Carestream Health, Inc.
                          150 Verona Street Rochester,
                          New York 14608
                          Attention of Julie Lewis, General Counsel
                          E-mail address: Julie.lewis@carestream.com);
                          if to the DIP Agent, to

                          JPMorgan Chase Bank, N.A.
                          500 Stanton Christiana Road, NCC5, Floor 1
                          Newark, DE 19713-2107, United States
                          Attention: Yili Xu, Account Manager
                          Telephone number: (302) 643 – 7761
                          Email address: yili.x.xu@chase.com
                          Facsimile: 12012443657@tls.ldsprod.com
                          if to any other DIP Lender, to it at its address (or telecopy
                          number) set forth in its signature page.

                          Notices sent by hand or overnight courier service, or mailed by
                          certified or registered mail, shall be deemed to have been given
                          when received; notices sent by telecopy shall be deemed to
                          have been given when sent (except that, if not given during
                          normal business hours for the recipient, shall be deemed to
                          have been given at the opening of business on the next business
                          day for the recipient). Notices delivered through Approved
                          Electronic Platforms, to the extent provided in clause (b)
                          below, shall be effective as provided in said clause (b).

                          (b) Notices and other communications to the Borrower, any
                          Guarantor, the DIP Agent, and the DIP Lenders hereunder may
                          be delivered or furnished by using Approved Electronic
                          Platforms pursuant to procedures approved by the DIP Agent;
                          provided that the foregoing shall not apply to borrowing,
                          prepayment or other operational loan notices unless otherwise
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                          agreed by the DIP Agent and the applicable DIP Lender. The
                          DIP Agent or the Borrower may, in its discretion, agree to
                          accept notices and other communications to it hereunder by
                          electronic communications pursuant to procedures approved
                          by it; provided that approval of such procedures may be limited
                          to particular notices or communications.

                          (c) Unless the DIP Agent otherwise prescribes, (i) notices and
                          other communications sent to an e-mail address shall be
                          deemed received upon the sender’s receipt of an
                          acknowledgement from the intended recipient (such as by the
                          “return receipt requested” function, as available, return e-mail
                          or other written acknowledgement), and (ii) notices or
                          communications posted to an Internet or intranet website shall
                          be deemed received upon the deemed receipt by the intended
                          recipient, at its e-mail address as described in the foregoing
                          clause (i), of notification that such notice or communication is
                          available and identifying the website address therefor;
                          provided that, for both clauses (i) and (ii) above, if such notice,
                          email or other communication is not sent during the normal
                          business hours of the recipient, such notice or communication
                          shall be deemed to have been sent at the opening of business
                          on the next business day for the recipient.

                          (d) Any party hereto may change its address or telecopy
                          number for notices and other communications hereunder by
                          notice to the other parties hereto.

                          As used herein, “Approved Electronic Platform” shall mean
                          IntraLinks™, DebtDomain, SyndTrak, ClearPar or any other
                          electronic platform chosen by the DIP Agent to be its electronic
                          transmission system.

COUNSEL TO DIP            Simpson Thacher & Bartlett LLP.
AGENT:

COUNSEL TO DIP            Akin Gump Strauss Hauer & Feld LLP.
LENDERS:




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                                      ANNEX A TO DIP TERM SHEET

                                 DIP LENDERS AND DIP COMMITMENTS2

                              Tranche A       Tranche B         Tranche A         Tranche B
                              Initial DIP     Initial DIP       Final DIP         Final DIP          Total DIP
        DIP Lender
                                 Loan            Loan             Loan              Loan            Commitment
                             Commitment      Commitment        Commitment        Commitment
    First Eagle
    Investments

    LCM Asset
    Management LLC

    Apollo Capital
    Management, L.P.


    Blackstone Credit


    Brigade Capital
    Management, LP

    CION Investment
    Corporation


    Federated Hermes


    Marathon Asset
    Management

    MJX Asset
    Management

    Nuveen Asset
    Management, LLC


    Vector Capital

                     Total   $3,125,000.00   $46,875,000.00    $1,875,000.00     $28,125,000.00    $80,000,000.00




2
 All amounts subject to adjustment as set forth in the DIP Term Sheet. Individual fund level details were previously
provided to the DIP Agent.
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                                                 ANNEX B3

                              REPRESENTATIONS AND WARRANTIES

        As of the Closing Date, the Borrower represents and warrants to the DIP Agent and each DIP
Lender and acknowledges and confirms that the DIP Agent and each DIP Lender is relying upon such
representations and warranties:

1. Existence; Compliance with Law. Subject to any restrictions arising on account of the Debtors’ status
   as “debtors” under the Bankruptcy Code, each Group Member (a) is duly organized, validly existing
   and in good standing under the laws of the jurisdiction of its organization, (b) has the power and
   authority, and the legal right, to own and operate its property, to lease the property it operates as lessee
   and to conduct the business in which it is currently engaged, (c) is duly qualified as a foreign corporation
   or other organization and in good standing under the laws of each jurisdiction where its ownership,
   lease or operation of property or the conduct of its business requires such qualification except where
   the failure to be so qualified or in good standing could not reasonably be expected to result in a Material
   Adverse Effect and (d) is in compliance with all Requirements of Law except to the extent that the
   failure to comply therewith could not, in the aggregate, reasonably be expected to have a Material
   Adverse Effect.

2. Power; Authorization; Enforceable Obligations. Subject to any restrictions with respect to the
   Prepetition Credit Agreements or arising on account of any Debtors, status as a “debtor” under the
   Bankruptcy Code and subject to the entry of the DIP Orders, the Debtors have the power and authority,
   and the legal right, to make, deliver and perform the DIP Term Sheet, the DIP Orders and the other DIP
   Facility Documents (collectively, the “Loan Documents”) to which it is a party and, in the case of each
   Borrower, to obtain extensions of credit hereunder. Each Debtors has taken all necessary organizational
   action to authorize the execution, delivery and performance of the Loan Documents to which it is a
   party and, in the case of each Borrower, to authorize the extensions of credit on the terms and conditions
   of this Agreement and to authorize the other Transactions. No Governmental Approval or consent or
   authorization of, filing with, notice to or other act by or in respect of, any other Person is required in
   connection with the extensions of credit hereunder or with the execution, delivery, performance,
   validity or enforceability of this Agreement of any of the Loan Documents, except (i) Governmental
   Approvals, consents, authorizations, filings and notices that have been obtained or made and are in full
   force and effect and (ii) the filings referred to in Section 4.19 of the Prepetition First Lien Credit
   Agreement. No Governmental Approval or consent or authorization of, filing with, notice to or other
   act by or in respect of, any other Person is required in connection with the consummation of the
   Transactions (excluding the Loan Documents), except (i) Governmental Approvals, consents,
   authorizations, filings and notices that have been obtained or made and are in full force and effect, (ii)
   the filings referred to in Section 4.19 of the Prepetition First Lien Credit Agreement and (iii) those, the
   failure of which to obtain or make would not reasonably be expected to have a Material Adverse Effect.
   Each Loan Document has been duly executed and delivered on behalf of the Debtors thereto. This
   Agreement constitutes, and each other Loan Document upon execution will constitute, a legal, valid
   and binding obligation of the Debtors party thereto, enforceable against each such Borrower and each
   Guarantor in accordance with its terms, except as enforceability may be limited by applicable
   bankruptcy, insolvency, reorganization, moratorium or similar laws affecting the enforcement of
   creditors’ rights generally and by general equitable principles (whether enforcement is sought by
   proceedings in equity or at law).


3
  Capitalized terms and section references used but not defined herein, within this Annex B, have the meanings
assigned to them in the Prepetition First Lien Credit Agreement.
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3. Litigation. Subject to the Chapter 11 Cases, and any litigation that is stayed by operation of the
   Bankruptcy Code, no litigation, investigation or proceeding of or before any arbitrator or Governmental
   Authority is pending or, to the knowledge of any Group Member, threatened by or against any Group
   Member or against any of their respective properties, assets or revenues (a) with respect to any of the
   Loan Documents or any of the transactions contemplated hereby or thereby, or (b) that could reasonably
   be expected to have a Material Adverse Effect.

4. Ownership of Property; Liens. With the exception of the DIP Liens and the Prepetition Permitted Liens,
   each Group Member has title in fee simple to, or a valid leasehold interest in, all of its real property,
   and good title to, or a valid leasehold interest in, all its other property, and none of such property is
   subject to any Lien except as permitted by Section 7.3 of the Prepetition First Lien Credit Agreement.

5. Intellectual Property. The Group Members own, or are licensed to use, all Intellectual Property
   necessary for the conduct in all material respects of the business of the Company and its Restricted
   Subsidiaries, taken as a whole, as currently conducted. No material claim has been asserted and is
   pending by any Person challenging or questioning any Group Member’s use of any Intellectual Property
   or the validity or effectiveness of any Group Member’s Intellectual Property or alleging that the conduct
   of any Group Member’s business infringes or violates the rights of any Person, nor does Holdings or
   the Company know of any valid basis for any such claim except for such claims that could not
   reasonably be expected to impair or interfere in any material respect with the operations of the business
   conducted by the Company and its Restricted Subsidiaries, taken as a whole or result in a Material
   Adverse Effect.

6. Taxes. Except as could not, individually or in an aggregate, reasonably be expected to have a Material
   Adverse Effect and other than Taxes that are excused or stayed by an order of the Bankruptcy Court or
   as a result of the filing of the Chapter 11 Cases, each Group Member has filed or caused to be filed all
   tax returns that are required to be filed and has paid all taxes shown to be due and payable on said
   returns or on any assessments made against it or any of its property and all other taxes, fees or other
   charges imposed on it or any of its property by any Governmental Authority (other than any the amount
   or validity of which are currently being contested in good faith by appropriate proceedings and with
   respect to which reserves in conformity with GAAP have been provided on the books of the relevant
   Group Member); and no tax Lien has been filed, and, to the knowledge of any of the Group Members,
   no claim is being asserted, with respect to any such tax, fee or other charge.

7. Federal Regulations.

    7.1.     None of the Borrower or its Subsidiaries is a United States real property holding corporation
             or “USRPHC” for U.S. federal income tax purposes, including within the meaning of Section
             897(c)(2) of the Internal Revenue Code of 1986, as amended (the “Code”), during the
             applicable period specified in Section 897(c)(1)(A)(ii) of the Code.

    7.2.     None of the Borrower or its Subsidiaries is, and has no current intention of engaging in
             activities that would cause it to become in the future, a “TID U.S. business,” as that term is
             defined at 31 C.F.R. 800.248. For avoidance of doubt, the Borrower and its Subsidiaries do
             not (i) produce, design, test, manufacture, fabricate or develop any “critical technologies,” as
             defined at 31 C.F.R. 800.215; (ii) perform any functions related to “covered investment critical
             infrastructure” as defined at 31 C.F.R. 800.212 and as set forth in Appendix A to 31 C.F.R.
             Part 800; or (iii) maintain or collect, directly or indirectly, any “sensitive personal data” of
             U.S. citizens as defined at 31 C.F.R. 800.241.
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    7.3.       No Group Member is engaged principally, or as one of its important activities, in the business
               of extending credit for the purpose, whether immediate, incidental or ultimate, of buying or
               carrying any “margin stock” (as defined in Regulation U), and no part of the proceeds of any
               DIP Loans, and no other extensions of credit hereunder, will be used for the purpose of buying
               or carrying margin stock or for any purpose that violates the provisions of the Regulations of
               the Board. If requested by any DIP Lender or the DIP Agent and the Borrower will furnish to
               the DIP Agent and each DIP Lender a statement to the foregoing effect in conformity with the
               requirements of FR Form G-3 or FR Form U-1, as applicable, referred to in Regulation U.

    7.4.       The Borrower and its Subsidiaries and their respective directors, managers, officers and, to
               the knowledge of the Borrower after due inquiry, their respective employees and agents, have
               been during the past five (5) years and are in compliance with Anti-Corruption Laws4, Anti-
               Money Laundering Laws5, Trade Control Laws6 and Sanctions in all respects. Neither the
               Borrower nor any of its Subsidiaries nor any of their respective directors, managers, officers
               and, to the knowledge of the Borrower after due inquiry, their respective employees and agents
               has during the past five (5) years made, offered, agreed, requested or taken an act in
               furtherance of any unlawful bribe or other unlawful benefit, including, without limitation, any
               rebate, payoff, influence payment, kickback or other unlawful or improper payment or benefit.

    7.5.       The Borrower has implemented and will maintain in effect policies and procedures designed
               to ensure compliance by the Borrower and its Subsidiaries, and their respective directors,
               managers, officers, employees and agents with Anti-Corruption Laws, Anti-Money
               Laundering Laws, Trade Control Laws and Sanctions.

    7.6.       None of the Borrower, any of its Subsidiaries or any of their directors, managers, employees
               or officers, or, to the knowledge of the Borrower after due inquiry, agents is a Sanctioned
               Person7.

           “Anti-Corruption Laws” means the Foreign Corrupt Practices Act of 1977, the UK Bribery Act 2010, the
           4

Canadian Corruption of Foreign Public Officials Act, in each case, as amended, and, with respect to a Person, any
other laws, rules, and regulations of any jurisdiction applicable to such Person or any of its Affiliates from time to
time concerning or relating to bribery or corruption.
         5
           “Anti-Money Laundering Laws” means the Money Laundering Control Act of 1986 (18 U.S.C. §§ 1956-
1957), the USA PATRIOT ACT ((Pub. L. No. 107-56), and the Bank Secrecy Act (31 U.S.C. §§5311-5332)), the
UK Proceeds of Crime Act 2002, the UK Terrorism Act 2000, the Currency and Foreign Transactions Reporting Act
of 1970 and the Proceeds of Crime (Money Laundering) and Terrorist Financing Act (Canada), in each case, as
amended, and, with respect to a Person, any other laws, rules, and regulations of any jurisdiction applicable to such
Person or any of its Affiliates from time to time concerning or relating to money laundering or terrorism financing.
         6
           “Trade Control Laws” means applicable Laws related to (a) export controls, including the U.S. Export
Administration Act of 1979, as amended, the U.S. Export Administration Regulations, the Arms Export Control Act,
the U.S. International Traffic In Arms Regulations; and (b) customs or import controls, including those administered
by the U.S. Customs and Border Protection.
         7
           “Sanctioned Person” means at any time, (a) any Person who is the subject or target of Sanctions including
any Person listed in any Sanctions-related list of designated Persons, (b) any Person located, organized or resident in
a Sanctioned Country or (c) any Person 50 percent or more owned or controlled by one or more Persons identified in
clause (a) or (b).
         “Sanctioned Country” means at any time, a country or territory which is the subject or target of (a)
comprehensive Sanctions, including, as of the Closing Date, the so-called Donetsk People’s Republic, the so-called
Luhansk People’s Republic and the Crimea region of Ukraine, Cuba, Iran, North Korea, and Syria, and (b) other
broad Sanctions, including, as of the Closing Date, Russia, Belarus, Venezuela and Afghanistan.
         “Sanctions” means economic, financial and trade sanctions administered or enforced by the United States
(including the U.S. Department of the Treasury’s Office of Foreign Assets Control, U.S. Department of State, and
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    7.7.     No part of the proceeds of any extension of credit hereunder will be used by the Borrower,
             directly or, to the knowledge of the Borrower after due inquiry, indirectly, or lent, contributed
             or otherwise made available to any Subsidiary, joint venture partner or other Person, (i) to
             fund any activities or business of or with any Sanctioned Person, or in any Sanctioned
             Country, or (ii) in any manner that would result in a violation of Sanctions, Trade Control
             Laws, Anti-Corruption Laws or Anti-Money Laundering Laws by any Person (including any
             Person participating in the Loan, whether as lender, underwriter, advisor, investor, or
             otherwise).

    7.8.     None of the Borrower or any of its Subsidiaries has during the past five years engaged in, is
             now engaged in, nor will engage in, any dealings or transactions with any Sanctioned Person,
             or in any Sanctioned Country, to the extent in violation of Sanctions.

    7.9.     Borrower shall not, and shall not permit any of its Subsidiaries to, directly or indirectly, fund
             all or part of any repayment of the Loan or other payments under this Agreement out of
             proceeds derived from criminal activity or activity or transactions in violation of any
             Sanctions, Trade Control Laws, Anti-Corruption Laws or Anti-Money Laundering Laws, or
             that would otherwise cause any Person (including any Person participating in the Loan,
             whether as lender, underwriter, advisor, investor, or otherwise) to be in violation of any
             Sanctions, Trade Control Laws, Anti-Corruption Laws or Anti-Money Laundering Laws.

    7.10.    None of the Borrower, any of its Subsidiaries, or any of their respective directors, managers,
             officers or employees, or to the knowledge of the Borrower after due inquiry, any agent of
             such Person that will act in any capacity in connection with or benefit from any Facility, (i)
             currently is conducting, or has, at any time during the past five (5) years, conducted, any
             internal investigation regarding any violation or potential violation of any Sanctions, Trade
             Control Laws, Anti-Corruption Laws or Anti-Money Laundering Laws; or (ii) currently is, or
             has been at any time during the past five (5) years, the subject of any current, pending or
             threatened investigation, inquiry or proceedings by a Governmental Authority for potential or
             apparent violations of any Sanctions, Trade Control Laws, Anti-Corruption Laws or Anti-
             Money Laundering Laws.

8. Labor Matters. Except, with respect to clause (c) hereunder, to the extent permitted under the DIP
   Orders, and except as, when taken in the aggregate, such events could not reasonably be expected to
   have a Material Adverse Effect: (a) there are no strikes or other labor disputes against any Group
   Member pending or, to the knowledge of any Group Member, threatened; (b) hours worked by and
   payment made to employees of each Group Member have not been in violation of the Fair Labor
   Standards Act or any other applicable Requirement of Law dealing with such matters; and (c) to the
   extent permitted under the Approved DIP Budget (after giving effect to any Permitted Variances) all
   payments due from any Group Member on account of employee health and welfare insurance have
   been paid or accrued as a liability on the books of the relevant Group Member.

9. ERISA. Neither a Reportable Event nor a failure to meet the minimum funding standards of Section
   412 or 430 of the Code or Section 302 or 303 of ERISA has occurred during the five-year period prior
   to the date on which this representation is made or deemed made with respect to any Plan, and each
   Plan has complied in all material respects with the applicable provisions of ERISA and the Code. No
   termination of a Single Employer Plan has occurred, and no Lien in favor of the PBGC or a Plan has

U.S. Department of Commerce), the United Nations Security Council, the European Union and any member state
thereof, the United Kingdom (including Her Majesty’s Treasury of the United Kingdom), and the Government of
Canada (or the government of any province or territory thereof).
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    arisen, during such five-year period. The present value of all accrued benefits under each Single
    Employer Plan (based on those assumptions used to fund such Plans) did not, as of the last annual
    valuation date prior to the date on which this representation is made or deemed made, exceed the value
    of the assets of such Plan allocable to such accrued benefits by a material amount. Neither any Borrower
    nor any Commonly Controlled Entity has had a complete or partial withdrawal from any Multiemployer
    Plan that has resulted or could reasonably be expected to result in a material liability under ERISA, and
    neither any Borrower nor any Commonly Controlled Entity would become subject to any material
    liability under ERISA if any Borrower or any such Commonly Controlled Entity were to withdraw
    completely from all Multiemployer Plans as of the valuation date most closely preceding the date on
    which this representation is made or deemed made. No such Multiemployer Plan is in Reorganization
    or Insolvent.

10. Investment Company Act; Other Regulations. Neither Borrower nor any Guarantor is an “investment
    company” within the meaning of the Investment Company Act of 1940, as amended. No Borrower and
    each Guarantor is subject to regulation under any Requirement of Law (other than Regulation X of the
    Board) that limits its ability to incur Indebtedness.

11. Subsidiaries. Except, with respect to clause (b) hereunder, as created by the Prepetition Credit
    Agreement, as of the Closing Date and after giving effect to the Transactions, (a) Schedule 4.15 sets
    forth the name and jurisdiction of organization of each Subsidiary and, as to each such Subsidiary, the
    percentage of each class of Capital Stock owned by any Borrower and each Guarantor, and (b) there
    are no outstanding subscriptions, options, warrants, calls, rights or other agreements or commitments
    (other than stock options granted to employees or directors and directors’ qualifying shares) of any
    nature relating to any Capital Stock of either Borrower or any Subsidiary, except as created by the Loan
    Documents and the Second Lien Loan Documents. As of the Interim Closing Date, there are no
    Unrestricted Subsidiaries, and all Subsidiaries of the Company are Restricted Subsidiaries.

12. Environmental Matters. Except as, in the aggregate, could not reasonably be expected to have a Material
    Adverse Effect:

   12.1.    the facilities and properties owned, leased or operated by any Group Member (the
            “Properties”) do not contain, and have not previously contained, any Materials of
            Environmental Concern in amounts or concentrations or under circumstances that constitute
            or constituted a violation of, or could give rise to liability for any Group Member under, any
            Environmental Law;

   12.2.    no Group Member has received or has knowledge of any notice of violation, alleged violation,
            non-compliance, liability or potential liability regarding environmental matters or compliance
            with Environmental Laws with regard to any of the Properties or the business operated by
            any Group Member (the “Business”), nor does any Borrower and each Guarantor have
            knowledge that any such notice will be received or is being threatened;

   12.3.    Materials of Environmental Concern have not been released, transported or disposed of from
            the Properties in violation of, or in a manner or to a location that could give rise to liability
            for any Group Member under, any Environmental Law, nor have any Materials of
            Environmental Concern been released, generated, treated, stored or disposed of at, on or under
            any of the Properties in violation of, or in a manner that could give rise to liability for any
            Group Member under, any applicable Environmental Law;

   12.4.    no judicial proceeding or governmental or administrative action is pending or, to the
            knowledge of any Group Member, threatened, under any Environmental Law to which any
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             Group Member is or to the knowledge of any Group Member will be named as a party with
             respect to the Properties or the Business, nor are there any consent decrees or other decrees,
             consent orders, administrative orders or other orders, or other administrative or judicial
             requirements outstanding under any Environmental Law with respect to the Properties or the
             Business, nor, to the knowledge of any Group Member, are there any environmental conditions
             with respect to the Properties or the Business, including, without limitation, the release,
             emission, discharge, presence or disposal of any Material of Environmental Concern, that
             could form the basis of any such action or order against any Group Member or against any
             person or entity whose liability for any such action or order any Group Member has retained
             or assumed contractually, or otherwise result in any costs or liabilities for any Group Member
             under Environmental Law;

    12.5.    all operations of the Group Members (including at the Properties) are in compliance, and for
             the past five years have in the past been in compliance, with all applicable Environmental
             Laws; and

    12.6.    no Group Member has contractually assumed any liability of any other Person under
             Environmental Laws.

13. Accuracy of Information.

    13.1.    No statement or information concerning any Group Member or the Business contained in this
             Agreement, any other Loan Document, the Confidential Information Memorandum or any
             other document, certificate or statement furnished by or on behalf of any Borrower and each
             Guarantor to the DIP Agent or the DIP Lenders, or any of them, for use in connection with the
             transactions contemplated by this Agreement or the other Loan Documents, contained as of
             the date such statement, information, document or certificate was so furnished (or, in the case
             of the Confidential Information Memorandum, as of the date of this Agreement), any untrue
             statement of a material fact or omitted to state a material fact necessary to make the statements
             contained herein or therein not materially misleading. The projections and pro forma financial
             information, taken as a whole, contained in the materials referenced above are based upon
             good faith estimates and assumptions believed by management of the Company to be
             reasonable at the time made and as of the Closing Date (with respect to such projections and
             pro forma financial information delivered prior to the Closing Date), it being recognized by
             the DIP Lenders that such financial information as it relates to future events is not to be viewed
             as fact, forecasts and projections are subject to uncertainties and contingencies, actual results
             during the period or periods covered by such financial information may differ from the
             projected results set forth therein by a material amount and no assurance can be given that any
             forecast or projections will be realized.

    13.2.    As of the Interim Closing Date, the information included in the Beneficial Ownership
             Certification8 is true and correct in all material respects.




8
 Such Beneficial Ownership Certification to be defined as the new certificate delivered on or prior to the Interim
Closing Date.
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                                                ANNEX C

                                               INTEREST

“Adjusted Term SOFR Rate” means the Term SOFR Rate, plus 0.10%; provided that if the Adjusted Term
SOFR Rate as so determined would be less than the Floor, such rate shall be deemed to be equal to the
Floor for the purposes of calculating such rate.

“CME Term SOFR Administrator” means CME Group Benchmark Administration Limited as
administrator of the forward-looking term Secured Overnight Financing Rate (SOFR) (or a successor
administrator).

“Federal Funds Effective Rate” means, for any day, the rate calculated by the Federal Reserve Bank of New
York (the “NYFRB”) based on such day’s federal funds transactions by depositary institutions, as
determined in such manner as the NYFRB shall set forth on its public website from time to time, and
published on the next succeeding business day by the NYFRB as the federal funds effective rate, provided,
that if the Federal Funds Effective Rate shall be less than zero, such rate shall be deemed to zero for the
purposes of calculating such rate.

“Floor” means the benchmark rate floor, if any, provided in the Agreement initially (as of the execution of
the Agreement, the modification, amendment or renewal of the Agreement or otherwise) with respect to
the Adjusted Term SOFR Rate. For the avoidance of doubt the initial Floor for Adjusted Term SOFR Rate
shall be 1.00%.

“Interest Period” means, the period commencing on the date of such borrowing and ending on the
numerically corresponding day in the calendar month that is one month thereafter, as the Borrower may
elect; provided, that (i) if any Interest Period would end on a day other than a Business Day, such Interest
Period shall be extended to the next succeeding Business Day unless such next succeeding Business Day
would fall in the next calendar month, in which case such Interest Period shall end on the next preceding
Business Day and (ii) any Interest Period that commences on the last Business Day of a calendar month (or
on a day for which there is no numerically corresponding day in the last calendar month of such Interest
Period) shall end on the last Business Day of the last calendar month of such Interest Period. For purposes
hereof, the date of a borrowing initially shall be the date on which such borrowing is made and, in the case
of a borrowing, thereafter shall be the effective date of the most recently ended Interest Period.

“NYFRB Rate” means, for any day, the greater of (a) the Federal Funds Effective Rate in effect on such
day and (b) the Overnight Bank Funding Rate in effect on such day; provided, that if any of the aforesaid
rates shall be less than zero, such rate shall be deemed to zero for the purposes of calculating such rate.

“Overnight Bank Funding Rate” means, for any day, the rate comprised of both overnight federal funds and
overnight eurodollar transactions denominated in U.S. Dollars by U.S.-managed banking offices of
depository institutions, as such composite rate shall be determined by the NYFRB as set forth on its public
website from time to time, and published on the next succeeding Business Day by the NYFRB as an
overnight bank funding rate (from and after such date as the NYFRB shall commence to publish such
composite rate).

“SOFR” means, with respect to any business day, a rate per annum equal to the secured overnight financing
rate for such business day published by the NYFRB on the NYFRB’s on the immediately succeeding
business day.
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“Term Benchmark” when used in reference to any Loan or Borrowing, refers to whether such Loan, or the
Loans comprising such Borrowing, bear interest at a rate determined by reference to the Adjusted Term
SOFR Rate.

“Term Benchmark Loans” means ABL Loans bearing interest based upon the Term Benchmark Rate.

“Term SOFR Rate” means, with respect to any Term Benchmark Borrowing denominated in U.S. Dollars
for any Interest Period, the Term SOFR Reference Rate at approximately 5:00 a.m., Chicago time, two U.S.
Government Securities Business Days prior to the commencement of such Interest Period, as such rate is
published by the CME Term SOFR Administrator.

“Term SOFR Reference Rate” means, for any day and time, with respect to any Term Benchmark
Borrowing denominated in U.S. Dollars for any Interest Period, the rate per annum determined by the
Administrative Agent as the forward-looking term rate based on SOFR.
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                                                 ANNEX D

                                          INDEMNIFICATION

         The Borrower shall indemnify the DIP Agent and each DIP Lender, and each Related Party (as
defined below) of any of the foregoing Persons (each such Person being called an “Indemnitee”) against,
and hold each Indemnitee harmless from, any and all Liabilities and related expenses, including the fees,
charges and disbursements of one counsel for any Indemnitee, and if necessary, one local counsel in any
relevant jurisdiction, and in the case of an actual or perceived conflict of interest where the Indemnitee
affected by such conflict has retained its own counsel, of another law firm acting as counsel for such Person
and, if necessary, one local counsel in each relevant jurisdiction to such Person, incurred by or asserted
against any Indemnitee arising out of, in connection with, or as a result of (i) the execution or delivery of
this DIP Term Sheet, any other Loan Document, or any agreement or instrument contemplated hereby or
thereby, (ii) the performance by the parties hereto of their respective obligations hereunder or thereunder
or the consummation of the Transactions or any other transactions contemplated hereby, (iii) any DIP Loan
or the use of the proceeds therefrom, (iv) any actual or alleged presence or release of Materials of
Environmental Concern on or from any property owned or operated by the Borrower or any of its
Subsidiaries, or any Environmental Liability related in any way to the Borrower or any of its Subsidiaries,
or (v) any actual or prospective Proceeding relating to any of the foregoing, whether or not such Proceeding
is brought by the Borrower or any Guarantor or its or their respective equity holders, Affiliates, creditors
or any other third Person and whether based on contract, tort or any other theory and regardless of whether
any Indemnitee is a party thereto; provided that such indemnity shall not, as to any Indemnitee, be available
to the extent that such Liabilities or related expenses are determined by a court of competent jurisdiction
by final and nonappealable judgment to have resulted primarily from the bad faith, gross negligence or
willful misconduct of such Indemnitee. This Annex shall not apply with respect to Taxes other than any
Taxes that represent losses, claims or damages arising from any non-Tax claim.

        For purposes of this Annex and Term Sheet, the terms capitalized herein shall be defined as set
forth below.

“Environmental Liability” means any liability, contingent or otherwise (including any liability for damages,
costs of environmental remediation, fines, penalties or indemnities), of the Borrower or any Subsidiary
directly or indirectly resulting from or based upon (a) violation of any Environmental Law, (b) the
generation, use, handling, transportation, storage, treatment or disposal of any Materials of Environmental
Concern, (c) exposure to any Materials of Environmental Concern, (d) the release or threatened release of
any of Environmental Concern into the environment or (e) any contract, agreement or other consensual
arrangement the extent to which liability is assumed or imposed with respect to any of the foregoing.

“Liabilities” means any losses, claims (including intraparty claims), demands, damages or liabilities of any
kind.

“Proceeding” means any claim, litigation, investigation, action, suit, arbitration or administrative, judicial
or regulatory action or proceeding in any jurisdiction.

“Related Parties” means with respect to any Person, such Person’s Affiliates and the partners, directors,
officers, employees, agents and advisors of such Person and of such Person’s Affiliates.
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                                      EXHIBIT A-1 TO DIP TERM SHEET

                                                  GUARANTORS9

GUARANTOR                                                          JURISDICTION OF ORGANIZATION
Carestream Health Acquisition, LLC                                 Delaware
Carestream Health International Holdings, Inc.                     Delaware
Carestream Health International Management Company, Inc.           Delaware
Carestream Health Canada Holdings, Inc.                            Delaware
Carestream Health World Holdings LLC                               Delaware
Lumisys Holding Co.                                                Delaware




9
    All subsidiary guarantors shall be Debtors in the Chapter 11 Cases.
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                                 EXHIBIT A-2 TO DIP TERM SHEET

                                               GUARANTY

       Capitalized terms used herein without definition having the meaning set forth in the Senior Secured
Superpriority Debtor in Possession Credit Facility Term Sheet to which this Exhibit A-2 is attached.

        1.      The Guaranty.

                          Each of the Guarantors hereby irrevocably, absolutely and unconditionally
guarantees, jointly and severally with the other Guarantors, as primary obligor and not merely as surety,
the full and punctual payment and performance when due (whether at stated maturity, by required
prepayment, upon acceleration, demand or otherwise) of the DIP Obligations, including, without limitation,
(a) the principal of and interest on each DIP Loan made to the Borrower pursuant to this DIP Term Sheet
or any other DIP Facility Document, (b) all other DIP Obligations under this DIP Term Sheet, any other
DIP Facility Document or any DIP Order owing to the DIP Agent or any DIP Lender, and (c) the punctual
and faithful performance, keeping, observance, and fulfillment by the Borrower of all of the agreements,
conditions, covenants, and obligations of the Borrower contained in this DIP Term Sheet, any other DIP
Facility Document or any DIP Order (all of the foregoing being referred to collectively as the “Guaranteed
Obligations”). Upon the failure by the Borrower to pay punctually any such amount or perform such
obligation, subject to any applicable grace or notice and cure period, each of the Guarantors agrees that it
shall forthwith on demand pay such amount or perform such obligation at the place and in the manner
specified in the DIP Term Sheet, any other DIP Facility Document or any DIP Order, as the case may be.
The Borrower hereby irrevocably, absolutely and unconditionally guarantees, jointly and severally with the
other Guarantors, as primary obligor and not merely as surety, the full and punctual payment and
performance when due (whether at stated maturity, by required prepayment, upon acceleration, demand or
otherwise) the Guaranteed Obligations.

        2.      Guaranty Unconditional. The obligations of each of the Guarantors hereunder shall be
unconditional and absolute and, without limiting the generality of the foregoing, shall not be released,
discharged or otherwise affected by:

                 (a)     any extension, renewal, settlement, indulgence, compromise, waiver or release of
or with respect to the Guaranteed Obligations or any part thereof or any agreement relating thereto, or with
respect to any obligation of any other guarantor of any of the Guaranteed Obligations, whether (in any such
case) by operation of law or otherwise, or any failure or omission to enforce any right, power or remedy
with respect to the Guaranteed Obligations or any part thereof or any agreement relating thereto, or with
respect to any obligation of any other guarantor of any of the Guaranteed Obligations;

                (b)    any modification or amendment of or supplement to this DIP Term Sheet, any
other DIP Facility Document or any DIP Order, including, without limitation, any such amendment which
may increase the amount of, or the interest rates applicable to, any of the Guaranteed Obligations guaranteed
hereby;

                 (c)     any release, surrender, compromise, settlement, waiver, subordination or
modification, with or without consideration, of any collateral securing the Guaranteed Obligations or any
part thereof, any other guaranties with respect to the Guaranteed Obligations or any part thereof, or any
other obligation of any other person or entity with respect to the Guaranteed Obligations or any part thereof,
or any nonperfection or invalidity of any direct or indirect security for the Guaranteed Obligations;
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                 (d)     any change in the corporate, partnership, limited liability company or other
existence, structure or ownership of the Borrower or any other guarantor of any of the Guaranteed
Obligations, or any insolvency, bankruptcy, reorganization or other similar proceeding affecting the
Borrower or any other guarantor of the Guaranteed Obligations, or any of their respective assets or any
resulting release or discharge of any obligation of the Borrower or any other guarantor of any of the
Guaranteed Obligations;

                 (e)     the existence of any claim, setoff or other rights which the Guarantors may have
at any time against the Borrower, any other guarantor of any of the Guaranteed Obligations, the DIP Agent,
any DIP Lender, or any other person, whether in connection herewith or in connection with any unrelated
transactions;

                 (f)     the enforceability or validity of the Guaranteed Obligations or any part thereof or
the genuineness, enforceability or validity of any agreement relating thereto or with respect to any collateral
securing the Guaranteed Obligations or any part thereof, or any other invalidity or unenforceability relating
to or against the Borrower or any other guarantor of any of the Guaranteed Obligations, for any reason
related to this DIP Term Sheet, any other DIP Facility Document or any DIP Order, or any provision of
applicable law, decree, order or regulation purporting to prohibit the payment by the Borrower or any other
guarantor of the Guaranteed Obligations, of any of the Guaranteed Obligations or otherwise affecting any
term of any of the Guaranteed Obligations;

                   (g)     the failure of the DIP Agent to take any steps to perfect and maintain any security
interest in, or to preserve any rights to, any security or collateral for the Guaranteed Obligations, if any;

                 (h)      the election by, or on behalf of, any one or more of the DIP Agent or any DIP
Lender, in any proceeding instituted under the Bankruptcy Code, of the application of Section 1111(b)(2)
of the Bankruptcy Code or any other applicable federal, state, provincial, municipal, local or foreign law
relating to such matters;

              (k)      the failure of any other guarantor to sign or become party to this Guaranty or any
amendment, change, or reaffirmation hereof; or

                  (l)     any other act or omission to act or delay of any kind by the Borrower, any other
guarantor of the Guaranteed Obligations, the DIP Agent, any DIP Lender or any other person or any other
circumstance whatsoever that might, but for the provisions of this Section 2, constitute a legal or equitable
discharge of any Guarantor’s obligations hereunder or otherwise reduce, release, prejudice or extinguish its
liability under this Guaranty.

         3.       Continuing Guarantee; Discharge Only Upon Payment in Full; Reinstatement in Certain
Circumstances. Each of the Guarantors’ obligations hereunder shall constitute a continuing and irrevocable
guarantee of all Guaranteed Obligations now or hereafter existing and shall remain in full force and effect
until Security Termination, subject to all the foregoing conditions, upon which date the guarantees made
hereunder shall automatically terminate. If at any time any payment of the principal of or interest on any
DIP Loan, any DIP Obligation or any other amount payable by the Borrower or any other party under the
DIP Term Sheet, any other DIP Facility Document or any DIP Order (including a payment effected through
exercise of a right of setoff) is rescinded, or is or must be otherwise restored or returned upon the insolvency,
bankruptcy or reorganization of the Borrower or otherwise (including pursuant to any settlement entered
into by the DIP Agent or any DIP Lender in their discretion), each of the Guarantors’ obligations hereunder
with respect to such payment shall be reinstated as though such payment had been due but not made at such
time.
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        4.      General Waivers; Additional Waivers.

                 (a)     General Waivers. Each of the Guarantors irrevocably waives acceptance hereof,
presentment, demand or action on delinquency, protest, the benefit of any statutes of limitations and, to the
fullest extent permitted by applicable law, any notice not provided for herein, as well as any requirement
that at any time any action be taken by any person against the Borrower, any other guarantor of the
Guaranteed Obligations, or any other person.

                (b)     Additional Waivers. Notwithstanding anything herein to the contrary, each of the
Guarantors hereby absolutely, unconditionally, knowingly, and expressly waives, to the fullest extent
permitted by applicable law:

                        (i)     any right it may have to revoke this Guaranty as to future indebtedness or
        notice of acceptance hereof;

                         (ii)   (A) notice of acceptance hereof; (B) notice of any DIP Loans or other
        financial accommodations made or extended under the DIP Term Sheet, any other DIP Facility
        Document or any DIP Order or the creation or existence of any Guaranteed Obligations; (C) notice
        of the amount of the Guaranteed Obligations, subject, however, to each Guarantor’s right to make
        inquiry of the DIP Agent and the DIP Lenders to ascertain the amount of the Guaranteed
        Obligations at any reasonable time; (D) notice of any fact that might increase such Guarantor’s risk
        hereunder; (E) notice of presentment for payment, demand, protest, and notice thereof as to any
        instruments, the DIP Term Sheet, any other DIP Facility Document or any DIP Order; (F) notice
        of any Event of Default; and (G) all other notices (except if such notice is specifically required to
        be given to such Guarantor hereunder) and demands to which each Guarantor might otherwise be
        entitled;

                          (iii)   its right, if any, to require the DIP Agent or any DIP Lender to institute
        suit against, or to exhaust any rights and remedies which the DIP Agent or any of the DIP Lenders
        have or may have against the other Guarantors or any third party or against any DIP Collateral
        provided by the other Guarantors or any third party; and each Guarantor further waives any defense
        arising by reason of any disability or other defense (other than the defense that the Guaranteed
        Obligations shall have been fully and finally performed and paid in full in cash) of the other
        Guarantors or by reason of the cessation from any cause whatsoever of the liability of the other
        Guarantors in respect thereof;

                         (iv)     (A) any rights to assert against the DIP Agent or the DIP Lenders any
        defense (legal or equitable), set-off, counterclaim, or claim that such Guarantor may now or at any
        time hereafter have against the other Guarantors or any other party liable to the DIP Agent or the
        DIP Lenders; (B) any defense, set-off, counterclaim, or claim, of any kind or nature, arising directly
        or indirectly from the present or future lack of perfection, sufficiency, validity, or enforceability of
        the Guaranteed Obligations or any security therefor; (C) any defense such Guarantor has to
        performance hereunder, and any right such Guarantor has to be exonerated, arising by reason of:
        (1) the impairment or suspension of the DIP Agent’s or the DIP Lenders’ rights or remedies against
        any other guarantor of the Guaranteed Obligations; (2) the alteration by the DIP Agent or the DIP
        Lenders of the Guaranteed Obligations; (3) any discharge of the other Guarantors’ obligations to
        the DIP Agent or the DIP Lenders by operation of law as a result of the DIP Agent’s or the DIP
        Lenders’ intervention or omission; or (4) the acceptance by the DIP Agent or the DIP Lenders of
        anything in partial satisfaction of the Guaranteed Obligations; and (D) the benefit of any statute of
        limitations affecting such Guarantor’s liability hereunder or the enforcement thereof, and any act
        which shall defer or delay the operation of any statute of limitations applicable to the Guaranteed
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        Obligations shall similarly operate to defer or delay the operation of such statute of limitations
        applicable to such Guarantor’s liability hereunder; and

                         (v)       any defense arising by reason of or deriving from (A) any claim or defense
        based upon an election of remedies by the DIP Agent or the DIP Lenders; or (B) any election by
        the DIP Agent or the DIP Lenders under the Bankruptcy Code, to limit the amount of, or any
        collateral securing, its claim against the Guarantors.

        5.       Subordination of Subrogation; Subordination of Intercompany Indebtedness.

                  (a)     Subordination of Subrogation. Until the Guaranteed Obligations have been fully
and finally performed and paid in full in cash (other than contingent indemnification obligations as to which
no claim has been received by any Debtor), the Guarantors (i) shall have no right of subrogation with respect
to such Guaranteed Obligations and (ii) waive any right to enforce any remedy which the DIP Agent or any
of the DIP Lenders now have or may hereafter have against the Borrower, any endorser or any guarantor
of all or any part of the Guaranteed Obligations or any other person, and until such time as the Guarantors
waive any benefit of, and any right to participate in, any security or collateral given to the DIP Agent or the
DIP Lenders to secure the payment or performance of all or any part of the Guaranteed Obligations or any
other liability of the Borrower to the DIP Agent or the DIP Lenders. Should any Guarantor have the right,
notwithstanding the foregoing, to exercise its subrogation rights, each Guarantor hereby expressly and
irrevocably (A) subordinates any and all rights at law or in equity to subrogation, reimbursement,
exoneration, contribution, indemnification or set off that such Guarantor may have to the payment in full
in cash of the Guaranteed Obligations until the Guaranteed Obligations are paid in full in cash (other than
contingent indemnification obligations as to which no claim has been received by any Debtor) and (B)
waives any and all defenses available to a surety, guarantor or accommodation co-obligor until the
Guaranteed Obligations are paid in full in cash (other than contingent indemnification obligations as to
which no claim has been received by any Debtor). Each Guarantor acknowledges and agrees that this
subordination is intended to benefit the DIP Agent and the DIP Lenders and shall not limit or otherwise
affect such Guarantor’s liability hereunder or the enforceability of this Guaranty, and that the DIP Agent,
the DIP Lenders and their respective successors and assigns are intended third party beneficiaries of the
waivers and agreements set forth in this paragraph 5(a).

                   (b)      Subordination of Intercompany Indebtedness. Each Guarantor agrees that any and
all claims of such Guarantor against the Borrower or any other Guarantor hereunder (each an “Obligor”)
with respect to any “Intercompany Indebtedness” (as hereinafter defined), any endorser, obligor or any
other guarantor of all or any part of the Guaranteed Obligations, or against any of its properties shall be
subordinate and subject in right of payment to the prior payment, in full and in cash, of all Guaranteed
Obligations; provided that, such Guarantor may receive payments from any Obligor with respect to
Intercompany Indebtedness unless an Event of Default has occurred and is continuing. Notwithstanding
any right of any Guarantor to ask, demand, sue for, take or receive any payment from any Obligor, all rights,
liens and security interests of such Guarantor, whether now or hereafter arising and howsoever existing, in
any assets of any other Obligor shall be and are subordinated to the rights of the DIP Agent and the DIP
Lenders in those assets. No Guarantor shall have any right to foreclose upon any asset of any Obligor in
respect of Intercompany Indebtedness, whether by judicial action or otherwise, until Security Termination.
If all or any part of the assets of any Obligor, or the proceeds thereof, are subject to any distribution, division
or application to the creditors of such Obligor, whether partial or complete, voluntary or involuntary, and
whether by reason of liquidation, bankruptcy, arrangement, receivership, assignment for the benefit of
creditors or any other action or proceeding, or if the business of any such Obligor is dissolved or if
substantially all of the assets of any such Obligor are sold, then, and in any such event constituting a
dissolution or sale described above that constitutes an Event of Default (such events being herein referred
to as an “Insolvency Event”), any payment or distribution of any kind or character, either in cash, securities
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or other property, which shall be payable or deliverable upon or with respect to any indebtedness of any
Obligor to any Guarantor (“Intercompany Indebtedness”) shall be paid or delivered directly to the DIP
Agent for application to the Guaranteed Obligations, due or to become due, until such Guaranteed
Obligations shall have been fully paid and satisfied (in cash). Should any payment, distribution, security
or instrument or proceeds thereof be received by the applicable Guarantor upon or with respect to the
Intercompany Indebtedness after any Insolvency Event and prior to the satisfaction of all of the Guaranteed
Obligations and the termination of all financing arrangements pursuant to this DIP Term Sheet, any other
DIP Facility Document or any DIP Order, such Guarantor shall receive and hold the same in trust, as trustee,
for the benefit of the DIP Agent and the DIP Lenders and shall forthwith deliver the same to the DIP Agent,
for the benefit of the DIP Lenders, in precisely the form received (except for the endorsement or assignment
of such Guarantor where necessary), for application to any of the Guaranteed Obligations, due or not due,
and, until so delivered, the same shall be held in trust by such Guarantor as the property of the DIP Agent
and the DIP Lenders. If any such Guarantor fails to make any such endorsement or assignment to the DIP
Agent, the DIP Agent or any of its officers or employees is irrevocably authorized to make the same. Each
Guarantor agrees that until Security Termination, no Guarantor will assign or transfer to any person (other
than the DIP Agent) any claim any such Guarantor has or may have against any Obligor except as expressly
permitted by this DIP Term Sheet, any other DIP Facility Document or any DIP Order.

For purposes of this Exhibit A-2, “Security Termination” means the expiration or termination of the DIP
Commitments and the payment in full in cash of the principal of and interest on each DIP Loan and all fees
payable hereunder and all other Guaranteed Obligations payable hereunder (other than contingent
indemnification obligations as to which no claim has been received by any Debtor).
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                                    EXHIBIT B TO DIP TERM SHEET

                                  FORM OF NOTICE OF BORROWING

                                         Date: __________________

         THIS NOTICE OF BORROWING (this “Notice”) is delivered in accordance with the terms of that
certain Senior Secured Superpriority Debtor in Possession Credit Facility Term Sheet (as amended, restated,
amended and restated, supplemented or otherwise modified from time to time, including all schedules,
annexes and exhibits hereto, the “DIP Term Sheet”) attached as Exhibit A to the commitment letter, dated
as of August 21, 2022 (together with the DIP Term Sheet and each other exhibit, schedule or other
attachment thereto and as amended, restated, amended and restated, supplemented or otherwise modified
from time to time, the “DIP Commitment Letter”), by and among CARESTREAM HEALTH, INC., a
Delaware corporation (the “Borrower”), the Guarantors (as defined therein) party thereto, and certain of
the DIP Lenders in their capacity as Commitment Parties thereunder (as defined therein), in connection
with cases to be filed by the Borrower and the Guarantors (collectively, the “Debtors”) in the United States
Bankruptcy Court for the District of Delaware pursuant to chapter 11 of title 11 of the United States Code
on or about August 23, 2022. Capitalized terms used herein without definition shall have the meanings set
forth in the DIP Commitment Letter. To the extent the provisions set forth in this Notice conflict with any
provisions in the DIP Commitment Letter, the DIP Commitment Letter shall govern.

         The undersigned, as [the chief executive officer, president or chief financial officer] of the
Borrower, hereby certifies to the DIP Agent and the DIP Lenders, on behalf of the Borrower, and not in
any individual capacity, that he/she is authorized to execute this Notice and hereby gives notice to the DIP
Agent and the DIP Lenders of the Borrower’s request to borrow a [Tranche A Initial DIP Loan][Tranche B
Initial DIP Loan][Tranche A Final DIP Loan][Tranche B Final DIP Loan] in the amount of $___________
on _______________.

        The undersigned hereby requests that such funds be disbursed to the following account:1011

        Name of Bank: [_____]
        ACH Routing Number: [_____]
        Account No.: [_____]
        Wire Transfer ABA: [_____]
        SWIFT: [_____]

         [The undersigned, as the [chief executive officer, president or chief financial officer] of the
Borrower, hereby certifies to the DIP Agent and each DIP Lender, on behalf of Borrower, and not in any
individual capacity, that as of the date hereof, each of the applicable conditions precedent set forth below
and in the DIP Term Sheet has been satisfied (or waived in writing by the Required DIP Lenders):

1.      No Default or Event of Default has occurred and is continuing under the DIP Credit Facility or [the
        Interim Order]12[the Final Order]13 before or after giving effect to the [Tranche A Initial DIP
        Loan][Tranche B Initial DIP Loan][Tranche A Final DIP Loan][Tranche B Final DIP Loan] made
        on the date hereof.


10
   To the extent any funds will be netted or otherwise disbursed, to provide appropriate direction.
11
   To include what, if any, amount of commitment fee will be paid in kind on any such borrowing date.
12
   To be included for any borrowing made after the Interim Closing Date and prior to the Final Closing Date.
13
   To be included for any borrowing made after the Final Closing Date.
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2.         All representations and warranties of the Debtors set forth in the DIP Term Sheet are true and
           correct in all material respects (except those qualified by materiality or Material Adverse Change,
           which are true and correct in all respects and except to the extent such representations and
           warranties expressly relate to an earlier date, in which case such representations and warranties
           were true and correct in all material respects, or all respects, as applicable, as of such earlier date).]14

                                              [Signature page follows]




14
     To be included for any borrowing made on any date other than the Interim Closing Date or the Final Closing Date.
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         IN WITNESS WHEREOF, the undersigned has duly executed and delivered this Notice as of the
date first set forth above.

                                                BORROWER:

                                                CARESTREAM HEALTH, INC.



                                                By:
                                                Name:
                                                Title:
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                                  EXHIBIT C TO DIP TERM SHEET

                                 FORM OF CLOSING CERTIFICATE

                                       CLOSING CERTIFICATE

                                                     OF

                                    CARESTREAM HEALTH, INC.

                                              August [●], 2022

         This Certificate (this “Certificate”) is furnished pursuant to the Senior Secured Superpriority
Debtor in Possession Credit Facility Term Sheet (the “DIP Term Sheet”) attached as Exhibit A to that
certain commitment letter, dated as of August 21, 2022 (together with the DIP Term Sheet and each other
exhibit, schedule or other attachment thereto, the “DIP Commitment Letter”) among Carestream Health
Holdings, Inc., a Delaware corporation (“Holdings”), Carestream Health, Inc., a Delaware corporation (the
“Borrower”), certain of the Borrower’s direct and indirect domestic subsidiaries and the commitment
parties party thereto. Capitalized terms used herein without definition shall have the meaning assigned to
such term in the DIP Term Sheet.

         The undersigned, being the Vice President & Chief Financial Officer of the Borrower, hereby
certifies solely in his capacity as such and not in any individual or personal capacity, as follows:

1. Each of the representations and warranties made by the Borrower or the Guarantors in or pursuant to
   the DIP Term Sheet shall be true and correct in all material respects on the date hereof, except to the
   extent such representations and warranties expressly relate to an earlier date, in which case such
   representations and warranties shall have been true and correct in all material respects as of such earlier
   date.

2. As of the date hereof, no Default or Event of Default under the DIP Credit Facility or under the
   [Final][Interim] DIP Order has occurred or are continuing or after giving effect to the [Initial DIP
   Loans][Delayed Draw DIP Loans], will be made on the date hereof.

                                          [Signature page follows]
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                 IN WITNESS WHEREOF, the undersigned has hereunto set his name as of the date first
written above.

                                              CARESTREAM HEALTH, INC.

                                              By: ________________________________________
                                              Name: Scott H. Rosa
                                              Title: Vice President & Chief Financial Officer
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                                   EXHIBIT D TO DIP TERM SHEET

                               FORM OF ASSIGNMENT AGREEMENT

         This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the Effective
Date set forth below and is entered into by and between [Insert name of Assignor] (the “Assignor”) and
[Insert name of Assignee] (the “Assignee”). Capitalized terms used but not defined herein shall have the
meanings given to them in the Term Sheet identified below, receipt of a copy of which is hereby
acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto
are hereby agreed to and incorporated herein by reference and made a part of this Assignment and
Assumption as if set forth herein in full.

         For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and
the Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance
with the Standard Terms and Conditions and the Term Sheet, as of the Effective Date inserted by the
Administrative Agent as contemplated below (i) all of the Assignor’s rights and obligations in its capacity
as a DIP Lender under the Term Sheet and any other documents or instruments delivered pursuant thereto
to the extent related to the amount and percentage interest identified below of all of such outstanding rights
and obligations of the Assignor under the respective facilities identified below (including any letters of
credit, guarantees, and swingline loans included in such facilities) and (ii) to the extent permitted to be
assigned under applicable law, all claims, suits, causes of action and any other right of the Assignor (in its
capacity as a Lender) against any Person, whether known or unknown, arising under or in connection with
the Term Sheet, any other documents or instruments delivered pursuant thereto or the loan transactions
governed thereby or in any way based on or related to any of the foregoing, including contract claims, tort
claims, malpractice claims, statutory claims and all other claims at law or in equity related to the rights and
obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold and assigned
pursuant to clauses (i) and (ii) above being referred to herein collectively as the “Assigned Interest”). Such
sale and assignment is without recourse to the Assignor and, except as expressly provided in this
Assignment and Assumption, without representation or warranty by the Assignor.

1.         Assignor:              ______________________________

2.         Assignee:              ______________________________
                                  [and is an Affiliate/Approved Fund (as defined in the Prepetition First Lien
                                  Credit Agreement) of [identify Lender]15 ]

3.         Borrower:              CARESTREAM HEALTH, INC., a Delaware corporation

4.         Administrative Agent: JPMorgan Chase Bank, N.A., as the administrative agent in respect of the
                                 credit facility provided under the Term Sheet

5.         Term Sheet:            Senior Secured Superpriority Debtor in Possession Credit Facility Term
                                  Sheet (as amended, restated, amended and restated, supplemented or
                                  otherwise modified from time to time, including all schedules, annexes
                                  and exhibits hereto, the “Term Sheet” attached as Exhibit A to the
                                  Commitment Letter, dated as of August 21, 2022 (together with the Term
                                  Sheet, the “DIP Commitment Letter”)), by and among the Borrower, the
                                  Guarantors (as defined therein) party thereto, the certain of the DIP
                                  Lenders (as defined therein) in their capacity as such Commitment Parties

15
     Select as applicable.
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                                    thereunder (as defined therein), the DIP Agent (as defined therein) and the
                                    other parties party thereto, in connection with cases to be filed by the
                                    Borrower and the Guarantors (collectively, the “Debtors”) in the United
                                    States Bankruptcy Court for the District of Delaware pursuant to chapter
                                    11 of title 11 of the United States Code on or around August 22, 2022.

6.       Assigned Interest:

                                   Aggregate Amount of                             Percentage Assigned
                                   DIP     Commitment/          Amount     of  DIP of              DIP
                                   DIP Loans for all            Commitment/DIP     Commitment/DIP
 Facility Assigned16               Lenders                      Loans Assigned     Loans17
                                   $                            $                  %
                                   $                            $                  %
                                   $                            $                  %

Effective Date: _____________ ___, 20___ [TO BE INSERTED BY ADMINISTRATIVE AGENT AND
WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
REGISTER THEREFOR.]

The Assignee agrees to deliver to the DIP Agent a completed administrative questionnaire in which the
Assignee designates one or more credit contacts to whom all syndicate-level information (which may
contain material non-public information about the Borrower[, the Loan Parties] and [its] [their] Related
Parties or their respective securities) will be made available and who may receive such information in
accordance with the Assignee’s compliance procedures and applicable laws, including Federal and state
securities laws.

The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                       ASSIGNOR

                                                       [NAME OF ASSIGNOR]


                                                       By:
                                                               Name:
                                                               Title:


                                                       ASSIGNEE

                                                       [NAME OF ASSIGNEE]


                                                       By:
                                                               Name:
                                                               Title:

         16
            Fill in the appropriate terminology for the types of facilities under the Term Sheet that are being assigned
under this Assignment (e.g., “DIP Loan” etc.)
         17
            Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all DIP Lenders thereunder.
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[Consented to and]18 Accepted:

[NAME OF DIP AGENT], as DIP Agent


By:
         Title:


[Consented to:]19

[NAME OF RELEVANT PARTY]


By:
         Title:




          18
               To be added only if the consent of the DIP Agent is required by the terms of the Term Sheet.
          19
               To be added only if the consent of the Borrower and/or other parties is required by the terms of the Term
Sheet.
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                                                                                                      Annex I

                             STANDARD TERMS AND CONDITIONS FOR
                                ASSIGNMENT AND ASSUMPTION

1.      Representations and Warranties.

1.1      Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial owner of
the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other adverse
claim and (iii) it has full power and authority, and has taken all action necessary, to execute and deliver this
Assignment and Assumption and to consummate the transactions contemplated hereby; and (b) assumes no
responsibility with respect to (i) any statements, warranties or representations made in or in connection with
the Term Sheet, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or value of the
Term Sheet or any collateral thereunder, (iii) the financial condition of the Borrower, any of its Subsidiaries
or Affiliates or any other Person obligated in respect of the Term Sheet, (iv) any requirements under
applicable law for the Assignee to become a lender under the Term Sheet or to charge interest at the rate
set forth therein from time to time or (v) the performance or observance by the Borrower, any of its
Subsidiaries or Affiliates or any other Person of any of their respective obligations under the Term Sheet.

1.2.     Assignee. The Assignee (a) represents and warrants that (i) it has full power and authority, and has
taken all action necessary, to execute and deliver this Assignment and Assumption and to consummate the
transactions contemplated hereby and to become a DIP Lender under the Term Sheet, (ii) it satisfies the
requirements, if any, specified in the Term Sheet and under applicable law that are required to be satisfied
by it in order to acquire the Assigned Interest and become a Lender, (iii) from and after the Effective Date,
it shall be bound by the provisions of the Term Sheet as a Lender thereunder and, to the extent of the
Assigned Interest, shall have the obligations of a Lender thereunder, (iv) it is sophisticated with respect to
decisions to acquire assets of the type represented by the Assigned Interest and either it, or the Person
exercising discretion in making its decision to acquire the Assigned Interest, is experienced in acquiring
assets of such type, (v) it has received a copy of the Term Sheet, together with copies of the most recent
financial statements delivered pursuant to Section ___ thereof, as applicable, and such other documents and
information as it has deemed appropriate to make its own credit analysis and decision to enter into this
Assignment and Assumption and to purchase the Assigned Interest on the basis of which it has made such
analysis and decision independently and without reliance on the DIP Agent, the Assignor or any other
Lender or any of their respective Related Parties, and (vi) attached to the Assignment and Assumption is
any documentation required to be delivered by it pursuant to the terms of the Term Sheet, duly completed
and executed by the Assignee; and (b) agrees that (i) it will, independently and without reliance on the DIP
Agent, the Assignor or any other Lender or any of their respective Related Parties, and based on such
documents and information as it shall deem appropriate at the time, continue to make its own credit
decisions in taking or not taking action under the Term Sheet, and (ii) it will perform in accordance with
their terms all of the obligations which by the terms of the Term Sheet are required to be performed by it
as a Lender.

2.      Payments. From and after the Effective Date, the Administrative Agent shall make all payments
in respect of the Assigned Interest (including payments of principal, interest, fees and other amounts) to the
Assignor for amounts which have accrued to but excluding the Effective Date and to the Assignee for
amounts which have accrued from and after the Effective Date.

3.       General Provisions. This Assignment and Assumption shall be binding upon, and inure to the
benefit of, the parties hereto and their respective successors and assigns. This Assignment and Assumption
may be executed in any number of counterparts, which together shall constitute one instrument. Acceptance
and adoption of the terms of this Assignment and Assumption by the Assignee and the Assignor by
Electronic Signature or delivery of an executed counterpart of a signature page of this Assignment and
Assumption by any Approved Electronic Platform shall be effective as delivery of a manually executed
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                                                                                          Annex I

counterpart of this Assignment and Assumption. This Assignment and Assumption shall be governed by,
and construed in accordance with, the law of the State of New York.
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                                  EXHIBIT E TO DIP TERM SHEET

                                        AGENCY PROVISIONS

       Capitalized terms used herein without definition having the meaning set forth in the Senior Secured
Superpriority Debtor in Possession Credit Facility Term Sheet to which this Exhibit E is attached.

         1.      Appointment and Authorization. Each DIP Lender hereby irrevocably designates and
appoints the DIP Agent as the agent of such DIP Lender under this Agreement and the other Loan
Documents, and each such DIP Lender irrevocably authorizes the DIP Agent, in such capacity, to take such
action on its behalf under the provisions of this Agreement and the other Loan Documents and to exercise
such powers and perform such duties as are expressly delegated to the DIP Agent by the terms of this
Agreement and the other Loan Documents, together with such other powers as are reasonably incidental
thereto. Without limiting the generality of the foregoing, each DIP Lender hereby authorizes the DIP Agent
to enter into or accept each Loan Document, other intercreditor arrangements or collateral trust
arrangements contemplated by this Agreement on behalf of and for the benefit of the DIP Lenders and the
other Prepetition Secured Parties named therein and agrees to be bound by the terms of each Loan
Document and other agreements or documents, and to exercise all rights, powers and remedies that the DIP
Agent may have under such Loan Documents. Each DIP Lender agrees that it shall not take or institute any
actions or proceedings, judicial or otherwise, for any right or remedy with respect to any Collateral against
the Borrower or any Guarantor or any other obligor under any of the Loan Documents (including, in each
case, the exercise of any right of setoff, rights on account of any banker’s lien or similar claim or other
rights of self-help), or institute any actions or proceedings, or otherwise commence any remedial
procedures, with respect to any Collateral of the Borrower or any Guarantor, without the prior written
consent of the DIP Agent.

         2.      Delegation of Duties. The DIP Agent may perform any and all of its duties and exercise
its rights and powers hereunder or under any other Loan Document by or through any one or more sub-
agents appointed by the DIP Agent. The DIP Agent and any such sub-agent may perform any and all of its
duties and exercise its rights and powers by or through its Related Parties. The exculpatory provisions of
this Exhibit E shall apply to any such sub-agent and to the Related Parties of the DIP Agent and any such
sub-agent, and shall apply to their respective activities as DIP Agent. The DIP Agent shall not be
responsible for the negligence or misconduct of any sub-agents except to the extent that a court of competent
jurisdiction determines in a final and non-appealable judgment that the DIP Agent acted with gross
negligence or willful misconduct in the selection of such sub-agents.

        3.      Default; DIP Collateral.

            a. Upon the occurrence and continuance of an Event of Default, the DIP Lenders agree to
        promptly confer in order that the Required DIP Lenders may agree upon a course of action for the
        enforcement of the rights of the DIP Lenders; and the DIP Agent shall be entitled to refrain from
        taking any action (without incurring any liability to any person for so refraining) unless and until
        the DIP Agent shall have received instructions from the Required DIP Lenders and indemnification
        acceptable to it. All rights of action under this Term Sheet and all right to the DIP Collateral, if
        any, hereunder may be enforced by the DIP Agent and any suit or proceeding instituted the DIP
        Agent in furtherance of such enforcement shall be brought in its name as the DIP Agent without
        the necessity of joining as plaintiffs or defendants any other DIP Lender, and the recovery of any
        judgment shall be for the benefit of the applicable DIP Lender, subject to the fees and expenses of
        the DIP Agent. In actions with respect to any DIP Collateral or other property or assets of Holdings
        or any subsidiary of Holdings, the DIP Agent is acting for the ratable benefit of each DIP Lender.
        Any and all agreements to subordinate (whether made heretofore or hereafter) other indebtedness
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or obligations of the Debtors to the DIP Obligations shall be construed as being for the ratable
benefit of each DIP Lender.

    b. Each DIP Lender authorizes and directs the DIP Agent to enter into this Term Sheet and
any security documents on behalf of and for the benefit of the DIP Lenders (or if previously entered
into, hereby ratifies the DIP Agent’s (or any predecessor collateral agent’s) previously entering into
such agreements and security documents).

     c. Except to the extent unanimity is required hereunder, each DIP Lender agrees that any
action taken by the Required DIP Lenders in accordance with the provisions of this Term Sheet,
and the exercise by the Required DIP Lenders of the power set forth herein or therein, together with
such other powers as are reasonably incidental thereto, shall be authorized by and binding upon, all
of the DIP Lenders.

     d. The DIP Agent is hereby authorized (but not obligated) on behalf of the DIP Lenders,
without the necessity of any notice to or further consent from any DIP Lender, from time to time
to take any action with respect to any DIP Collateral or security documents which may be necessary
to create, perfect and maintain perfected the liens upon the DIP Collateral granted pursuant to the
security documents.

     e. The DIP Agent shall not have any obligation whatsoever to any DIP Lender or to any other
person to assure that the DIP Collateral exists or is owned (whether in fee or by leasehold) by the
person purporting to own it or is cared for, protected, or insured or has been encumbered or that the
liens granted to the DIP Agent (or any predecessor collateral agent) herein or pursuant to the
security documents have been properly or sufficiently or lawfully created, perfected, protected, or
enforced, or are entitled to any particular priority, or to exercise at all or in any particular manner
or under any duty of care, disclosure, or fidelity, or to continue exercising, any of the rights granted
or available to such Agent in this paragraph 3 of this Exhibit E or in any of the security documents;
IT BEING UNDERSTOOD AND AGREED THAT IN RESPECT OF THE DIP COLLATERAL,
OR ANY ACT, OMISSION, OR EVENT RELATED THERETO, THE DIP AGENT MAY ACT
IN ANY MANNER IT MAY DEEM APPROPRIATE, IN ITS SOLE DISCRETION, AND THAT
THE DIP AGENT SHALL NOT HAVE ANY DUTY OR LIABILITY WHATSOEVER WITH
RESPECT TO ANY DIP COLLATERAL OR THE SECURITY DOCUMENTS TO ANY DIP
LENDER, IN THE ABSENCE OF ITS OWN GROSS NEGLIGENCE OR WILLFUL
MISCONDUCT AS DETERMINED BY A COURT OF COMPETENT JURISDICTION IN A
FINAL AND NON-APPEALABLE JUDGMENT. Notwithstanding anything herein to the
contrary, the DIP Agent shall not have any duty to (i) file or prepare any financing or continuation
statements or record any documents or instruments in any public office for purposes of creating,
perfecting or maintaining any Lien or security interest created under the security documents; (ii)
take any necessary steps to preserve rights against any parties with respect to any DIP Collateral;
or (iii) take any action to protect against any diminution in value of the DIP Collateral.

     f. In furtherance of the authorizations set forth in this paragraph 3 of this Exhibit E, each DIP
Lender hereby irrevocably appoints (i) the DIP Agent as its attorney- in-fact, with full power of
substitution, for and on behalf of and in the name of each such DIP Lender (1) to enter into any
security document (including, without limitation, any appointments of substitute trustees under any
security document), (2) to take action with respect to the DIP Collateral and security documents to
create, perfect, maintain, and preserve the DIP Lenders’ DIP Liens therein, and (3) to execute
instruments of release or to take other action necessary to release DIP Liens upon any DIP
Collateral to the extent authorized herein and (ii) the DIP Agent as its attorney-in-fact, with full
power of substitution, for and on behalf of and in the name of each such DIP Lender to execute
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instruments of release or to take other actions necessary to release Debtors to the extent authorized
herein. The powers and authorities herein conferred on the DIP Agent may be exercised by the
DIP Agent through any person who, at the time of the execution of a particular instrument, is an
officer of the DIP Agent (or any person acting on behalf of the DIP Agent pursuant to a valid power
of attorney). The power of attorney conferred by this clause (f) to the DIP Agent is granted for
valuable consideration and is coupled with an interest and is irrevocable (subject to paragraph 1)
so long as the DIP Obligations, or any part thereof, shall remain unpaid or the DIP Lenders are
obligated to make any DIP Loan hereunder.

4.          Liability of DIP Agent.

    a. The DIP Agent shall have no duties or obligations to any DIP Lender or any other Person
(as defined below) except those expressly set forth herein and in the other Loan Documents and no
implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read into this
Agreement or any other Loan Document or otherwise exist against the DIP Agent. The DIP Agent’s
duties are entirely mechanical and administrative in nature. Without limiting the generality of the
foregoing, the DIP Agent:

        i.      shall not be subject to any fiduciary or other implied duties to any Lender or any other
                Person, regardless of whether any Default or any Event of Default has occurred and is
                continuing;

       ii.      shall not have any duty to take any discretionary action or exercise any discretionary
                powers, except discretionary rights and powers expressly contemplated hereby or by
                the other Loan Documents that the DIP Agent is required to exercise as directed in
                writing by the Required DIP Lenders (or such other number or percentage of the
                Lenders as shall be expressly provided for herein or in the other Loan Documents), as
                applicable, provided that the DIP Agent shall not be required to take any action that,
                in its opinion or the opinion of its counsel, may expose the DIP Agent to liability or
                that is contrary to any Loan Document or applicable law, including any action that may
                be in violation of the automatic stay under any requirement of law relating to
                bankruptcy, insolvency or reorganization or relief of debtors or that may effect a
                forfeiture, modification or termination of property of a Defaulting Lender in violation
                of any requirement of law relating to bankruptcy, insolvency or reorganization or relief
                of debtors; provided, further, that the DIP Agent may seek clarification or direction
                from the Required DIP Lenders prior to the exercise of any such instructed action and
                may refrain from acting until such clarification or direction has been provided;

      iii.      shall not, except as expressly set forth herein and in the other Loan Documents, have
                any duty to disclose, and the DIP Agent shall not be liable for the failure to disclose,
                any information relating to the Borrower or any of its respective Affiliates that is
                communicated to or obtained by any Person serving as the DIP Agent or any of its
                Affiliates in any capacity; and

      iv.       shall not be responsible for, or have a duty to, ascertain or inquire into any
                representation or warranty regarding the existence, value or collectability of any
                Collateral, the existence, priority or perfection of the DIP Agent’s Lien thereon, or any
                certificate prepared by any Loan Party in connection therewith, nor shall the DIP Agent
                be responsible or liable to the Lenders or the Issuing Lender for any failure to monitor
                or maintain any portion of the Collateral. Nothing in this Agreement shall require the
                DIP Agent to expend or risk its own funds or otherwise incur any financial liability in
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                     the performance of any of its duties hereunder or in the exercise of any of its rights or
                     powers if it shall have reasonable grounds for believing that repayment of such funds
                     or adequate indemnity against such risk or liability is not reasonably assured to it.

             b. The DIP Agent shall not be liable for any action taken or not taken by it (i) with the consent
        or at the request of the Required DIP Lenders (or such other number or percentage of the DIP
        Lenders as shall be necessary, or as the DIP Agent shall believe in good faith shall be necessary,
        under the circumstances as provided in Amendment and Waivers Section) or (ii) in the absence of
        its own gross negligence or willful misconduct (as determined in a final, non-appealable judgment
        of a court of competent jurisdiction).

            c. The DIP Agent shall not be responsible for or have any duty to ascertain or inquire into (i)
        any recital, statement, warranty or representation made in or in connection with this Agreement or
        any other Loan Document, (ii) the contents of any certificate, report, statement or other document
        delivered hereunder or thereunder or in connection herewith or therewith, (iii) the performance or
        observance of any of the covenants, agreements or other terms or conditions set forth herein or
        therein or the occurrence of any Default or Event of Default, (iv) the value, validity, enforceability,
        effectiveness, sufficiency or genuineness of this Agreement, any other Loan Document or any other
        agreement, instrument or document (including, for the avoidance of doubt, in connection with the
        DIP Agent’s reliance on any electronic signature transmitted by telecopy, emailed pdf. or any other
        electronic means that reproduces an image of an actual executed signature page), (v) any failure of
        any Loan Party to perform its obligations hereunder or thereunder or (vi) the satisfaction of any
        condition set forth in conditions precedent or elsewhere herein, other than to confirm receipt of
        items expressly required to be delivered to the DIP Agent.

         5.       Reliance by DIP Agent. The DIP Agent shall be entitled to rely upon, and shall not incur
any liability for relying upon, any notice, request, certificate, consent, statement, instrument, document or
other writing (including any electronic message, internet or intranet website posting or other distribution)
believed by it to be genuine and to have been signed, sent or otherwise authenticated by the proper Person.
The DIP Agent also may rely upon any statement made to it orally or by telephone and believed by it to
have been made by the proper Person, and shall not incur any liability for relying thereon. In determining
compliance with any condition hereunder to the making of a Loan, that by its terms must be fulfilled to the
satisfaction of a DIP Lender, the DIP Agent may presume that such condition is satisfactory to such Lender
unless the DIP Agent shall have received notice to the contrary from such DIP Lender prior to the making
of such Loan. The DIP Agent may consult with legal counsel (who may be counsel for the Borrower),
independent accountants and other experts selected by it, and shall not be liable for any action taken or not
taken by it in accordance with the advice of any such counsel, accountants or experts. The DIP Agent may
deem and treat the payee of any Note as the owner thereof for all purposes unless a written notice of
assignment, negotiation or transfer thereof shall have been filed with the DIP Agent. The DIP Agent shall
be fully justified in failing or refusing to take any action under this Agreement or any other Loan Document
unless it shall first receive such advice or concurrence of the Required Lenders (or such other number or
percentage of DIP Lenders as shall be provided for herein or in the other Loan Documents) as it deems
appropriate or it shall first be indemnified to its satisfaction by the Lenders against any and all liability and
expense that may be incurred by it by reason of taking or continuing to take any such action. The DIP Agent
shall in all cases be fully protected in acting, or in refraining from acting, under this Agreement and the
other Loan Documents in accordance with a request of the Required DIP Lenders (or such other number or
percentage of Lenders as shall be provided for herein or in the other Loan Documents), and such request
and any action taken or failure to act pursuant thereto shall be binding upon the DIP Lenders and all future
holders of the Loans.
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         6.      Notice of Default. The DIP Agent shall not be deemed to have knowledge or notice of the
occurrence of any Default or Event of Default unless and until the DIP Agent has received written notice
from a DIP Lender, Holdings or the Borrower referring to this Agreement, describing such Default or Event
of Default and stating that such notice is a “notice of default in Section 9.1 ” in respect of this Agreement
and identifying the specific clause under said Section is given to the DIP Agent by the Borrower, or (ii)
notice of any Default or Event of Default unless and until written notice thereof (stating that it is a “notice
of Default” or a “notice of an Event of Default”) is given to the DIP Agent by the Borrower or a DIP Lender.
In the event that the DIP Agent receives such a notice, the DIP Agent shall give notice thereof to the
Lenders. The DIP Agent shall take such action with respect to such Default or Event of Default as shall be
reasonably directed by the Required DIP Lenders (or, if so specified by this Agreement, all Lenders);
provided that unless and until the DIP Agent shall have received such directions, the DIP Agent may (but
shall not be obligated to) take such action or refrain from taking such action with respect to such Default or
Event of Default as it shall deem advisable in the best interests of the Lenders.

          7.       Credit Decision; Disclosure of Information by DIP Agent. Each DIP Lender represents
and warrants that (i) the Loan Documents set forth the terms of a commercial lending facility, (ii) it is
engaged in making, acquiring or holding commercial loans and in providing other facilities set forth herein
as may be applicable to such DIP Lender, in each case in the ordinary course of business, and not for the
purpose of purchasing, acquiring or holding any other type of financial instrument (and each Lender agrees
not to assert a claim in contravention of the foregoing), (iii) it has, independently and without reliance upon
the DIP Agent or any other DIP Lender, or any of the Related Parties of any of the foregoing, and based on
such documents and information as it has deemed appropriate, made its own credit analysis and decision to
enter into this Agreement as a Lender, and to make, acquire or hold DIP Loans hereunder and (iv) it is
sophisticated with respect to decisions to make, acquire and/or hold commercial loans and to provide other
facilities set forth herein, as may be applicable to such Lender, and either it, or the Person exercising
discretion in making its decision to make, acquire and/or hold such commercial loans or to provide such
other facilities, is experienced in making, acquiring or holding such commercial loans or providing such
other facilities. Each DIP Lender also acknowledges that it will, independently and without reliance upon
the Administrative Agent or any other DIP Lender, or any of the Related Parties of any of the foregoing,
and based on such documents and information (which may contain material, non-public information within
the meaning of the United States securities laws concerning the Borrower and its Affiliates (as defined
below)) as it shall from time to time deem appropriate, continue to make its own decisions in taking or not
taking action under or based upon this Agreement, any other Loan Document or any related agreement or
any document furnished hereunder or thereunder. Each DIP Lender, by delivering its signature page to this
Agreement on the Interim Closing Date, or delivering its signature page to an Assignment and Assumption
or any other Loan Document pursuant to which it shall become a DIP Lender hereunder, shall be deemed
to have acknowledged receipt of, and consented to and approved, each Loan Document and each other
document required to be delivered to, or be approved by or satisfactory to, the DIP Agent or the DIP Lenders
on the Interim Closing Date. Except for notices, reports and other documents expressly required to be
furnished to the DIP Lenders by the DIP Agent herein, the DIP Agent shall not have any duty or
responsibility to provide any DIP Lender with any credit or other information concerning the business,
prospects, operations, property, financial and other condition or creditworthiness of any of the Debtors or
any of their respective affiliates which may come into the possession of the DIP Agent or any sub-agent or
related party thereof.

        8.       Indemnification of the DIP Agent. Each of the DIP Lenders agrees to indemnify the DIP
Agent (and their Related Parties) in their respective capacities as such (to the extent not reimbursed by
Holdings, the Borrower or any other Loan Party and without limiting the obligation of Holdings, the
Borrower or any other Loan Party to do so), according to its Aggregate Exposure Percentage (as defined
below), on a pro rata basis, in effect on the date on which indemnification is sought under this Section (or,
if indemnification is sought after the date upon which the DIP Commitments shall have terminated and the
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DIP Loans shall have been paid in full, on a pro rata basis, in accordance with its Aggregate Exposure
Percentage immediately prior to such date), from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind whatsoever that
may at any time (whether before or after the payment of the DIP Loans) be imposed on, incurred by or
asserted against the Administrative Agent, the Joint Lead Arrangers or their Related Parties in any way
relating to or arising out of, the DIP Commitments, this Agreement, any of the other Loan Documents or
any documents contemplated by or referred to herein or therein or the transactions contemplated hereby or
thereby or any action taken or omitted by the DIP Agent or any other Person under or in connection with
any of the foregoing; provided that no DIP Lender shall be liable to any such Person for the payment of any
portion of such liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
or disbursements that are found by a final and nonappealable decision of a court of competent jurisdiction
to have resulted primarily from such Person’s gross negligence or willful misconduct. The agreements in
this Section shall survive the termination of this Agreement and the payment of the DIP Loans and all other
amounts payable hereunder.

         9.      DIP Agent in its Individual Capacity. With respect to its DIP Commitment, DIP Loans,
the Person serving as the DIP Agent shall have and may exercise the same rights and powers in its capacity
as a Lender as any other Lender and may exercise the same as though it were not the DIP Agent and the
term “DIP Lender” or “DIP Lenders” shall, unless otherwise expressly indicated or unless the context
otherwise requires, include each such Person serving as DIP Agent hereunder in its individual capacity.
Such Person and its Affiliates may accept deposits from, lend money to, own securities of, act as the
financial advisor or in any other advisory capacity for and generally engage in any kind of banking, trust or
other business with the Borrower, Holdings, or any of their respective Subsidiaries or other Affiliate thereof
as if such Person were not the DIP Agent hereunder and without any duty to account therefor to the DIP
Lenders.

        10.      Successor Agent.

                  The DIP Agent may at any time give 30 days’ prior written notice of its resignation to the
DIP Lenders and the Borrower, whether or not a successor DIP Agent has been appointed. Upon receipt of
any such notice of resignation, the Required DIP Lenders shall have the right, subject to the approval of the
Borrower, not to be unreasonably withheld, for so long as no Event of Default has occurred and is
continuing, to appoint a successor. If no such successor shall have been so appointed by the Required DIP
Lenders and shall have accepted such appointment within 30 days after the retiring DIP Agent gives notice
of its resignation, then the retiring DIP Agent may on behalf of the Lenders, appoint a successor DIP Agent
(which shall be a bank with an office in New York, New York or an Affiliate of any such bank with an
office in New York, New York), provided that if the retiring DIP Agent shall notify the Borrower and the
Lenders that no qualifying Person has accepted such appointment, then such resignation shall nonetheless
become effective in accordance with such notice and (1) the retiring DIP Agent shall be discharged from
its duties and obligations hereunder and under the other Loan Documents (except that in the case of any
collateral security held by the DIP Agent on behalf of the Prepetition Secured Parties under any of the Loan
Documents, the retiring DIP Agent may continue to hold such collateral security until such time as a
successor DIP Agent is appointed and such collateral security is assigned to such successor DIP Agent) and
(2) all payments, communications and determinations provided to be made by, to or through such DIP
Agent shall instead be made by or to each Lender directly, until such time as the Required DIP Lenders
appoint a successor DIP Agent as provided for above in this Section; provided that the DIP Agent may, in
its sole discretion, agree to continue to perform any or all of such functions until such time as a successor
is appointed as provided in this Section. Upon the acceptance of a successor’s appointment as DIP Agent
hereunder, such successor shall succeed to and become vested with all of the rights, powers, privileges and
duties of the retiring (or retired) DIP Agent, and the retiring DIP Agent shall be discharged from all of its
duties and obligations hereunder or under the other Loan Documents (if not already discharged therefrom
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as provided above in this Section). Prior to any retiring DIP Agent’s resignation hereunder as DIP Agent,
the retiring DIP Agent shall take such action as may be reasonably necessary to assign to the successor DIP
Agent its rights as DIP Agent under the Loan Documents. The fees payable by the Borrower to a successor
DIP Agent shall be the same as those payable to its predecessor unless otherwise agreed between the
Borrower and such successor. After the retiring DIP Agent’s resignation hereunder and under the other
Loan Documents, the provisions of this Exhibit E and Annex D shall continue in effect for the benefit of
such retiring DIP Agent, its sub-agents and their respective Related Parties in respect of any actions taken
or omitted to be taken by any of them while the retiring DIP Agent was acting as DIP Agent.

            Notwithstanding paragraph (a) of this Section, in the event no successor DIP Agent shall have
been so appointed and shall have accepted such appointment within 30 days after the retiring DIP Agent
gives notice of its intent to resign, the retiring DIP Agent may give notice of the effectiveness of its
resignation to the DIP Lenders, and the Borrower, whereupon, on the date of effectiveness of such
resignation stated in such notice, (i) the retiring DIP Agent shall be discharged from its duties and
obligations hereunder and under the other Loan Documents; provided that, solely for purposes of
maintaining any security interest granted to the DIP Agent under any Security Document for the benefit of
the Prepetition Secured Parties, the retiring DIP Agent shall continue to be vested with such security interest
as collateral agent for the benefit of the Secured Parties, and continue to be entitled to the rights set forth in
such Security Document and Loan Document, and, in the case of any Collateral in the possession of the
DIP Agent, shall continue to hold such Collateral, in each case until such time as a successor DIP Agent is
appointed and accepts such appointment in accordance with this Section (it being understood and agreed
that the retiring DIP Agent shall have no duty or obligation to take any further action under any Security
Document, including any action required to maintain the perfection of any such security interest), and (ii)
the Required Lenders shall succeed to and become vested with all the rights, powers, privileges and duties
of the retiring DIP Agent; provided that (A) all payments required to be made hereunder or under any other
Loan Document to the DIP Agent for the account of any Person other than the DIP Agent shall be made
directly to such Person and (B) all notices and other communications required or contemplated to be given
or made to the DIP Agent shall directly be given or made to each Lender. Following the effectiveness of
the DIP Agent’s resignation from its capacity as such, the provisions of this Exhibit E, as well as any
exculpatory, reimbursement and indemnification provisions set forth in any other Loan Document, shall
continue in effect for the benefit of such retiring DIP Agent, its sub-agents and their respective Related
Parties in respect of any actions taken or omitted to be taken by any of them while the retiring DIP Agent
was acting as DIP Agent and in respect of the matters referred to in the proviso under clause (i) above.


        11.      Disbursements of DIP Loan Payments; Return of Payments.

                     (a) If the DIP Agent pays an amount to a DIP Lender under this Agreement in the
    belief or expectation that a related payment has been or will be received by the DIP Agent from any
    Debtor and such related payment is not received by the DIP Agent, then the DIP Agent will be entitled
    to recover such amount from such DIP Lender on demand without setoff, counterclaim or deduction of
    any kind.

                      (b) Each DIP Lender hereby agrees that (x) if the DIP Agent notifies such DIP Lender
    that the DIP Agent has determined in its sole discretion that any funds received by such Lender from
    the DIP Agent or any of its Affiliates (whether as a payment, prepayment or repayment of principal,
    interest, fees or otherwise; individually and collectively, a “Payment”) were erroneously transmitted to
    such DIP Lender (whether or not known to such DIP Lender), and demands the return of such Payment
    (or a portion thereof), such DIP Lender shall promptly, but in no event later than one Business Day
    thereafter, return to the DIP Agent the amount of any such Payment (or portion thereof) as to which
    such a demand was made in same day funds, together with interest thereon in respect of each day from
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and including the date such Payment (or portion thereof) was received by such DiP Lender to the date
such amount is repaid to the DIP Agent at the greater of the NYFRB Rate and a rate determined by the
DIP Agent in accordance with banking industry rules on interbank compensation from time to time in
effect, and (y) to the extent permitted by applicable law, such Lender shall not assert, and hereby
waives, as to the DIP Agent, any claim, counterclaim, defense or right of set-off or recoupment with
respect to any demand, claim or counterclaim by the DIP Agent for the return of any Payments received,
including without limitation any defense based on “discharge for value” or any similar doctrine. A
notice of the Administrative Agent to any Lender under this Section shall be conclusive, absent manifest
error.

                  (c) Each DIP Lender hereby further agrees that if it receives a Payment from the DIP
Agent or any of its Affiliates (x) that is in a different amount than, or on a different date from, that
specified in a notice of payment sent by the DIP Agent (or any of its Affiliates) with respect to such
Payment (a “Payment Notice”) or (y) that was not preceded or accompanied by a Payment Notice, it
shall be on notice, in each such case, that an error has been made with respect to such Payment. Each
Lender agrees that, in each such case, or if it otherwise becomes aware a Payment (or portion thereof)
may have been sent in error, such Lender shall promptly notify the DIP Agent of such occurrence and,
upon demand from the DIP Agent, it shall promptly, but in no event later than one Business Day
thereafter, return to the DIP Agent the amount of any such Payment (or portion thereof) as to which
such a demand was made in same day funds, together with interest thereon in respect of each day from
and including the date such Payment (or portion thereof) was received by such DIP Lender to the date
such amount is repaid to the DIP Agent at the greater of the NYFRB Rate and a rate determined by the
DIP Agent in accordance with banking industry rules on interbank compensation from time to time in
effect.

                (d) The Borrower and each other Loan Party hereby agrees that (x) in the event an
erroneous Payment (or portion thereof) are not recovered from any DIP Lender that has received such
Payment (or portion thereof) for any reason, the DIP Agent shall be subrogated to all the rights of such
Lender with respect to such amount and (y) an erroneous Payment shall not pay, prepay, repay,
discharge or otherwise satisfy any Obligations owed by the Borrower or any other Loan Party.

                (e) Each party’s obligations under this Section shall survive the resignation or
replacement of the DIP Agent or any transfer of rights or obligations by, or the replacement of, a DIP
Lender, the termination of the DIP Commitments or the repayment, satisfaction or discharge of all
Obligations under any Loan Document.

    12.     Taxes.

             (a)     All payments made by the Borrower under this Agreement shall be made free and
    clear of, and without deduction or withholding for or on account of, any present or future income,
    stamp or other taxes, levies, imposts, duties, charges, fees, deductions or withholdings, now or
    hereafter imposed, levied, collected, withheld or assessed by any governmental authority
    (including, any taxes imposed under Part XIII of the Income Tax Act (Canada) (as the same may
    be amended, supplemented or replaced from time to time)), excluding (i) net income taxes, capital
    taxes imposed by the laws of Canada or any political subdivision thereof, and franchise taxes
    (which franchise taxes are imposed in lieu of net income taxes) imposed on the DIP Agent or any
    DIP Lender as a result of a present or former connection between the DIP Agent or such DIP Lender
    and the jurisdiction of the governmental authority imposing such tax or any political subdivision
    or taxing authority thereof or therein (other than any such connection arising solely from the DIP
    Agent or such DIP Lender having executed, delivered or performed its obligations or received a
    payment under, or enforced, this Agreement or any other Loan Document), (ii) branch profits taxes
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imposed on the DIP Agent or any DIP Lender by the United States of America or any similar tax
imposed by any other jurisdiction described in clause (i) above, (iii) United States withholding
taxes to the extent imposed on amounts payable to any DIP Lender at the time such DIP Lender
becomes a party to this Agreement (or designates a new lending office), except to the extent that
such DIP Lender (or its assignor, if any) was entitled at the time of designation of a new lending
office (or assignment, if any) to receive additional amounts from the Borrower with respect to such
taxes pursuant to this clause (a), (iv) taxes that are attributable to a DIP Lender’s failure to comply
with the requirements of clause (d), (e) or (g) of this Section 12 and (v) United States federal
withholding taxes imposed by sections 1471 through 1474 of the Code as in existence on the date
of this Agreement (and any amended versions of such provisions that are substantively comparable
and not materially more onerous to comply with), any current or future regulations thereunder and
official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the
Code (“FATCA”) (such non-excluded taxes, levies, imposts, duties, charges, fees, deductions or
withholdings, the “Non-Excluded Taxes”). If any Non-Excluded Taxes, or any and all present or
future stamp or documentary taxes or any other excise or property taxes, charges or similar levies
arising from any payment made hereunder or from the execution, delivery or enforcement of, or
otherwise with respect to, this Agreement or any other Loan Document (“Other Taxes”), are
required to be withheld from any amounts payable to the DIP Agent or any DIP Lender hereunder,
the amounts so payable to the DIP Agent or such DIP Lender shall be increased to the extent
necessary to yield to the DIP Agent or such DIP Lender (after payment of all Non-Excluded Taxes
and Other Taxes) interest or any such other amounts payable hereunder at the rates or in the
amounts specified in this Agreement. The Borrower shall indemnify the DIP Agent and each DIP
Lender within 10 Business Days after written demand therefor, for the full amount of any Non-
Excluded Taxes or Other Taxes (including Non-Excluded Taxes and Other Taxes imposed or
asserted on or attributable to amounts payable under this Section 12) paid by such person and any
penalties, interest and reasonable expenses arising therefrom or with respect thereto, whether or not
such Non-Excluded Taxes or Other Taxes were correctly or legally imposed or asserted by the
relevant governmental authority. A certificate stating the amount of such payment or liability and
setting forth in reasonable detail the calculation thereof delivered to the Borrower by a DIP Lender
(with a copy to the DIP Agent), or by the DIP Agent on its own behalf or on behalf of a DIP Lender
shall be conclusive absent manifest error.

        (b)      In addition, the Borrower shall pay any Other Taxes to the relevant governmental
authority in accordance with applicable law.

         (c)      Whenever any Non-Excluded Taxes or Other Taxes are payable by the Borrower,
as promptly as possible thereafter the Borrower shall send to the DIP Agent for its own account or
for the account of the relevant DIP Lender, as the case may be, a certified copy of an original
official receipt received by the Borrower showing payment thereof, a copy of the return reporting
such payment or other evidence of such payment reasonably satisfactory to the DIP Agent. If the
Borrower fails to pay any Non-Excluded Taxes or Other Taxes when due to the appropriate taxing
authority or fails to remit to the DIP Agent the required receipts or other required documentary
evidence, the Borrower shall indemnify the DIP Agent and the DIP Lenders for any incremental
taxes, interest or penalties that may become payable by the DIP Agent or any DIP Lender as a result
of any such failure.

         (d)     Except as provided in the next sentence, each DIP Lender (or assignee) that is not
a “United States person” as defined in Section 7701(a)(30) of the Code (a “Non-U.S. Lender”) shall
deliver to the Borrower and the DIP Agent two original copies of either U.S. Internal Revenue
Service Form W-8BEN, Form W-8BEN-E or Form W-8ECI, or, in the case of a Non-U.S. Lender
claiming exemption from U.S. federal withholding tax under Section 871(h) or 881(c) of the Code
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with respect to payments of “portfolio interest”, a statement substantially in the applicable form
attached to the Prepetition First Lien Credit Agreement, and a Form W-8BEN or Form W-8BEN-
E, or any subsequent versions thereof or successors thereto, properly completed and duly executed
by such Non-U.S. Lender claiming complete exemption from, or a reduced rate of, U.S. federal
withholding tax on all payments by the Borrower under this Agreement and the other Loan
Documents. To the extent a Non-U.S. Lender is not the beneficial owner, such Non-U.S. Lender
shall deliver to the Borrower and the DIP Agent two original copies of U.S. Internal Revenue
Service Form W-8IMY, accompanied by U.S. Internal Revenue Service Form W-8ECI, Form W-
8BEN, Form W-8BEN-E, a statement substantially in the applicable form attached to the
Prepetition First Lien Credit Agreement, U.S. Internal Revenue Service Form W-9, and/or other
certification documents from each beneficial owner, as applicable; provided that if the Non-U.S.
Lender is a partnership and one or more direct or indirect partners of such Non-U.S. Lender are
claiming the portfolio interest exemption, such Non-U.S. Lender may provide a statement,
substantially in the applicable form attached to the Prepetition First Lien Credit Agreement, on
behalf of such direct and indirect partner. Any DIP Lender (or assignee) that is not a Non-U.S.
Lender shall deliver to the Borrower and the DIP Agent two original copies of U.S. Internal
Revenue Service Form W-9, or any subsequent versions thereof or successors thereto, properly
completed and duly executed by such person claiming complete exemption from backup
withholding on all payments by the Borrower under this Agreement and the other Loan Documents.
The forms and certification referenced in the previous two sentences (the “Forms”) shall be
delivered by each DIP Lender on or before the date it becomes a party to this Agreement. In
addition, each DIP Lender shall deliver such Forms promptly upon the obsolescence or invalidity
of any Form previously delivered by such DIP Lender and upon (i) the written request of either
Borrower or (ii) any such DIP Lender otherwise having actual knowledge of the obsolescence or
invalidity of such Forms. Each DIP Lender shall promptly notify the Borrower at any time it
determines that it is no longer in a position to provide any previously delivered Form to the
Borrower (or any other form of certification adopted by the U.S. taxing authorities for such
purpose). Notwithstanding any other provision of this clause (d), no DIP Lender shall be required
to deliver any Form pursuant to this clause (d) that such DIP Lender is not legally able to deliver.

         (e)     The DIP Agent that is a “United States person” as defined in Section 7701(a)(30)
of the Code shall, on or before the date on which the Administrative Agent becomes a party hereto,
provide the Borrower with two original copies of U.S. Internal Revenue Service Form W-9, or any
subsequent versions thereof or successors thereto, properly completed and duly executed by the
DIP Agent, claiming complete exemption from backup withholding on all payments by the
Borrower under this Agreement and the other Loan Documents. The DIP Agent that is not a “United
States person” as defined in Section 7701(a)(30) of the Code shall, on or before the date on which
the DIP Agent becomes a party hereto, to the extent it is legally eligible to do so, provide the
Borrower with two original copies of U.S. Internal Revenue Service Form W-8, or any subsequent
versions thereof or successors thereto, properly completed and duly executed by the DIP Agent,
certifying as to any entitlement of the DIP Agent to an exemption from, or reduction in, any U.S.
federal withholding tax with respect to any fees received on its own behalf under any Loan
Document. In addition, the DIP Agent shall deliver such copies of U.S. Internal Revenue Service
Form W-8 or U.S. Internal Revenue Service Form W-9, as applicable, promptly upon the
obsolescence or invalidity of such U.S. Internal Revenue Service Form previously delivered by the
DIP Agent and upon (i) the written request of either Borrower or (ii) the DIP Agent otherwise
having actual knowledge of the obsolescence or invalidity of such U.S. Internal Revenue Service
Form. Notwithstanding any other provision of this clause (d), the DIP Agent shall not be required
to deliver any Form pursuant to this clause (d) that the Administrative Agent is not legally able to
deliver.
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         (f)     A DIP Lender that is entitled to an exemption from or reduction of non-U.S.
withholding tax under the law of the jurisdiction in which the Borrower is resident for tax purposes,
or any treaty to which such jurisdiction is a party, with respect to payments under this Agreement
shall deliver to the Borrower (with a copy to the DIP Agent), at the time or times reasonably
requested by the Borrower, such properly completed and executed documentation prescribed by
applicable law as will permit such payments to be made without withholding or at a reduced rate,
provided that such DIP Lender is legally entitled to complete, execute and deliver such
documentation and in such Lender’s judgment such completion, execution or submission would
not materially prejudice the legal position of such DIP Lender.

         (g)      If the DIP Agent or any DIP Lender determines, in its sole discretion, that it has
received a refund of any Non-Excluded Taxes or Other Taxes as to which it has been indemnified
by either Borrower or with respect to which either Borrower has paid additional amounts pursuant
to this Section 12, it shall pay over such refund to such Borrower (but only to the extent of
indemnity payments made, or additional amounts paid, by such Borrower under this Section 12
with respect to the Non-Excluded Taxes or Other Taxes giving rise to such refund), net of all out-
of-pocket expenses of the DIP Agent or such DIP Lender and without interest (other than any
interest paid by the relevant governmental authority with respect to such refund); provided, that the
Borrower, upon the request of the DIP Agent or such DIP Lender, agree to repay the amount paid
over to the Borrower (plus any penalties, interest or other charges imposed by the relevant
governmental authority) to the DIP Agent or such DIP Lender in the event the DIP Agent or such
DIP Lender is required to repay such refund to such governmental authority. This clause (f) shall
not be construed to require the DIP Agent or any DIP Lender to make available its tax returns (or
any other information relating to its taxes which it deems confidential) to the Borrower or any other
person.

        (h)     If a payment made to a DIP Lender under any Loan Document would be subject
to United States federal withholding tax imposed by FATCA if such DIP Lender were to fail to
comply with the applicable reporting requirements of FATCA (including those contained in Section
1471(b) or 1472(b) of the Code, as applicable), such DIP Lender shall deliver to the Borrower and
the DIP Agent at the time or times prescribed by law and at such time or times reasonably requested
by the Borrower or the DIP Agent such documentation prescribed by applicable law (including as
prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
requested by the Borrower or the DIP Agent as may be necessary for the Borrower and the DIP
Agent to comply with their obligations under FATCA and to determine that such DIP Lender has
complied with such DIP Lender’s obligations under FATCA or to determine the amount to deduct
and withhold from such payment. Solely for purposes of this clause (g), “FATCA” shall include
any amendments made to FATCA after the date of this Agreement.

         (i)      Each DIP Lender shall severally indemnify the DIP Agent, within 10 days after
demand therefor, for (i) any Non-Excluded Taxes attributable to such DIP Lender (but only to the
extent that the Borrower has not already indemnified the DIP Agent for such Non-Excluded Taxes
and without limiting the obligation of the Borrower to do so) and (ii) any Taxes attributable to such
DIP Lender, in each case, that are payable or paid by the DIP Agent in connection with any Loan
Document, and any reasonable expenses arising therefrom or with respect thereto, whether or not
such Taxes were correctly or legally imposed or asserted by the relevant governmental authority.
A certificate as to the amount of such payment or liability delivered to any DIP Lender by the DIP
Agent shall be conclusive absent manifest error. Each DIP Lender hereby authorizes the DIP Agent
to set off and apply any and all amounts at any time owing to such DIP Lender under any Loan
Document or otherwise payable by the DIP Agent to the DIP Lender from any other source against
any amount due to the Administrative Agent under this clause (i).
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        13.      ERISA and Related Matters.

                  (a)    Each DIP Lender (x) represents and warrants, as of the date such Person became a
DIP Lender party hereto, to and (y) covenants, from the date such Person became a DIP Lender party hereto
to the date such Person ceases being a Lender party hereto, for the benefit of the DIP Agent and its Affiliates
and not, for the avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party, that at
least one of the following is and will be true:

                         (i) such DIP Lender is not using “plan assets” (within the meaning of Section
                             3(42) of ERISA (as defined below) or otherwise) of one or more Plans (as
                             defined below) with respect to such Lender’s entrance into, or participation in
                             connection with the DIP Loans, the DIP Commitments or this Agreement;

                         (ii) the transaction exemption set forth in one or more PTEs, such as PTE 84-14
                              (a class exemption for certain transactions determined by independent
                              qualified professional asset managers), PTE 95-60 (a class exemption for
                              certain transactions involving insurance company general accounts), PTE 90-
                              1 (a class exemption for certain transactions involving insurance company
                              pooled separate accounts), PTE 91-38 (a class exemption for certain
                              transactions involving bank collective investment funds) or PTE 96-23 (a class
                              exemption for certain transactions determined by in-house asset managers), is
                              applicable with respect to, and all of the conditions for exemptive relief are
                              satisfied in connection with, such DIP Lender’s entrance into, participation in,
                              administration of and performance of the DIP Loans, the DIP Commitments
                              and this Agreement;

                         (iii) (A) such DIP Lender is an investment fund managed by a “Qualified
                              Professional Asset Manager” (within the meaning of Part VI of PTE 84-14),
                              (B) such Qualified Professional Asset Manager made the investment decision
                              on behalf of such Lender to enter into, participate in, administer and perform
                              the DIP Loans, the DIP Commitments and this Agreement, (C) the entrance
                              into, participation in, administration of and performance of the Loans, the
                              Commitments and this Agreement satisfies the requirements of sub-sections
                              (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge of such
                              DIP Lender, the requirements of subsection (a) of Part I of PTE 84-14 are
                              satisfied with respect to such DIP Lender’s entrance into, participation in,
                              administration of and performance of the DIP Loans, the DIP Commitments
                              and this Agreement; or

                         (iv) such other representation, warranty and covenant as may be agreed in writing
                              between the DIP Agent, in its sole discretion, and such DIP Lender.

                 (b)      In addition, unless either (1) sub-clause (i) in the immediately preceding clause (a)
is true with respect to a DIP Lender or (2) such DIP Lender has provided another representation, warranty
and covenant in accordance with sub-clause (iv) in the immediately preceding clause (a), such DIP Lender
further (x) represents and warrants, as of the date such Person became a Lender party hereto, to, and (y)
covenants, from the date such Person became a DIP Lender party hereto to the date such Person ceases
being a DIP Lender party hereto, for the benefit of, the DIP Agent and its Affiliates, and not, for the
avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party, that none of the DIP
Agent or any of its Affiliates is a fiduciary with respect to the assets of such DIP Lender involved in such
DIP Lender’s entrance into, participation in, administration of and performance of the DIP Loans, the DIP
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Commitments and this Agreement (including in connection with the reservation or exercise of any rights
by the DIP Agent under this Agreement, any Loan Document or any documents related hereto or thereto).

                  (c)    The DIP Agent hereby informs the DIP Lenders that each such Person is not
undertaking to provide investment advice or to give advice in a fiduciary capacity, in connection with the
transactions contemplated hereby, and that such Person has a financial interest in the transactions
contemplated hereby in that such Person or an Affiliate thereof (i) may receive interest or other payments
with respect to the DIP Loans, the DIP Commitments, this Agreement and any other Loan Documents (ii)
may recognize a gain if it extended the DIP Loans or the DIP Commitments for an amount less than the
amount being paid for an interest in the DIP Loans or the DIP Commitments by such Lender or (iii) may
receive fees or other payments in connection with the transactions contemplated hereby, the Loan
Documents or otherwise, including structuring fees, commitment fees, arrangement fees, facility fees,
upfront fees, underwriting fees, ticking fees, agency fees, administrative agent or collateral agent fees,
utilization fees, minimum usage fees, letter of credit fees, fronting fees, deal-away or alternate transaction
fees, amendment fees, processing fees, term out premiums, banker’s acceptance fees, breakage or other
early termination fees or fees similar to the foregoing.

        14.      Interest Rates.

                  The interest rate on a Loan denominated in dollars may be derived from an interest rate
benchmark that may be discontinued or is, or may in the future become, the subject of regulatory reform.
The DIP Agent does not warrant or accept any responsibility for, and shall not have any liability with
respect to, the administration, submission, performance or any other matter related to any interest rate used
in this Agreement, or with respect to any alternative or successor rate thereto, or replacement rate thereof,
including without limitation, whether the composition or characteristics of any such alternative, successor
or replacement reference rate will be similar to, or produce the same value or economic equivalence of, the
existing interest rate being replaced or have the same volume or liquidity as did any existing interest rate
prior to its discontinuance or unavailability. The DIP Agent and its affiliates and/or other related entities
may engage in transactions that affect the calculation of any interest rate used in this Agreement or any
alternative, successor or alternative rate and/or any relevant adjustments thereto, in each case, in a manner
adverse to the Borrower. The DIP Agent may select information sources or services in its reasonable
discretion to ascertain any interest rate used in this Agreement, any component thereof, or rates referenced
in the definition thereof, in each case pursuant to the terms of this Agreement, and shall have no liability to
the Borrower, any DIP Lender or any other person or entity for damages of any kind, including direct or
indirect, special, punitive, incidental or consequential damages, costs, losses or expenses (whether in tort,
contract or otherwise and whether at law or in equity), for any error or calculation of any such rate (or
component thereof) provided by any such information source or service.

        The terms capitalized herein shall be defined as set forth below.

         “Affiliate” shall mean with respect to any specified Person, any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified Person. For
purposes of this definition, “control” (including, with correlative meanings, the terms “controlling”,
“controlled by” and “under common control with”), as used with respect to any Person, shall mean the
possession, directly or indirectly, of the power to direct or cause the direction of the management or policies
of such Person, whether through the ownership of voting securities, by agreement or otherwise.

        “Aggregate Exposure” shall mean with respect to any DIP Lender at any time, an amount equal to
the amount of such Lender’s DIP Commitment then in effect or, if the DIP Commitments have been
terminated, the amount of such Lender’s DIP Loans then outstanding.
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        “Aggregate Exposure Percentage” shall mean with respect to any DIP Lender at any time, the ratio
(expressed as a percentage) of such DIP Lender’s Aggregate Exposure at such time to the Aggregate
Exposure of all DIP Lenders at such time.

         “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as amended from
time to time.

         “Governmental Authority” shall mean any nation or government, any state, province or other
political subdivision thereof, any agency, authority, instrumentality, regulatory body, court, central bank or
other entity exercising executive, legislative, judicial, taxing, regulatory or administrative functions of or
pertaining to government, any securities exchange and any self-regulatory organization (including the
National Association of Insurance Commissioners).

          “Person” shall mean any individual, partnership, corporation, limited liability company, business
trust, joint stock company, trust, unincorporated association, joint venture, Governmental Authority or other
entity of whatever nature.

         “Plan” shall mean at a relevant time, any employee benefit plan (other than a Multiemployer Plan)
that is covered by ERISA and in respect of which Holdings or the Borrower is (or, if such plan were
terminated at such time, would be deemed to be) an “employer” as defined in Section 3(5) of ERISA.
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                         Exhibit D

                    DIP Agent Fee Letter
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                                                                                        Execution Version



                                   JPMORGAN CHASE BANK, N.A.
                                        383 Madison Avenue
                                      New York, New York 10179


                                                                                           August 21, 2022


Carestream Health, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson

                                   DIP Administrative Agent Fee Letter

Ladies and Gentlemen:

         Reference is made to the Senior Secured Superpriority Debtor in Possession Credit Facility Term
Sheet (including all schedules, annexes and exhibits thereto, as may be amended, amended and restated,
supplemented or otherwise modified from time to time, the “DIP Term Sheet”), attached as Exhibit A to
that certain commitment letter, dated as of August 21, 2022 (together with the DIP Term Sheet, the “DIP
Commitment Letter”), by and among us, you and the other parties party thereto, regarding the transactions
described therein. Capitalized terms used but not defined herein are used with the meanings assigned to
them in the DIP Commitment Letter.

1.      Appointment

        It is agreed that JPMorgan Chase Bank, N.A. (“JPMorgan”) will act as the administrative agent
(in such capacity, the “Administrative Agent”) in respect of the DIP Credit Facility.

2.      Fees

        As consideration for the agreements of JPMorgan to act as Administrative Agent in respect of the
DIP Credit Facility, you agree to pay or cause to be paid to JPMorgan, for its own account, an
administration fee in respect of the DIP Credit Facility equal to    , which fee will be payable in full
on the Closing Date (as defined below).

         For purposes hereof, “Closing Date” shall mean the date of initial funding of the DIP Credit
Facility.

         You agree that, once paid, the fees or any part thereof payable hereunder shall not be refundable
under any circumstances, except as otherwise agreed in writing. All fees payable hereunder shall be paid
in U.S. Dollars and in immediately available funds and shall be in addition to reimbursement of our out-
of-pocket expenses as provided for in the DIP Commitment Letter. In addition, all such payments will be
made without deduction for any taxes, levies, imposts, duties, deductions, charges or withholdings
imposed by any federal, State or local taxing authority, or will be grossed up by you for such amounts.
You agree that we may, in our sole discretion, share all or a portion of any of the fees payable pursuant to
this Fee Letter with any of the other Lenders.
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    3. Confidentiality

         This Fee Letter is delivered to you on the understanding that this Fee Letter nor any of its terms
or substance shall be disclosed by you, directly or indirectly, to any other person without our prior written
consent except (a) you and your officers, directors, employees, affiliates, members, partners, attorneys,
accountants, agents and advisors, in each case on a confidential basis and (b) in any legal, judicial or
administrative proceeding, including proceedings with the Bankruptcy Court (provided that, you agree to
use commercially reasonable efforts to maintain the confidentiality of the fee arrangements herein by
seeking authority to make any necessary filings either under seal or in redacted form acceptable to
JPMorgan and pursuant to section 107(b) of the Bankruptcy Code), or other compulsory process or as
otherwise required by applicable law or regulations (in which case you agree to use commercially
reasonable efforts to promptly notify us to the extent not prohibited by law); provided, however, it is
understood and agreed that (i) after your acceptance of this Fee Letter, you may disclose the aggregate
fees payable under this Fee Letter (but not this Fee Letter nor the contents hereof) in generic disclosure of
aggregate sources and uses contained in any marketing materials relating to the DIP Credit Facility; (ii)
the aggregate fees and other amounts herein (but not the Fee Letter nor the contents hereof) may be
reflected in your financial statements as part of the aggregate expenses in connection with the transactions
contemplated hereby and may otherwise be disclosed as part of projections, pro forma information and a
generic disclosure of aggregate sources and uses and (iii) you may disclose this Fee Letter in connection
with the exercise of remedies hereunder or any suit, action or proceeding relating to this Fee Letter or the
transactions contemplated hereby or enforcement hereof.

    4. Miscellaneous

         It is understood and agreed that this Fee Letter shall not constitute or give rise to any obligation to
provide any financing. This Fee Letter may not be amended or waived except by an instrument in writing
signed by us and you. This Fee Letter may not be assigned by any party without the prior written consent
of the other party hereto. This Fee Letter shall be governed by, and construed and interpreted in
accordance with, the laws of the State of New York. This Fee Letter may be executed in any number of
counterparts, each of which shall be an original, and all of which, when taken together, shall constitute
one agreement. The words “execution,” “signed,” “signature,” “delivery,” and words of like import in or
relating to this Fee Letter shall be deemed to include Electronic Signatures (as defined below), deliveries
or the keeping of records in any electronic form (including deliveries by telecopy, emailed pdf. or any
other electronic means that reproduces an image of an actual executed signature page), each of which
shall be of the same legal effect, validity or enforceability as a manually executed signature, physical
delivery thereof or the use of a paper-based recordkeeping system, as the case may be.

        As used herein, “Electronic Signature” shall mean an electronic sound, symbol, or process
attached to, or associated with, a contract or other record and adopted by a Person with the intent to sign,
authenticate or accept such contract or record.

              [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]




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